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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
221 RECYCLING CENTER
ATTN KATHY BOGLE
903 S ALABAMA AVE
CHESNEE, SC 29323                                     3961     8/5/2014    Exide Technologies, LLC                                                                              $0.00                              $0.00
3308 OAK LAKE LLC
C/O HAMILTON STEPHENS STEELE & MARTIN PLLC
ATTN GLENN C THOMPSON
201 S COLLEGE ST STE 2020
CHARLOTTE, NC 28244                                   1888    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
3M COMPANY
ATTN ALAN BROWN, SPECIAL COUNSEL
3M CENTER 220-9E-02
ST PAUL, MN 55144                                      78     6/24/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
3M COMPANY
ATTN ALAN BROWN, SPECIAL COUNSEL
3M CENTER 220-9E-02
ST PAUL, MN 55144                                     366     7/22/2013    Exide Technologies, LLC            $5,790.46                                                                                        $5,790.46
4-VEGA LP (A FAMILY PARTNERSHIP)
809 S LEON AVE
MONAHANS, TX 79756                                    413     7/30/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
4-VEGA LP (A FAMILY PARTNERSHIP)
809 S LEON AVE
MONAHANS, TX 79756                                    1236    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
61 SWAN ST OF BATAVIA
ATTN RONALD VIELE
61 SWAN ST
BATAVIA, NY 14020                                     450      8/5/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
69 RECYCLING
706 N WEST ST
ARMA, KS 66712-9531                                   1227    10/12/2013   Exide Technologies, LLC                                                                          $1,601.16                          $1,601.16
A & I PALLETS
9405 S ALAMEDA ST
LOS ANGELES, CA 90002                                 583     8/29/2013    Exide Technologies, LLC           $10,924.53                                                                                       $10,924.53
A & R TELECOM - BELLFLOWER
9066 ROSECRANS AVE
BELLFLOWER, CA 90706-2038                             1079    10/9/2013    Exide Technologies, LLC           $20,431.72                                                       $130.00                         $20,561.72
A & S LAWN SERVICE LLP
8218 HERMITAGE DR
FORT SMITH, AR 72908                                  405     7/29/2013    Exide Technologies, LLC            $3,300.00                  $0.00                                                                 $3,300.00
A B PENA
819 RIDGECREST ST
MONTEREY PARK, CA 91754-3709                          2719    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
A C KIRBY
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                 2689    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
A TO Z EQUIP. RENTALS & SALES
1313 E. BASELINE RD.
GILBERT, AZ 85233                                     2080    10/28/2013   Exide Technologies, LLC               $90.00                                                                                           $90.00

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               Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
A&I PALLETS
9405 S ALAMEDA ST
LOS ANGELES, CA 90002                                  592      9/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AAA COOPER TRANSPORTATION
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 5126
TIMONIUM, MD 21094                                     712     9/30/2013    Exide Technologies, LLC             $81,215.26                                                                                    $81,215.26
AAA PALLET RECYCLING - LONDON
BOX 32005, RPO NORTHLAND
LONDON ON N5V 5K4 CANADA

CANADA                                                 1974    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AARON SANTIBANEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3708    1/31/2014    Exide Technologies, LLC           Unliquidated                                                                                         $0.00
ABDON MERCADO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3508    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ABEL SOLUTIONS, INC.
3820 MANSELL RD STE 260
ALPHARETTA, GA 30022-1539                              1996    10/26/2013   Exide Technologies, LLC              $3,145.00                                                                                      $3,145.00
ABELARDO DELGADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3693    1/31/2014    Exide Technologies, LLC           Unliquidated                                                                                         $0.00
ABF FREIGHT SYSTEM INC
ATTN BANKRUPTCY CLERK
PO BOX 10048
FORT SMITH, AR 72917-0048                              572     8/20/2013    Exide Technologies, LLC            $245,187.67                                                                                   $245,187.67
ABIGUAIL SANCHEZ
146 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                                  3851    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
ABRAHAM RAMON VILLA OSORIO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3478    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ABRIEL DELA ROSA A MINOR BY & THROUGH HIS PARENT
ESTRELLITA DELGADILLO
629 ORME AVE
LOS ANGELES, CA 90023                                  3802    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
ABSORBTECH LLC
2700 S 160TH ST
NEW BERLIN, WI 53151                                   178      7/5/2013    Exide Technologies, LLC              $2,339.78                                                                                      $2,339.78


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
ACCESS AMERICA TRANSPORT
AAT
1110 MARKET ST STE 315
CHATTANOOGA, TN 37402-2253                       174      7/5/2013    Exide Technologies, LLC           $184,313.76                                                                                    $184,313.76
ACCESS TCA INC
ATTN W RAHN, CONTROLLER
ONE MAIN ST
WHITINSVILLE, MA 01588                           472     8/12/2013    Exide Technologies, LLC            $32,025.20                                                       $0.00                         $32,025.20
ACCESS TCA INC
C/O MIRICK O'CONNELL DEMALLIE & LOUGEE LLP
ATTN PAUL W CAREY, ESQ
100 FRONT ST
WORCESTER, MA 01608                              4161    11/23/2015   Exide Technologies, LLC            $31,000.00                                                                                     $31,000.00
ACCESS TCA INC
C/O MIRICK O'CONNELL DEMALLIE & LOUGEE LLP
ATTN PAUL W CAREY, ESQ
100 FRONT ST
WORCESTER, MA 01608                              4166    12/4/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACCESS TCA INC
C/O MIRICK O'CONNELL DEMALLIE & LOUGEE LLP
ATTN PAUL W CAREY, ESQ
100 FRONT ST
WORCESTER, MA 01608                              4168    12/16/2015   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACCESS TCA INC
C/O MIRICK O'CONNELL DEMALLIE & LOUGEE LP
ATTN PAUL W CAREY, ESQ
100 FRONT ST
WORCESTER, MA 01608                              4163    11/30/2015   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACCUMA CORPORATION
C/O MOORE & VAN ALLEN PLLC
ATTN LUIS M LLUBERAS
100 N TRYON ST STE 4700
CHARLOTTE, NC 28202                              2228    10/29/2013   Exide Technologies, LLC           $521,822.67                 $0.00                           $264,913.13                        $786,735.80
ACCUMA S P A
C/O MOORE & VAN ALLEN PLLC
ATTN LUIS M LLUBERAS
100 N TRYON ST STE 4700
CHARLOTTE, NC 28202                              2262    10/29/2013   Exide Technologies, LLC            $21,075.71                                                   $9,770.90                         $30,846.61
ACCURATE SUPERIOR SCALE OF KC INC
C/O ACCURATE SUPERIOR SCALE COMPANY
1830 LINN ST
NORTH KANSAS CITY, MO 64116                      491     8/15/2013    Exide Technologies, LLC             $6,366.67                                                                                      $6,366.67
ACE AUTO RECYCLERS INC
2752 S RIVERSIDE DR
IOWA CITY, IA 52246                               89     6/27/2013    Exide Technologies, LLC             $2,805.00                                                   $1,531.80                          $4,336.80
ACKELSON, SHARON
1545 DAUPHIN AVE
READING, PA 19610-2117                           1574    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00



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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
ACKLANDS GRAINGER INC.
BOX 2970, STN. MAIN
WINNIPEG MB R3C 4B5 CANADA

CANADA                                          3202    11/8/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACME IRON & METAL-TX ALLOY - SAN ANGELO
PO BOX 1304
SAN ANGELO, TX 76902-1304                       2122    10/28/2013   Exide Technologies, LLC            $2,782.71                                                                                       $2,782.71
ACRAN SPILL CONTAINMENT
599 ALBANY AVE
NORTH AMITYVILLE, NY 11701                      396     7/27/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
ACTION BATTERY SERVICE INC
2529 MUNROE AVE S
SAKATOON SK S7J 1S8 CANADA

CANADA                                          3427     1/8/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACTION BATTERY SERVICE INC
2529 MUNROE AVE S
SAKATOON SK S7J 1S8 CANADA

CANADA                                          3425     1/8/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACTION BATTERY SERVICE INC
2529 MUNROE AVE S
SASKATOON SK S7J 1S8 CANADA

CANADA                                          3428     1/8/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACTION BATTERY SERVICE INC
2529 MUNROE AVE S
SASKATOON SK S7J 1S8 CANADA

CANADA                                          3426     1/8/2014    Exide Technologies, LLC            $4,595.72                                                                                       $4,595.72
ACTION BATTERY SERVICE INC.
2529 MUNROE AVE. SOUTH
SASKATOON, SK S7J1S8 CANADA
                                                3429     1/8/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ACTIVE TRANSIT INC
231 E ALESSANDRO BL #A-334
RIVERSIDE, CA 92508                             591      9/3/2013    Exide Technologies, LLC            $3,502.40                                                                                       $3,502.40
ACUNA, LEOPOLDO
104 CATHY ANN DR
READING, PA 19606-2409                          2156    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ADAIR PRINTING COMPANY INC
7850 SECOND ST
DEXTER, MI 48130                                 40     6/21/2013    Exide Technologies, LLC           $12,288.45                                                        $0.00                         $12,288.45
ADAM, TERRY
17 E NOBLE AVE
SHOEMAKERSVILLE, PA 19555-1531                  2030    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ADDLEY, JEFFREY
21 HILL ST
JESSUP, PA 18434-1129                           2473    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00

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                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                        Amount
ADECCO USA INC
175 BROADHOLLOW RD
MELVILLE, NY 11747                             255      7/2/2013    Exide Technologies, LLC           $122,419.26                                                                                     $122,419.26
ADELE M KELLEY R/O IRA
PO BOX 27179
SAN DIEGO, CA 92198                            1640    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ADP INC
AUTOMATIC DATA PROCESSING INC
ATTN BRANDON ZIEGLER
ONE ADP BLVD MS 325
ROSELAND, NJ 07068                             2873    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ADP LLC
ATTN ISABEL FINCH
1851 N RESLER
EL PASO, TX 79912                              4142    6/24/2015    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
ADP, INC
ATTN BRANDON ZIEGLER
ONE ADP BOULEVARD
MS 325
ROSELAND, NJ 07068                             2768    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ADRIAN COLE TORRES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                           4052     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ADRIAN ESCAREGA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                             3066    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
ADRIANA MAYA
6015 VINEVALE AVE
MAYWOOD, CA 90270                              3834    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
ADT CORPORATION
ATTN: DON MAILLOUX,DIRECTOR COST/REVENUE
1501 YAMATO RD.
BOCA RATON, FL 33431                           2137    10/28/2013   Exide Technologies, LLC             $2,326.46                                                    $7,751.25                         $10,077.71
ADT SECURITY SERVICES INC
14200 E. EXPOSITION AVENUE
AURORA, CO 80012                                99     6/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ADT SECURITY SERVICES INC
3190 S VAUGHN WAY STE 150
AURORA, CO 80014-3537                           97     6/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ADVANCE FILTER LLC
15335 ENDEAVOR DR STE 107
NOBLESVILLE, IN 46060                          299     7/15/2013    Exide Technologies, LLC             $6,374.31                                                                                        $6,374.31




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                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                   Amount                                                       Amount
ADVANCE THERMAL CORPORATION
C/O TRANSCO INC
ATTN KRISTINE STROM
55 E JACKSON BLVD STE 2100
CHICAGO, IL 60604                              587     8/31/2013    Exide Technologies, LLC             $4,079.20                                                     $240.00                           $4,319.20
ADVANCED CONSTRUCTORS CORP
ATTN RANDAL H BROWN
PO BOX 1578
HUNTINGTON BEACH, CA 92647                     728     10/1/2013    Exide Technologies, LLC           $695,689.53                                                                                    $695,689.53
ADVANCED GEOSERVICES CORP
1055 ANDREW DR STE A
WEST CHESTER, PA 19380                         2739    10/31/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
ADVANCED GEOSERVICES CORP
ATTN L PERANTEAU
1055 ANDREW DR STE A
WEST CHESTER, PA 19380                          23     6/18/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ADVANCED RECYCLING
2965 BEACH DR E
PORT ORCHARD, WA 98366-8136                    1340    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ADVANTAGE TRANS SVC
W134 N4989 CAMPBELL
MENOMONEE FALLS, WI 53051                      885     10/5/2013    Exide Technologies, LLC            $46,075.30                                                                                     $46,075.30
AEROTEK INC
ATTN JULIE HASSENPLUG
7301 PARKWAY DR
HANOVER, MD 21076                              667     9/16/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AEROVIRONMENT INC
ATTN CAROL DECK, LEGAL COUNSEL
181 W HUNTINGTON DR #202
MONROVIA, CA 91016                             675     9/21/2013    Exide Technologies, LLC             $5,174.04                                                       $0.00                           $5,174.04
AG POWER ENTERPRISES INC
PO BOX C
OWATONNA, MN 55060                             150      7/2/2013    Exide Technologies, LLC             $1,125.00                                                                                       $1,125.00
AGEE, KENNETH
20 FRIARTUCK RD
GREENVILLE, SC 29607-2808                      2217    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
AGILENT TECHNOLOGIES INC
ATTN RAY BRYANT
3750 BROOKSIDE PKWY
ALPHARETTA, GA 30022                           2940    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AHERN RENTALS INC
1401 AHERN AVE
LAS VEGAS, NV 89106                            3879    2/10/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AHILYN CUMPLIDO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3587    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00



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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                       Amount                                                       Amount
AIDA RAMOS
1100 WILSHIRE BLVD
UNIT 2801
LOS ANGELES, CA 90017                              3369    12/26/2013   Exide Technologies, LLC           Unliquidated                                                                                         $0.00
AIM LEASING CO DBA AIM NATIONALEASE
1500 TRUMBULL AVE
GIRARD, OH 44420                                   149      7/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AIM LEASING CO DBA AIM NATIONALEASE
1500 TRUMBULL AVE
GIRARD, OH 44420                                   789     10/3/2013    Exide Technologies, LLC              $3,526.02                                                                                     $3,526.02
AINSWORTH, HENRY
451 FOSTER RD
FLORENCE, MS 39073-9018                            2326    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AINSWORTH, LORRAINE
724 FOSTER RD
FLORENCE, MS 39073-9020                            2016    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
AIR ANALYSIS LLC T/A SGF CONSULTING SERVICES
ATTN STEPHEN SCHELL
189 HAUSMAN RD
LENHARTSVILLE, PA 19534                            648     9/17/2013    Exide Technologies, LLC              $5,800.00                                                      $0.00                          $5,800.00
AIR CAPITAL EQUIPMENT
806 E BOSTON ST
WICHITA, KS 67211-3313                             1398    10/15/2013   Exide Technologies, LLC              $7,924.36                                                    $192.00                          $8,116.36
AIR DIMENSIONS INC
1371 W NEWPORT CENTER DR STE 101
DEERFIELD BEACH, FL 33442-7700                     898     10/7/2013    Exide Technologies, LLC              $1,446.73                                                                                     $1,446.73
AIR LIQUIDE INDUSTRIAL US LP
ATTN LEGAL DEPARTMENT
2700 POST OAK BLVD STE 325
HOUSTON, TX 77056                                  563     8/27/2013    Exide Technologies, LLC            $104,551.89                                                                                   $104,551.89
AIR PRODUCTS & CHEMICALS
7201 HAMILTON BLVD A6315
ALLENTOWN, PA 18195                                2385    10/30/2013   Exide Technologies, LLC             $10,256.50                                                  $1,531.57                         $11,788.07
AIRGAS
ATTN CHANOA MERRICK
2015 VAUGHN RD
BUILDING 400
KENNASAW, GA 30144                                 2375    10/30/2013   Exide Technologies, LLC              $3,068.39                                                                                     $3,068.39
AIRGAS
PO BOX 532609
ATLANTA, GA 30353-2609                             2374    10/30/2013   Exide Technologies, LLC             $70,755.42                                                  $7,628.76                         $78,384.18
AIRGAS MID AMERICA, INC.
PO BOX 532609
ATLANTA, GA 30353                                  2376    10/30/2013   Exide Technologies, LLC              $9,111.68                                                                                     $9,111.68
AIRGAS SAFETY
W185N11300 WHITNEY DR
GERMANTOWN, WI 53022                               666     9/13/2013    Exide Technologies, LLC              $3,388.03                                                                                     $3,388.03




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                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                        Amount
AIRGAS USA LLC - CENTRAL DIVISION
ATTN LISA MENTON
110 W SEVENTH ST STE 1300
TULSA, OK 74119                                695     9/24/2013    Exide Technologies, LLC           $30,925.14                                                                                       $30,925.14
AIRGAS USA LLC - CENTRAL DIVISION
ATTN LISA MENTON
110 W SEVENTH ST STE 1300
TULSA, OK 74119                                696     9/24/2013    Exide Technologies, LLC              $211.62                                                     $9,943.47                         $10,155.09
AIRGAS USA LLC
C/O AIRGAS INC
ATTN DAVE BOYLE
259 N RADNOR CHESTER RD
RADNOR, PA 19087                               910     10/7/2013    Exide Technologies, LLC           $12,166.74                                                     $1,546.05                         $13,712.79
AIRGAS USA LLC
C/O AIRGAS INC
ATTN DAVID BOYLE
259 N RADNOR CHESTER RD
RADNOR, PA 19087                               316     7/17/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
AIRGAS USA LLC
NORTH DIVISION
ATTN GARY LIGGETT
6055 ROCKSIDE WOODS BLVD
INDEPENDENCE, OH 44131                         710     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
AIROLDI BROTHERS INC
ATTN CHERYL AIROLDI
6930 S 6TH ST
OAK CREEK, WI 53154                            2496    10/30/2013   Exide Technologies, LLC                                                          $0.00               $0.00                              $0.00
AITCHISON RICHMOND SUPPLY CO
502 SYLVANIE ST
SAINT JOSEPH, MO 64501-2124                    2281    10/29/2013   Exide Technologies, LLC           $14,492.59                                                     $2,288.96                         $16,781.55
ALABAMA POWER COMPANY
C/O BALCH & BINGHAM LLP
ATTN ERIC T RAY
PO BOX 306
BIRMINGHAM, AL 35201                           457      8/7/2013    Exide Technologies, LLC              $595.20                                                                                          $595.20
ALAN E BISCHOF
BEVERLY BISCHOF
1614 BERNARD WAY
HOUSTON, TX 77058                              1797    10/24/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
ALAN SALVADOR AGUIRRE
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3573    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ALBA ROMO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                           2551    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00


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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                   Amount
ALBERT ATKINS
C/O THE SANTILLI LAW GROUP, LTD
111 W WASHINGTON ST, STE 1240
CHICAGO, IL 60602                                     2207    10/28/2013   Exide Technologies, LLC           $20,000.00                                                                                  $20,000.00
ALBERT MICHAEL BUSTAMANTE II
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  4053     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALBERTA SANDERS
60 KITTY BINGHAM DRIVE
VICKSBURG, MS 39183                                   2889    11/1/2013    Exide Technologies, LLC                                   $0.00                                                                    $0.00
ALBERTO TORRES III BY & THROUGH HIS GUARDIAN AD
LITEM MARLENE A ALEMAN-ZUNIGA, MOTHER
286 MARGARET AVE
LOS ANGELES, CA 90022-2225                            3554    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ALBERTUS HAMPTON
7730 SHINE LN
PINEWOOD, SC 29125-9585                               4012     3/2/2015    Exide Technologies, LLC                              $23,868.00                                                               $23,868.00
ALEJANDRA AYALA
8169 SAN GABRIEL AVE
SOUTH GATE, CA 90280                                  3641    1/30/2014    Exide Technologies, LLC           $10,000.00                                                                                  $10,000.00
ALEJANDRA HUSMAN
PO BOX 861
MAYWOOD, CA 90270                                     3622    1/30/2014    Exide Technologies, LLC           $10,000.00                                                                                  $10,000.00
ALEJANDRA SANCHEZ
4922 1/2 E 60TH PL
MAYWOOD, CA 90270                                     3832    1/31/2014    Exide Technologies, LLC           $10,000.00                                                                                  $10,000.00
ALEJANDRA V HUSMAN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  3382     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALEJANDRO MERAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3617    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
ALEJO VELEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3547    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
ALETHIA SMITH
2516 W STANLEY ST
ALLENTOWN, PA 18104                                   1446    10/17/2013   Exide Technologies, LLC                                   $0.00                                                                    $0.00
ALEX RAMIREZ
4118 E 60TH ST
HUNTINGTON PARK, CA 90255                             3644    1/30/2014    Exide Technologies, LLC           $10,000.00                                                                                  $10,000.00


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                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                             Admin Priority
                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                     Amount
ALEXANDER A GARCIA
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3120    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                  $5,000,000.00
ALEXANDRO MERAZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3096    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                  $5,000,000.00
ALEXIS JOSE PASTOR
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4042     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
ALEXIS MARTINEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4041     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
ALEXIS PONCE
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3564    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
ALEXISS E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                               2412    10/30/2013   Exide Technologies, LLC            $150,000.00                                                                                 $150,000.00
ALFA-AESAR
ATTN DONNA MARQUIS
26 PARKRIDGE ROAD
WARD HILL, MA 01835-8514                         835     10/4/2013    Exide Technologies, LLC               $621.98                                                                                      $621.98
ALFONSO URZUA & DELFINA NUNEZ
4252 WOOLWINE DR
LOS ANGELES, CA 90063-3239                       3205    11/9/2013    Exide Technologies, LLC                             Unliquidated       Unliquidated                                                  $0.00
ALFREDO MATILDES
205 S GREENWOOD AVE #A
MONTEBELLO, CA 90640                             3836    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                  $10,000.00
ALFREDO PLIEGO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4043     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
ALICIA ALEMAN
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3781    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00




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               Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
ALICIA ESQUIVEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                     3596    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ALICIA GAROFALO
1816 SCHOOL RD
CARROLLTON, TX 75006-7542                               1325    10/14/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ALICIA GAROFALO
1816 SCHOOL RD
CARROLLTON, TX 75006-7542                               2226    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00

ALICIA JURADO, GUARDIAN OF MINOR ANTHONY ROSALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3046    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALICIA JURADO, GUARDIAN OF MINOR HECTOR ROSALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3133    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALICIA JURADO, GUARDIAN OF MINOR ONNIKA ROSALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3194    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALICIA MONCADA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3549    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALICIA MONCADA GUARDIAN OF MINOR BILLY LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3541    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALICIA RANGEL
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3811    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ALICIA TREJO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                    2581    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00




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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                         Amount                                                       Amount
ALIXPARTNERS LLP
C/O LAURA J EISELE, ASSOCIATE GENERAL COUNSEL
2000 TOWN CENTER STE 2400
SOUTHFIELD, MI 48075                                 1631    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALL4 INC.
2393 KIMBERTON ROAD
KIMBERTON, PA 19442                                  2248    10/29/2013   Exide Technologies, LLC             $9,444.35                                                       $0.00                            $9,444.35
ALLAN DUBOSE
345 CRAIG CIR
HIGHLAND VILLAGE, TX 75077                           2259    10/29/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
ALLEGRA PRINT & IMAGING
859 OAKTON ST
ELK GROVE VILLAGE, IL 60007-1904                     1434    10/17/2013   Exide Technologies, LLC            $31,412.05                                                                                      $31,412.05
ALLEN KISER
7545 MASON ST NE
KEIZER, OR 97303                                     2846    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLEN V THAYER
4641 PARRAU DR
COLUMBUS, OH 43228                                   242     7/10/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ALLEN, LAWRENCE
211 OXFORD WAY
LOGANSPORT, IN 46947-2452                            2928    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLEN, MILDRED
2603 OAK ST
VICKSBURG, MS 39180-4643                             2980    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ALLIANA CECILIA MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3954    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ALLIANCE ONE LLC
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE ROAD EAST SUITE 2005
PRINCETON, NJ 08540                                   81     6/26/2013    Exide Technologies, LLC            $48,600.00                                                   $2,500.00                          $51,100.00
ALLIED HANDLING EQUIPMENT CO
C/O SWANSON MARTIN & BELL LLP
ATTN JOSEPH P KINCAID
330 N WABASH STE 3300
CHICAGO, IL 60612                                    536     8/23/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLIED PLASTICS, INC.
150 HOLY HILL RD
TWIN LAKES, WI 53181-9670                            1980    10/25/2013   Exide Technologies, LLC            $46,324.60                                                                                      $46,324.60
ALLIED TOYOTA LIFT
1640 ISLAND HOME AVE
KNOXVILLE, TN 37920-1814                             1569    10/19/2013   Exide Technologies, LLC              $450.00                                                        $0.00                             $450.00
ALLIED WASTE SERVICES
ATTN BERNARD MARTIN, COMMERCIAL COLLECTIONS
42600 BOYCE RD
FREMONT, CA 94538                                    478     8/13/2013    Exide Technologies, LLC              $256.92                                                                                          $256.92


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                                                                                                 Current General                                               Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
ALLIED WASTE SERVICES
ATTN CREDIT MGR
9813 FLYING CLOUD DR
EDEN PRAIRIE, MN 55347                           3286    11/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLIED WASTE SERVICES TWIN CITIES
ATTN NAOMI SWEEP
9813 FLYING CLOUD DR
EDEN PRAIRIE, MN 55347                           3287    12/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALLINE D THOMAS
708 E 73RD ST
LOS ANGELES, CA 90001-2304                       2347    10/29/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ALLINE D THOMAS
708 E 73RD ST
LOS ANGELES, CA 90001-2304                       3664    1/31/2014    Exide Technologies, LLC                                                  Unliquidated                                                   $0.00
ALL-LINES LEASING
A DIV OF FIRST WESTERN BANK & TRUST
100 PRAIRIE CENTER DR
EDEN PRAIRIE, MN 55344                           561     8/26/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
ALL-LINES LEASING
A DIV OF FIRST WESTERN BANK & TRUST
100 PRAIRIE CENTER DR
EDEN PRAIRIE, MN 55344                           1714    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ALLMARK DOOR
PATRICIA MACMONALD
5 CROZERVILLE RD.
ASTON, VA 19014                                  907     10/7/2013    Exide Technologies, LLC            $10,002.25                                                                                      $10,002.25
ALMA D MARTINEZ
302 S SADLER AVE
LOS ANGELES, CA 90022-2325                       3870     2/4/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ALMA E RICO HERNANDEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2575    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ALMA GONZALES FLORES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3406     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ALMA I ACEVEDO PALACIOS
3229 GLENN AVE
LOS ANGELES, CA 90023-3513                       2904    11/1/2013    Exide Technologies, LLC              $468.00                                                                                          $468.00
ALMA LYDIA OLVERA
10324 WASHINGTON AVE
SOUTH GATE, CA 90280-6940                        3288    12/2/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ALMA VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3103    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

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               Creditor Name and Address          Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
ALMA VARGAS, GUARDIAN OF MINOR ALEN VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3111    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
ALMA VARGAS, GUARDIAN OF MINOR ISAI F RINCON
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3135    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
ALMEGA ENVIRONMENTAL & TECHNICAL SERVICE
10602 WALKER STREET
CYPRESS, CA 90630                                   2367    10/30/2013   Exide Technologies, LLC             $5,471.25                                                                                       $5,471.25
ALPHA PACKAGING INC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              426     7/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALPHA PACKAGING INC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                              2627    7/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ALTA EQUIPMENT COMPANY
28775 BECK RD
WIXOM, MI 48393-3637                                2079    10/28/2013   Exide Technologies, LLC             $1,600.00                                                                                       $1,600.00
ALTIS HR - OTTAWA
102 BANK STREET - SUITE 300
OTTAWA ON K1P KN4

CANADA                                              1751    10/23/2013   Exide Technologies, LLC             $8,024.15                                                                                       $8,024.15
ALVARO RAMOS
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                    3371    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
AMARNANI, CYNTHIA
18391 VERONA LAGO DR
MIROMAR LAKES, FL 33913                             1854    10/24/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00               $0.00                              $0.00
AMER SIL - GRAND DUCHY OF LUXEMBOURG
ZONE INDUSTRIELLE
GRAND DUCHY OF LUXEMBOURG
L-8287 KEHLEN LUXEMBOURG

LUXEMBOURG                                          1439    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AMEREN MISSOURI
PO BOX 66881 - MAIL CODE 310
SAINT LOUIS, MO 63166                               253      7/2/2013    Exide Technologies, LLC              $801.96                                                                                          $801.96
AMERICAN CRANE & EQUIPMENT CORP.
531 OLD SWEDE RD
DOUGLASSVILLE, PA 19518-1205                        1206    10/11/2013   Exide Technologies, LLC            $20,579.60                                                        $0.00                         $20,579.60
AMERICAN ELECTRIC COMPANY
PO BOX 978
COLUMBIA, MO 65205-0978                             2763    10/31/2013   Exide Technologies, LLC            $15,609.15                                                                                      $15,609.15

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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                             Amount                                                     Amount
AMERICAN ELECTRIC POWER
1 AEP WAY
HURRICANE, WV 25526                                      1078    10/9/2013    Exide Technologies, LLC            $131,043.09                                                                                 $131,043.09
AMERICAN FIRE & SAFETY
PO BOX 272
SAINT JOSEPH, MO 64502-0272                              1586    10/19/2013   Exide Technologies, LLC               $728.18                                                                                      $728.18
AMERICAN HOME ASSURANCE CO, CHARTIS PROPERTY
CASUALTY CO, CHARTIS SPECIALTY INSURANCE CO ET AL
C/O AIG PROPERTY CASUALTY INC
ATTN RYAN G FOLEY, AUTHORIZED REP
175 WATER ST 15TH FL
NEW YORK, NY 10038                                       2783    10/31/2013   Exide Technologies, LLC         Unliquidated                           Unliquidated                                                  $0.00
AMERICAN INFOSOURCE LP
AS AGENT FOR T MOBILE / T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             506     8/16/2013    Exide Technologies, LLC               $530.19                                                                                      $530.19
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             158      7/1/2013    Exide Technologies, LLC               $112.91                                                                                      $112.91
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             159      7/1/2013    Exide Technologies, LLC               $675.96                                                                                      $675.96
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             160      7/1/2013    Exide Technologies, LLC               $332.35                                                                                      $332.35
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             161      7/1/2013    Exide Technologies, LLC               $244.16                                                                                      $244.16
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE / T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             162      7/1/2013    Exide Technologies, LLC               $134.06                                                                                      $134.06
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             155      7/1/2013    Exide Technologies, LLC               $225.22                                                                                      $225.22
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             156      7/1/2013    Exide Technologies, LLC               $331.83                                                                                      $331.83
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                             157      7/1/2013    Exide Technologies, LLC               $493.30                                                                                      $493.30



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                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                            Admin Priority
                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                    Amount
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                    154      7/1/2013    Exide Technologies, LLC              $661.42                                                                                      $661.42
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                    163      7/1/2013    Exide Technologies, LLC              $439.26                                                                                      $439.26
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                    164      7/1/2013    Exide Technologies, LLC              $228.90                                                                                      $228.90
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                    165      7/1/2013    Exide Technologies, LLC              $435.62                                                                                      $435.62
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                    166      7/1/2013    Exide Technologies, LLC             $1,030.56                                                                                   $1,030.56
AMERICAN INFOSOURCE LP AS AGENT FOR
T MOBILE/T-MOBILE USA INC
PO BOX 248848
OKLAHOMA CITY, OK 73124-8848                    453      8/5/2013    Exide Technologies, LLC             $7,815.90                                                                                   $7,815.90
AMERICAN METAL RECYCLING INC.
21516 MAIN STREET
GRAND TERRACE, CA 92313                         1126    10/10/2013   Exide Technologies, LLC              $768.84                                                                                      $768.84
AMERICAN NATIONAL RECYCLING
15157 MANOR RD
MONKTON, MD 21111                               1277    10/14/2013   Exide Technologies, LLC             $1,355.87                                                                                   $1,355.87
AMERICAN SECURITY OF GREENVILLE LLC
PO BOX 486
GREENVILLE, SC 29602                            516     8/20/2013    Exide Technologies, LLC             $7,681.25                                                                                   $7,681.25
AMERIKEN
618 N EDGEWOOD AVE
WOOD DALE, IL 60191-2604                        2490    10/30/2013   Exide Technologies, LLC             $1,300.35                                                                                   $1,300.35
AMERIPRIDE SERVICES - FARGO
PO BOX 3160
BEMIDJI, MN 56619-3160                          1564    10/19/2013   Exide Technologies, LLC             $1,075.52                                                                                   $1,075.52
AMERIPRIDE UNIFORM SERVICES
PO BOX 2020
BEMIDJI, MN 56619-2020                          1563    10/19/2013   Exide Technologies, LLC              $812.91                                                                                      $812.91
AMER-SIL S.A.
GUY DAUWE
ZONE INDUSTRIELLE
L-8287 KEHLEN, LUXEMBOURG

LUXEMBOURG                                      2835    10/31/2013   Exide Technologies, LLC            $46,817.38                                                                                  $46,817.38



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              Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
AMES PROPERTIES, LLC
JEFF SOWADA
PO BOX 398
HUGO, MN 55038                                         2369    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AMIGOS GROUP INVESTMENT INC
PO BOX 1038
SOUTH GATE, CO 90280                                   1551    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AMMERAAL BELTECH,INC.
PO BOX 90351
CHICAGO, IL 60696-0351                                 1106    10/10/2013   Exide Technologies, LLC             $7,584.50                                                                                      $7,584.50
AMRS-INC
GLENN BROCK
39935 CORTE VELADO
INDIO, CA 92203                                        1156    10/11/2013   Exide Technologies, LLC            $14,215.00                 $0.00                                                               $14,215.00

AMY GUERRERO OBO DECEDENT YUNUE AMAYELI MAYA ARIAS
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3861     2/3/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
AMY GUERRERO, GUARDIAN OF MINOR
YUNUE AMAYELI MAYA ARIAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3008    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
AMY UVERA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3054    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
AMY UVERA, GUARDIAN OF MINOR BREEHELEN CHAVEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3083    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
AMY UVERA, GUARDIAN OF MINOR ISAAC OCHOA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3036    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ANA CARDENAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3068    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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               Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                            Admin Priority
                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                    Amount
ANA FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3116    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
ANA GLORIA TAPIA
6137 PALA AVE
MAYWOOD, CA 90270                                      3628    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ANA I GALVES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3137    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
ANA I POPPER
6801 KING AVE
BELL, CA 90201                                         3625    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
ANA L PEREIRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3160    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
ANA M FLORES GUARDIAN OF MINOR DAVID FUENTES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3016    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00

ANA MARIA FLORES, GUARDIAN OF MINOR SERGIO FUENTES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3099    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
ANA PLASCENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                   2562    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
ANA ROSA FRANCO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3536    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
ANA ROSA PADILLA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3477    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00




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                Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                            Amount                                                        Amount
ANA VIVIAN
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                  3688    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ANALYTICAL SERVICES INC
110 TECHNOLOGY PKWY
NORCROSS, GA 30092-2908                                 3906    6/24/2014    Exide Technologies, LLC            $5,901.50                                                                                        $5,901.50
ANCHOR PEST CONTROL INC.
PO BOX 2746
PENSACOLA, FL 32513-2746                                1465    10/18/2013   Exide Technologies, LLC               $86.00                                                                                           $86.00
ANDERSEN & ASSOCIATES, INC
PO BOX 1015
WIXOM, MI 48393-0789                                    996     10/7/2013    Exide Technologies, LLC            $2,087.35                                                                                        $2,087.35
ANDERSON, CHARLES
484 N HAMMES AVE
KANKAKEE, IL 60901-2716                                 2395    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ANDERSON, DAVID
5372B SOUTH ROUTE 52 & 45
CHEBANSE, IL 60922                                      1083    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ANDERSON, ERNESTINE
7850 JEFFERSON PAIGE RD
SHREVEPORT, LA 71119-8865                               1997    10/26/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
ANDERSON, GEORGE KENT
95-532 WIKAO ST E304
MILILANI, HI 96789                                      2697    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ANDERSON, LORY
1338 WARNER AVE N
MAHTOMEDI, MN 55115-1955                                2976    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ANDERSON, LUCILLE
15 LAURA CT
QUARRYVILLE, PA 17566-9666                              2110    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ANDERSON, ODIE
PO BOX 834
TERRY, MS 39170-0834                                    1238    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ANDIS WOOD PRODUCTS INC
13129 SMITH CREEK RD
BRISTOL, VA 24202                                       4138    6/23/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ANDREA A LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3154    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

ANDREA LOPEZ, GUARDIAN OF MINOR AVOREE J ANTONIO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3011    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
ANDREA MANRIQUE
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                                3835    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
ANDRES E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                               2409    10/30/2013   Exide Technologies, LLC            $150,000.00                                                                                   $150,000.00
ANDRES SANTIAGO VALENZUELA
MINOR BY PARENT JACKELINE WITRON
10111 SAN JUAN AVE
SOUTH GATE, CA 90280                             3806    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
ANDREW FUENTES
10726 LA REYNA AVENUE
DOWNEY, CA 90241                                 3375    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ANDREW VASQUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3470    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ANDRIA BERKLEY
3201 LAUREL RUN AVENUE
READING, PA 19605                                1629    10/21/2013   Exide Technologies, LLC              $2,500.00                                                                                      $2,500.00
ANDY ANTHONY RAMIREZ
8933 TOPE AVE
SOUTH GATE, CA 90280-2644                        3513    1/28/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
ANDY BUSANI
7009 SAN LUIS AVE
BELL GARDENS, CA 90201-3411                      2613    10/31/2013   Exide Technologies, LLC        $1,027,500.00                                                                                    $1,027,500.00
ANDY PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3507    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ANDY PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3560    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ANGEL CABRERA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2572    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ANGEL GONZALEZ
3042 GUIRADO ST
LOS ANGELES, CA 90023                            3865    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ANGEL N SANCHEZ MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3749    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00

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                                                                                                 Current General                                              Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                        Current Admin     Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
ANGEL SANCHEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2576    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ANGEL VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3153    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
ANGELICA CALDERON
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3768    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ANGELICA MACIAS CARDENAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3415     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ANGELINA MARIE MORENO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4054     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ANGRUM, LEE
PO BOX 508
TERRY, MS 39170-0508                             1644    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ANICETO MUNOZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2553    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ANIXTER INC
C/O THOMPSON HINE LLP
ATTN JEREMY M CAMPANA, ESQ
3900 KEY CENTER
127 PUBLIC SQUARE
CLEVELAND, OH 44111                              2373    10/30/2013   Exide Technologies, LLC            $148,337.75                                                 $51,262.55                         $199,600.30
ANN YURCHAK
511 DELAWARE AVE
OLYPHANT, PA 18447-1620                          2522    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ANNA M THOMAS
2930 GRANGE HALL RD
VICKSBURG, MS 39180                              2966    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
ANNE C HEFNER
25 KENINGTON RD
AVON, CT 06001-5102                              4088    5/11/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00




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                                                                                                 Current General                                              Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
ANNIE GREEN
80 MICKENS ST
SUMTER, SC 29150                                 2033    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ANNIE GREEN
80 MICKENS ST
SUMTER, SC 29150                                 4009     3/2/2015    Exide Technologies, LLC                                  $31,270.32                                                               $31,270.32
ANNIE HUNTER
120 E WHEELER CIR
SALUDA, SC 29138-1220                            1203    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ANTHONY RAMOS
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                 3373    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ANTHONY SORIANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3176    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ANTIBUS SCALES & SYSTEMS INC
4809 ILLINOIS RD
FORT WAYNE, IN 46804                              75     6/24/2013    Exide Technologies, LLC              $525.00                                                                                         $525.00
ANTONIO DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2563    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ANTONIO DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2564    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ANTONIO DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3410     1/2/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ANTONIO DAVILA (SON)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3408     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ANXE BUSINESS CORP
2000 TOWN CTR STE 2050
SOUTHFIELD, MI 48075                              50     6/21/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
AON HEWITT
C/O DUANE MORRIS LLP
ATTN SOMMER L ROSS
222 DELAWARE AVE STE 1600
WILMINGTON, DE 19801                             2649    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                       Amount                                                       Amount
AON HEWITT
C/O DUANE MORRIS LLP
ATTN SOMMER L ROSS
222 DELAWARE AVE STE 1600
WILMINGTON, DE 19801                               2769    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AON HEWITT
C/O DUANE MORRIS LLP
ATTN SOMMER L ROSS
222 DELAWARE AVE STE 1600
WILMINGTON, DE 19801                               2770    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
APEX MOTOR EXPRESS L
PO BOX 1107
WINNIPEG, MB R3C 2Y4
CANADA                                             1783    10/24/2013   Exide Technologies, LLC              $5,549.16                                                                                     $5,549.16
APPALACHIAN LANDSCAPE
ATTN DAVID MATTHEWS
PO BOX 53052
KNOXVILLE, TN 37950                                456      8/6/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
APPALACHIAN LANDSCAPE
PO BOX 53052
KNOXVILLE, TN 37950                                1597    10/19/2013   Exide Technologies, LLC              $1,050.00                                                                                     $1,050.00
APPLIED INDUSTRIAL TECHNOLOGIES - DIXIE INC
ATTN DIANNE MISENKO, LEGAL DEPARTMENT
APPLIED INDUSTRIAL TECHNOLOGIES
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056                           2265    10/29/2013   Exide Technologies, LLC             $61,459.29                                                 $10,441.84                         $71,901.13
APPLIED INDUSTRIAL TECHNOLOGIES - PA LLC
ATTN DIANNE MISENKO
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056                           2267    10/29/2013   Exide Technologies, LLC             $17,051.93                                                  $4,646.37                         $21,698.30
APPLIED INDUSTRIAL TECHNOLOGIES CA LLC
ATTN DIANNE MISENKO
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056                           2268    10/29/2013   Exide Technologies, LLC             $72,206.50                                                 $32,812.86                        $105,019.36
APPLIED INDUSTRIAL TECHNOLOGIES INC
ATTN DIANNE MISENKO
ONE APPLIED PLAZA
CLEVELAND, OH 44115-5056                           2266    10/29/2013   Exide Technologies, LLC            $500,772.55                                                $166,188.95                        $666,961.50
APPLIED THERMAL SYSTEMS
6111 HERITAGE PARK DR #A700
CHATTANOOGA, TN 37416                              616      9/9/2013    Exide Technologies, LLC              $4,962.79                                                                                     $4,962.79
ARACELI CABRERA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3777    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                              Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                         Amount                                                        Amount
ARACELI JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3690    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
ARAMARK UNIFORM & CAREER APPAREL LLC
FKA ARAMARK UNIFORM & CAREEER APPAREL INC
DBA ARAMARK UNIFORM SERVICES
C/O HAWLEY TROXELL ENNIS & HAWLEY LLP
PO BOX 1617
BOISE, ID 83701                                      1770    10/23/2013   Exide Technologies, LLC            $545,707.94                                                   $3,030.31                         $548,738.25
ARAUJO E POLICASTRO - SAO PAULO
RUA LEOPOLDO COUTO DE MAGALHAES JR
758 4TH FL
SAO PAULO CEP 04542-000 BRAZIL

BRAZIL                                               1272    10/14/2013   Exide Technologies, LLC             $17,337.14                                                                                      $17,337.14
ARBILL INDUSTRIES
10450 DRUMMOND RD
PHILADELPHIA, PA 19154                               386     7/26/2013    Exide Technologies, LLC             $81,287.68                                                   $8,216.62                          $89,504.30
ARBUTHNOTT, KATHRYN A
8968 LANGHORNE RD
ESMONT, VA 22937                                     1720    10/22/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
ARBUTUS BUSINESS CENTER LLC
THROUGH HILL MANAGEMENT SERVICES INC
C/O NEUBERGER QUINN GIELEN RUBIN & GIBBER PA
ATTN DIANE C BRISTOW, ESQ
1 SOUTH ST 27TH FL
BALTIMORE, MD 21202-3282                             4117    5/29/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
ARE BPD MUHLENBERG PARTNERS
PO BOX 4009
READING, PA 19606-0409                               1478    10/18/2013   Exide Technologies, LLC             $16,657.81                                                                                      $16,657.81
AREKY MERINA, GUARDIAN OF MINOR MARILYN LOPEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3020    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00
A-RENTAL SERVICE CORPORATION - POB 2375
PO BOX 2375
MUNCIE, IN 47307-0375                                1830    10/24/2013   Exide Technologies, LLC             $21,014.27                                                       $0.00                          $21,014.27
ARGONAUT INSURANCE COMPANY
C/O WOLFF & SAMSON PC
ATTN JONATHAN BONDY, ESQ
1 BOLAND DR
WEST ORANGE, NJ 07052                                2236    10/29/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
ARJO WIGGINS USA INC
1200 HIGH RIDGE RD - 2ND FL
STAMFORD, CT 06905                                   392     7/26/2013    Exide Technologies, LLC            $203,814.14                                                       $0.00                         $203,814.14




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
ARKEMA INC
C/O JOYCE ZIKER PARKINSON PLLC
ATTN STEPHEN T PARKINSON
1601 FIFTH AVE STE 2040
SEATTLE, WA 98101                               2692    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ARLENE & BERNARD WITTE
7500 KEPLER RD
CANAL FULTON, OH 44614                          3257    11/22/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
ARLENE I RAMOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3927    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ARMANDO BUELNA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3594    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ARMANDO MARTOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3609    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ARMER, BILLIE
478576 STATE HIGHWAY 101
MULDROW, OK 74948-6549                          2465    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ARNE, JOHN
126 SPRINGWOOD LN
MOORESVILLE, NC 28117-9301                      2479    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ARNEL COMPRESSOR INC
114 N SUNSET AVE
CITY OF INDUSTRY, CA 91744                      534     8/23/2013    Exide Technologies, LLC            $6,771.71                                                                                         $6,771.71
ARNOLD BENSON TTEE
RADIO CITY STATION
BOX 1644
NEW YORK, NY 10101                              1788    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ARNOLD FAMILY CORONA LLC
24332 SANTA CLARA AVE
DANA POINT, CA 92629-3016                       2392    10/30/2013   Exide Technologies, LLC            $5,655.60                                                                                         $5,655.60
ARNOLD FAMILY CORONA LLC
24332 SANTA CLARA AVE
DANA POINT, CA 92629-3016                       2393    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ARNOLD, MATHEW
931 LEWIS ST
BRISTOL, VA 24201-2424                          1649    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ARROW MAGNOLIA INTERNATIONAL, INC.
ANGEL DODD
PO BOS 59089
DALLAS, TX 75229                                1350    10/15/2013   Exide Technologies, LLC              $203.04                                                                                          $203.04


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
ARTHUR MACIAS
5423 1/2 VIA CAMPO ST
LOS ANGELES, CA 90022-2254                       3238    11/16/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ARTHUR TORRES
1167 1/2 MIRASOL ST
LOS ANGELES, CA 90023-3118                       3435    1/13/2014    Exide Technologies, LLC                                                  Unliquidated                                                  $0.00
ARTRA VILLAREAL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3860     2/1/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ARTRA VILLAREAL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3867    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ARTURO ARIAS
429 MOON DR
SALINA, KS 67401                                 1484    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ARTURO LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3726    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ARTURO MONTERO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3191    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ASCENSION OCHOA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2537    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ASHLEY L MARTINEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3152    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ASHLEY MILANEZ
3931 TWEEDY BLVD #B
SOUTH GATE, CA 90280-6119                        3361    12/24/2013   Exide Technologies, LLC                               Unliquidated       Unliquidated                                                  $0.00
ASHLEY RAMIREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3413     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
ASHLEY ROSALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3173    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ASSOCIATED EQUIPMENT CORP
5043 FARLIN AVE
ST LOUIS, MO 63115                                     197      7/6/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
ASSOCIATED EQUIPMENT CORP
5043 FARLIN AVE
ST LOUIS, MO 63115                                     655     9/17/2013    Exide Technologies, LLC            $41,446.11                                                  $22,092.39                         $63,538.50
ASSOCIATED EQUIPMENT CORP
ATTN DUANE E OBERT
5043 FARLIN AVE
ST LOUIS, MO 63115                                     4097    5/20/2015    Exide Technologies, LLC                                                                             $0.00                              $0.00
ASSOCIATED EQUIPMENT SALES CO LLC
ATTN SHARLA DEAN
14535 W 96 TERR
LENEXA, KS 66215                                       573     8/29/2013    Exide Technologies, LLC             $1,065.62                                                   $3,931.00                          $4,996.62
ASSOCIATION OF BATTERY RECYCLERS INC
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                                   1027    10/8/2013    Exide Technologies, LLC            $54,377.82                                                                                     $54,377.82
ASUNCION & DANIEL GUZMAN
C/O DANIEL GUZMAN
2551 IOWA AVE
SOUTH GATE, CA 90280                                   3002    11/6/2013    Exide Technologies, LLC                                $100,000.00                                                               $100,000.00
AT&T CORP
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY, RM 3A104
BEDMINSTER, NJ 07921                                   2325    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
AT&T LONG DISTANCE LLC
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY RM 3A104
BEDMINSTER, NJ 07921                                   2986    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
AT&T MOBILITY II LLC
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY, RM 3A 231
BEDMINSTER, NJ 07921                                   571     8/28/2013    Exide Technologies, LLC            $45,486.13                                                                                     $45,486.13
AT&T MOBILITY LLC (F/N/A CINGULAR WIRELESS LLC)
ATTN JAMES W GRUDUS ESQ, GENERAL ATTORNEY
ONE AT&T WAY ROOM 3A115
BEDMINISTER, NJ 07921                                  2771    10/31/2013   Exide Technologies, LLC         Unliquidated          Unliquidated                                                                     $0.00




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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
AT&T SERVICES INC AND ITS AFFILIATED ENTITIES
ATTN JAMES W GRUDUS, ESQ
GENERAL ATTORNEY
ONE AT&T WAY RM 3A115
BEDMINSTER, NJ 07921                                 4126     6/1/2015    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
AT&T SERVICES INC AND ITS AFFILIATED ENTITIES
ATTN JAMES W GRUDUS, ESQ
GENERAL ATTORNEY
ONE AT&T WAY RM 3A115
BEDMINSTER, NJ 07921                                 4127     6/1/2015    Exide Technologies, LLC                                                                                        Unliquidated            $0.00
ATLAS IRON & METAL CO
ATTN GARY WEISENBERG
10019 S ALAMEDA ST
LOS ANGELES, CA 90002                                177      7/5/2013    Exide Technologies, LLC             $11,030.82                $0.00                                 $0.00                         $11,030.82
ATMOS ENERGY CORPORATION
PO BOX 650205
DALLAS, TX 75265-0205                                2850    10/30/2013   Exide Technologies, LLC              $1,492.52                                                                                      $1,492.52
ATMOS ENERGY MARKETING, LLC
BILL SHEEHAN
381 RIVERSIDE DRIVE
SUITE 120
FRANKLIN, TN 37064                                   1419    10/16/2013   Exide Technologies, LLC             $36,480.76                                                                                    $36,480.76
ATMS, INC.
1523 CENTRAL PARK DR
HURST, TX 76053-7401                                 1013    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ATTLIN CONSTRUCTION INC
PO BOX 2566
MUNCIE, IN 47307                                     2264    10/29/2013   Exide Technologies, LLC            $157,563.46                                                    $520.66                        $158,084.12
AUDRINA RIOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3606    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
AUGST, STEPHEN
5680 OTTER VIEW TRL
WHITE BEAR LAKE, MN 55110-2295                       1158    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
AUL PIPE & TUBING INC
2701 S BONNIE BEACH PL
LOS ANGELES, CA 90058                                119     6/29/2013    Exide Technologies, LLC            $108,805.02                                                                                   $108,805.02
AURELIO ALEMAN
4729 E 58TH ST
MAYWOOD, CA 90270                                    3639    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
AUTO ROAD SERVICES, INC.
SCOTT GROVE, PRESIDENT
1919 WILLIAMS ST STE 220
SIMI VALLEY, CA 93065-7824                           822     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
AUTODESK INC
C/O DONAHUE GALLAGHER WOODS LLP
ATTN ERIC A HANDLER, ESQ
1999 HARRISON ST FL 25
OAKLAND, CA 94612                                2710    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AUTOMATION PRODUCTS & DESIGN INC
ATTN LYLE HAUG
26511 S SOUTHLAKE DR
HARRISONVILLE, MO 64701                           68     6/24/2013    Exide Technologies, LLC             $6,326.39                                                                                        $6,326.39
AUTOMATIONDIRECT.COM INC
3505 HUTCHINSON RD
CUMMING, GA 30040                                 65     6/22/2013    Exide Technologies, LLC             $3,819.25                                                                                        $3,819.25
AUTOMATIONDIRECT.COM INC
3505 HUTCHINSON RD
CUMMING, GA 30040                                 66     6/22/2013    Exide Technologies, LLC             $8,648.66                                                   $2,419.00                          $11,067.66
AUTO-OWNERS INSURANCE COMPANY
C/O GIBSON & SHARPS PSC
ATTN PAUL G JOHNSON, ESQ
250 N SUNNY SLOPE RD STE 122
BROOKFIELD, WI 53005-4814                        494     8/15/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
AVAHI LOPEZ ZONIGA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3764    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
AVAYA INC
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 361345
COLUMBUS, OH 43236-1345                           28     6/20/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
AVERY PARTNERS, INC.
1455 OLD ALABAMA ROAD, SUITE 160
ROSWELL, GA 30076                                889     10/5/2013    Exide Technologies, LLC            $41,647.00                 $0.00                                                                $41,647.00
AVI FOODSYSTEMS INC
2590 ELM RD NE
WARREN, OH 44483                                 439      8/2/2013    Exide Technologies, LLC             $2,614.28                                                                                        $2,614.28
AVISTA UTILITIES
PO BOX 3727
SPOKANE, WA 99220-3727                           179      7/5/2013    Exide Technologies, LLC               $46.23                                                                                           $46.23
AVNET INC
5400 PRAIRIE STONE PKWY
HOFFMAN ESTATES, IL 60192                        4063    4/14/2015    Exide Technologies, LLC            $50,450.83                                                                          $0.00       $50,450.83
AVNET INC.
5400 PRAIRIE STONE PKWY
HOFFMAN ESTATES, IL 60192                        2240    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AZAEL MUNGUIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3472    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00


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                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
AZALEE W KNOX
C/O A PAUL WEISSENSTEIN JR
PO BOX 2446
SUMTER, SC 29151                                      4002     3/2/2015    Exide Technologies, LLC                                  $21,847.58                                                                $21,847.58
AZALEE W KNOX
C/O WEISSENSTEIN LAW FIRM LLC
ATTN A PAUL WEISSENSTEIN JR
PO BOX 2446
SUMTER, SC 29151                                      2043    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
AZAN SOLUTIONS LLC
FBO SYED M ADIL
38 RIEDER RD
EDISON, NJ 08817                                      1703    10/22/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00

AZUCENA LAGUNA, GUARDIAN OF MINOR ALLISON LONA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3073    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

AZUCENA LAGUNA, GUARDIAN OF MINOR ARNOLD LONA
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3074    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
B C MACDONALD & CO
1265 RESEARCH BLVD
SAINT LOUIS, MO 63132-1713                            1626    10/21/2013   Exide Technologies, LLC              $4,160.87                                                                                      $4,160.87
BACKOFF JR, DON
1842 BRYAN PL
SHREVEPORT, LA 71105-3536                             2103    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BACKOFF, DON
1842 BRYAN PL
SHREVEPORT, LA 71105-3536                             2100    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BAGHOUSE & INDUSTRIAL SHEET METAL SERVICES
1731 POMONA RD
CORONA, CA 92880                                      144      7/2/2013    Exide Technologies, LLC             $42,567.78                                                                                     $42,567.78
BAILEY COMPANY (THE)
501 COWAN STREET
NASHVILLE, TN 37207                                   816     10/4/2013    Exide Technologies, LLC             $78,722.35                                                                                     $78,722.35
BAKER BOTTS LLP
ATTN AILEEN HOOKS
98 SAN JACINTO BLVD STE 1500
AUSTIN, TX 78701                                      1892    10/25/2013   Exide Technologies, LLC            $460,800.58                                                                                    $460,800.58
BAKER, JAMES
PO BOX 37
BRACEVILLE, IL 60407-0037                             1191    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BAKER, WILLIE
7915 HAWK CREST LN
ORLANDO, FL 32818-1230                                2678    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
BALAOING, EUSEBIO
5848 W PEREZ AVE
VISALIA, CA 93291-8505                          1441    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BALDOMERO MARROQUIN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3581    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
BALL, PATRICIA
117 PINE PARK DR
FLORENCE, MS 39073-9498                         2328    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BALOG, DENNIS W
2176 PENSTONE LOOP
ROSEVILLE, CA 95747                             633     9/13/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BALTIMORE COUNTY MARYLAND
C/O BALTIMORE COUNTY OFFICE OF LAW
ATTN BAMBI GLENN, ASST COUNTY ATTORNEY
400 WASHINGTON AVE RM 219
TOWSON, MD 21204                                3299    12/6/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BARBARA A HATCHER
3180 MATHIESON DR NE UNIT 512
ATLANTA, GA 30305-1865                          2275    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BARBARA A HATCHER
3180 MATHIESON DRIVE NE
UNIT 512
ATLANTA, GA 30305                               2277    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BARBARA CASQUINO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2550    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
BARBARA JAYNES IRA
380 PECAN DR
SYLVA, NC 28779-6933                            1920    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
BARBARA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3675    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
BARBARA R CARTER IRA
435 HOLLY HILL DR
COLUMBUS, NC 28722                              1358    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BARBIE L DONEFER
8710 CARMEL MOUNTAIN WAY
BOYNTON BEACH, FL 33473                         1952    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
BARR ENGINEERING CO.
ATTN AMY R BAUDLER
4300 MARKETPOINTE DR STE 200
MINNEAPOLIS, MN 55435                           1728    10/22/2013   Exide Technologies, LLC            $173,286.32                               $9,875.00                                            $183,161.32


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
BASHAW, TIMOTHY
230 W DAVENPORT DR
MERIDIAN, ID 83642-6575                         2320    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BATAVIA CITGO
18 CLINTON STREET
PO BOX 395
BATAVIA, NY 14021                               709     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BATTERY BUDDY
3514 ROSSVILLE BLVD
CHATTANOOGA, TN 37407                           328     7/19/2013    Exide Technologies, LLC             $17,694.05                                                                                    $17,694.05
BATTERY COUNCIL INTERNATIONAL
330 N WABASH AVE STE 2000
CHICAGO, IL 60611                               727     10/1/2013    Exide Technologies, LLC             $18,535.92                                                      $0.00                         $18,535.92
BATTERY EQUIPMENT SUPPLY
CAROL FISHER
749 N HARVARD AVE
VILLA PARK, IL 60181                            783     10/3/2013    Exide Technologies, LLC              $1,623.71                $0.00                                 $0.00                          $1,623.71
BATTERY EXPERTS INC.
GREG RAPP
20601 CANADA RD.
UNIT B
LAKE FOREST, CA 93620                           2061    10/28/2013   Exide Technologies, LLC                                                                         $5,890.00                          $5,890.00
BATTERY HOUSE, INC - PITTSBURGH
PO BOX 18004
PITTSBURGH, PA 15236-0004                       1258    10/12/2013   Exide Technologies, LLC               $837.90                                                                                        $837.90
BATTERY WATERING TECHNOLOGIES
ATTN MR SCOTT ELLIOTT
6645 HOLDER RD
CLEMMONS, NC 27012                              1732    10/22/2013   Exide Technologies, LLC            $106,930.61                                                                                   $106,930.61
BAYER CROPSCIENCE INC
2 TW ALEXANDER DR
RESEARCH TRIANGLE PARK, NC 27709                2650    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BAYER CROPSCIENCE INC
C/O CABLE HUSTON
ATTN JAMES E BENEDICT
1001 SW 5TH AVE STE 2000
PORTLAND, OR 97204-1136                         2712    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
BCD M&I LLC
C/O KILPATRICK TOWNSEND & STOCKTON LLP
ATTN SHANE G RAMSEY, ESQ
1100 PEACHTREE ST NE STE 2800
ATLANTA, GA 30309                               1932    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BCD M&I LLC
C/O KILPATRICK TOWNSEND & STOCKTON LLP
ATTN SHANE G RAMSEY, ESQ
1100 PEACHTREE ST NE STE 2800
ATLANTA, GA 30309                               1933    10/25/2013   Exide Technologies, LLC            $443,874.34                                                                                   $443,874.34




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                    Amount                                                       Amount
BCD TRAVEL USA LLC
C/O KILPATRICK TOWNSEND & STOCKTON LLP
ATTN SHANE G RAMSEY, ESQ
1100 PEACHTREE ST NE STE 2800
ATLANTA, GA 30309                               1934    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BEARDSLEY, EARL
1119 METROPOLITAN AVE
LEAVENWORTH, KS 66048-1250                      2345    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BEARINGS & DRIVES INC
PO BOX 116733
ATLANTA, GA 30368-6733                          2955    11/4/2013    Exide Technologies, LLC                                                                             $0.00                               $0.00
BECKETT, ANNE
2861 BALLYNTYNE RD S
SALEM, OR 97302-9615                            1769    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BEES INDUSTRIAL SERVICES LLC
ATTN BONNIE STEIN
1214 5TH ST S
HOPKINS, MN 55343-7856                          604      9/5/2013    Exide Technologies, LLC             $7,067.32                                                                                        $7,067.32
BEHRENS, KENNETH G
912 S BUTTERNUT PL
BROKEN ARROW, OK 74012                          2998    11/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BELCAN CORPORATION
C/O KEATING MUETHING & KLEKAMP PLL
ATTN ROBERT G SANKER
ONE E 4TH ST STE 1400
CINCINNATI, OH 45202                            1758    10/23/2013   Exide Technologies, LLC            $32,194.66                                                                                      $32,194.66
BELL ALIANT
BUSINESS CREDIT SERVICES
ATTN LORI COYLE
71 BELVEDERE AVE PO BOX 820 STN CENTRAL
CHARLOTTETOWN PE C1A 7M1

CANADA                                          3882    2/20/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BELL SOUTH COMMUNICATION SYSTEMS LLC
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY RM 3A104
BEDMINSTER, NJ 07921                            2989    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BELLENIR, LINA
16301 E JACKLIN DR
FOUNTAIN HILLS, AZ 85268-5609                   869     10/5/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BENJAMIN ALBERT CHANG
9206 WILD SPRUCE DR
FREDERICKSBRG, VA 22407-9255                    4129     6/1/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
BENJAMIN T ACOSTA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3912    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BENNETT JONES LLP
ATTN MARK SMYTH
3400 ONE FIRST CANADIAN PL
PO BOX 130
TORONTO ON M5X 1A4

CANADA                                           519     8/20/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BENNINGTON OIL CO INC
202 N ROCK ST
MINNEAPOLIS, KS 67467-2400                        16     6/17/2013    Exide Technologies, LLC            $23,132.30                                                                                      $23,132.30
BENSON ROAD PROPERTIES
2709 S 4TH AVE
SIOUX FALLS, SD 57105                            782     10/3/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BENSON, MICHAEL
568 N FAIRMONT AVE
KANKAKEE, IL 60901-2641                          2861    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BENTLEY TRUCK SERVICES
307 HERON DR
LOGAN TWP, NJ 08085-1773                         2704    10/31/2013   Exide Technologies, LLC            $13,348.38                                                        $0.00                         $13,348.38
BENTON COUNTY TAX COLLECTOR
215 E CENTRAL AVE STE 101
BENTONVILLE, AR 72712                            2910    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BENTON COUNTY TAX COLLECTOR
215 E CENTRAL AVE STE 101
BENTONVILLE, AR 72712                            3893    3/17/2014    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BENTON COUNTY TAX COLLECTOR
215 E CENTRAL AVE STE 110
BENTONVILLE, AR 72712                            935     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BENUSA, JOYCE
6833 WENTWORTH AVE
RICHFIELD, MN 55423-2362                         2321    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BERBER, FRANCISCO
8082 TARGA CIR APT 38
CITRUS HTS, CA 95610-7230                        731     10/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BERLIER, CARL
321 KEENELAND LN
GREENWOOD, IN 46142-7555                         1223    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BERNAS, RONALD
185 YOCOM RD
DOUGLASSVILLE, PA 19518-9361                     2784    10/31/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
BERRY MATERIAL HANDLING
3769 W MCCORMICK ST
PO BOX 9288
WICHITA, KS 67213-2025                           719     9/30/2013    Exide Technologies, LLC             $8,127.94                                                                                       $8,127.94
BERRY, JEROME
PO BOX 431
MENDENHALL, MS 39114-0431                        2972    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BERRY, ROY
1104 SIMPSON HIGHWAY 28 W
PINOLA, MS 39149-3114                            2971    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                            Amount                                                        Amount
BERTELKAMP AUTOMATION
BILL BRINSON
6321 BAUM DR.
KNOXVILLE, TN 37919                                     768     10/3/2013    Exide Technologies, LLC             $6,849.98                                                                                       $6,849.98
BERTHA ARELLANO
664 S FORD BLVD APT C
LOS ANGELES, CA 90022-2486                              3456    1/28/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00

BERTHA ESTRADA GUARDIAN OF MINOR BRANDON GUERRERO
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3168    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

BERTHA ESTRADA, GUARDIAN OF MINOR ARMANDO GUERRERO
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3144    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
BERTHA HERNANDEZ
3735 WOOLWINE DR
LOS ANGELES, CA 90063-2033                              3281    11/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
BEST ANSWERING SERVICE
1104 TUSCULUM BLVD. SUITE 405
GREENEVILLE, TN 37745                                   877     10/5/2013    Exide Technologies, LLC             $1,216.80                                                                                       $1,216.80

BEST LUCKY INTERNATIONAL ENTERPRISE CORP
C/O BARACK FERRAZZANO KIRSCHBAUM & NAGELBERG LLP
ATTN KIMBERLY J ROBINSON
200 W MADISON ST STE 3900
CHICAGO, IL 60606                                       1858    10/24/2013   Exide Technologies, LLC                                                                         $60,687.36                         $60,687.36

BEST LUCKY INTERNATIONAL ENTERPRISE CORP
C/O BARACK FERRAZZANO KIRSCHBAUM & NAGELBERG LLP
ATTN WILLIAM J BARRETT
200 W MADISON ST, STE 3900
CHICAGO, IL 60606                                       4090    5/13/2015    Exide Technologies, LLC                                                                              $0.00                              $0.00
BESTWAY SYSTEMS INC
ATTN ACCTS RECEIVABLE
5755 GRANGER RD STE 400
INDEPENDENCE, OH 44131                                  1926    10/25/2013   Exide Technologies, LLC            $28,600.67                                                                                      $28,600.67
BETTY PLENGE
111 CEDAR RIDGE LN
CONWAY, SC 29526-8916                                   4014     3/2/2015    Exide Technologies, LLC                                   $7,036.13                                                                 $7,036.13
BETTY STYLER
ATTN: ROBERT STYLER
2322 BELMONT AVE
ARDMORE, PA 19003-2926                                  2781    10/31/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BEXAR COUNTY
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN DAVID G AELVOET
711 NAVARRO STE 300
SAN ANTONIO, TX 78205                             15     6/15/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BEYOND DIGITAL IMAGING
36 APPLE CREEK BLVD
MARKHAM ON L3R 4Y4 CANADA

CANADA                                           1752    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BG SALVAGE LLC
7141 HURSTVILLE RD
MAQUOKETA, IA 52060                              290     7/15/2013    Exide Technologies, LLC             $4,476.40                                                        $0.00                          $4,476.40
BHA GROUP, INC.
C/O GLENN M REISMAN, ESQ
TWO CORPORATE DR STE 234
SHELTON, CT 06484                                1733    10/22/2013   Exide Technologies, LLC            $35,989.07                                                                                      $35,989.07
BHAT FAMILY TRUST
UAD 3/6/03
C/O NARAYANA B BHAT
7332 RIVER BEND RD
NASHVILLE, TN 37221                              1037    10/8/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BIALY, PAUL M
5523 COUNTRY LAKES TRL
SARASOTA, FL 34243-3812                          2018    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
BIBEAU, RICHARD
945 ELLEN CT
NEWPORT, MN 55055-1530                           2229    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BICKFORD, SHERMAN
4343 HARRINGTON DR
ZANESVILLE, OH 43701-6051                        759     10/3/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BIDDY, CLIFFORD
ATTN: RANDY L. GORI
C/O GORI, JULIAN & ASSOCIATES, PC
156 N. MAIN ST.
EDWARDSVILLE, IL 62025                           1302    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BIG CHIEF INC
ATTN DEBRA GILMAN
5150 BIG CHIEF DR
CINCINNATI, OH 45227                             752     10/2/2013    Exide Technologies, LLC             $3,036.36                                                        $0.00                          $3,036.36
BILLIE HYATT
216 CHOCTAW
ARKOMA, OK 74901                                 1602    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BINGHAM, MICHAEL
6 INNI WAY
GREENWOOD, IN 46142-9109                         2081    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BIRGE, DARRELL
1460 W MORRISON ST
FRANKFORT, IN 46041-1556                         1196    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
BISIGNANI, ETHEL
828 CEDAR AVE
SCRANTON, PA 18505                                     2402    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BKK JOINT DEFENSE GROUP
C/O BINGHAM MCCUTCHEN LLP
ATTN JAMES J DRAGNA ESQ
355 S GRAND AVE STE 4400
LOS ANGELES, CA 90071                                  2611    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
BLACK HILLS CORPORATION
1102 E FIRST ST
PAPILLION, NE 68046                                    1943    10/25/2013   Exide Technologies, LLC             $9,130.80                                                                                      $9,130.80
BLACK HILLS CORPORATION
1102 E FIRST ST
PAPILLION, NE 68046                                    1944    10/25/2013   Exide Technologies, LLC             $1,008.73                                                                                      $1,008.73
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF ASSEMBLED
PRODUCTS INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  693     9/26/2013    Exide Technologies, LLC            $65,142.55                                                                                     $65,142.55
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF ASSEMBLED
PRODUCTS INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  694     9/26/2013    Exide Technologies, LLC                                                                        $22,736.64                         $22,736.64
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF CONVERTED
PRODUCTS INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  566     7/29/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF CONVERTED
PRODUCTS INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  568     8/22/2013    Exide Technologies, LLC                                                                        $64,076.39                         $64,076.39
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF IBT INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  556     8/26/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BLACKWELL PARTNERS, LLC AS TRANSFEREE OF IBT INC
C/O DUMAC, INC.
ATTN JANNINE LALL
280 SOUTH MANGUM STREET, SUITE 210
DURHAM, NC 27701-3675                                  607      9/6/2013    Exide Technologies, LLC            $49,558.27                                                  $14,613.04                         $64,171.31




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                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
BLANCA MORENO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3108    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

BLANCA MORENO, GUARDIAN OF MINOR ANGEL AGUILAR
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3131    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
BLANCA SANCHEZ
3020 ARDMORE AVE
SOUTH GATE, CA 90280-2733                             2751    10/31/2013   Exide Technologies, LLC                               Unliquidated       Unliquidated                                                   $0.00
BLANCA TIRADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                3742    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
BLAS JR MANRIQUE
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                                     3840    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
BLAS MANRIQUE
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                                     3828    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
BLOOM, P
11394 MERIDIAN ST
INDEPENDENCE, OR 97351-9724                           2906    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BLUE SKY RECYCLING
ATTN: ALLEN WILLIAMS
PO. BOX 241071
ANCHORAGE, AK 99524                                   2997    11/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BLUE TARP FINANCIAL
PO BOX 105525
ATLANTA, GA 30348-5525                                1546    10/18/2013   Exide Technologies, LLC              $710.26                                                                                          $710.26
BNSF RAILWAY COMPANY
ATTN JASON SPENCER
3001 LOU MENK BUILDING A
FORT WORTH, TX 76131                                  2851    10/30/2013   Exide Technologies, LLC            $29,495.19                                                                                      $29,495.19
BNSF RAILWAY COMPANY
ATTN JASON SPENCER
3001 LOU MENK
FORT WORTH, TX 76131                                  638     9/10/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                                  98     6/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                                 175      7/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                Current General                                              Current 503(b)(9)
                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                           176      7/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                           264      7/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                           279     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, KS 66101                           1587    10/19/2013   Exide Technologies, LLC            $326,601.54                                                                                   $326,601.54
BOARD OF PUBLIC UTILITIES
540 MINNESOTA AVE
KANSAS CITY, MO 66101                           280     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOBBY BOYD
C/O THE SANTILLI LAW GROUP, LTD
111 W WASHINGTON ST, STE 1240
CHICAGO, IL 60602                               2206    10/28/2013   Exide Technologies, LLC             $20,000.00                                                                                    $20,000.00
BOBBY JOE MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3676    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
BOBBY SAMPLES
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1916    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BOGAN, KENNETH
206 O C KITCHENS DR
FLORENCE, MS 39073-7906                         2339    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BOHANNAN, LARRY C
488 LANDERS LOOP RD
DOVER, AR 72837                                 1581    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOHRENS MOVING & STORAGE-ROBBINSVILLE
3 APPLEGATE DR
ROBBINSVILLE, NJ 08691-2341                     790     10/3/2013    Exide Technologies, LLC                                                       $707.78                                                $707.78
BOHRMAN, CLYDE
228 FRIEDEN MNR
SCHUYLKILL HAVEN, PA 17972-9555                 1057    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
BOLDEN, MARGARET
4195 MICKEY DR
MEMPHIS, TN 38116-6774                          1671    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BOLDEN, WILLIAM
4195 MICKEY DR
MEMPHIS, TN 38116-6774                          1672    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BOLIN AUTO & TRUCK PARTS INC
PO BOX 3275
1211 SOUTH 10TH
SAINT JOSEPH, MO 64503-0275                     2208    10/28/2013   Exide Technologies, LLC              $1,188.83                                                  $1,558.47                          $2,747.30

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                                                                                                           Current General                                               Current 503(b)(9)
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               Creditor Name and Address                 Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                               Amount                                                        Amount
BOLINE, CHERYL
1336 ROSEVILLE DR
COLORADO SPGS, CO 80911-3860                               1810    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BOLLINGER, DANIEL C
10987 FAWN MEADOW LN
STRONGSVILLE, OH 44149                                     980     10/7/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BONNER JR, T
PO BOX 51
MC LEOD, TX 75565-0051                                     912     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
BONNIE L CONRAD IRA
2824 WOODBURY CIR
ST GEORGE, UT 84790                                        1901    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BOODMAN, JEFFREY
2175 DALKE RIDGE DR NW
SALEM, OR 97304-4830                                       1702    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BORN, M.
509 JUNIPER LN
BRADLEY, IL 60915-1125                                     1507    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BOROUGH OF LAURELDALE
3406 KUTZTOWN RD
LAURELDALE, PA 19605-2647                                  3316    12/9/2013    Exide Technologies, LLC              $1,331.71                $0.00                                                                 $1,331.71
BOSSIER, COYLE
PO BOX 160
CONVERSE, LA 71419-0160                                    1382    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF BATTERY
RECYCLERS OF AMERICA (VENDOR #11320165)
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                         246     7/11/2013    Exide Technologies, LLC                                                                         $22,878.96                         $22,878.96
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF
CARTERBALDWIN EXECUTIVE SEARCH
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                         247     7/11/2013    Exide Technologies, LLC            $118,539.07                                                                                    $118,539.07
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF COPPS
INDUSTRIES INC
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                         541     8/24/2013    Exide Technologies, LLC                                                                         $23,866.74                         $23,866.74
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF
SOUTHERN CONTROLS INC
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                         644     9/16/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF
SOUTHERN CONTROLS INC
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                         677     9/21/2013    Exide Technologies, LLC                                                                          $7,666.35                          $7,666.35


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                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                       Amount
BOWERY OPPORTUNITY FUND, L.P. AS TRANSFEREE OF
SOUTHERN CONTROLS INC
ATTN VLADIMIR JELISAVCIC
1325 AVENUE OF THE AMERICAS, 28TH FLOOR
NEW YORK, NY 10019                                    677     9/21/2013    Exide Technologies, LLC             $5,493.08                                                                                       $5,493.08
BOWYER, SANDRA
8604 E CANAL LN
PERU, IN 46970-9450                                   1435    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOYD, WILLIE
451 EAGLE CT
JACKSON, MS 39272-5798                                1021    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BOYKIN, RODNEY
2819 W MOUNTAIN CREEK RD
FLORENCE, MS 39073-8543                               2164    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BR WELDING SUPPLY LLC DBA TNT BATON ROUGE
4709 BLUEBONNET BLVD STE A
BATON ROUGE, LA 70809                                 2181    10/28/2013   Exide Technologies, LLC              $774.42                                                                                         $774.42
BRACKBILL, RUTH
1048 RAWLINSVILLE RD
WILLOW STREET, PA 17584-9739                          1372    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRADLEY SPECIALTIES CORP
SHARTLESVILLE INDUSTRIAL PARK
PO BOX 436
50 FEICK IND DR
SHARTLESVILLE, PA 19554                               294      7/2/2013    Exide Technologies, LLC            $11,732.13                                                                                     $11,732.13
BRADLEY, RENDA
PO BOX 1944
KANKAKEE, IL 60901-1944                               1828    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BRADY SYSTEMS
STEPHANIE GILLETTE
811 NORTH ALVORD STREET
SYRACUSE, NY 13208                                    2924    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRANAGIN, DENNIS
966 W COUNTY ROAD 650 S
FRANKFORT, IN 46041-7538                              2097    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BRANDENBURG INDUSTRIAL SERVICE COMPANY
ATTN LYNN JASINOWSKI
501 W LAKE ST STE 104
ELMHURST, IL 60126                                    4174     6/9/2016    Exide Technologies, LLC            $67,000.00                                                                                     $67,000.00
BRANDIE NICOLE LLAMAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3907    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
BRANDON X RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3050    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00


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                                                                                                      Current General                                              Current 503(b)(9)
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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                       Amount
BRANTLEY, EDITH
306 WALNUT CIR
BOSSIER CITY, LA 71111-5124                           3250    11/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRASCOMBE FLORES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3910    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
BRASK ENTERPRISES INCORPORATED II
PO BOX 94258
LAS VEGAS, NV 89193-4258                              963     10/7/2013    Exide Technologies, LLC             $2,200.00                                                                                       $2,200.00
BRASK, KAY
3415 200TH ST W
FARMINGTON, MN 55024-9708                             2132    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRATTON, NORA
PO BOX 552
FLORA, MS 39071-0552                                  2917    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRAULIO RAMIREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                3704    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
BREHEIM, ERNEST
1841 N MORELAND AVE
INDIANAPOLIS, IN 46222-4827                           1954    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
BREHOB CORPORATION
ATTN LINDA COFFEY
PO BOX 2023
INDIANAPOLIS, IN 46206-2023                           543     8/26/2013    Exide Technologies, LLC            $67,233.87                                                                                     $67,233.87
BREHOB CORPORATION
C/O RUBIN & LEVIN PC
ATTN JOHN C HOARD
135 N PENNSYLVANIA ST STE 1400
INDIANAPOLIS, IN 46204                                4175    6/23/2016    Exide Technologies, LLC            $16,611.00                                                                                     $16,611.00
BRENDA L NUNEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3088    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
BRENDA VELA, GUARDIAN OF MINOR ADRIEN SEGURA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3081    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

BRENDA VELA, GUARDIAN OF MINOR HUMBERTO SEGURA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3031    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

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                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
BRENDA VELA, GUARDIAN OF MINOR VALERIA SEGURA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3030    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
BRENNTAG MID-SOUTH INC
ATTN ROBERT BURBANK
5083 POTTSVILLE PIKE
READING, PA 19605                                    3901     6/2/2014    Exide Technologies, LLC                                                                             $0.00                              $0.00
BRENNTAG SOUTHWEST INC
C/O BRENNTAG NORTH AMERICA INC
ATTN ROBERT M BURBANK, CORP CREDIT MGR
5083 POTTSVILLE PIKE
READING, PA 19605                                    2010    10/26/2013   Exide Technologies, LLC             $8,396.22                                                                                       $8,396.22
BRENTWOOD INDUSTRIES INC
ATTN JASON BAUDER
PO BOX 605
READING, PA 19603-0605                               388     7/26/2013    Exide Technologies, LLC                                                                        $59,733.46                         $59,733.46
BRENTWOOD INDUSTRIES INC
ATTN JASON BAUDER
PO BOX 605
READING, PA 19603-0605                               2176    10/28/2013   Exide Technologies, LLC            $15,458.32                                                                                     $15,458.32
BRENTWOOD INDUSTRIES INC
ATTN JASON BAUDER, CREDIT & COLLECTION MGR
PO BOX 605
READING, PA 19603-0605                                10     6/14/2013    Exide Technologies, LLC                                       $0.00                                 $0.00                              $0.00
BREWER, DANNY
1302 AP CARTER HWY
HILTONS, VA 24258-6099                               1845    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BREWER, THOMAS
2255 STONE RD
MANNING, SC 29102-4559                               2047    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
BRIAN MEJIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3189    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
BRIAN TAPIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3177    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
BRIANNA B IBARRA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                 3394     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
BRIDGES, JAMES
81 NORTH PLEASANT HILL
NEWHEBRON, MS 39140                                  2025    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00

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                                                                                                                                Current Priority   Current Secured                         Current Admin    Total Current
                Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                            Amount                                                        Amount
BRIDGES, LEROY
1211 ALDENWOOD DR
DALLAS, TX 75232-4201                                   1047    10/8/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
BRIDGET C WITHERS TRAD IRA
C/O BRIDGET C WITHERS
3982 E BROOKHAVEN DR NE
ATLANTA, GA 30319-2861                                  940     10/7/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BRIGGS EQUIPMENT
10540 N STEMMONS FRWY
DALLAS, TX 75220                                        1030    10/8/2013    Exide Technologies, LLC             $16,309.58                                                                                     $16,309.58
BRINKMANN, SUSAN
445 SUMMIT AVE
HORSHAM, PA 19044-3138                                  784     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

BRINNA DELA ROSA A MINOR BY & THROUGH HER PARENT
ESTRELLITA DELGADILLO
629 ORME AVE
LOS ANGELES, CA 90023                                   3801    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                    $100,000.00
BRISLIN, GEORGE
103 HAVERHILL RD
AMESBURY, MA 01913-2107                                 1813    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRISTOL TENNESSEE ESSENTIAL SERVICES
ATTN HEATHER N JENKINS CPA
GENERAL ACCOUNTANT
PO BOX 549
BRISTOL, TN 37621                                       2498    10/30/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
BRITTAIN, FRANK
2430 8TH AVE SE
ALBANY, OR 97322-5019                                   2121    10/28/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
BROADWAY PROPERTIES LIMITED
C/O NETWORK PROPERTIES LTD
2 BLUEWATER
BEDFORD NS B4B 1G7

CANADA                                                  1459    10/17/2013   Exide Technologies, LLC               $117.59                                                                                         $117.59
BROCKMAN, CAROLYN
502 ELLIS CT APT 406
RICHMOND, KY 40475-1371                                 1598    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BROCKWELL, JIMMIE
1303 FAIRHAVEN ST
LONGVIEW, TX 75605-1517                                 1623    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRODIN, PETER
5425 SHORE TRL NE
PRIOR LAKE, MN 55372-1260                               1046    10/8/2013    Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
BRONSON, DANIEL
1055 PRESIDENTS DR
LITITZ, PA 17543-7337                                   1141    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BROOKS, SHIRLEY
692 W PARK DR
KANKAKEE, IL 60901-2923                                 1811    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
BROWARD COUNTY RECORDS TAXES & TREASURY DIV
TAX COLLECTOR GOVERNMENT CENTER ANNEX
ATTN LITIGATION SECTION
115 S ANDREWS AVE
FT LAUDERDALE, FL 33301                            297     7/15/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BROWDER, LEAMON
3806 CLEVELAND ST
SHREVEPORT, LA 71109-7322                          2289    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BROWN INDUSTRIES
JON HAWKINS
PO BOX 2143
DALTON, GA 30722                                   927     10/7/2013    Exide Technologies, LLC            $96,790.67                                                   $19,462.05                        $116,252.72
BROWN TRUCK LEASING CORPORATION
DBA BROWN NATIONALEASE
ATTN CHARLOTTE SHELLEY
11229 AURORA AVE
URBANDALE, IA 50322-7906                           2524    10/30/2013   Exide Technologies, LLC                    $0.00                                 $0.00               $0.00                              $0.00
BROWN, GARY
4423 ROMAN DR
COLUMBUS, GA 31907-6235                            860     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BROWN, JAMES
4715 ELON RD
MONROE, VA 24574-2962                              1334    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BROWN, JAMES
523 JOHNSON ST
WEST WYOMING, PA 18644-1115                        2621    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
BROWN, SANDY
PO BOX 93
MORTON, MS 39117-0093                              2076    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRUCE COLE
C/O GNB INDUSTRIAL POWER
13000 DEERFIELD PKWY #200
MILTON, GA 30004                                   2514    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BRUCE, JAMES
2105 MAPLE HILL ST
ZANESVILLE, OH 43701-2030                          730     10/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BRUMMETT'S PLUMBING - MUNCIE
PO BOX 3302
MUNCIE, IN 47307                                   1111    10/10/2013   Exide Technologies, LLC              $420.00                                                                                          $420.00
BRUNOS SEMI TRAILERS
ATTN ROBERT J BRUNO, PRESIDENT
600 SUNSHINE RD
KANSAS CITY, KS 66115                              1216    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BRUNSON, VERNICE
130 MAIL BOX LN
LYNCHBURG, SC 29080-8419                           2039    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BRYAN GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3925    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
BRYAN GONZALES (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3671    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
BRYANT ALFARO (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3786    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
BRYANT, DALE
5119 S TIERNEY DR
INDEPENDENCE, MO 64055                           1498    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BT AMERICAS INC
ATTN NEIL HOBBS, ESQ
620 EIGHTH AVE
NEW YORK, NY 10018                               1750    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUBLITZ MATERIAL HANDLING
703 E 14TH AVE
KANSAS CITY, MO 64116-3720                       1711    10/22/2013   Exide Technologies, LLC             $5,950.22                                                    $1,226.95                           $7,177.17
BUCHANAN, RANDY
1635 ANDERSON RIDGE RD
SIMPSONVILLE, SC 29681-4309                      1904    10/25/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
BUCKEYE BUSINESS PRODUCTS INC
PO BOX 92340 (44193)
3830 KELLEY AVE
CLEVELAND, OH 44114                              711     9/30/2013    Exide Technologies, LLC            $19,436.67                                                                                      $19,436.67
BUCKHORN INC
ATTN SCOTT JAMES
1293 S MAIN ST
AKRON, OH 44301                                  2841    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
BUCKLEY, WANDA
444 BUCKLEY RD
HARRISVILLE, MS 39082-4156                       2244    10/29/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
BUCKS COUNTY CLEANING
PO BOX 123
LANGHORNE, PA 19047-0123                         1024    10/7/2013    Exide Technologies, LLC             $1,819.42                                                                                        $1,819.42
BUDD, KRISTEN
1814 JUNIPER DR
MERRITT BC V1K 1J6 CANADA

CANADA                                           1693    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUDWASH, ROBERT
57 W WYOMISSING AVE
MOHNTON, PA 19540-1917                           2901    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                 Current General                                               Current 503(b)(9)
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                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BUGLE FORKLIFT SALES AND RENTALS, LTD
JOLENE KANE
#105 - 4919 72ND AVE SE
CALGARY, AB T2C 3H3
                                                 1118    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUILDING SPRINKLER INC
47187 WILD CLOVER CIR
SIOUX FALLS, SD 57107                            1955    10/25/2013   Exide Technologies, LLC              $195.65                                                                                          $195.65
BULL'S EYE INDOOR RANGE LLC
C/O BRIAN BORGELT
414 PUYALLUP AVE STE B
TACOMA, WA 98421                                 498     8/16/2013    Exide Technologies, LLC            $1,753.68                                                                                        $1,753.68
BUMPOUS, WILLIAM
PO BOX 11
UNION HILL, IL 60969-0011                        1722    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BUNKER, DAVID
2985 HOMESTEAD RD
SUMTER, SC 29153-7632                            2127    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BUNNELL, ANN
2210 KIRST CT
SCRANTON, PA 18505-1644                          1905    10/25/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
BUNT, JOHN
10361 S 4218 RD
CHELSEA, OK 74016-3459                           1174    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
BURKHOLDER, BARBARA
4655 VICTORIA ST N APT 318
SHOREVIEW, MN 55126-5894                         2680    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BURLON, LURELEEN
123 TONEY AVE
ERWIN, TN 37650-1861                             2707    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BURNHAM, CHARITY
207 DRUSILLA LN
VICKSBURG, MS 39180-6123                         2891    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BURRELL, LEONARD
PO BOX 1515
WOODVILLE, MS 39669-1515                         3350    12/13/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BURT K FISCHER TRUST
9245 N SUNSET RIDGE
FOUNTAIN HILLS, AZ 85268                         350     7/22/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
BURTNETT, LAWRENCE
9215 HOOP POLE RD
ROSEVILLE, OH 43777-9555                         2499    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BURTON, DARRYLE
PO BOX 534
MENDENHALL, MS 39114-0534                        3363    12/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
BUSHMAN, LINDA
3240 HANOVER DR
LAFAYETTE, IN 47909-3852                         1571    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                 Current General                                               Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
BUSHWICK METALS LLC
560 N WASHINGTON AVE
BRIDGEPORT, CT 06604                             837     10/4/2013    Exide Technologies, LLC             $4,008.73                                                                                       $4,008.73
BUTLER SNOW ATTORNEYS
1020 HIGHLAND COLONY PARKWAY
SUITE 1400
POST OFFICE BOX 6010
RIDGELAND, MS 39158-6010                         1780    10/24/2013   Exide Technologies, LLC            $40,125.18                                                                                      $40,125.18
BUTLER TOOL INC
DENNIS GOGIN
4731 N 125 ST
BUTLER, WI 53007                                 797     10/3/2013    Exide Technologies, LLC            $13,667.50                 $0.00                                $914.50                         $14,582.00
BUTTS, ROBERT & PATRICIA
5 PINEWOOD DR
WILKES BARRE, PA 18702-7219                      3986    1/12/2015    Exide Technologies, LLC             $1,077.00                 $0.00                                                                 $1,077.00
BUTZ, CAROL
374 DARTMOUTH CT
BENSALEM, PA 19020-8204                          863     10/5/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
BYLES, JUDY
1015 HILL ST
BRISTOL, TN 37620-2143                           1999    10/26/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
BYRD, GEORGE
9 DOGWOOD TRL
TEMPLE, GA 30179-5312                            1577    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
C & H DISTRIBUTORS, INC.
770 S 70TH ST
PO BOX 14770
MILWAUKEE, WI 53214-3109                         3261    11/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
C & W LEASING CORP - ABILENE
PO BOX 929
ABILENE, TX 79604-0929                           2247    10/29/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
C BAR P TRUCKING INC
20707 W 21ST ST N
GODDARD, KS 67052                                393     7/26/2013    Exide Technologies, LLC            $47,333.40                                                                                      $47,333.40
C F HECKMAN & SON INC - LEESPORT
2668 LEISCZS BRIDGE RD
LEESPORT, PA 19533-9334                          1249    10/12/2013   Exide Technologies, LLC              $424.00                                                                                          $424.00
CABLE, JOHN V
985 BRIDGE MILL
CANTON, GA 30114                                 1036    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CADI COMPANY INC
C/O DANA CAPOZZI
PO BOX 1127
60 RADO DR
NAUGATUCK, CT 06770                              3891    3/20/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CAL-CRAFT DESIGN INT
1615 RIVERVIEW DR., STE A
SAN BERNARDINO, CA 92408                         1534    10/18/2013   Exide Technologies, LLC            $77,767.66                                                    $5,948.55                         $83,716.21




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                                                                                                      Current General                                              Current 503(b)(9)
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                                                                                                                               Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                          Amount                                                       Amount
CALDERON, LEOPOLDO
3620 LEXINGTON AVE
KANSAS CITY, MO 64124-2007                            1896    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CALDWELL, DAVID
2613 BRANSTON WAY
APEX, NC 27539-6211                                   2246    10/29/2013   Exide Technologies, LLC            $100,000.00                                                                                    $100,000.00
CALDWELL, DAVID NEVIN
2613 BRANSTON WAY
APEX, NC 27539-6211                                   2245    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CALHOUN, SHERMAN
1525 S 5TH AVE
KANKAKEE, IL 60901-4827                               3213    11/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CALICO PRECISION MOLDING
PO BOX 8006
FORT WAYNE, IN 46898-8006                             864     10/5/2013    Exide Technologies, LLC             $85,558.14                                                 $19,655.94                         $105,214.08
CALIFORNIA COMMUNITIES AGAINST TOXICS
A NON PROFIT CALIFORNIA ASSOCIATION
PO BOX 845
ROSAMOND, CA 93560                                    2693    10/31/2013   Exide Technologies, LLC        $2,250,000.00                                                                                     $2,250,000.00
CALIFORNIA COMMUNITIES AGAINST TOXICS
PO BOX 845
ROSAMOND, CA 93560                                    538     8/24/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

CALIFORNIA DEPARTMENT OF TOXIC SUBSTANCES CONTROL
C/O CA DEPARTMENT OF JUSTICE
ATTN SDAG MARGARITA PADILLA
1515 CLAY ST 20TH FL
PO BOX 70550
OAKLAND, CA 94612-0550                                3301    12/6/2013    Exide Technologies, LLC            $712,302.09                $0.00                                                    $0.00      $712,302.09
CALIFORNIA ELECTRICAL SERVICES
5924 SAN FERNANDO RD
GLENDALE, CA 91202-2741                               739     10/2/2013    Exide Technologies, LLC             $12,673.00                                                                                     $12,673.00
CALL ONE, INC
PO BOX 9002
CAPE CANAVERAL, FL 32920                              2961    11/4/2013    Exide Technologies, LLC               $240.80                                                     $214.66                             $455.46
CALLABRESI HEATING COOLING
AIR SYSTEM CLEANING
1311 ARMORY RD
SALINA, KS 67401-4067                                 1708    10/22/2013   Exide Technologies, LLC              $6,134.21                                                                                      $6,134.21
CALTROL
ANITA MCDONALD
1385 PAMA LN STE 111
LAS VEGAS, NV 89119-3849                              781     10/3/2013    Exide Technologies, LLC              $1,952.00                                                                                      $1,952.00
CALUMET AUTO PARTS
8501 W CALUMET RD
MILWAUKEE, WI 53224-3414                              925     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CALUMET AUTO SALVAGE
8501 W CALUMET RD
MILWAUKEE, WI 53224                                   146      7/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                 Current General                                               Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                         Current Admin     Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
CALUMET AUTO SALVAGE
8501 W CALUMET RD
MILWAUKEE, WI 53224                              933     10/7/2013    Exide Technologies, LLC             $1,666.00                                                                                        $1,666.00
CAMERON, RONALD
PO BOX 97
OQUAWKA, IL 61469-0097                           1296    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CAMPBELL, PAUL
PO BOX 386
BLOUNTVILLE, TN 37617-0386                       1612    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CAMPBELL'S USED AUTO PARTS INC
36 RIVER RD
LISBON, ME 04250                                 411     7/30/2013    Exide Technologies, LLC                                                                          $1,566.95                           $1,566.95
CANADA BEDFORD / BROADWAY PROPERTIES-MTM
C/O NETWORK PROPERTIES LTD
2 BLUEWATER RD
BEDFORD NS B4B 1G7 CANADA

CANADA                                           1460    10/17/2013   Exide Technologies, LLC              $115.66                                                                                           $115.66
CANDACE PEINADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3686    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
CANNELLA, VITO
1122 RIVERSIDE DR
MORRISVILLE, PA 19067-1223                       2756    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CANNON JR, JAMES
215 O C KITCHENS DR
FLORENCE, MS 39073-7996                          1993    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CANNON SR, J.C.
215 OC KITCHENS ROAD
FLORENCE, MS 39073                               2340    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CANNON, ETHEL
211 O C KITCHENS DR
FLORENCE, MS 39073-7996                          2124    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CANON FINANCIAL SERVICES INC
PO BOX 5008
MOUNT LAUREL, NJ 08054-5008                      1149    10/8/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
CAPISTRANT, STANLEY
5590 NORWICH PKWY APT 117
OAK PARK HEIGHTS, MN 55082-6495                  1737    10/22/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
CAPITAL CONTRACTORS
ATTN MIKE FRIGANO
1 CA PLZ STE 100
ISLANDIA, NY 11749-5303                          708     9/30/2013    Exide Technologies, LLC            $18,508.22                                                                                       $18,508.22
CAPLUGS
2150 ELMWOOD AVE
BUFFALO, NY 14207-1910                           974     10/7/2013    Exide Technologies, LLC             $3,738.18                                                                                        $3,738.18




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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                       Amount                                                       Amount
CAPP INC
ATTN DAVID I KLEIN, CPA
201 MARPLE AVE
CLIFTON HEIGHTS, PA 19018                          576     8/29/2013    Exide Technologies, LLC            $29,512.22                                                                                     $29,512.22
CAR CO RENTALS INC. / CAR CO NATIONAL LEASE
BOBBIE SUE BEASLEY
2905 N. 32ND ST.
FORT SMITH, AR 72904                               1169    10/11/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
CARDLOCK FUELS SYSTEM INC DBA SC FUELS
1800 W KATELLA AVE STE 400
ORANGE, CA 92867                                   372     7/25/2013    Exide Technologies, LLC             $4,361.75                                                                                      $4,361.75
CAREER BUILDER LLC
C/O JONATHAN NEIL & ASSOCIATES INC
PO BOX 7000
TARZANA, CA 91357                                  3201    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CARINA LIZETH FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3114    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
CARL ERIC JOHNSON INC- TUCKER
1725 MACLEOD DR STE Q
LAWRENCEVILLE, GA 30043-7874                       849     10/4/2013    Exide Technologies, LLC             $6,673.97                                                                                      $6,673.97
CARL JARL-PIONEER LOCK CO.INC.-OMAHA
11055 I ST
OMAHA, NE 68137-1207                               1476    10/18/2013   Exide Technologies, LLC              $117.90                                                                                         $117.90
CARLENE MILLER
C/O GREGORY E HOOVER LLC
3637 MEDINA RD STE 345
MEDINA, OH 44256                                   2482    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
CARLILE PATCHEN & MURPHY LLP
366 E BROAD ST
COLUMBUS, OH 43215-3819                            1110    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CARLOS C QUEZADA
3596 E 52ND ST
MAYWOOD, CA 90207                                  3809    1/31/2014    Exide Technologies, LLC                               Unliquidated                                                                     $0.00
CARLOS DOMINZUEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3724    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CARLOS ESQUIZEL
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3722    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
CARLOS HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3942    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
CARLOS HUSMAN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            3396     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
CARLOS HUSMAN
PO BOX 861
MAYWOOD, CA 90270                               3646    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
CARLOS JIMENEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3539    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
CARLOS M BARRON
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3474    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
CARLOS ORTIZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3574    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
CARLOS PANDO
PO BOX 3441
HUNTINGTON PARK, CA 90255-2341                  3873     2/6/2014    Exide Technologies, LLC                                     $576.00                                                                  $576.00
CARLOS VALDEZ III
4927 KINSIE ST
COMMERCE, CA 90040                              2219    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CARLOS VALDEZ JR
4927 KINSIE ST
COMMERCE, CA 90040-1107                         2313    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CARL'S AUTO ELECTRIC
4564 N PECK RD #8
EL MONTE, CA 91732                              1279    10/14/2013   Exide Technologies, LLC              $579.34                                                                                         $579.34
CARL'S AUTO ELECTRIC
4564 NORTH PECK ROAD
EL MONTE, CA 91732                              852     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CARMEN BUENROSTRO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3498    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00




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                                                                                                      Current General                                              Current 503(b)(9)
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                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                       Amount
CARMEN FELIX
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3485    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
CARMEN PAVIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3553    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
CAROLINA COMMERCIAL HOLDINGS LLC
ATTN GENE WARR
2917 W PALMETTO ST
FLORENCE, SC 29501                                    2876    11/1/2013    Exide Technologies, LLC             $15,000.00                                                                                    $15,000.00
CAROLINA HANDLING LLC
PO BOX 7548
CHARLOTTE, NC 28241-7548                              353     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CAROLINA POWER AND LIGHT CO.
C/O DUKE ENERGY PROGRESS
P.O. BOX 1551
RALEIGH, NC 27602                                     2458    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CAROLINE ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                3772    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CAROLINE ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                3778    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CAROLYN RUELAS A MINOR BY & THROUGH HER PARENT
JACKELINE WITRON
10111 SAN JUAN AVE
SOUTH GATE, CA 90280                                  3805    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
CARR, FORREST C & EDITH M
1729 INDIAN HILLS RD
LEBANON, TN 37087                                     2135    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CARRIE LANCASTER
344 WILDWOOD AVE
SUMTER, SC 29154-5400                                 4025     3/2/2015    Exide Technologies, LLC                                  $28,896.00                                                               $28,896.00
CARRIER CORPORATION
ATTN AMY HEBERT, BLDG TR-5
PO BOX 4808
SYRACUSE, NY 13221                                    3209    11/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CARROLL R WETZEL
PO BOX 654
CAPTIVA, FL 33924                                     4104    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00



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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                           Amount                                                        Amount
CARROLL R WETZEL
PO BOX 654
CAPTIVA, FL 33924                                      4105    5/22/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
CARROLL R WETZEL JR
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                       2232    10/29/2013   Exide Technologies, LLC             $11,000.00                                                                                      $11,000.00
CARTER, LEWIS
208 BROWN HILL RD
FLORENCE, MS 39073-8595                                2165    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CARTER, PRESSIE
PO BOX 641
TERRY, MS 39170-0641                                   1966    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CARTER, VELMA
113 ALLENDALE DR
VICKSBURG, MS 39180-8926                               2882    11/1/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
CARTWRIGHT LOGISTICS SERVICES
ATTN JEFF BAKALAR, DIRECTOR OF FINANCE
11901 CARTWRIGHT AVE
GRANDVIEW, MO 64030                                    665     9/19/2013    Exide Technologies, LLC            $544,721.02                                                                                     $544,721.02
CASALE, STEVEN
5 JOMERLYN DR
TAYLOR, PA 18517-1321                                  3887     3/3/2014    Exide Technologies, LLC                    $0.00                                                                                         $0.00

CASCADE GENERAL INC & SHIPYARD COMMERCE CENTER LLC
C/O VIGOR INDUSTRIAL LLC
ATTN MICHAEL G MARSH
1801 16TH AVE SW
SEATTLE, WA 98134                                      2753    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
CASCADES ENVIROPAC HPM LLC
C/O HARTER SECREST & EMERY LLP
12 FOUNTAIN PLAZA STE 400
BUFFALO, NY 14202                                      4124     6/1/2015    Exide Technologies, LLC                                                                                             $3,460.80        $3,460.80
CASH FLOW ENHANCEMENT GROUP SOUTH INC
5490 MCGINNIS FERRY VILLAGE STE 220
ALPHARETTA, GA 30005                                   204      7/6/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
CASH-N-CARRY PULL YOUR PART
PO BOX 22307
SAVANNAH, GA 31403                                     3885     3/3/2014    Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
CASTEEL, BRUCE
3479 N LINDA DR
BOURBONNAIS, IL 60914-4323                             2857    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CASTILLO, AURELIO
2539 E PRAIRIE WOOD CT
FRANKFORT, IN 46041-6971                               2332    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CASTILLO, VICTOR
700 E KELLEY RD
FRANKFORT, IN 46041-8876                               2334    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00


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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                       Amount                                                        Amount
CATALYST RESOURCE GROUP LLC
2050 MARCONI DR STE 300
ALPHARETTA, GA 30005                               4113    5/28/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
CATE, GEORGIA
2342 QUEEN AVE SW
ALBANY, OR 97321-7526                              1357    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CAYABO, RIZALINO
41721 ROAD 136
OROSI, CA 93647-9648                               1818    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CBH TRUCKING CO INC
5615 US HWY 64
FARM, NM 87401                                     600      9/4/2013    Exide Technologies, LLC              $3,553.40                                                   $2,601.90                           $6,155.30
CBM TRADING INC
601 AYRES PROGRESS DR
WILTON, IA 52778                                    48     6/21/2013    Exide Technologies, LLC              $9,569.92                                                                                       $9,569.92
CECILIA AGUILAR
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3670    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
CECILIA BANDA
PO BOX 636
HUNTINGTON PARK, CA 90255-0636                     3651    1/30/2014    Exide Technologies, LLC                               Unliquidated                                                                       $0.00
CECILY L ZUNIGA BY & THROUGH HER GUARDIAN
AD LITEM MARLENE A ALEMAN-ZUNIGA MOTHER
286 MARGARET AVE
LOS ANGELES, CA 90022-2225                         3556    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00
CELLUSUEDE PRODUCTS INC
C/O HINSHAW & CULBERTSON LLP
ATTN CHARLES M TATELBAUM
ONE E BROWARD BLVD STE 1010
FT LAUDERDALE, FL 33301                            173      7/2/2013    Exide Technologies, LLC                                                                              $0.00                               $0.00
CELLUSUEDE PRODUCTS INC
C/O HINSHAW & CULBERTSON LLP
ATTN DEVIN NOBLE
100 PARK AVE
ROCKFORD, IL 61101                                 1757    10/23/2013   Exide Technologies, LLC            $107,632.00                                                       $0.00                         $107,632.00
CELLUSUEDE PRODUCTS INC
C/O MONZACK MERSKY MCLAUGHLIN & BROWDER P A
ATTN BRIAN J MCLAUGHLIN, ESQ
1201 N ORANGE ST STE 400
WILMINGTON, DE 19801-1155                          520     8/19/2013    Exide Technologies, LLC                                                                              $0.00                               $0.00
CELTIC CROSS CHARITABLE FOUNDATION
C/O SCOTIA MCLEOD
650 W GEORGIA ST STE 1100
VANCOUVER, BC V6B 4N9
CANADA                                             2141    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
CEMTEK ENVIRONMENTAL, INC-SANTA ANA
3041 ORANGE AVE
SANTA ANA, CA 92707-4247                           1479    10/18/2013   Exide Technologies, LLC              $4,380.20                                                                                       $4,380.20

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
CENTERLINE DRIVERS, LLC
C/O TRUEBLUE INC
PO BOX 2910
TACOMA, WA 98401-2910                            2357    10/30/2013   Exide Technologies, LLC            $15,332.16                                                                                      $15,332.16
CENTRAL INDUSTRIAL CONTRACTORS INC
1000 N PARK AVE
MARION, IN 46952                                  44     6/21/2013    Exide Technologies, LLC             $3,447.00                                                                                       $3,447.00
CENTRAL POWER SYSTEMS & SERVICES INC
9200 LIBERTY DR
LIBERTY, MO 64068                                460      8/8/2013    Exide Technologies, LLC            $24,447.74                                                                                      $24,447.74
CENTRIFUGAL CASTINGS
ATTN DWYN VON BEREGHY
136 E WALKER ST
MILWAUKEE, WI 53204                               93     6/27/2013    Exide Technologies, LLC             $9,202.10                                                    $1,961.37                         $11,163.47
CERTIFIED LABS
2727 CHEMSEARCH BLVD
IRVING, TX 75062                                 579     8/26/2013    Exide Technologies, LLC              $578.33                                                                                          $578.33
CESAR RAMIREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3700    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CESAR RAMIREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3703    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CESAR RAMOS
507 AMALIA AVE
LOS ANGELES, CA 90022                            2154    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CHAMBERS, DAISY
522 FARR RD
COLUMBUS, GA 31907-6253                          861     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
CHANTEL CRUZ
31031 FRETWELL AVE
HOMELAND, CA 92548                               3457    1/28/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
CHAPMAN, JOYCE
222 COTTAGE GROVE AVE
W BURLINGTON, IA 52655-1404                      1291    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CHAPMAN, MARVIN
15851 CRIPPLE CREEK DR
TYLER, TX 75703-6952                             1309    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CHARLES A LIEUPO
C/O JACKSON W ADAMS PA
33 E ROBINSON ST STE 209
ORLANDO, FL 32801                                3993    2/10/2015    Exide Technologies, LLC            $15,000.00                                                                                      $15,000.00
CHARLES CHARITIES TRUST
C/O SUSAN SINCLAIR, TTEE
PO BOX 836
MILLER PLACE, NY 11764-0836                      2455    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00

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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                             Amount                                                        Amount
CHARLES COTTRELL
1108 MCKINLEY AVE
FRANKFORT, IN 46041-1834                                 2485    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CHARLES RUNCO
1255 COTTAGE POINTE CT.
COLUMBUS, GA 31904                                       1543    10/18/2013   Exide Technologies, LLC            $105,208.82                $0.00              $0.00                                             $105,208.82
CHARLES TRAMEL
199 FOX MEADOWS RD
BATESVILLE, MS 38606-7409                                2526    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CHARLES WEATHERLY
866 WHATLEY ST
SUMTER, SC 29154-6042                                    4000     3/2/2015    Exide Technologies, LLC                                  $16,570.98                                                                 $16,570.98
CHARLIE HAMPTON
7765 SHINE LN
PINEWOOD, SC 29125-9586                                  4020     3/2/2015    Exide Technologies, LLC                                  $13,581.42                                                                 $13,581.42
CHARLOTTE E. EOFF
C/O GLASSMAN, EDWARDS, WADE & WYATT, P.C
ATTN TIM EDWARDS
26 N. SECOND ST
MEMPHIS, TN 38103                                        1889    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CHARLOTTE KELLEY
2121 GREENVILLE CIR
SUMTER, SC 29154-6176                                    4017     3/2/2015    Exide Technologies, LLC                                  $35,184.73                                                                 $35,184.73

CHARVET NIGERIA LTD
C/O THE KISS MIX DRINKS COMPANY
ATTN ROBERT MILLAR
OFFICE 3, MAPLE SUITE, GUARDIAN HOUSE, BOROUGH RD
GODALMING SURREY GU7 2AE UK

UNITED KINGDOM                                           624     9/11/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                  $0.00            $0.00
CHATMAN, GEORGE
143 PRESTON MANGUM RD
MAGEE, MS 39111-3296                                     994     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
CHATMAN, GREGORY
125 NORMAN RD
MAGEE, MS 39111-2901                                     2946    11/2/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
CHEEK, GARY
2354 BRANDON CIR
CHINO HILLS, CA 91709                                    1117    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CHEM STATION SOUTHEAST - COLUMBUS
3151 WILLIAMS ROAD
COLUMBUS, GA 31909                                       1256    10/12/2013   Exide Technologies, LLC             $15,480.00                                                   $4,800.00                          $20,280.00
CHEM-AQUA
2727 CHEMSEARCH BLVD
IRVING, TX 75062                                         580     8/26/2013    Exide Technologies, LLC             $31,682.64                                                                                      $31,682.64
CHEM-AQUA A DIV OF NCH CORPORATION
2727 CHEMSEARCH BLVD
IRVING, TX 75062                                         357     7/16/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00


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                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                   Amount                                                       Amount
CHEMETALL
CHEMETALL
675 CENTRAL AVE
NEW PROVIDENCE, NJ 07974                       913     10/7/2013    Exide Technologies, LLC             $9,039.68                                                                                      $9,039.68
CHEMETALL US INC
PO BOX 23100
LOS ANGELES, CA 90023-0100                     3094    11/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHEM-LAB INC
4302 WHEELER AVE
FORT SMITH, AR 72901                           673     9/21/2013    Exide Technologies, LLC            $17,820.00                                                                                     $17,820.00
CHEMSOLV INC,-ROANOKE
PO BOX 13847
ROANOKE, VA 24037-3847                         1458    10/17/2013   Exide Technologies, LLC             $4,582.00                                                     $915.00                          $5,497.00
CHEMTRADE LOGISTICS (US) INC
C/O BURNHAM LAW ASSOCIATES LLC
ATTN NOEL C BURNHAM
10 BERGER CT
MIDDLETOWN, DE 19709                           487     8/12/2013    Exide Technologies, LLC                                                                        $42,392.07                         $42,392.07
CHEMTRADE LOGISTICS (US) INC
C/O FROST BROWN TODD LLC
ATTN SARA L ABNER, ESQ
400 W MARKET ST 32ND FL
LOUISVILLE, KY 40202-3363                      653     9/18/2013    Exide Technologies, LLC            $51,487.74                                                                                     $51,487.74
CHEMTRADE REFINERY SERVICES INC
C/O BURNHAM LAW ASSOCIATES LLC
ATTN NOEL C BURNHAM
10 BERGER CT
MIDDLETOWN, DE 19709                           486     8/12/2013    Exide Technologies, LLC                                                                        $20,349.33                         $20,349.33
CHEMTRADE REFINERY SERVICES INC
C/O FROST BROWN TODD LLC
ATTN SARA L ABNER, ESQ
400 W MARKET ST 32ND FL
LOUISVILLE, KY 40202-3363                      652     9/18/2013    Exide Technologies, LLC            $25,252.63                                                                                     $25,252.63
CHEONG KAM WONG
7100 E GAGE AVE APT 312
COMMERCE, CA 90040-3858                        2066    10/28/2013   Exide Technologies, LLC              $100.00                                                                                         $100.00
CHERYL A MEDINA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                             3061    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
CHERYLE MEDINA GUARDIAN OF MINOR
BRYSEN K PALOMARES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                             3017    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
CHESTER SINNK
62 HOOVER CT
BOYERTOWN, PA 19512-1707                       2607    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
CHEVRON USA INC
C/O DAVIS WRIGHT TREMAINE LLP
ATTN GERALD F GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                          4068    4/21/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHEVRON USA INC
C/O DAVIS WRIGHT TREMAINE LLP
ATTN JERRY GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                          2777    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHIAPPELLI, BRYAN
161 CARPIN LN
WEEDVILLE, PA 15868                              900     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHIAPPELLI, LUANN
161 CARPIN LN
WEEDVILLE, PA 15868                              901     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHRISTENSEN, ARDEN
3180 TRUMAN DR
SANTA CLARA, UT 84765-5351                       950     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
CHRISTENSEN, CHARLES
BOX 258 470 THIRD AVENUE
SOUTH WILMINGTON, IL 60474                       1428    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHRISTIAN SANCHEZ
146 N ROWAN AVE
LOS ANGELES, CA 90063                            3846    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
CHRISTIAN VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3062    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
CHRISTIAN ZAVALA (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3765    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
CHRISTIAN ZAVALA (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3770    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHRISTIAN ZAVALA (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3794    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CHRISTINE M GRAESSLE
6119 GRAND LOOP RD
SUGAR HILL, GA 30518                             3266    11/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00




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                                                                                                                        Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                   Amount                                                        Amount
CHRISTY, THOMAS
1609 33RD ST
FORT MADISON, IA 52627-3510                    1208    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CHUNMAN YU
8920 MERION DR
DULUTH, GA 30097                               112     6/28/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
CHUNMAN YU
8920 MERION DR
DULUTH, GA 30097                               2253    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CHUNMAN YU
8920 MERION DR
DULUTH, GA 30097                               4109    5/26/2015    Exide Technologies, LLC            $19,591.67                                                                           $0.00       $19,591.67
CIFREDO FLORES
6142 WOODLAWN AVE APT 5
MAYWOOD, CA 90270                              3856    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                       $10,000.00
CIMCO RESOURCES
1616 WINDSOR RD
LOVES PARK, IL 61111                           2643    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
CIMCO RESOURCES
1616 WINDSOR RD
LOVES PARK, IL 61111                           3222    11/12/2013   Exide Technologies, LLC            $29,124.72                                                                                       $29,124.72
CIMCO RESOURCES, INC
PO BOX 15427
LOVES PARK, IL 61132-5427                      922     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
CINDY CONNER
5606 RIDGEWAY DR
ORLANDO, FL 32819                              2445    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CINTAS
7700 BENT BRANCH DR STE 130
IRVING, TX 75063                                71     6/24/2013    Exide Technologies, LLC             $8,760.63                                                    $1,198.60                            $9,959.23
CINTAS
8100 HWY 45 SOUTH
FT SMITH, AR 72916                             261     6/28/2013    Exide Technologies, LLC            $10,376.53                                                                                       $10,376.53
CIRILIO MARTINEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3913    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
CIT COMMUNICATIONS FINANCE CORPORATION
C/O WELTMAN WEINBERG & REIS
3705 MARLANE DR
GROVE CITY, OH 43123-8895                      367     7/22/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00
CIT COMMUNICATIONS FINANCE CORPORATION
C/O WELTMAN WEINBERG & REIS
3705 MARLANE DR
GROVE CITY, OH 43123-8895                      368     7/22/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00
CIT FINANCE LLC
C/O WELTMAN WEINBERG & REIS
3705 MARLANE DR
GROVE CITY, OH 43123                           3795    1/30/2014    Exide Technologies, LLC                                                          $0.00                                                   $0.00

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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                    Amount
CITY OF EL PASO
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN DAVID G AELVOET
711 NAVARRO ST STE 300
SAN ANTONIO, TX 78205                                    3990    1/20/2015    Exide Technologies, LLC                                                  $2,375.40                                              $2,375.40
CITY OF EL PASO
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN DAVID G AELVOET
711 NAVARRO ST STE 300
SAN ANTONIO, TX 78205                                    3997    2/26/2015    Exide Technologies, LLC                                                  $2,375.40                                              $2,375.40
CITY OF EL PASO
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN DAVID G AELVOET
711 NAVARRO STE 300
SAN ANTONIO, TX 78205                                     67     6/22/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
CITY OF FRISCO
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN ELIZABETH WELLER
2323 BRYAN ST STE 1600
DALLAS, TX 75201                                          14     6/15/2013    Exide Technologies, LLC                                                      $0.00                                                  $0.00
CITY OF FRISCO TEXAS
C/O ABERNATHY ROEDER BOYD & JOPLIN PC
1700 REDBUD BLVD STE 300
MCKINNEY, TX 75069                                       3320    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                        $0.00

CITY OF FRISCO, FRISCO ECONOMIC DEVELOPMENT CORP,
FRISCO COMMUNITY DEVELOPMENT CORPORATION
C/O ABERNATHY ROEDER BOYD & HULLETT PC
1700 REDBUD BLVD STE 300
MCKINNEY, TX 75069                                       4122    5/30/2015    Exide Technologies, LLC                                                                                     Unliquidated            $0.00
CITY OF HOUSTON TEXAS
C/O JOHN M HELMS, SR ASSISTANT CITY ATTORNEY
PO BOX 368
HOUSTON, TX 77001-0368                                   879     10/5/2013    Exide Technologies, LLC              $154.03                                                                                      $154.03
CITY OF HUNTINGTON PARK CALIFORNIA
C/O ARENT FOX LLP
ATTN ANDY S KONG
555 W FIFTH ST 48TH FL
LOS ANGELES, CA 90013                                    3309    12/6/2013    Exide Technologies, LLC         Unliquidated                                                                Unliquidated            $0.00
CITY OF MEMPHIS TREASURER
PO BOX 185
MEMPHIS, TN 38101-0185                                   2853    10/30/2013   Exide Technologies, LLC                                                     $26.29                                                 $26.29
CITY OF MEMPHIS TREASURER
PO BOX 185
MEMPHIS, TN 38101-0185                                   2855    10/30/2013   Exide Technologies, LLC                                                      $0.00                                                  $0.00
CITY OF MIRAMAR FINANCE DEPT
6700 MIRAMAR PKWY
MIRAMAR, FL 33023-4897                                   1628    10/21/2013   Exide Technologies, LLC              $701.90                                                                                      $701.90




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
CITY OF OREGON
PO BOX 225
106 S MAIN ST
OREGON, MO 64473                                 470     8/10/2013    Exide Technologies, LLC             $16,001.04                                                                                    $16,001.04
CITY OF PHILADELPHIA /
SCHOOL DISTRICT OF PHILADELPHIA
ATTN LAW DEPARTMENT - TAX UNIT
MUNICIPAL SERVICES BUILDING
1401 JOHN F KENNEDY BLVD 5TH FL
PHILADELPHIA, PA 19102                           3878     2/8/2014    Exide Technologies, LLC                                       $0.00                                                                    $0.00
CITY OF PORTLAND
C/O CITY ATTORNEY'S OFFICE
ATTN KAREN L MOYNAHAN
1221 SW FOURTH AVE ROOM 430
PORTLAND, OR 97204                               2605    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
CITY OF RICHMOND
DEPARTMENT OF PUBLIC UTILITIES
730 E BROAD ST 5TH FL
RICHMOND, VA 23219                               254      7/2/2013    Exide Technologies, LLC                $39.47                                                                                         $39.47
CITY OF SALINA, KANSAS
C/O CLARK MIZE & LINVILLE, CHARTERED
ATTN AARON O MARTIN
PO BOX 380
SALINA, KS 67402-0380                            3303    12/6/2013    Exide Technologies, LLC             $27,697.41                                                                                    $27,697.41
CITY OF SEATTLE
CITY OF SEATTLE/FAS
REVENUE & CONSUMER AFFAIRS
PO BOX 34214, 700 5TH AVE STE 4250
SEATTLE, WA 98124-4214                           1162    10/11/2013   Exide Technologies, LLC                                     $474.55                                                                  $474.55
CITY OF VERNON
ATTN LIGHT & POWER DEPT
4305 S SANTA FE AVE
VERNON, CA 90058-1714                            2001    10/26/2013   Exide Technologies, LLC            $241,244.75                                                                                   $241,244.75
C-K ASSOCIATES LLC
17170 PERKINS RD
BATON ROUGE, LA 70810-3817                       3342    12/9/2013    Exide Technologies, LLC              $8,285.65                                                                                     $8,285.65
CK-KLEIN-MACFARLANE LTD
C/O VANDEVENTER BLACK LLP
ATTN J BRANDON SIEG, ESQ
EIGHTH & MAIN BLDG
707 E MAIN ST STE 1700 PO BOX 1558
RICHMOND, VA 23218-1558                          169      7/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CK-KLEIN-MACFARLANE LTD
C/O VANDEVENTER BLACK LLP
ATTN J BRANDON SIEG, ESQ
EIGHTH & MAIN BLDG
707 E MAIN ST STE 1700, PO BOX 1558
RICHMOND, VA 23218-1558                          2136    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                           Amount                                                       Amount
CLARK, ARNELL
PO BOX 820325
VICKSBURG, MS 39182-0325                               2886    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
CLAUDE, SHIRLEY
PO BOX 17
BLAKESLEE, PA 18610                                    3440    1/17/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CLAUDIA I PEREIRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3161    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
CLAUDIA MORENO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3139    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

CLAUDIA MORENO, GUARDIAN OF MINOR FERNANDO VERGARA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3156    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
CLAUDIA VIDAURRI
3931 TWEEDY BLVD
SOUTH GATE, CA 90280-6119                              3223    11/12/2013   Exide Technologies, LLC                                   $9,000.00                                                                  $9,000.00
CLAYBOURNE A WHITE
6405 PANOLA RD
PINEWOOD, SC 29125                                     2057    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CLAYBOURNE WHITE
PO BOX 2446
SUMTER, SC 29151                                       4010     3/2/2015    Exide Technologies, LLC                                  $13,168.80                                                                $13,168.80
CLAYTON P WEST TRUST UAD 7-19-01
C/O CLAYTON P WEST
1660 HICKS RD
MOUNTAIN HOME, AR 72653                                1200    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CLEAN HARBORS ENVIRONMENTAL SVCS INC
42 LONGWATER DR
NORWELL, MA 02061                                      244     7/11/2013    Exide Technologies, LLC            $93,646.82                                                                                      $93,646.82
CLEMENT, DELORES
739 22ND AVE N
SOUTH ST PAUL, MN 55075-1318                           1235    10/12/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
CLEO GARCIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3480    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
CLEVELAND ELECTRIC ILLUMINATING COMPANY
1310 FAIRMONT AVE
FAIRMONT, WV 26554                                     1252    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                 Current General                                               Current 503(b)(9)
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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
CLIFFORD, WILLIAM
28301 187TH ST
LEAVENWORTH, KS 66048-7633                       1956    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CLINICAL REFERENCE LABORATORY
PO BOX 802273
KANSAS CITY, MO 64180-2273                       883     10/5/2013    Exide Technologies, LLC              $412.00                                                                                          $412.00
CLINKSCALE, EARNEST
6015 GRAND AVE
OMAHA, NE 68104-2146                             1436    10/17/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
CLINTON COUNTY
220 COURTHOUSE SQ
FRANKFORT, IN 46041-1957                         1984    10/25/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
CLINTON, LARRY
PO BOX 864
MANZANITA, OR 97130-0864                         812     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CLITE, WAYNE
3233 REESE LN
AZLE, TX 76020-1522                              2824    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CM SERVICES LLC
PO BOX 116
PEWAUKEE, WI 53072-0116                          1791    10/24/2013   Exide Technologies, LLC               $14.65                                                       $692.00                            $706.65
CMH SERVICES
151 GREENLAWN DR
COLUMBIA, SC 29202                               419     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COBRA WIRE & CABLE
PO BOX 790
2930 TURNPIKE DRIVE
HATBORO, PA 19040-0790                           1694    10/22/2013   Exide Technologies, LLC             $1,526.91                                                    $2,369.50                          $3,896.41
COCCIA, VINCENT
2411 KENILWORTH AVE
BERWYN, IL 60402                                 3988    1/13/2015    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
CODDINGTON, ROGER
1520 38TH AVE SE
ALBANY, OR 97322-6136                            1656    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CO-EFFICIENT PRECISION ENGINEERING, INC.
105 SCHNEIDER ROAD, SUITE 118
OTTAWA ON K2K 1Y3 CANADA

CANADA                                           2776    10/31/2013   Exide Technologies, LLC             $2,615.00                                                        $0.00                          $2,615.00
COFFEY, MARY
726 MORAN MILL RD
RICHMOND, KY 40475-9715                          2089    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
COHN REZNICK LLP
333 THORNALL ST 6TH FL
EDISON, NJ 08837                                 582     8/27/2013    Exide Technologies, LLC            $37,666.00                                                                                      $37,666.00
COKINOS ENERGY CORP - HOUSTON
5718 WESTHEIMER RD STE 900
HOUSTON, TX 77057-5757                           2251    10/29/2013   Exide Technologies, LLC            $66,992.47                                                   $65,356.88                        $132,349.35




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
COLEMAN, ARTHUR
244 SIDWAY ST
JACKSON, MS 39202-1932                           2982    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
COLEMAN, BETTY
PO BOX 846
POCOLA, OK 74902-0846                            2348    10/29/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
COLEMAN, JERRY
8028 HIGHWAY 42
PRENTISS, MS 39474-4941                          1026    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
COLEMAN, JOHNNY
398 WILSHIRE AVE
JACKSON, MS 39206-5241                           1239    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
COLEMAN, RONALD A
20 PEYTON PL
PALM COAST, FL 32164                             1431    10/17/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
COLLABORCHAIN LLC
3101 HOWELL MILL RD NW
UNIT 128
ATLANTA, GA 30327                                502     8/17/2013    Exide Technologies, LLC             $5,361.69                 $0.00                                                                 $5,361.69
COLLIER, LINDA
112 JESSIE JOHNSON LN
PEARL, MS 39208-5518                             1539    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
COLLIN COUNTY TAX ASSESSOR/COLLECTOR
C/O GAY MCCALL ISAACKS ET AL
777 E 15TH ST
PLANO, TX 75074                                  438      8/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
COLLIN COUNTY TAX ASSESSOR/COLLECTOR
C/O GAY MCCALL ISAACKS ET AL
777 E 15TH ST
PLANO, TX 75074                                  1595    10/19/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
COLONIAL CHEMICAL COMPANY
C/O CAPEHART & SCATCHARD, PA
ATTN: WILLIAM G. WRIGHT, ESQ
8000 MIDLANTIC DRIVE, SUITE 300S
MOUNT LAUREL, NJ 08054                           523     8/21/2013    Exide Technologies, LLC            $18,381.44                                                                                      $18,381.44
COLT INDUSTRIAL SALES & MARKETING
KENNETH SCHAEFER
15202 STONEY CREEK WAY
NOBLESVILLE, IN 46060                            961     10/7/2013    Exide Technologies, LLC             $1,131.31                                                                                       $1,131.31
COLUMBIA GAS OF OHIO
200 CIVIC CENTER DR 11TH FL
COLUMBUS, OH 43215                               363     7/12/2013    Exide Technologies, LLC               $67.36                                                                                           $67.36
COLUMBUS LIFT SERVICE INC
2815 HARLEY CT
COLUMBUS, GA 31909-2771                          1012    10/7/2013    Exide Technologies, LLC            $30,069.83                                                                                      $30,069.83
COLUMBUS MCKINNON CORPORATION
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS & CRAIG A LESLIE
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                                1662    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                       Amount                                                       Amount
COLUMBUS MCKINNON CORPORATION
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                                  4029    3/20/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COLUMBUS MCKINNON LIMITED
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                                  1658    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
COLUMBUS MCKINNON LIMITED
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                                  4030    3/20/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COLUMBUS WATER WORKS
LINDA SANDERS
PO BOX 1600
1421 VETERANS PARKWAY
COLUMBUS, GA 31902                                 894     10/7/2013    Exide Technologies, LLC              $6,763.40                                                                                      $6,763.40
COLVIN, NORMA
2316 4TH AVE
LEAVENWORTH, KS 66048-4428                         1485    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
COMBUSTION SYSTEMS CO INC
ATTN KEVIN HART
5701 W MINNESOTA ST
INDIANAPOLIS, IN 46241                              69     6/24/2013    Exide Technologies, LLC             $36,011.81                                                  $3,244.47                          $39,256.28
COMMAND TRANSPORTATION LLC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                             395     7/23/2013    Exide Technologies, LLC            $267,131.06                                                                                    $267,131.06
COMMERCIAL METALS COMPANY
C/O WICK PHILLIPS GOULD & MARTIN LLP
ATTN JASON RUDD
3131 MCKINNEY AVE STE 100
DALLAS, TX 75204                                   4173    5/27/2016    Exide Technologies, LLC             $81,250.00                                                                                     $81,250.00
COMMERCIAL TIRE,IND TIRE DEALE
3366 LEONIS BLVD
VERNON, CA 90058                                   979     10/7/2013    Exide Technologies, LLC              $1,383.48                $0.00                                                                 $1,383.48
COMMONWEALTH EDISON CO
ATTN BANKRUPTCY SECTION
3 LINCOLN CENTER
OAKBROOK TERRACE, IL 60181                         578     8/26/2013    Exide Technologies, LLC              $6,098.03                                                                                      $6,098.03
COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF ENVIRONMENTAL PROTECTION
ATTN SHAWN ARBAUGH
CLEAN WATER PROGRAM
909 ELMERTON AVE
HARRISBURG, PA 17110                               4032    3/30/2015    Exide Technologies, LLC                                                                                            $5,899.00        $5,899.00


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                                                                                                         Amount                                                        Amount

COMMONWEALTH OF PENNSYLVANIA DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN CRAIG LAMBETH
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                            3305    12/6/2013    Exide Technologies, LLC             $7,774.29                                                                                       $7,774.29

COMMONWEALTH OF PENNSYLVANIA, DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN BETH LISS SHUMAN
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                            3298    12/6/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

COMMONWEALTH OF PENNSYLVANIA, DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN BETH LISS SHUMAN
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                            3306    12/6/2013    Exide Technologies, LLC            $33,761.00                                                                                      $33,761.00

COMMONWEALTH OF PENNSYLVANIA, DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN MARTIN SIEGEL
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                            3307    12/6/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

COMMONWEALTH OF PENNSYLVANIA, DEPT OF ENVTL PROT
C/O PA DEP OFFICE OF CHIEF COUNSEL
ATTN MARTIN SIEGEL
SOUTHCENTRAL REGIONAL OFFICE
909 ELMERTON AVE
HARRISBURG, PA 17110-8200                            3444    1/21/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00

COMMONWEALTH OF VIRGINIA DEPARTMENT OF TAXATION
PO BOX 2156
RICHMOND, VA 23218-2156                              3349    12/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
COMMUNICATION POWER SOLUTIONS/TEMPE
5869 S KYRENE RD STE 12
TEMPE, AZ 85283-5731                                 1022    10/7/2013    Exide Technologies, LLC              $255.41                                                       $453.00                            $708.41
COMMUNITIES FOR A BETTER ENVIRONMENT
ATTN A YANA GARCIA AND MAYA GOLDEN-KRASNER
6325 PACIFIC BLVD STE 300
HUNTINGTON PARK, CA 90255                            2750    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
COMMUNITY COFFEE COMPANY
3332 PARTRIDGE LANE BLDG A
BATON ROUGE, LA 70809                                285     7/12/2013    Exide Technologies, LLC              $718.96                                     $0.00                                                $718.96


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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
COMPASS ENGINEERING CORPORATION
1061 PLANTERS LN
GREENSBORO, GA 30642                                182      7/5/2013    Exide Technologies, LLC             $4,450.82                                                                                       $4,450.82
COMPASS GROUP
GRANT NELSON
205 WOODS LAKE RD
GREENVILLE, SC 29607-2719                           2657    10/31/2013   Exide Technologies, LLC              $637.16                                                                                          $637.16
CONCENTRA MEDICAL CENTERS
PO BOX 3700
RANCHO CUCAMONGA, CA 91729                          4098    5/19/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CONCEPCION GOMEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                              3668    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CONDE, SHIRLEY
PO BOX 1796
GLENROCK, WY 82637-1796                             1330    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CONESTOGA FUELS, INC.
PO BOX 4665
1142 ELIZABETH AVE
LANCASTER, PA 17604-4665                            1061    10/9/2013    Exide Technologies, LLC             $2,741.65                                                      $954.45                          $3,696.10
CONNECTICUT LIGHT AND POWER COMPANY
C/O NORTHEAST UTILITIES CREDIT & COLLECTIONS
PO BOX 2899
HARTFORD, CT 06101-8307                             252      7/2/2013    Exide Technologies, LLC             $1,531.79                                                                                       $1,531.79
CONNELL, THOMAS & PATRICIA
1980 AMBER DR
NEWTOWN, PA 18940                                   1179    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CONNER, WILLARD
6080 NW 55TH AVE
OCALA, FL 34482-2786                                1052    10/8/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
CONNEY SAFETY PRODUCTS
PO BOX 44575
MADISON, WI 53744-4575                              2475    10/30/2013   Exide Technologies, LLC              $432.36                                                                                          $432.36
CONSOLIDATED ELECTRICAL DIST
PO BOX BOX 2259
MISSION, KS 66201                                   1414    10/16/2013   Exide Technologies, LLC            $76,950.70                                                                                      $76,950.70
CONSTANCE WESTON
1022 DECATUR ST
SUMTER, SC 29150-7418                               4015     3/2/2015    Exide Technologies, LLC                                  $20,846.62                                                                $20,846.62
CONSTRUCTION RENTAL, INC
PO BOX 168
SCANDIA, KS 66966-0168                              1528    10/18/2013   Exide Technologies, LLC             $9,853.52                                                                                       $9,853.52
CONSUMERS ENERGY COMPANY
ATTN MICHAEL G WILSON
ONE ENERGY PLAZA
JACKSON, MI 49201                                   485     8/12/2013    Exide Technologies, LLC              $538.12                                                                                          $538.12




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                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                Amount                                                       Amount
CONTINENTAL ANALYTICAL SERVICES
525 N 8TH ST
SALINA, KS 67401-1937                                       878     10/5/2013    Exide Technologies, LLC             $1,167.75                                                       $0.00                          $1,167.75
CONTINENTAL BAG CO.INC. - MEMPHIS
PO BOX 1000 DEPT 286
MEMPHIS, TN 38148                                           914     10/7/2013    Exide Technologies, LLC             $7,003.55                                                                                      $7,003.55
CONTINUUS-PROPERZI S P A
C/O PROPERZI INTERNATIONAL INC
909 RIDGEBROOK RD STE 102
SPARKS, MD 21152                                            313     7/16/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
CONTRARIAN FUNDS LLC AS ASSIGNEE OF GIS
ATTN ALISA MUMOLA
411 W PUTNAM AVE STE 425
GREENWICH, CT 06830                                         1065    10/9/2013    Exide Technologies, LLC            $31,435.60                                                                                     $31,435.60
CONTRARIAN FUNDS LLC AS ASSIGNEE OF TRANS WORLD
FREIGHT SYSTEMS INC
ATTN ALISA MUMOLA
411 W PUTNAM AVE STE 425
GREENWICH, CT 06830                                         1535    10/18/2013   Exide Technologies, LLC            $34,221.58                                                                                     $34,221.58
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF ADDENDA
CORPORATION
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         399     7/29/2013    Exide Technologies, LLC            $60,000.37                                                                                     $60,000.37
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF CLIMATE
ENGINEERS
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         308     7/16/2013    Exide Technologies, LLC            $53,300.97                                                                                     $53,300.97
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF CMI
INTERNATIONAL INC
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         621     9/11/2013    Exide Technologies, LLC            $22,100.00                                                       $0.00                         $22,100.00
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF ORTEC
INTERNATIONAL USA, INC.
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         902     10/7/2013    Exide Technologies, LLC            $62,309.98                                                                                     $62,309.98

CONTRARIAN FUNDS, LLC AS TRANSFEREE OF PM FASTENERS INC
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         282     7/12/2013    Exide Technologies, LLC            $31,779.08                                                                                     $31,779.08
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF SET
ENVIRONMENTAL, INC.
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         1386    10/15/2013   Exide Technologies, LLC            $26,534.73                                                                                     $26,534.73


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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                Amount                                                        Amount
CONTRARIAN FUNDS, LLC AS TRANSFEREE OF TITANIC CONTROLS
INC
ATTN ALISA MUMOLA
411 WEST PUTNAM AVE, STE 425
GREENWICH, CT 06830                                         547     8/26/2013    Exide Technologies, LLC             $36,957.17                                                                                     $36,957.17
CONVERTED PRODUCTS INC
C/O DEWITT ROSS & STEVENS SC
ATTN DENIS P BARTELL
TWO EAST MIFFLIN ST STE 600
MADISON, WI 53703-2865                                      1545    10/18/2013   Exide Technologies, LLC            $115,603.07                                                                                    $115,603.07
CONVEYOR HANDLING CO INC
6715 SANTA BARBARA CT
ELKRIDGE, MD 21075-5830                                     707     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CONVEYOR HANDLING COMPANY INC
6715 SANTA BARBARA CT
ELKRIDGE, MD 21075-5830                                     225      7/8/2013    Exide Technologies, LLC              $1,364.67                                                                                       $1,364.67
CONVOY SYSTEMS, LLC
BRENDA MILLER
333 N. JAMES ST
KANSAS CITY, KS 66118                                       1032    10/8/2013    Exide Technologies, LLC            $138,339.62                                                       $0.00                        $138,339.62
CON-WAY FREIGHT
C/O RMS
PO BOX 5126
TIMONIUM, MD 21094                                          116     6/29/2013    Exide Technologies, LLC             $14,622.86                                                                                     $14,622.86
COOK, MARVIN
2130 GOERTE DR
GRAND PRAIRIE, TX 75051-4031                                1739    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
COOPER CONSULTING & PROPERTY MGMT INC
2400 WEST CR 500 SOUTH
MUNCIE, IN 47302                                            187      7/5/2013    Exide Technologies, LLC              $2,045.18                                                                                       $2,045.18
COOPER, PHILIP
29095 DETROIT RD
WESTLAKE, OH 44145-2012                                     1565    10/19/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
COPPELL ISD
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN ELIZABETH WELLER
2323 BRYAN ST STE 1600
DALLAS, TX 75201                                             13     6/15/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
COREY PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                         3506    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
COREY PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                         3559    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                              Amount                                                        Amount
CORNERSTONE INDUSTRIAL SERVICES INC
C/O NORRIS MCLAUGHLIN & MARCUS PA
ATTN REBECCA J PRICE, ESQ
1611 POND RD STE 300
ALLENTOWN, PA 18104                                       320     7/17/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
CORRE OPPORTUNITIES FUND, L.P. AS TRANSFEREE OF
TRIUMVIRATE ENVIRONMENTAL INC
ATTN CLAIMS PROCESSING (BANKRUPTCY)
1370 AVENUE OF THE AMERICAS, 29TH FLOOR
NEW YORK, NY 10019                                        567      8/8/2013    Exide Technologies, LLC                                                                         $13,207.22                         $13,207.22
CORRE OPPORTUNITIES QUALIFIED M F LP AS TRANSFEREE OF
TULIP CORPORATION
ATTN CLAIMS PROCESSING (BANKRUPTCY)
1370 AVENUE OF THE AMERICAS, 29TH FLOOR
NEW YORK, NY 10019                                        1533    10/18/2013   Exide Technologies, LLC                    $0.00                                               $206,032.56                        $206,032.56
CORRE OPPORTUNITIES QUALIFIED MASTER FUND, LP AS
TRANSFEREE OF TRIUMVIRATE ENVIRONMENTAL INC
ATTN: CLAIMS PROCESSING (BANKRUPTCY)
1370 AVENUE OF THE AMERICAS, 29TH FLOOR
NEW YORK, NY 10019                                        567      8/8/2013    Exide Technologies, LLC                                                                         $64,939.00                         $64,939.00
CORRO-SHIELD INTERNATIONAL INC.-ROSEMONT
7059 BARRY ST
ROSEMONT, IL 60018-3401                                   939     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COSTANZA, MARY
519 S CHICAGO AVE
KANKAKEE, IL 60901-5228                                   1068    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
COTTRELL, ROY
3009 TERRY GATESVILLE RD
CRYSTAL SPRINGS, MS 39059-9738                            1163    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
COULTER, JOSEPH
1180 CASLEE ST
SUMTER, SC 29153-7848                                     1526    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
COVENANT TRANSPORT INC ON BEHALF OF
STAR TRANSPORTATION INC
ATTN JANETTE WHITE, CREDIT & COLLECTION MGR
PO BOX 22997
CHATTANOOGA, TN 37422                                     380     7/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COVERALL NORTH AMERICA INIC
350 SW 12TH AVE
DEERFIELD BEACH, FL 33442                                 581     8/26/2013    Exide Technologies, LLC              $780.00                                                                                          $780.00
COVERALL OF EASTERN TENNESSEE
ATTN LAURA BURKE
109 S NORTHSHORE DR STE 300
KNOXVILLE, TN 37919                                       145      7/2/2013    Exide Technologies, LLC              $390.00                                                                                          $390.00
COVEY, TONY
2635 COBHILL RD
IRVINE, KY 40336-8659                                     1074    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
COX, BOBBY
375 MOUNTAIN CREEK FARM RD
FLORENCE, MS 39073-8563                                   1497    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                       Amount                                                        Amount
COYOTE LOGISTICS LLC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                             270      7/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CRAIG WELDING SUPPLY CO
5670 SANTA FE AVE.
LOS ANGELES, CA 90058                              819     10/4/2013    Exide Technologies, LLC            $25,273.79                                                      $140.00                         $25,413.79
CRAIG, LINDER
261 E PETROS RD
PEARL, MS 39208-8737                               1402    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CRANE VEYOR CORP
ERIKA MUNOZ
1524 N POTRERO AVE
SOUTH EL MONTE, CA 91733                           1517    10/18/2013   Exide Technologies, LLC            $19,711.86                                                    $4,473.55                         $24,185.41
CRAWFORD, CHARLES
1991 FOREST DR
SUMTER, SC 29150                                   1718    10/22/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
CREASY, BERTHA
PO BOX 145
NEW PROVIDENCE, PA 17560-0145                      2510    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CREASY, ROBERT
PO BOX 145
NEW PROVIDENCE, PA 17560-0145                      2511    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
CREDIT SERVICE CO
PO BOX 3591
FORT SMITH, AR 72913-3591                          714     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CRERAR, PETER
TWEED HEADS
9/90 KEITH COMPTON DRIVE
NEW SOUTH WALES 2485 AUSTRALIA

AUSTRALIA                                          2903    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
CRESCENT ELECTRIC SUPPLY COMPANY
PO BOX 500
EAST DUBUQUE, IL 61025-4418                        1776    10/23/2013   Exide Technologies, LLC            $13,661.90                                                                                      $13,661.90
CRISTINA MATILDES
205 S GREENWOOD AVE #A
MONTEBELLO, CA 90640                               3838    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
CRISTINA ROBLES
1029 S BONNIE BEACH PL
LOS ANGELES, CA 90023-2534                         2636    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
CROCKETT, WILDA
8414 EVERETT WAY UNIT A
ARVADA, CO 80005-2378                              1473    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CROSS COUNTRY FREIGHT SOLUTIONS
1841 HANCOCK DR
PO BOX 4030
BISMARCK, ND 58502                                 613      9/9/2013    Exide Technologies, LLC             $1,655.33                                                                                       $1,655.33




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                                                                                                               Amount                                                        Amount
CROWN CREDIT COMPANY
C/O CROWN EQUIPMENT CORPORATION
ATTN RODNEY J HINDERS
102 S WASHINGTON ST
NEW BREMEN, OH 45869                                       330     7/19/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
CROWN EQUIPMENT CORPORATION
ATTN RODNEY J HINDERS, ESQ
102 S WASHINGTON ST
NEW BREMEN, OH 45869                                        76     6/25/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
CROWN PACKAGING CORP
17854 CHESTERFIELD AIRPORT RD
CHESTERFIELD, MO 63005                                     418     7/31/2013    Exide Technologies, LLC              $410.00                                                                                           $410.00
CRP HOLDINGS A-1 LLC
C/O NEIL S SADER, ESQ
2345 GRAND BLVD STE 1925
KANSAS CITY, MO 64108-2663                                 1305    10/15/2013   Exide Technologies, LLC                                                                                                 $0.00            $0.00
CRP HOLDINGS A-1 LLC
C/O THE SADER LAW FIRM
ATTN NEIL S SADER, ESQ
2345 GRAND BLVD STE 1925
KANSAS CITY, MI 64108                                      2999    10/17/2013   Exide Technologies, LLC                                                                                                 $0.00            $0.00
CRT SPECIAL INVESTMENTS LLC AS TRANSFEREE OF ASCENT
MOTION INDUSTRIES INC
ATTN JOSEPH E. SARACHEK
262 HARBOR DRIVE
STAMFORD, CT 06902                                         296     7/15/2013    Exide Technologies, LLC             $4,475.02                                                    $7,056.00                          $11,531.02
CRUMP, LILLIE
6217 W LLOYD ST
WAUWATOSA, WI 53213-2005                                   1683    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CRUZ BECERRA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                     3729    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
CRUZ CURIEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                        3488    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
CRUZ, FLORA
6123 PACIFIC BLVD SW
ALBANY, OR 97321-3751                                      1138    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
CULLUM & BROWN OF WICHITA INC
3717 N RIDGEWOOD ST
WICHITA, KS 67220-4418                                     2258    10/29/2013   Exide Technologies, LLC            $27,535.00                                                                                       $27,535.00
CUMMINGS, MARY
PO BOX 2231
SUMTER, SC 29151-2231                                      2507    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00




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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
CUMMINGS, ROY
2345 GREENTREE DR NE
SALEM, OR 97305-2624                                942     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
CUNNINGHAM BROTHERS USED AUTO
ATTN SETH BIGHAM
10980 WARDS RD
RUSTBURG, VA 24588                                   92     6/27/2013    Exide Technologies, LLC            $7,770.00                                                                                         $7,770.00
CUNNINGHAM, DOROTHY A
4939 ANZA ST #2
SAN FRANCISCO, CA 94121                             1341    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
CUNNINGHAM, TIMOTHY J
2924 PROMONTORY LOOP
BROOKFIELD, CO 80023                                2216    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
CURTIS PERRY & GUADALUPE PERRY
2551 IOWA AVE
SOUTH GATE, CA 90280-3911                           2329    10/29/2013   Exide Technologies, LLC                                $100,000.00                                                                $100,000.00
CUSTOM BRUSH COMPANY INCORP
1933 OWL CT
CHERRY HILL, NJ 08003-2920                          3890    3/18/2014    Exide Technologies, LLC                                                                              $0.00                              $0.00
CUSTOM HARDWARE ENGINEERING & CONSULTING INC
ATTN DAVID L YORK, PRESIDENT
1576 FENCORP DR
FENTON, MO 63206                                    213      7/6/2013    Exide Technologies, LLC            $4,069.10                                                                                         $4,069.10
CYNTHIA AGUILAR
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3662    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
CYNTHIA AGUILAR GUARDIAN AD LITEM
FOR JEREMY REYES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3653    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
CYNTHIA AGUILAR GUARDIAN AD LITEM FOR
SAMANTHA REYES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3862     2/3/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
CYNTHIA M ALANIS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3044    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
CYNTHIA MARTOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3610    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
CYPRESS GAS PIPELINE LLC
C/O ANDREWS KURTH LLP
ATTN JOSEPH ROVIRA
600 TRAVIS STE 4200
HOUSTON, TX 77009                                1536    10/18/2013   Exide Technologies, LLC             $3,095.05                                                                                        $3,095.05
CZARNIECKI, JOSEPH L
532 SWAN CREEK RD
FORT WASHINGTON, MD 20744                        1416    10/16/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
D & K TRUCK COMPANY
319 E NORTH ST
LANSING, MI 48906                                107     6/28/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAIGNEAULT, ROBERT E
17700 S WESTERN AVE SPC #16
GARDENA, CA 90248                                1114    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAILEY, HARRIETTE
44 TAYLORS ST
VICKSBURG, MS 39183-7692                         2965    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAILY PRINTING, INC.
2333 NIAGARA LN N
PLYMOUTH, MN 55447-4712                          1802    10/24/2013   Exide Technologies, LLC            $72,245.02                                                   $11,030.38                         $83,275.40
DAISY ASHLEY BUELNA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3509    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
DAISY HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3484    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
DAKOTA STAFFING SOLUTIONS, INC-BISMARCK
1310 E BOULEVARD AVE STE 6
BISMARCK, ND 58501-4204                          2230    10/29/2013   Exide Technologies, LLC            $11,506.44                                                                                      $11,506.44
DALE BERNARD BONAVENTURE
271 TREAKLE DR
JACKSON, LA 70748-4341                           805     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DALILIA MENDEZ, GUARDIAN OF MINOR
GABRIELLE L LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3075    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
DALLAS COUNTY
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN ELIZABETH WELLER
2323 BRYAN ST STE 1600
DALLAS, TX 75201                                  12     6/15/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00




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                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
DALMATIAN TRANSPORTATION
ATTN LEE ZAZWORSKY
PO BOX 926
HEBRON, OH 43025                                 871     10/5/2013    Exide Technologies, LLC            $11,564.49                                                                                     $11,564.49
DALTON, SANDRA K
6805 WINCHESTER AVE
VENTNOR, NJ 08406                                1849    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DALTON, SANDRA K
6805 WINCHESTER AVE
VENTNOR, NJ 08406                                1850    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DALTON, SANDRA K
6805 WINCHESTER AVE
VENTNOR, NJ 08406                                1852    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DAMASKA, PHILLIP
13240 OWENS WAY
ALPHARETTA, GA 30004-7358                        2238    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DAMIEN L VALDEZ
4927 KINSIE ST
COMMERCE, CA 90040-1107                          2314    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DAMON, JAMES J
23 REVERE PL
RIDGEFIELD, CT 06877-4714                        1384    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DANIEL AARON PEREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2588    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DANIEL CASQUINO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2541    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DANIEL CORDOVA
4011 E 61ST ST
HUNTINGTON PARK, CA 90255-3314                   3353    12/17/2013   Exide Technologies, LLC                                   $2,500.00                                                                 $2,500.00
DANIEL FLORES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3666    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DANIEL HERRERA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3673    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DANIEL MARTIN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4040     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00

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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
DANIEL VARGAS
8329 EASTERN AVE APT B
BELL GARDENS, CA 90201-6159                     1678    10/21/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DANIELA URISTA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3496    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DANIELL BATTERY MANUFACTURING CO., INC.
PO BOX 15349
BATON ROUGE, LA 70895                           2197    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DANILO JOSE DE AVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            3407     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DAPHNE NESS
C/O BAILEY PEAVY BAILEY PLLC
440 LOUISIANA ST STE 2100
HOUSTON, TX 77002                               2363    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DARIN COLLINS
2709 CRATER LAKE LN
DENTON, TX 76210                                1596    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DARLENE L ORTIZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3126    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
DARR FMH
PO BOX 975053
DALLAS, TX 75397-5053                           1768    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DARRELL ISAACS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1912    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DARREN A WILLIAMS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3468    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DARREN C TOLLIVER
PO BOX 1870
WOODVILLE, MS 39669-1870                        3241    11/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DATA SUPPORT CO INC
ATTN DANIEL BANAYAN
14639 ARMINTA ST
PANORAMA CITY, CA 91402                         183      7/5/2013    Exide Technologies, LLC            $1,848.04                                                                                        $1,848.04




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                    Amount                                                        Amount
DAVID S FERGUSON
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                1686    10/21/2013   Exide Technologies, LLC             $8,000.00                                                                                        $8,000.00
DAVID CORTES
3227 E EAGLE ST
LOS ANGELES, CA 90063-3120                      2294    10/29/2013   Exide Technologies, LLC                                                                              $0.00                               $0.00
DAVID E MINTER
819 NEWTON
DENTON, TX 76205                                1580    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
DAVID LINN WAGGY & SUE ANN WAGGY JT WROS
492 W VICTORIA ST
BUCKHANNON, WV 26201-3812                       1303    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
DAVID MCCONVILLE
49 COUNTY ROAD
AMHERST, NH 03031                               3300    12/6/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
DAVID MICHAELS C/F JENNIFER MICHAELS
C/O DAVID MICHAELS
22 GREENWAY TERR N
MAHOPAC, NY 10541-1230                          1972    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
DAVID P BROWNING
PO BOX 911164
LOS ANGELES, CA 90091-1164                      3211    11/12/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
DAVID PEARSON
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1907    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
DAVID R MIRANDA
920 N EASTMAN AVE
LOS ANGELES, CA 90063-2112                      2991    11/5/2013    Exide Technologies, LLC            $19,750.00                                                                                       $19,750.00
DAVID S FERGUSON
2469 RIVERS RD NW
ATLANTA, GA 30305                               4099    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
DAVID S FERGUSON
2469 RIVERS RD NW
ATLANTA, GA 30305                               4100    5/22/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
DAVID SANCHEZ
3052 WYNWOOD LANE #4
LOS ANGELES, CA 90023                           2155    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
DAVID SANCHEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3684    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
DAVIEN COLE
C/O THE SANTILLI LAW GROUP, LTD
111 W WASHINGTON ST, STE 1240
CHICAGO, IL 60602                               2204    10/28/2013   Exide Technologies, LLC            $20,000.00                                                                                       $20,000.00


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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
DAVIS, DAVID
2051 EVERGREEN DR
SHREVEPORT, LA 71118-4709                             1860    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAVIS, ETHEL
4371 DEEN ST
SHREVEPORT, LA 71109-6816                             1882    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAVIS, MAX
457 SIMS ST
FRANKFORT, IN 46041-1774                              766     10/3/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAVIS, ROBERT
77 S RABBIT RD
NEWHEBRON, MS 39140-5628                              1260    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAVIS, WILLIAM
17104 HARRIS LN SE
JEFFERSON, OR 97352-9447                              770     10/3/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DAVIS-NEAL, ALICIA
880 SHERBURNE AVE
SAINT PAUL, MN 55104-2603                             2727    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAWSON, EVELYN
2515 HIGHWAY 261 N
DALZELL, SC 29040-9099                                2034    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DAWSON, ISRA
2515 HIGHWAY 261 N
DALZELL, SC 29040-9099                                2044    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DC GOV'T OFFICE OF TAX AND REVENUE
PO BOX 37559
WASHINGTON, DC 20013                                  464      8/6/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
DC POWER SOLUTIONS INC FBDA TIMA POWER SYSTEMS
C/O KEMPINSKY LAW LTD
11111 SANTA MONICA BLVD STE 1700
LOS ANGELES, CA 90025                                 4179    2/10/2017    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
DC POWER SOLUTIONS INC FDBA TIMA POWER SYSTEMS
C/O KEMPINKSY LAW LTD
11111 SANTA MONICA BLVD STE 1700
LOS ANGELES, CA 90025                                 4180    2/17/2017    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DC TAYLOR COMPANY
C/O SIMMONS PERRINE MOYER BERGMAN PLC
ATTN ABBE M STENSLAND
115 THIRD ST SE #1200
CEDAR RAPIDS, IA 52401                                2623    10/31/2013   Exide Technologies, LLC            $64,047.28                                                                                      $64,047.28
DCI OF GARDEN CITY
3011 W MARY ST
GARDEN CITY, KS 67846-9737                            931     10/7/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
DE LAGE LANDEN FINANCIAL SERVICES
1111 OLD EAGLE SCHOOL RD
WAYNE, PA 19087                                       1059    10/9/2013    Exide Technologies, LLC             $7,280.02                                                                                       $7,280.02
DE SANTIS, FRANCIS P
154-05 BEECH AVE
FLUSHING, NY 11355                                    2894    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00


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                                                                                                Current General                                               Current 503(b)(9)
                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
DEAN, JERRY
505 N CLAY ST
FRANKFORT, IN 46041-1711                        1390    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DEARMENT, WILLIAM S
C/O CHANNELLOCK INC
1306 S MAIN ST
MEADVILLE, PA 16335                             1380    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
DEATON'S LAWN SERVICE CHARLES BO DEATON
8414 SOPHIE LN
GREENWOOD, LA 71033-3402                        1696    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DEBORA HARDY
210 AZALEA LN
VICKSBURG, MS 39180                             2968    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DEBORAH REMIGIO & CRYSTAL SERRANO
532 1/2 NORTH 4TH STREET
MONTEBELLO, CA 90640                            2911    11/1/2013    Exide Technologies, LLC                                  $20,000.00                                                                $20,000.00
DECO, INC.
278 DERRY RD
LITCHFIELD, NH 03052-2633                       1368    10/15/2013   Exide Technologies, LLC            $1,320.90                                                                                         $1,320.90
DEEPAK MEHRA
25 CHELSEA PARK
PITTSFORD, NY 14534                             1370    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DEKALB COUNTY GEORGIA
TREASURY & ACCOUNTING DIVISION
ATTN BANKRUPTCY CLERK
PO BOX 1027
DECATUR, GA 30031                               3358    12/16/2013   Exide Technologies, LLC                                       $0.00          $1,063.73                                               $1,063.73
DELAWARE COUNTY MEMORIAL HOSPITAL
DBA REGIONAL MEDICAL CENTER
PO BOX 359
MANCHESTER, IA 52057                            455      8/6/2013    Exide Technologies, LLC            $8,429.00                                                                                         $8,429.00
DELAWARE COUNTY TREASURER
PO BOX 27
301 E MAIN ST
MANCHESTER, IA 52057-0027                       954     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DELBERT M DAWSON & SON INC
1405 W KILGORE AVE
MUNCIE, IN 47305-2134                            39     6/21/2013    Exide Technologies, LLC            $5,950.00                                                                                         $5,950.00
DELFINA P PERALTA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            4051     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
DELL MARKETING LP
C/O STREUSAND LANDON OZBURN LLP
ATTN SABRINA L STREUSAND
811 BARTON SPRINGS RD STE 811
AUSTIN, TX 78704                                 52     6/21/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00




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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
DELL MARKETING LP
ONE DELL WAY
RR1 MS52
ROUND ROCK, TX 78682                               416     7/29/2013    Exide Technologies, LLC            $129,754.40                                                  $11,376.15                        $141,130.55
DELMAR PEET
1318 POCALLA DR
MANNING, SC 29102-4673                             4022     3/2/2015    Exide Technologies, LLC                                  $41,025.60                                                                $41,025.60
DELMARVA MOTOR ACCEPTANCE CORP
10977 STATE ST UNIT 5
DELMAR, DE 19940                                   4176    8/23/2016    Exide Technologies, LLC                                                          $0.00                                                  $0.00
DELOACH, LEWIS
5050 N LEWIS AVE
TULSA, OK 74130-1914                               1356    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DELORES TINAJERO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3685    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
DELTA T CORPORATION DBA BIG ASS FAN COMPANY
ATTN JEAN ARMS
PO BOX 11307
LEXINGTON, KY 40575                                440      8/2/2013    Exide Technologies, LLC              $7,662.70                                                       $0.00                          $7,662.70
DE-MAR & ASSOCIATES
4490 INDIAN CREEK PKWY
OVERLAND PARK, KS 66207                            1281    10/14/2013   Exide Technologies, LLC              $2,566.20                                                                                      $2,566.20
DEMAV ANALCO
3825 S TRINITY ST
LOS ANGELES, CA 90011                              3823    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00
DENBESTE, JAMES
3850 TIMBET DR SE
SALEM, OR 97317-9582                               1157    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DENIS QUINONEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3716    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
DENNIS ECKSTINE
10817 PARTRIDGE DR
WAYNESBORO, PA 17268-9372                          1772    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DENNIS NUSSER
MICHAEL J. MERRICK
150 N. MICHIGAN AVENUE, SUITE 800
CHICAGO, IL 60601                                  1927    10/25/2013   Exide Technologies, LLC             $37,500.00                                                                                     $37,500.00
DEPARTMENT OF THE TREASURY - IRS
INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101-7346                        2502    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
DET NORSKE VERITAS CERTIFICATION INC
ATTN MARY BATY
1400 RAVELLO DR
KATY, TX 77449                                   555     8/26/2013    Exide Technologies, LLC             $36,470.53                                                                                    $36,470.53
DEVINE, BRENDAN
62 S WARNER AVE
BRYN MAWR, PA 19010-2609                         2862    10/31/2013   Exide Technologies, LLC                    $0.00          $1,834.52                                 $0.00                           $1,834.52
DEWALT, RONALD D
PO BOX 1637-C
ALVIN, TX 77512                                  1483    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DIANA BERNAL
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3048    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
DIANA CASTILLO
144 1/2 ROWAN AVE
LOS ANGELES, CA 90063                            3849    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
DIANA CHRISTINE DEL RIO
PO BOX 584
BLODGETT, OR 97326-0584                          1409    10/16/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DIANA L DIAZ
2722 HILL ST
WALNUT PARK, CA 90255                            2960    11/4/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DIANA L DUNCAN
1760 MICHIGAN DR
EVANSDALE, IA 50707-2040                         2500    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DIANA M MORALES
3607 BROADWAY APT A
HUNTINGTON PARK, CA 90255-6527                   3255    11/22/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DIEGO ALEXANDER PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3500    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DIERSEN DESIGNS, LLC
3875 THE ASCENT NE
ATLANTA, GA 30319-1627                           2682    10/31/2013   Exide Technologies, LLC                                                                         $2,268.00                           $2,268.00
DIMITRI I VITKOFF
PO BOX 9101
MARINA DEL REY, CA 90295                         2939    11/2/2013    Exide Technologies, LLC            $200,000.00                                                                                   $200,000.00
DISCOVER STAFFING - ALPHARTTA
12850 HIGHWAY 9 N STE 1700
ALPHARETTA, GA 30004-4252                        1264    10/12/2013   Exide Technologies, LLC             $89,835.01                $0.00                                 $0.00                         $89,835.01
DIXIE STRAPPING & TWINE CO INC
ATTN CLIFF HINDMAN
PO BOX 129
ODENVILLE, AL 35120                              184      7/5/2013    Exide Technologies, LLC              $4,680.00                                                                                      $4,680.00




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               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
DM DISPOSAL
PO BOX 399
PUYALLUP, WA 98371                              271      7/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
DM DISPOSAL
PO BOX 399
PUYALLUP, WA 98371                              1525    10/18/2013   Exide Technologies, LLC              $214.64                                                                                         $214.64
DOALL COMPANY ABA DGI SUPPLY
1110 N GRAND AVE
CHARLES CITY, IA 50616                          1642    10/21/2013   Exide Technologies, LLC            $6,389.83                                                                                       $6,389.83
DOALL COMPANY ABA DGI SUPPLY
1110 N GRAND AVE
CHARLES CITY, IA 50616                          1676    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DOAN, ALENE
P. O. BOX 603, #10 WOOD STREET
MT. VERNON, KY 40456                            1480    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DOCULOGIC INC
C/O ALEX MERCADO, PRESIDENT
1127 CALADA ST
LOS ANGELES, CA 90023-3114                      3237    11/16/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DOCULOGIC INC
C/O ALEX MERCADO, PRESIDENT
PO BOX 23498
LOS ANGELES, CA 90023-0409                      3236    11/16/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DOCULOGIC, INC.
C/O ALEX MERCADO, PRESIDENT
1127 CALADA ST
LOS ANGELES, CA 90023-3114                      1472    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DOCULOGIC, INC.
C/O ALEX MERGADO, PRESIDENT
PO BOX 23498
LOS ANGELES, CA 90023-0409                      1471    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DOCUTEAM INC
DEPT 3180
PO BOX 2153
BIRMINGHAM, AL 35287-0002                       848     10/4/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
DODD, RANDY
1228 OAKRIDGE RD
AZLE, TX 76020-1842                             1430    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DODD, WILLIE
311 HIGHLAND AVE
GREER, SC 29651-3205                            3233    11/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DODGE CITY INTERNATIONAL INC
2201 E WYATT EARP BLVD
DODGE CITY, KS 67801                            558     8/26/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
DODGE CITY INTERNATIONAL INC
2201 E WYATT EARP BLVD
DODGE CITY, KS 67801                            930     10/7/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
DOLORES BARBARICK
6400 RUGBY AVE
HUNTINGTON PARK, CA 90255-4004                  3869     2/4/2014    Exide Technologies, LLC                                  $50,000.00                                                               $50,000.00

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
DOLORES PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3462    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
DOLORES SOTO
6022 FISHBURN AVE
HUNTINGTON PARK, CA 90255                        3421     1/7/2014    Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
DOMINGO GONZALES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3669    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DOMINGO RIVAS
1568 CHIVALRY
LITTLE ELM, TX 75068                             542     8/24/2013    Exide Technologies, LLC            $7,654.60                  $0.00                                                                 $7,654.60
DOMINIC MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3677    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
DON E WALKER
PO BOX 194
PRENTISS, MS 39474                               2874    11/1/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
DON F SMITH JR
7006 S T ST
FORT SMITH, AR 72903-4116                        1401    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
DON GROFF
3660 BIRCHPOND PLACE
EAGAN, MN 55122                                  1677    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DONAHUE, KENNETH
PO BOX 26
ALBANY, OR 97321-7574                            1137    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DONALD BURNS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                        1918    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
DONALD MCCALL
C/O BODENHEIMER JONES & SZWAK LLC
ATTN DAVID A SZWAK
416 TRAVIS ST STE 1404
MID SOUTH TOWER
SHREVEPORT, LA 71101                             3967     9/8/2014    Exide Technologies, LLC                                       $0.00                                                                    $0.00
DONALD MCCALL
C/O BODENHEIMER JONES & SZWAK LLC
ATTN DAVID A SZWAK
416 TRAVIS ST STE 1404
MID SOUTH TOWER
SHREVEPORT, LA 71101                             3969    9/15/2014    Exide Technologies, LLC                                       $0.00                                                                    $0.00


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              Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                        Amount
DONALD PENDERGRAPH
2708 HWY 64 W
APEX, NC 27502                                 1255    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DONALD R KELLEY CONV ROTH IRA
E*TRADE CUSTODIAN
C/O DONALD R KELLEY, TTEE
100 RIVERWOOD ESTATES BLVD
FLORISSANT, MO 63031-8614                      1523    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
DONOHO, MARSHA
503 HAWTHORNE AVE
FRANKFORT, IN 46041-1538                       2101    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DONOVAN, BILL
PO BOX 310
INDEPENDENCE, OR 97351-0310                    919     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DORMINY, EDWARD
1326 MYRTLE ST SE #208
GAINESVILLE, GA 30501-4909                     1170    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DOROTHY HERRING SIMS
1746 HIGHWAY 22
EDWARDS, MS 39066-9017                         2975    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
DOROTHY MCCOMSEY
C/O NIKOLAUS & HOHENADEL LLP
ATTN BARRY SOLODKY, ESQ
212 N QUEEN ST
LANCASTER, PA 17603                            1153    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DOUCET, ROY
1103 A MCVEIGH RD
ARNAUDVILLE, LA 70512                          1224    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DOUGHERTY EQUIPMENT COMPANY
ATTN RON TURNER
PO BOX 16145
GREENSBORO, NC 27416                           682     9/23/2013    Exide Technologies, LLC              $416.69                                                                                          $416.69
DOUGLAS WELDING & MACHINE INC
ATTN LEEROY DOUGLAS
116 W MAIN
KIPP-SALINA, KS 67401                           38     6/21/2013    Exide Technologies, LLC            $10,800.00                 $0.00                                                                $10,800.00
DPC ENTERPRISES LP - HOUSTON
PO BOX 301123
DALLAS, TX 75303-1123                          865     10/5/2013    Exide Technologies, LLC              $430.87                                                                                          $430.87
DR DOUGLAS S HOLSCLAW JR
42 LLANBERRIS RD
BALA CYNWYD, PA 19004                          1449    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
DRAEGER, LOIS
727 LARPENTEUR AVE E APT C
MAPLEWOOD, MN 55117-2552                       1983    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DRESSEL WELDING SUPPLY INC
PO BOX 225
BRATTLEBORO, VT 05302-0225                     1134    10/10/2013   Exide Technologies, LLC             $1,309.53                                                                                       $1,309.53




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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
DRUMCO INC
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE ROAD EAST, STE 2005
PRINCETON, NJ 08540                               300     7/15/2013    Exide Technologies, LLC             $71,963.30                                                  $34,056.00                        $106,019.30
DRUMMOND, ISRAEL
141 DRUMMOND RD
MENDENHALL, MS 39114-4348                         2193    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
D'S WEED & PEST CONTROL - SALINA
616 W CRAWFORD ST
SALINA, KS 67401-4702                             2186    10/28/2013   Exide Technologies, LLC              $4,645.34                                                                                      $4,645.34
DTC COMPUTER SUPPLIES
9033 9TH STREET
RANCHO CUCAMONGA, CA 91730                        1366    10/15/2013   Exide Technologies, LLC             $22,084.80                                                                                     $22,084.80
DTE ENERGY
ONE ENERGY PLAZA 2120 WCB
DETROIT, MI 48226                                 359     7/15/2013    Exide Technologies, LLC             $13,021.17                                                                                     $13,021.17
DUFFY, FRANCIS
2392 NW 58TH TER
OCALA, FL 34482-8914                              743     10/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DUKE ENERGY CAROLINAS
PO BOX 1321
DEC45A
CHARLOTTE, NC 28201                               381     7/18/2013    Exide Technologies, LLC              $2,548.63                                                                                      $2,548.63
DUKE HWYNN
1535 N HERBERT AVE
LOS ANGELES, CA 90063-1936                        2879    11/1/2013    Exide Technologies, LLC            $250,000.00                                                                                    $250,000.00
DULCE I ORTIZ
PO BOX 1388
LOS ANGELES, CA 90001-0388                        3357    12/20/2013   Exide Technologies, LLC                                                  Unliquidated                                                   $0.00
DUMONTELLE, NORMAN
210 S MAIN ST BOX 44
HERSCHER, IL 60941                                736     10/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
DUNHAM RUBBER & BELTING CORP
PO BOX 47249
INDIANAPOLIS, IN 46247-0249                        46     6/21/2013    Exide Technologies, LLC              $2,157.50                                                                                      $2,157.50
DUNIHUE, GARY
1119 KEATS AVE
ORLANDO, FL 32809-6360                            2114    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
DUNN COUNTY SOLID WASTE DIV
390 RED CEDAR ST STE C
MENOMONIE, WI 54751-2265                          3273    11/26/2013   Exide Technologies, LLC               $509.60                                                      $741.20                          $1,250.80
DUNN FAMILY TRUST
C/O TIMOTHY J DUNN
3 MIRA FLORES LANE
TIBURON, CA 94920                                 1735    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
DURKIN EQUIPMENT CO., INC
PO BOX 46927
SAINT LOUIS, MO 63146                             1043    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
DYNAFORM TECHNOLOGIES INC
1862-D TOLLGATE RD
PALM, PA 18070                                    553     8/26/2013    Exide Technologies, LLC               $359.09                                                                                         $359.09
DYNAPOWER COMPANY LLC
85 MEADOWLAND DRIVE
SO. BURLINGTON, VT 05403                          876     10/5/2013    Exide Technologies, LLC              $9,630.50                                                                                      $9,630.50
E & M BUSINESS FORMS & PRINTING-ROSWELL
PO BOX 767609
ROSWELL, GA 30076-7609                            761     10/3/2013    Exide Technologies, LLC               $779.40                                    $0.00                                                $779.40
E2 ENVIRONMENTAL INC
15375 BARRANCA PKWY B-203
IRVINE, CA 92618                                  355     7/23/2013    Exide Technologies, LLC             $11,988.00                                                       $0.00                         $11,988.00
EAGIELLO, EDWARD
408 MONTDALE RD
SCOTT TOWNSHIP, PA 18447-7823                     1799    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
EAGLE CAPITAL CORPORATION
JOSH HEWITT
PO BOX 4215
TUPELO, MS 38803                                  1202    10/11/2013   Exide Technologies, LLC             $15,225.15                                                                                     $15,225.15
EAGLE OXIDE SERVICES
KATHRYN JACOBS
5605 W. 74TH ST.
INDIANAPOLIS, IN 46278                            1319    10/15/2013   Exide Technologies, LLC             $35,030.37                                                   $5,952.00                         $40,982.37
EARL BEARDSLEY
1119 METROPOLITAN AVE
LEAVENWORTH, KS 66048-1250                        2346    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
EARNEST HAMPTON
7770 SHINE LN
PINEWOOD, SC 29125-9585                           4008     3/2/2015    Exide Technologies, LLC                                  $28,599.61                                                                $28,599.61
EARNEST MILLER
CHARLTON R. DEVAULT, JR.
102 BROAD STREET
KINGSPORT, TN 37660                               1636    10/21/2013   Exide Technologies, LLC            $150,000.00                                                                                    $150,000.00
EARTHLINK BUSINESS FDBA ONE COMMUNICATIONS
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 5126
TIMONIUM, MD 21094                                 5      6/14/2013    Exide Technologies, LLC               $400.07                                                                                         $400.07
EAST ALLEN AG & TURF
4724 STATE RD 101
PO BOX 487
WOODBURN, IN 46797                                2477    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
EAST COAST INTERNATIONAL TRUCKS
ATTN EDITH BOUCHER
100 URQUHART AVE
MONCTON NB E1H 2R5 CANADA

CANADA                                            2407    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
EAST COAST INTERNATIONAL TRUCKS INC
ATTN DARLENE STEELE, CREDIT MANAGER
100 URQUHART AVE
MONCTON NB E1H 2R5 CANADA

CANADA                                          1930    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
EAST PENN MANUFACTURING CO INC
PO BOX 147 DEKA RD
LYON STATION, PA 19536-0147                      8      6/14/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
EAST PENN MANUFACTURING COMPANY INC
1 DEKA RD - PO BOX 147
LYON STATION, PA 19536-0147                     489     8/15/2013    Exide Technologies, LLC            $167,144.67                                                  $83,856.75                        $251,001.42
EAST TENNESSEE SCALE WORKS INC
PO BOX 809
LENOIR CITY, TN 37771-0809                      1572    10/19/2013   Exide Technologies, LLC              $2,915.00                                                       $0.00                          $2,915.00
EASTERN LIFT TRUCK
PO BOX 307
MAPLE SHADE, NJ 08052-0307                      1994    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
EATON, ROLLA L
8465 GRAND AVE
OMAHA, NE 68134                                 1406    10/16/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ECKERT, LARRY L
PO BOX 9454
FLEMING ISLAND, FL 32003                        1248    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ECKERT, LARRY L
PO BOX 9454
FLEMING ISLAND, FL 32006                        1241    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ECKERT, W KELSEA
170 N RIDGE DR
FLEMING ISLAND, FL 32003                        1240    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ECLIPSE ENERGY LLC
PO BOX 1907
NOBLESVILLE, IN 46061-1907                      1829    10/24/2013   Exide Technologies, LLC             $36,150.00                                                                                     $36,150.00
ECO-BAT AMERICA
C/O RSR CORPORATION
2777 STEMMONS FWY STE 1800
DALLAS, TX 75207                                228      7/8/2013    Exide Technologies, LLC             $76,187.93                                                                                     $76,187.93
ECOLOGY AUTO PARTS - CERRITOS
14150 VINE PL
CERRITOS, CA 90703-2416                         893     10/7/2013    Exide Technologies, LLC             $41,060.85                                                                                     $41,060.85
EDDIE MILLER
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                               326     7/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EDDIE MILLER
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                               365     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                     Amount
EDGAR FUENTES
10726 LA REYNA AVENUE
DOWNEY, CA 90241                                 3376    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                         $0.00
EDILBER PALACIOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3463    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
EDILBERTO CEBALLOS HDEZ
3552 WHITESIDE ST
LOS ANGELES, CA 90063                            3635    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                   $10,000.00
EDITH GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2567    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
EDITH MENDOZA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3705    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
EDMONDSON, ROBERT
740 EMBERWOOD DR
DALLAS, TX 75232-3941                            1604    10/19/2013   Exide Technologies, LLC                                    $0.00                                                                     $0.00
EDUARDO FIERRO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3937    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
EDUARDO SANCHEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3945    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
EDWARD C AGUIRRE
6674 FAIRFIELD ST
LOS ANGELES, CA 90022-4709                       3268    11/25/2013   Exide Technologies, LLC                                                  $75,000.00                                             $75,000.00
EDWARD HILL
9855 REGENCY SQUARE BLVD
APT 118
JACKSONVILLE, FL 32225                           3960    7/30/2014    Exide Technologies, LLC                                    $0.00              $0.00                                                  $0.00
EDWARD JOSEPH CANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2584    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
EDWARD LOWERY
2905 HOMESTEAD RD
SUMTER, SC 29153-7632                            4013     3/2/2015    Exide Technologies, LLC                               $19,539.07                                                                $19,539.07


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
EDWARDS CHEMICAL INC.
PO BOX 488
1504 ROSEPORT RD
ELWOOD, KS 66024-0488                            1154    10/11/2013   Exide Technologies, LLC            $27,737.13                                                      $126.02                         $27,863.15
EDWARDS, BEVERLEE
1277 VILDMARK DR
SAINT PAUL, MN 55123-1833                        892     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
EDWIN AGUILAR
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3863     2/3/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
EDWIN D POST
PO BOX 160
GRANGER, WA 98932                                4094    5/18/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EDWIN LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3537    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
EDWIN LOPEZ-PAZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3727    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
EHLERT, DAVID
FMT CO CUST IRA ROLLOVER
FBO DAVID GEORGE EHLERT
50 PARK AVE
ASHEVILLE, NC 28803-2056                         928     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
EILEEN ACOSTA
962 S SPENCE ST
LOS ANGELES, CA 90023-2345                       2973    11/4/2013    Exide Technologies, LLC                                                  Unliquidated                                                   $0.00
EILEEN SULLIVAN
22055 46 AVE APT 12C
BAYSIDE, NY 11361                                2984    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ELARDO, ROSALIE G
4580 KENNISON PKWY
HAMBURG, NY 14075                                1180    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ELBA EDITH FERNANDEZ
5309 S LOMA VISTA AVE #A
MAYWOOD, CA 90270                                3621    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
ELBE SUPPLY
P.O. BOX 802
ELBE, WA 98330                                   1109    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ELEANOR F AGUIRRE
6674 FAIRFIELD ST
LOS ANGELES, CA 90022-4709                       3269    11/25/2013   Exide Technologies, LLC                                                     $75,000.00                                             $75,000.00




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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
ELEANOR GATICA
3601 E 55TH ST
MAYWOOD, CA 90270-2131                               3871     2/4/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ELECTRIC CONVERSIONS
515 N 10TH ST
SACRAMENTO, CA 95811                                 2518    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ELECTRIC CONVERSIONS
ATTN GREGORY MCCREA
515 N 10TH ST
SACRAMENTO, CA 95811                                 321     7/18/2013    Exide Technologies, LLC            $186,154.26                $0.00                             $9,420.00                        $195,574.26
ELECTRICAL SAFETY AUTHORITY-PETERBOROUGH
400 SHELDON DRIVE, UNIT 1
CAMBRIDGE ON N1T 2H9

CANADA                                               1931    10/25/2013   Exide Technologies, LLC              $2,076.70                                                                                      $2,076.70
ELECTRONIC SCALE SYSTEM INC
948 MIAMI AVE
KANSAS CITY, KS 66105-1839                           830     10/4/2013    Exide Technologies, LLC               $247.25                                                                                        $247.25
ELECTROREP-ENERGY PRODUCTS INC
2121 SCHUETZ RD
ST LOUIS, MO 63146                                   123      7/1/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
ELENA IBARRA, GUARDIAN OF MINOR EBONY TOSCANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3085    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ELI M LOPEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                 3392     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ELIAZAR FLORES
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                                    3831    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
ELISABETH BELTRAN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3505    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ELISABETH STRAILMAN
61 PARK ST
CARBONDALE, PA 18407-2430                            1400    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ELIYAH S RIOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3607    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ELIZABETH ALAMILLO
8933 TOPE AVE
SOUTH GATE, CA 90280-2644                            3514    1/28/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
ELIZABETH ALAMILLO
8933 TOPE AVE
SOUTH GATE, CA 90280-2644                              3800    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                    $100,000.00
ELIZABETH CRAIG JACKSON
PO BOX 322
TERRY, MS 39170                                        3343    12/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ELIZABETH GARCIA
3544 E 54TH ST #A
MAYWOOD, CA 90270-2020                                 3626    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00
ELIZABETH HERNANDEZ
5221 1/2 MAYWOOD AVE
MAYWOOD, CA 90270-2011                                 2954    11/4/2013    Exide Technologies, LLC                                   $5,000.00                                                                  $5,000.00
ELIZABETH HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3956    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ELIZABETH MATAMOROS
6042 KING AVE
MAYWOOD, CA 90270                                      3645    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00
ELIZABETH SANCHEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3914    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00

ELIZABETH TORRES, GUARDIAN OF MINOR CRYSTAL ACEVES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3010    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
ELIZABETH VALENZUELA
PO BOX 655
HUNTINGTON PARK, CA 90255-0655                         3379    12/31/2013   Exide Technologies, LLC                                                    $333,000.00          $14,950.00                        $347,950.00
ELK TRANSPORTATION INC
DBA ELK ENVIRONMENTAL SERVICES
C/O WHITE AND WILLIAMS LLP
ATTN AMY E VULPIO, ESQ
1650 MARKET ST 18TH FL
PHILADELPHIA, PA 19103                                 1104    10/10/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
ELLIS, MICHAEL
515 ROBERT TAYLOR RD
LAGRANGE, GA 30240-9030                                2163    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ELLIS, VERNON
4321 GILBERT AVE
COLUMBUS, GA 31904-6518                                2943    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ELMORE BUILDING SERVICES - RAYMORE
213 S JEFFERSON ST
RAYMORE, MO 64083-9704                                 2209    10/28/2013   Exide Technologies, LLC              $6,177.80                                                                                       $6,177.80


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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                        Amount                                                       Amount
ELSEVIER BV (LEGAL COLLECTIONS)
RADARWEG 29
1043 NX AMSTERDAM NETHERLANDS

NETHERLANDS                                         3214    11/12/2013   Exide Technologies, LLC            $9,798.14                                                                                        $9,798.14
ELSEVIER GLOBAL LEGAL COLLECTIONS DEPARTMENT
21GRE012B
PO BOX 1270
1000 BG AMSTERDAM THE NETHERLANDS

NETHERLANDS                                         4132     6/2/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ELSIE BAKER
C/O NIKOLAUS & HOHENADEL LLP
ATTN BARRY SOLODKY, ESQ
212 N QUEEN ST
LANCASTER, PA 17603                                 1152    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ELSIE CARNEAL
113 EDELEN ST
VINE GROVE, KY 40175-1511                           2231    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ELVIA MEJIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3930    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ELVIA MEJILLA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3949    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
EMANUEL CABRERA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                2573    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
EMBROIDERY PLACE, THE - MANCHESTER
100 E MAIN ST
MANCHESTER, IA 52057-1735                           920     10/7/2013    Exide Technologies, LLC               $51.36                                                       $26.75                             $78.11
EMBRY, DONALD
305 5TH ST
RICHMOND, KY 40475-1339                             2021    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
EMBRY, SIDONIA
305 5TH ST
RICHMOND, KY 40475-1339                             2022    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
EMEDCO
PO BOX 369
BUFFALO, NY 14240                                   402     7/29/2013    Exide Technologies, LLC              $186.13                                                                                         $186.13
EMEDCO
PO BOX 369
BUFFALO, NY 14240                                   403     7/29/2013    Exide Technologies, LLC              $101.15                                                                                         $101.15


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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
EMEDCO
PO BOX 369
BUFFALO, NY 14240                                  404     7/29/2013    Exide Technologies, LLC             $1,536.71                                                                                        $1,536.71
EMIL & JENNIFER DARLING
C/O FRANKENMUTH INSURANCE
ATTN DOMINIC SILVESTRI AND RYAN STEARN
31780 TELEGRAPH ROAD, STE. 120
BINGHAM FARMS, MI 48025                            2027    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
EMILIANO MARTINEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3922    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
EMILY GABION
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                               2577    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
EMMANUEL JIMENEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3585    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ENCORE ENERGY SERVICES INC
11807 Q ST STE 1
OMAHA, NE 68137                                    1128    10/10/2013   Exide Technologies, LLC            $25,982.50                                                   $18,124.99                         $44,107.49
ENEDINA AMADOR
927 N HAZARD AVE
LOS ANGELES, CA 90063                              2436    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ENERSYS DELAWARE INC F/K/A ENERSYS INC
C/O STEVENS & LEE PC
ATTN ROBERT LAPOWSKY
1818 MARKET ST 29TH FL
PHILADELPHIA, PA 19103                             654     9/18/2013    Exide Technologies, LLC        $6,250,000.00                                     $0.00                                           $6,250,000.00
ENGINEERED PLASTIC PRODUCTS
PO BOX 196
269 MERCER STREET
STIRLING, NJ 07980-0196                            993     10/7/2013    Exide Technologies, LLC            $49,767.72                                                    $4,730.80                         $54,498.52
ENGINEERED PLASTIC PRODUCTS INC
269 MERCER ST
PO BOX 196
STIRLING, NJ 07980                                  36     6/21/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ENGINEERED REFRACTORY SHAPES & SERVICES LLC
C/O ICE MILLER LLP
ATTN BEN T CAUGHEY
ONE AMERICAN SQ STE 3100
INDIANAPOLIS, IN 46280                             391     7/26/2013    Exide Technologies, LLC            $94,402.38                                                                                      $94,402.38
ENGINEERING SOLUTIONS INC
1401 S 950 W
ANDERSON, IN 46012                                  37     6/21/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
ENGLAND, MICHAEL
2485 AZBILL RD
MC KEE, KY 40447-8007                                 1105    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ENGLUND EQUIPMENT COMPANY INC
ATTN HEATHER WALLUS
PO BOX 250
CASHION, AZ 85329                                     203      7/6/2013    Exide Technologies, LLC             $1,728.84                                                                                        $1,728.84
ENOS, MR.
1505 4TH ST
MONONGAHELA, PA 15063-1204                            1835    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ENRIQUE ORTEGA RUIZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  4047     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ENRIQUE RUIZ
643 S KERN AVE
LOS ANGELES, CA 90022                                 2995    11/5/2013    Exide Technologies, LLC                               Unliquidated                                                                      $0.00
ENSTAR NATURAL GAS COMPANY
PO BOX 190288
ANCHORAGE, AK 99519-0288                              2938    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ENTEK INTERNATIONAL LLC
PO BOX 4500 UNIT 78
PORTLAND, OR 97208                                    1335    10/15/2013   Exide Technologies, LLC            $64,836.55                                                   $65,928.85                        $130,765.40
ENTERPRISE FLEET SERVICES
ATTN SCOTT CLINE
5909 PEACHTREE DUNWOODY RD STE 500
ATLANTA, GA 30328-8103                                2495    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ENVIRO-FLOW
2630 LEONIS BLVD
VERNON, CA 90058-2204                                 3231    11/15/2013   Exide Technologies, LLC             $5,768.00                                                                                        $5,768.00
ENVIRON INTERNATIONAL CORPORATION
ATTN KRISTEN MCCORMICK
214 CARNEGIE CENTER
PRINCETON, NJ 08540                                   1088    10/9/2013    Exide Technologies, LLC            $71,192.69                                                                                      $71,192.69

ENVIRONMENTAL PROTECTION DIVISION
DEPT OF NATURAL RESOURCES, STATE OF GA
ATTN KAREN HAYS, MGR STATIONARY SOURCE COMPLIANCE
AIR PROTECTION BRANCH, GEORGIA EPD
4244 INTERNATIONAL PKWY STE 120
ATLANTA, GA 30354-3906                                3312    12/9/2013    Exide Technologies, LLC            $27,000.00                                                                                      $27,000.00
ENVIRONMENTAL PROTECTION DIVISION
DEPT OF NATURAL RESOURCES, STATE OF GA
ATTN MS AMY MUSSLER, LEGAL AFFAIRS COORDINATOR
RESPONSE & REMEDIATION PROGRAM, GEORGIA EPD
2 MARTIN LUTHER KING JR DR STE 1054, EAST TOWER
ATLANTA, GA 30334                                     3311    12/9/2013    Exide Technologies, LLC                                                  $9,400,446.00                                           $9,400,446.00




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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                           Amount                                                        Amount
ENVIRONMENTAL PROTECTION DIVISION, DEPT OF
NATURAL RESOURCES, STATE OF GA
ATTN MS AMY MUSSLER, LEGAL AFFAIRS COORDINATOR
RESPONSE AND REMEDIATION PROGRAM, GEORGIA EPD
2 MARTIN LUTHER KING JR DR STE 1054 EAST TOWER
ATLANTA, GA 30334                                      3326    12/9/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00

ENVIRONMENTAL PROTECTION DIVISION, DEPT OF
NATURAL RESOURCES, STATE OF GA
ATTN MS KAREN HAYS, MGR STATIONARY SOURCE COMP AIR
PROTECTION BRANCH, GEORGIA EPD
4244 INTERNATIONAL PKWY STE 120
ATLANTA, GA 30354-3906                                 3325    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
ENVIRONMENTAL RECOVERY SERVICES INC
C/O ABRAMSON & BROWN
ATTN JOE R ABRAMSON, ESQ
21700 OXNARD ST STE 1770
WOODLAND HILLS, CA 91367-7594                          2419    10/30/2013   Exide Technologies, LLC            $131,482.13                                                                                     $131,482.13
ENVIRONMENTAL RECOVERY SERVICES INC
C/O ERVIN COHEN & JESSUP LLP
ATTN BYRON Z MOLDO, ESQ
9401 WILSHIRE BLVD 9TH FL
BEVERLY HILLS, CA 90212-2974                           4118    5/29/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
ENVIRONMENTAL TESTING & CONSULTING INC
2790 WHITTEN RD
MEMPHIS, TN 38133-4753                                 1391    10/15/2013   Exide Technologies, LLC              $2,331.25                                                                                        $2,331.25
ENVIROSAFE SERVICES OF OHIO INC
2300 COMPUTER AVE STE L61
WILLOW GROVE, PA 19090                                 121      7/1/2013    Exide Technologies, LLC             $57,030.41                $0.00                                  $0.00                          $57,030.41
ENVIROSMART INC.
JERRY DOLAN
PO BOX 20666
CHARLESTON, SC 29413                                   774     10/3/2013    Exide Technologies, LLC            $131,287.89                                                                                     $131,287.89
ENZO SANTIBANEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3709    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
EPINGER, ALLETTA
901 JOY RD LOT G26
COLUMBUS, GA 31906-4733                                3203    11/8/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
EPITACIO RUIZ GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3935    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
EPPERSON, CHARLES
4730 AUBURN RD NE UNIT 131
SALEM, OR 97301-4958                                   2067    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00


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                                                                                                         Current General                                              Current 503(b)(9)
                                                                                                                                 Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                             Amount                                                       Amount
EPSTEIN, ERICA L
31549 S WOODLAND RD
PEPPER PIKE, OH 44124                                    1018    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
EPSTEIN, SHERRY STEIN
31549 S WOODLAND RD
PEPPER PIKE, OH 44124                                    1017    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
EQC GLOBAL OPPORTUNITIES FUND
C/O EQUILIBRIA CAPITAL MANAGEMENT
O'HARA HOUSE
ONE BERMUDIANA RD
HAMILTON HM08 BERMUDA

BERMUDA                                                  1405    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
EQC GLOBAL OPPORTUNITIES FUND
C/O EQUILIBRIA CAPITAL MANAGEMENT
O'HARA HOUSE
ONE BERMUDIANA RD
HAMILTON HM08
BERMUDA                                                  1706    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
EQ-ENVIRONMENTAL QUALITY COMPANY
17440 COLLEGE PKWY #300
LIVONIA, MI 48152-2363                                   2227    10/29/2013   Exide Technologies, LLC            $142,196.78                                                                                   $142,196.78
EQUILON ENTERPRISES LLC DBA SHELL OIL PRODUCTS US
ATTN TRAVIS TORRENCE
910 LOUISIANA ST RM 1162
HOUSTON, TX 77002                                        2529    10/30/2013   Exide Technologies, LLC                    $1.00                                                                                       $1.00
EQUIPMENT & PROCESS MANAGEMENT CONSULT
CONSULTANTS,INC.DBA EPMC, INC.
7007 E. 650 N.
NEEDHAM, IN 46162                                        1080    10/9/2013    Exide Technologies, LLC              $9,600.00                $0.00                                                                 $9,600.00
ERCO LLC
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE RD EAST, STE 2005
PRINCETON, NJ 08540                                      397     7/27/2013    Exide Technologies, LLC                                                                        $11,637.00                         $11,637.00
ERIC LEE
21879 RUCKER DRIVE
CUPERTINO, CA 95014                                      705     9/30/2013    Exide Technologies, LLC              $1,701.65                                                      $0.00                           $1,701.65
ERIC VALENZUELA
10111 SAN JUAN AVE
SOUTH GATE, CA 90280                                     3807    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
ERICA VILLICANA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                      3799    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ERICKSON, CONNIE
15702 JANINE DR
WHITTIER, CA 90603-1519                                  2102    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                       Amount                                                       Amount
ERIE COKE CORPORATION
C/O PEPPER HAMILTON LLP
ATTN HENRY JAFFE, ESQ
1313 N MARKET ST, PO BOX 1709
WILMINGTON, DE 19899-1709                          2273    10/29/2013   Exide Technologies, LLC                                                                       $102,047.25                        $102,047.25
ERIKA AYON
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3123    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ERIKA AYON, GUARDIAN OF MINOR GERARDO LUQUE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3188    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ERIKA AYON, GUARDIAN OF MINOR JESSUS LUQUE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3110    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ERNESTINA BAUTISTA HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3510    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ERNESTO GARCIA
PO BOX 227322
LOS ANGELES, CA 90022-0807                         3224    11/13/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ERNESTO PERALTA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                               4050     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ERNESTO RAMIREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                               2582    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ESCA TECH INC
3747 N BOOTH ST
MILWAUKEE, WI 53212                                318     7/17/2013    Exide Technologies, LLC            $16,349.65                                                     $815.00                         $17,164.65
ESCOBEDO, JUAN
8640 6TH ST
FRISCO, TX 75034-5021                              2117    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ESMERALDA GONZALES VANEGAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3616    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00


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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                        Amount                                                        Amount
ESOPUS CREEK VALUE SERIES FUND LP SER A
ATTN ANDREW SOLE,
MEMBER OF THE CREDITOR'S COMMITTEE
1325 AVENUE OF THE AMERICAS STE 2724
NEW YORK, NY 10019                                  4087    5/11/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
ESPERANZA MEDINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                3386     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
ESPERANZA N PORTILLO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3476    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
ESTATE OF ATHENA GEORGAKAKOS
GEORGE ONORATO EXEC
69-04 DITMARS BLVD
JACKSON HEIGHTS, NY 11370-1031                      2032    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
ESTATE OF JORGE M ZUNIGA BY & THROUGH HIS REP
MARLENE A ALEMAN-ZUNIGA WIFE CECILY L ZUNIGA
DAUGHTER & ALBERTO TORRES III STEPSON
286 MARGARET AVE
LOS ANGELES, CA 90022-2225                          3555    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00
ESTHELA FERNANDEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3659    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00
ESTHELA TARAZON
7625 E SLAUSON AVE
COMMERCE, CA 90040-3826                             2860    10/31/2013   Exide Technologies, LLC            $250,000.00                                                                                     $250,000.00
ESTHER LLAMAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                4057     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
ESTRELLITA DELGADILLO
629 ORME AVE
LOS ANGELES, CA 90023                               3804    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                     $100,000.00
EUGENE R. SHIPPEN, M.D.
1124 OLD MILL RD
WYOMISSING, PA 19610-2526                           2391    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
EULER HERMES NORTH AMERICA INSURANCE COMPANY AS
TRANSFEREE OF ALPHA PACKAGING INC
800 RED BROOK BLVD
OWINGS MILLS, MD 21117-1008                         2627    10/31/2013   Exide Technologies, LLC             $82,514.75                                                                                      $82,514.75
EUREKA WATER COMPANY - OKLAHOMA CITY
PO BOX 26730
OKLAHOMA CITY, OK 73126-0730                        3093    11/7/2013    Exide Technologies, LLC               $122.41                                                                                          $122.41

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                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                   Amount
EVA JIMENEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                   4060     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00

EVA SEGURA, GUARDIAN OF MINOR CHRISTOPHER SEGURA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3080    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

EVA SEGURA, GUARDIAN OF MINOR KAITLYN A NOGUERA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3159    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
EVANGELIA GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3614    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
EVANGELINA ALFARO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3784    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
EVANS ENTERPRISES INC
PO BOX 6848
FORT SMITH, AR 72906                                   398     7/27/2013    Exide Technologies, LLC            $2,469.00                                                  $683.00                           $3,152.00
EVANS, VIRGIE
112 JONES AVE
PEARL, MS 39208-9157                                   2073    10/28/2013   Exide Technologies, LLC                                   $0.00                                                                    $0.00
EVELYN DAWSON
2515 HWY 261 N
DALZELL, SC 29040-9099                                 3999     3/2/2015    Exide Technologies, LLC                              $25,025.49                                                               $25,025.49
EVELYN LOPEZ-PAZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3728    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00
EVERT REID
643 S KERN AVE
LOS ANGELES, CA 90022                                  2994    11/5/2013    Exide Technologies, LLC                           Unliquidated                                                                     $0.00
EXIDE TECHNOLOGIES GMBH
IM THIERGARTEN 1
D-63654 BÜDINGEN GERMANY

GERMANY                                                2493    10/30/2013   Exide Technologies, LLC                                                                         $0.00                              $0.00


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
EXIDE TECHNOLOGIES GMBH
IM THIERGARTEN
D-63654 BUDINGEN GERMANY

GERMANY                                          2494    10/30/2013   Exide Technologies, LLC                                                                             $0.00                              $0.00
EXPERT PLUMBING - NAPERVILLE
424 FORT HILL DR STE 122
NAPERVILLE, IL 60540-3940                        951     10/7/2013    Exide Technologies, LLC              $275.00                                                                                         $275.00
EXPORT PACKAGING CO
PO BOX 733
MOLINE, IL 61265                                 799     10/3/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
EXPRESS EMPLOYMENT PROFESSIONALS
ATTN ALAN KROUSE
3080 ORCHARD LAKE RD
SUITE A
KEEGO HARBOR, MI 48335                           1688    10/21/2013   Exide Technologies, LLC             $5,623.62                 $0.00                                 $0.00                           $5,623.62
EXPRESS EMPLOYMENT PROFESSIONALS
C/O EXPRESS SERVICES
8516 NW EXPRESSWAY
OKLAHOMA CITY, OK 73162                          322     7/18/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
EZRA MCNAIR
C/O CARRIE MCNAIR
PO BOX 94
GEORGETOWN, MS 39078                             1353    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
FABIOLA LARA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                             4076    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
FACTOR SYSTEMS INC
100 AMERICAN METRO BLVD STE 150
HAMILTON, NJ 08619                               527     8/22/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FAEGRE BAKER DANIELS LLP
ATTN JAY JAFFE
600 E 96TH ST STE 600
INDIANAPOLIS, IN 46240                           344     7/22/2013    Exide Technologies, LLC            $11,943.12                                                                                     $11,943.12
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
DELRAY SCRAPE RECYCLING LLC
PO BOX 237037
NEW YORK, NY 10023                               2772    10/31/2013   Exide Technologies, LLC                                                                         $2,005.62                           $2,005.62
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
GODFREY'S INDOOR
PO BOX 237037
NEW YORK, NY 10023                               2382    10/30/2013   Exide Technologies, LLC                                                                           $710.16                            $710.16
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
PENN-AIR & HYDRAULICS CORPORATION
PO BOX 237037
NEW YORK, NY 10023                               2381    10/30/2013   Exide Technologies, LLC             $4,109.44                                                   $1,345.19                           $5,454.63



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                                                                                                                  Amount                                                       Amount
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
PRECISION AUTO PARTS
PO BOX 237037
NEW YORK, NY 10023                                            2383    10/30/2013   Exide Technologies, LLC                                                                           $880.23                            $880.23
FAIR HARBOR CAPITAL LLC AS ASSIGNEE OF
TOWN OF SANDWICH
PO BOX 237037
NEW YORK, NY 10023                                            2384    10/30/2013   Exide Technologies, LLC                                                                           $777.00                            $777.00
FAIR HARBOR CAPITAL, LLC AS TRANSFEREE OF DON SHAFER C/O
EHS MANAGEMENT
ANSONIA FINANCE STATION
PO BOX 237037
NEW YORK, NY 10023                                            337     7/20/2013    Exide Technologies, LLC             $6,210.00                                                                                      $6,210.00
FAIR HARBOR CAPITAL, LLC AS TRANSFEREE OF PENN-AIR &
HYDRAULICS CORPORATION
ANSONIA FINANCE STATION
PO BOX 237037
NEW YORK, NY 10023                                            1023    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FAIR HARBOR CAPITAL, LLC AS TRANSFEREE OF QUICK CABLE
CORP
ANSONIA FINANCE STATION
PO BOX 237037
NEW YORK, NY 10023                                            214      7/6/2013    Exide Technologies, LLC             $3,922.56                                                     $556.00                          $4,478.56
FAIR HARBOR CAPITAL, LLC AS TRANSFEREE OF THE PARTNERSHIP
OF ATLANTA INC
ANSONIA FINANCE STATION
PO BOX 237037
NEW YORK, NY 10023                                            202      7/6/2013    Exide Technologies, LLC             $3,675.00                                                                                      $3,675.00
FARMER, PERCY
2820 CANARY CT
MESQUITE, TX 75149-2934                                       3091    11/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FARMERS EQUIPMENT
6008 ELIDA RD
ELIDA, OH 45807-9453                                          1071    10/9/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
FARON CARL
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                                     1913    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
FASTENAL
2001 THEURER BLVD
ATTN: JOHN MILEK, GENERAL COUNSEL
WINONA, MN 55987-1500                                         1314    10/15/2013   Exide Technologies, LLC            $60,272.71                                                   $5,593.92                         $65,866.63
FATIMA REID
643 S KERN AVE
LOS ANGELES, CA 90022-2509                                    2993    11/5/2013    Exide Technologies, LLC                               Unliquidated                                                                     $0.00
FCS CONSTRUCTION LLC
C/O ANDERSON TOBIN PLLC
ATTN AARON Z TOBIN/J SETH MOORE
13355 NOEL RD STE 1900
DALLAS, TX 75240                                              642     9/14/2013    Exide Technologies, LLC            $32,891.00                                                                                     $32,891.00

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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
FDL FASTENERS
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE ROAD EAST, STE 2005
PRINCETON, NJ 08540                                84     6/26/2013    Exide Technologies, LLC             $34,583.44                                                  $1,861.00                         $36,444.44
FEDEX CUSTOM CRITICAL
C/O RMS
PO BOX 5126
TIMONIUM, MD 21094                                452      8/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FEDEX CUSTOM CRITICAL
C/O RMS
PO BOX 5126
TIMONIUM, MD 21094                                3964    8/14/2014    Exide Technologies, LLC              $9,721.60                                                                                      $9,721.60
FEDEX TECHCONNECT INC
AS ASSIGNEE OF FEDERAL EXPRESS CORP/FEDEX
GROUND PACKAGE SYSTEMS INC ET AL
ATTN REVENUE RECOVERY/BANKRUPTCY
3965 AIRWAYS BLVD MODULE G 3RD FL
MEMPHIS, TN 38116                                 2847    10/24/2013   Exide Technologies, LLC            $156,030.19                                                                                   $156,030.19
FELIPE AGUIRRE
6042 KING AVE
MAYWOOD, CA 90270                                 3620    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
FERGUSON PRODUCTION INC
ATTN ROBIN M ELSASSER, OFFICE MGR
2130 INDUSTRIAL DR
MCPERSON, KS 67460                                680     9/23/2013    Exide Technologies, LLC             $12,347.00                                                  $1,371.60                         $13,718.60
FERGUSON, LOIS
641 TIMBERLAKE DR
LYNCHBURG, VA 24502-6925                          2023    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
FERNANDO DIAZ
144 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                             3848    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
FERNANDO GONZALES ESPINOZA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                               3612    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
FERNANDO LLAMAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                               3957    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
FERNANDO LOPEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              4058     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
FERRELLGAS INC
ONE LIBERTY PLAZA MD#40
LIBERTY, MO 64068                                  25     6/17/2013    Exide Technologies, LLC              $8,456.73                                                                                      $8,456.73


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
FERRO MAGNETICS CORPORATION
C/O POLSINELLI PC
ATTN CHRIS SWENSON, ESQ
100 S 4TH ST STE 1000
ST LOUIS, MO 63102                               713     9/30/2013    Exide Technologies, LLC            $67,409.59                                                                                     $67,409.59
FERRO MAGNETICS CORPORATION
C/O POLSINELLI PC
ATTN JARRETT VINE
222 DELAWARE AVE STE 1101
WILMINGTON, DE 19801                             521     8/20/2013    Exide Technologies, LLC                                                                       $186,168.58                        $186,168.58
FERRO MAGNETICS CORPORATION
C/O POLSINELLI PC
ATTN SHANTI M KATONA
222 DELAWARE AVE STE 1101
WILMINGTON, DE 19801                              9      6/11/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
FERRY, TODD
4272 HEINE STRASSE ST
EAGAN, MN 55122-1805                             3284    11/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
FICKUS, SUSAN
1118 N IRVING AVE
DUNMORE, PA 18510-1348                           1560    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
FIDENCIO MEDINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3385     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
FILLMORE AUTOMOTIVE
6088 ARSENAL ST
ST LOUIS, MO 63139                                6      6/14/2013    Exide Technologies, LLC             $2,475.67                                                                                       $2,475.67
FINANCIAL SERVICES, INC.
21 HARRISTOWN RD
GLEN ROCK, NJ 07452-3307                         775     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FIRE EXTINGUISHER CO INC
ATTN DAVID SHELL
PO BOX 814
JONESBOROUGH, TN 37659                           4108    5/23/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FIRING CIRCUITS INC
50 WATERVIEW DR
SHELTON, CT 06484                                504     8/17/2013    Exide Technologies, LLC            $20,285.77                                                                                     $20,285.77
FISCHER PROCESS INDUSTRIES
155 COMMERCE BLVD
LOVELAND, OH 45140                               4171     2/4/2016    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FISHER SCIENTIFIC CO LLC
ATTN GARY BARNES
300 INDUSTRY DR
PITTSBURGH, PA 15275                             958     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
FISHER, EUGENE
3303 S EWING AVE
DALLAS, TX 75216-5220                            2185    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00


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                                                                                                Current General                                               Current 503(b)(9)
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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
FITZ, GLADYS
3006 MOJAVE DR
DALLAS, TX 75241-6507                           1846    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FITZGERALD, CURTIS
33222 AIRLINE RD
PAULS VALLEY, OK 73075-9068                     1456    10/17/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FITZPATRICK, EDWARD
864 96TH LN NE
BLAINE, MN 55434-2501                           1619    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FIVE FLAGS CO
712 JEFFERSON ST
BURLINGTON, IA 52601-1051                       800     10/3/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
FIVE STAR FOOD SERVICE
1001 LONGLEY PL
LAGRANGE, GA 30240                              1278    10/14/2013   Exide Technologies, LLC             $4,344.80                                                                                       $4,344.80
FL DEPT OF ENVIRONMENTAL PROTECTION
C/O OFFICE OF THE GENERAL COUNSEL
3900 COMMONWEALTH BLVD MS 35
TALLAHASSEE, FL 32399-3000                      3337    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
FLAGGS, VIVIAN
103 GREENBRIAR DR
VICKSBURG, MS 39180-6208                        2736    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FLAHERTY, RICHARD W
1511 WHITE TAIL CT
KEWAUNEE, WI 54216                              1820    10/24/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
FLEMING, MICHAEL N
701 HARLECH DR
NEWARK, OH 43055                                1741    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
FLETCHER, BETTIE
5398 DAVIDSON ST SE
ALBANY, OR 97322-8302                           1606    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FLETCHER, DALE W
S2950 LORENE DR
MARSHFIELD, WI 54449                            1038    10/8/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
FLEX EXECS MANAGEMENT SOLUTIONS-WILLOWBR
ATTN NORA AUSTIN
645 EXECUTIVE DR
WILLOWBROOK, IL 60527-5603                      823     10/4/2013    Exide Technologies, LLC            $16,267.50                 $0.00                                                                $16,267.50
FLOIED FIRE EXTINGUISHERS CO.
KIM SIMMONS
3050 LAMAR AVENUE
MEMPHIS, TN 38114                               946     10/7/2013    Exide Technologies, LLC              $421.70                                                         $0.00                            $421.70
FLOOD, GEORGE
589 HILLDALE RD
HOLTWOOD, PA 17532-9633                         2029    10/26/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
FLOR REYES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3089    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
FLOR REYES GUARDIAN OF MINOR NICOLE MEJIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3018    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
FLORA CASTILLO
144 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                            3852    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
FLORENTINO MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3921    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
FLOW SYSTEMS LLC
ATTN DREW BARRETT
2658 BROOKFORD DR
TOLEDO, OH 43614                                 2254    10/29/2013   Exide Technologies, LLC             $62,487.17                                                                                    $62,487.17
FLOWERS, ROBERT
1605 BUTLER AVE
OCOEE, FL 34761-3828                             2877    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
FLOW-RITE CONTROLS - GRAND RAPIDS
960 74TH ST SW
BYRON CENTER, MI 49315-7914                      1832    10/24/2013   Exide Technologies, LLC            $189,581.77                                                                                   $189,581.77
FLSMIDTH SIOUX CITY INC
PO BOX 1108
SIOUX CITY, IA 51102                             634     9/13/2013    Exide Technologies, LLC              $8,145.50                                                                                      $8,145.50
FLYNN, ANN
4868 DERBY LN
MACUNGIE, PA 18062-8318                          1989    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
FMC CORPORATION
C/O CURTIN & HEEFNER LLP
ATTN ROBERT SZWAJKOS, ESQ
250 N PENNSYLVANIA AVE PO BOX 217
MORRISVILLE, PA 19067                             35     6/20/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
FMC CORPORATION
C/O CURTIN & HEEFNER LLP
ATTN ROBERT SZWAJKOS, ESQ
250 PENNSYLVANIA AVE
MORRISVILLE, PA 18940                            2287    10/29/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
FOLEY & LARDNER LLP
ATTN FRANK W DICASTRI
777 E WISCONSIN AVE
MILWAUKEE, WI 53202                              2400    10/30/2013   Exide Technologies, LLC              $7,846.48                                                                                      $7,846.48
FONER, HARRIET & STANLEY
500 C GRAND ST APT 5G
NEW YORK, NY 10002                               2128    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
FORD & HARRISON LLP - ATLANTA
271 17TH ST NW STE 1900
ATLANTA, GA 30363-6202                           2282    10/29/2013   Exide Technologies, LLC             $33,857.44                                                                                    $33,857.44


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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
FORKLIFT SERVICE COMPANY OF HOUSTON, INC
CHERIE HUESKE
3312 TOLIVER
HOUSTON, TX 77093                               721     9/30/2013    Exide Technologies, LLC              $2,072.44                $0.00                                                                  $2,072.44
FORREST C CARR & EDITH M CARR JT TEN
C/O FORREST C CARR
1729 INDIAN HILLS RD
LEBANON, TN 37087                               2134    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FORST, PAUL E
1231 CANON WAY
WESTMINSTER, MD 21157                           3217    11/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FORT DEARBORN ENTERPRISES
4115 SAINT CHARLES RD
BELLWOOD, IL 60104-1145                         2663    10/31/2013   Exide Technologies, LLC            $116,009.20                                                                                    $116,009.20
FORTUNE SKY RECYCLING
4210 BF GOODRICH BLVD
MEMPHIS, TN 38118-6920                          3227    11/14/2013   Exide Technologies, LLC              $7,613.68                                                                                       $7,613.68
FOSTER PEPPER, PLLC
1111 3RD AVE STE 3400
SEATTLE, WA 98101-3299                          845     10/4/2013    Exide Technologies, LLC             $26,191.25                                                                                     $26,191.25
FOUNTAIN, JEAN
8680 JEFFERSON HWY APT 111
BATON ROUGE, LA 70809-2262                      1488    10/18/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
FOX METRO W.R.D.
682 SR 31
OSWEGO, IL 60543                                948     10/7/2013    Exide Technologies, LLC               $100.06                                                                                         $100.06
FPT CANTON
1514 MAPLE AVE NE
CANTON, OH 44705                                1288    10/14/2013   Exide Technologies, LLC              $4,576.50                                                                                       $4,576.50
FPWEB.NET LLC
1714 GILSINN LN
FENTON, MO 63026-2004                           2138    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FRANCES VALDEZ
4927 KINSIE ST
COMMERCE, CA 90040                              2194    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
FRANCHISE TAX BOARD
BANKRUPTCY SECTION MS A340
PO BOX 2952
SACRAMENTO, CA 95812-2952                       3304    12/5/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
FRANCHISE TAX BOARD
BANKRUPTCY SECTION MS A340
PO BOX 2952
SACRAMENTO, CA 95812-2952                       3959    7/11/2014    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
FRANCISCA CONTRERAS CERVANTES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3797    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
FRANCISCA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3713    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
FRANCISCA SOTO
6022 FISHBURN AVE
HUNTINGTON PARK, CA 90255                        3419     1/7/2014    Exide Technologies, LLC         Unliquidated                                                                    Unliquidated            $0.00
FRANCISCO ZUNIGA
PO BOX 93
BELL GARDENS, CA 90201-0093                      1795    10/24/2013   Exide Technologies, LLC                                                      $1,500.00                                               $1,500.00
FRANCISCO JAVIER GARCIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3948    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
FRANCISCO JAVIER JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3746    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
FRANCISCO MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3678    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
FRANCO, ROBERT & MARGARET
1 COMBS HOLLOW RD
MENDHAM, NJ 07945                                1897    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
FRANK DAVIS
1760 WALDEN ST
AURORA, CO 80017                                 3212    11/12/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
FRANK DISCUSSION
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3589    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
FRANK TRANES
51 BROOKWOOD DR
WESTFORT, MA 02790                               1781    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
FRANKIE'S GOLF CARTS
2011 N TAYLOR AVE
GARDEN CITY, KS 67846                            511     8/19/2013    Exide Technologies, LLC            $1,968.40                                                         $0.00                           $1,968.40
FRANKIE'S GOLF CARTS
2011 N TAYLOR AVE
GARDEN CITY, KS 67846                            944     10/7/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
FRANKLIN N MEYER ESQ PC
PROFIT SHARING PLAN
7 CAPE CT
MILLBURN, NJ 07041                               1844    10/24/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
FRANKLIN, CAROLYN
1226 GRANGE HALL RD
VICKSBURG, MS 39180-5810                        2884    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
FRASER, MYRON
1331 N TERRACE AVE
KANKAKEE, IL 60901-7455                         1665    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
FRASIER TRANSPORT INC
8171 E EXECUTIVE AVE
NAMPA, ID 83687                                  21     6/17/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
FRASIER TRANSPORT INC
8171 E EXECUTIVE AVE
NAMPA, ID 83687                                 880     10/5/2013    Exide Technologies, LLC             $1,950.00                                                        $0.00                          $1,950.00
FRED & MARGARET C ROBERTS JT TEN
1272 ROBERTSVILLE RD
PUNXSUTAWNEY, PA 15767                          1081    10/9/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
FRED MCMILLIAN
4811 DUNCANVILLE RD # 101
DALLAS, TX 75236                                2729    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FREDERICK SWANSTON INC
ATTN TERESA WARTHEN
11800 AMBERPARK DR STE 100
ALPHARETTA, GA 30009                             11     6/15/2013    Exide Technologies, LLC            $20,225.00                                                                                      $20,225.00
FREE FLOW-ROCKFORD LLC
MICHAEL SLATTERY
9918 NORTH ALPINE ROAD
MACHESNEY PARK, IL 61115                        2243    10/29/2013   Exide Technologies, LLC            $60,075.00                                                                                      $60,075.00
FRISCO COMMUNITY DEVELOPMENT CORPORATION
C/O ABERNATHY ROEDER BOYD & JOPLIN PC
1700 REDBUD BLVD STE 300
MCKINNEY, TX 75069                              3318    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
FRISCO ECONOMIC DEVELOPMENT CORPORATION
C/O ABERNATHY ROEDER BOYD & JOPLIN PC
1700 REDBUD BLVD STE 300
MCKINNEY, TX 75069                              3319    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
FRITSCH, JAMES
120 MARGARET LN
DALTON, PA 18414-8072                           1322    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FRONK, CHARLES
60 CEMETERY RD
MOSCOW, PA 18444-6050                           2330    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
FRUITION PARTNERS INC
168 N CLINTON ST 6TH FL
CHICAGO, IL 60661                                90     6/27/2013    Exide Technologies, LLC            $25,151.48                                                                                      $25,151.48
G & M CO INC.
1250 ROOSEVELT AVE
PO BOX 4009
READING, PA 19606-1352                          1477    10/18/2013   Exide Technologies, LLC              $308.00                                                                                          $308.00
GABRIEL JAKEZ
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                3365    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00

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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
GABRIEL MARTINEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                   3388     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
GABRIELA RAMOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3022    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
GABRIELA RAMOS, GUARDIAN OF MINOR
VALERIA HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3071    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

GABRIELA RAMOS, GUARDIAN OF MINOR DENNIS ALEJANDRE
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3013    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
GABRIELLA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3714    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
GADOLA, ANTHONY T
651 PARDEESVILLE RD
HAZLE TOWNSHIP, PA 18202-2701                          2091    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GAINES, ISAAC
986 FORDS CREEK RD
WOODVILLE, MS 39669-3706                               2880    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
GAINES, JOSEPH
717 N MAIN ST
SUMTER, SC 29150-3521                                  2042    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GALA INDUSTRIES
181 PAULEY ST
EAGLE ROCK, VA 24085-3602                              1003    10/7/2013    Exide Technologies, LLC            $61,961.10                                                                                     $61,961.10
GALGON HVAC & MECHANICAL SERVICE, INC
1800 MACARTHUR BLVD NW
ATLANTA, GA 30318-2024                                 809     10/4/2013    Exide Technologies, LLC             $7,544.76                                                     $587.59                           $8,132.35
GALISZANSKI, ANTHONY
5341 BEAUMONT LN
MACUNGIE, PA 18062-8654                                2705    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GALLASHAW, VICTORIA
2715 GALLISHAW DR
DALZELL, SC 29040-8892                                 1857    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00




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                                                                                                           Amount                                                        Amount
GAMMAFLUX
DOREEN DODSON
113 EXECUTIVE DRIVE
STERLING, VA 20166                                     2512    10/30/2013   Exide Technologies, LLC             $9,780.87                                                                                       $9,780.87
GARBER SCALE COMPANY
DOUG PEIFER
250 E OREGON RD STE 101
LITITZ, PA 17543                                       760     10/3/2013    Exide Technologies, LLC              $719.60                                                         $0.00                            $719.60
GARDA, JOHN A
3941 STAATZ DR
YOUNGSTOWN, OH 44511                                   1116    10/10/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
GARRISON, PEGGY
151 MEMORY LN
WALHALLA, SC 29691-3528                                1669    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GARY HAYNES
1040 E BURLINGHALL DR
LONG BEACH, CA 90807-2410                              2427    10/30/2013   Exide Technologies, LLC             $8,250.00                                                                                       $8,250.00
GARY NATE
4786 BURCH CREEK DR
OGDEN, UT 84403                                        3981    11/26/2014   Exide Technologies, LLC                                                          $0.00                                                  $0.00
GAUTHIER NON FERROUS PRODUCTS INC
C/O LAVERY DE BILLY
ATTN MS EMILIE LAPLANTE PAQUIN
1 PLACE VILLE MARIE STE 4000
MONTREAL, QC H3B 4M4
CANADA                                                 241     7/10/2013    Exide Technologies, LLC                                                                         $68,704.52                         $68,704.52
GAYTON, FRANCES
2833 MILLER AVE
SOUTH CHICAGO HEIGHTS, IL 60411-4763                   1432    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GDF SUEZ ENERGY RESOURCES NA INC
ATTN RAY CUNNINGHAM, VP & ASST GENERAL COUNSEL
1990 POST OAK BLVD STE 1900
HOUSTON, TX 77056                                      362     7/15/2013    Exide Technologies, LLC            $73,117.57                                                                                      $73,117.57
GE CAPITAL
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                                 429     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

GE CAPITAL INFORMATION TECHNOLOGY SOLUTIONS INC
FDBA IKON FINANCIAL SERVICES
ATTN BANKRUPTCY ADMINISTRATION
PO BOX 13708
MACON, GA 31208                                        382     7/22/2013    Exide Technologies, LLC             $8,286.71                                                                                       $8,286.71
GELDERMAN, BARBARA
7661 W COPPER CREST PL
TUCSON, AZ 85743                                       2068    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GENERAL ALLOYS INC
135 W WYLIE AVE
WASHINGTON, PA 15301                                    3      6/14/2013    Exide Technologies, LLC             $2,924.16                                                                                       $2,924.16


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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
GENERAL MAINTENANCE ENTERPRISES INC
2340 WR LARSON RD
SAN ANTONIO, TX 78209                                  226      7/8/2013    Exide Technologies, LLC             $3,164.00                                                       $0.00                           $3,164.00
GENERAL YOUNG
964 N 28TH AVE
OMAHA, NE 68131                                        3984     1/5/2015    Exide Technologies, LLC                                       $0.00                                                                    $0.00
GENESIS MANRIQUE
6039 MAYFLOWER AVE
MAYWOOD, CA 90270                                      3829    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
GEORGE A CHANG
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3576    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
GEORGE AND MARGARITA ALVARADO
PO BOX 143
BELL, CA 90201                                         2283    10/29/2013   Exide Technologies, LLC        $1,000,000.00                                                                                    $1,000,000.00
GEORGE MONTANO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3681    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
GEORGE MONTANO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3941    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
GEORGE RAUPP & GLADYS RAUPP
4400 W 115TH ST APT 235
LEAWOOD, KS 66211                                      1794    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GEORGIA AUTOMATION
440 GEES MILLS COURT
CONYERS, GA 30208                                      1077    10/9/2013    Exide Technologies, LLC             $5,122.90                                                       $0.00                           $5,122.90
GEORGIA DEPARTMENT OF NATURAL RESOURCES
ENVIRONMENTAL PROTECTION DIVISION
ATTN MS AMY MUSSLER
RESPONSE & REMEDIATION PROGRAM
2 MARTIN LUTHER KING JR DR STE 1054, EAST TOWER
ATLANTA, GA 30334-9000                                 3310    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
GEORGIA DEPARTMENT OF NATURAL RESOURCES
ENVIRONMENTAL PROTECTION DIVISION
ATTN MS AMY MUSSLER
RESPONSE & REMEDIATION PROGRAM
2 MARTIN LUTHER KING JR DR STE 1054, EAST TOWER
ATLANTA, GA 30334-9000                                 3313    12/9/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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                Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
GEORGIA DEPARTMENT OF NATURAL RESOURCES
ENVIRONMENTAL PROTECTION DIVISION
ATTN MS AMY MUSSLER
RESPONSE AND REMEDIATION PROGRAM
2 MARTIN LUTHER KING JR DR STE 1054 EAST TOWER
ATLANTA, GA 30334-9000                                3323    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GEORGIA DEPARTMENT OF NATURAL RESOURCES
ENVIRONMENTAL PROTECTION DIVISION
ATTN MS AMY MUSSLER
RESPONSE AND REMEDIATION PROGRAM
2 MARTIN LUTHER KING JR DR STE 1054 EAST TOWER
ATLANTA, GA 30334-9000                                3324    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GEORGIA INSTITUTE OF TECHNOLOGY
ATTN JOY-LUPO, LEGAL AFFAIRS
760 SPRING ST NW STE 324
ATLANTA, GA 30332-0495                                2286    10/29/2013   Exide Technologies, LLC            $18,400.00                                                                                      $18,400.00
GEORGIA POWER COMPANY
C/O MCGUIREWOODS LLP
ATTN JORDAN MYERS
1230 PEACHTREE ST NE STE 2100
ATLANTA, GA 30309                                     1461    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GEORGINA J CHANG
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3578    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
GEOTECHNOLOGY INC
11816 LACKLAND RD STE 150
ST LOUIS, MO 63146                                    588      9/3/2013    Exide Technologies, LLC             $7,939.00                                                                                        $7,939.00
GEOTECHNOLOGY INC
11816 LACKLAND RD STE 150
ST LOUIS, MO 63146                                    4167    12/7/2015    Exide Technologies, LLC            $11,718.00                                                                                      $11,718.00
GERALDINE BECKER IRREVOCABLE TRUST
C/O RICHARD RESLER TTEE
2873 ENDICOTT CT
CLEARWATER, FL 33761-1410                             1979    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
GERARDO JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                3691    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
GERARDO NUNEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3025    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
GERONIMA NEVAREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3909    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
GIBSON, EVELYN
33677 MARYS RIVER ESTATES RD
PHILOMATH, OR 97370-9021                         1958    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GIBSON, SARAH
PO BOX 236
MAYSVILLE, SC 29104-0236                         2038    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GIBSON, WILLIE
PO BOX 715
TERRY, MS 39170-0715                             1814    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GIESE, CORINNE
909 W EULA CT
MILWAUKEE, WI 53209-6505                         2838    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GILBERT D CHEATHAM IRA ROLLOVER
CHARLES SCHWAB & CO CUST
3200 CHERRY TREE LN
PROSPECT, KY 40059                               957     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
GILBERT D CHEATHAM IRA SEPT
TD AMERITRADE
3200 CHERRY TREE LN
PROSPECT, KY 40059                               956     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
GILBERTO DELGADO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3926    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
GILBERTO RANGEL
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3696    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
GILDA CHAPA SANCHEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2549    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
GILDOW, WALTER
217 E 4TH ST
WEST LAFAYETTE, OH 43845-1303                    1796    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
GILES CHEMICAL INDUSTRIES (SALTEX)
PO BOX 370
WAYNESVILLE, NC 28786                            887     10/5/2013    Exide Technologies, LLC              $675.00                                                                                          $675.00
GILES CHEMICAL INDUSTRIES (SALTEX)
PO BOX 370
WAYNESVILLE, NC 28786                            888     10/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
GILKEY, JIMMIE
1763 BROOKHOLLOW CIR
JACKSON, MS 39212-2058                          1643    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
GILLIARD, JOHN
4325 PATRIOT PKWY
SUMTER, SC 29154-9772                           2040    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GILLIS, EUGENE
3791 IDA DR
COLUMBUS, GA 31906-4428                         2825    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
GILLIS, HUGH
442 OAKMONT DR
GRANTS PASS, OR 97526-7827                      2732    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
GISELA GARCIA
14527 AUTUMN PL
FONTANA, CA 92337-0531                          3619    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
GLADYS JONES
2780 BONNELL DR
SUMTER, SC 29154-4605                           4011     3/2/2015    Exide Technologies, LLC                                  $18,167.88                                                               $18,167.88
GLASER WILLIAMS
1125 JOHN L WILLIAMS
EUDORA, KS 66025                                2331    10/29/2013   Exide Technologies, LLC            $122,624.43                                                                                   $122,624.43
GLOBAL PERSONNEL SERVICES INC
C/O FIFE M WHITESIDE
PO BOX 5383
COLUMBUS, GA 31906                              737     10/2/2013    Exide Technologies, LLC            $403,322.14                $0.00                                                              $403,322.14
GLOBAL SHARES IRELAND LTD
C/O LEECH TISHMAN FUSCALDO & LAMPL LLC
ATTN GREGORY W HAUSWIRTH ESQ
525 WILLIAM PENN PL 30TH FL
PITTSBURGH, PA 15219                            2652    10/31/2013   Exide Technologies, LLC             $40,275.70                                                                                    $40,275.70
GLORIA ALAREON
PO BOX 63367
LOS ANGELES, CA 90063-0367                      1469    10/18/2013   Exide Technologies, LLC             $15,000.00                                                                                    $15,000.00
GLORIA BUELNA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3499    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
GLORIA E RUH
5514 PUEBLO CT
COMMERCE, CA 90040-1530                         2446    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GLORIA E RUH
5514 PUEBLO CT
COMMERCE, CA 90040-1530                         3437    1/15/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
GLORIA FLORES
1038 S TOWNSEND AVE
LOS ANGELES, CA 90023-2420                      3218    11/12/2013   Exide Technologies, LLC                               Unliquidated                                                                     $0.00
GLORIA LOEZA MANRRIQUE
4922 E 60TH PL
MAYWOOD, CA 90270                               3855    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
GLORIA VILLANUEVA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2589    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
GOETZ, DOROTHY
C/O KOPP MCKICHAN LLP
ATTN MICHAEL J OLDS, ATTY
44 E MAIN ST PO BOX 253
PLATTEVILLE, WI 53818                            2706    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GOFF INDUSTRIAL ELECTRIC INC
PO BOX 158
DYER, AR 72935                                   722     9/30/2013    Exide Technologies, LLC              $1,200.00                $0.00                                                                  $1,200.00
GOFF INDUSTRIAL ELECTRICAL INC
PO BOX 158
DYER, AR 72935                                   4159    10/27/2015   Exide Technologies, LLC             $13,750.00                                                                                     $13,750.00
GOLDAPP JR, WILLIAM ALLEN
4418 COLUMBINE DR
VAIL, CO 81657-4712                              1131    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GOLDENWEST LUBRICANTS INC
ATTN KEN A CARIFFE
5650 EL CAMINO REAL STE 210
CARLSBAD, CA 92008                               230      7/8/2013    Exide Technologies, LLC              $8,419.00                                                                                       $8,419.00
GOLDER ASSOCIATES INC
ATTN SUSAN DAVIS
3730 CHAMBLEE TUCKER RD
ATLANTA, GA 30341-4414                           1451    10/17/2013   Exide Technologies, LLC            $229,713.54                                                                                    $229,713.54
GONSALO MEDRANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3049    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
GONSALVES, ARTHUR
86 BELMONT AVE
LOWELL, MA 01852                                 1481    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
GONZALES, JOE
1307 W JEFFERSON ST
FRANKFORT, IN 46041-1545                         2335    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
GONZALEZ, JOSE REVUELTA
190 E 7 ST APT 710
NEW YORK, NY 10009                               1029    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GOODSON, THOMAS
4758 WESTWOOD PARK DRIVE 3L
SHREVEPORT, LA 71109                             1062    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
GOUDY, MICHAEL
PO BOX 3611
SALINA, KS 67402-3611                            1342    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                     Amount
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2790    10/31/2013   Exide Technologies, LLC             $51,322.62                                                               Unliquidated       $51,322.62
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2791    10/31/2013   Exide Technologies, LLC            $529,953.96                                                               Unliquidated      $529,953.96
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2792    10/31/2013   Exide Technologies, LLC              $5,737.51                                                               Unliquidated        $5,737.51
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2793    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                 Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2794    10/31/2013   Exide Technologies, LLC              $3,357.51                                                               Unliquidated        $3,357.51
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2796    10/31/2013   Exide Technologies, LLC         Unliquidated        Unliquidated                                             Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2797    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                 Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2798    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                 Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2799    10/31/2013   Exide Technologies, LLC              $7,028.44                                                                                   $7,028.44
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2800    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                         $0.00

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                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2801    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2802    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                       $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2803    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2804    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2805    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2806    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2807    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2808    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2809    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2810    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00

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                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                   Amount
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2811    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2812    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2813    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2814    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2815    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2816    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2817    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2818    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2819    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                               2820    10/31/2013   Exide Technologies, LLC         Unliquidated                                                               Unliquidated            $0.00

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               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                              4145     8/3/2015    Exide Technologies, LLC            $241,963.83                                                                                   $241,963.83
GOULD ELECTRONICS INC
C/O JOHN CALLAHAN
CHIEF ADMINISTRATIVE OFFICER
2555 W FAIRVIEW ST, STE 103
CHANDLER, AZ 85244                              4146     8/3/2015    Exide Technologies, LLC        $1,118,223.91                                                                                    $1,118,223.91
GRACIELA ARELLANO
754 E 76TH ST
LOS ANGELES, CA 90001                           3516    1/30/2014    Exide Technologies, LLC                               Unliquidated       Unliquidated                                                  $0.00
GRACIELA MARTINEZ, GUARDIAN OF MINOR
VALERIA RODRIGUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3028    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
GRAFIKA COMMERCIAL PRINTING, INC.
GRAFIKA PLACE
710 JOHNSTON STREET
SINKING SPRING, PA 19608                        2210    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GRAHAM BATTERY
544 PERSON ST
FAYETEVILLE, NC 28301                           716     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
GRAHAM BATTERY
544 PERSON ST
FAYETTEVILLE, NC 28301-5868                     715     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
GRAMS, PAULINE
347 ZIDA ST
FORT ATKINSON, WI 53538-2357                    1144    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GRAND RAPIDS LABEL COMPANY
2351 OAK INDUSTRIAL DRIVE
GRAND RAPIDS, MI 49505                          2142    10/28/2013   Exide Technologies, LLC             $80,902.74                                                                                    $80,902.74
GRANT MANUFACTURING & ALLOYING CO
PO BOX 69
BIRDSBORO, PA 19508-0069                        1729    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
GRANT MANUFACTURING & ALLOYING INC.
200 C FURNACE STREET
P O BOX 69
BIRDSBORO, PA 19508                             1731    10/22/2013   Exide Technologies, LLC             $15,536.00                                                                                    $15,536.00
GRANT MANUFACTURING ALLOYING INC.
JOE GUARINI
PO BOX 69
BIRDSBORO, PA 19508                             1730    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
GRAPHIC ART (CAMBRID)
21-25 UNION LANE
CAMBRIDGE CB4 1PR, UNITED KINGDOM

UNITED KINGDOM                                   2188    10/28/2013   Exide Technologies, LLC            $1,917.41                                                                            $0.00        $1,917.41
GRASER, WILLIAM
1372 FRIEDENSBURG RD
READING, PA 19606-1011                           2668    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GRAVES, LYNN
147 E FAIRFIELD DR
CLAREMONT, CA 91711-1839                         2002    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GRAY JR, DONALD
715 OLD MEADOW GLN
ALPHARETTA, GA 30022-5545                        1160    10/11/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
GRAY, EDWINA
1505 S 10TH ST W APT 1
MISSOULA, MT 59801-3466                          1399    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GRAY, KAREN
1325 CIRCLE DR NW
KANKAKEE, IL 60901-2024                          744     10/2/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
GRAY, LONIA
ROUTE 2, BOX 285 BC
PRENTISS, MS 39474                               2178    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GRECO GAS INC
PO BOX 349
TARENTUM, PA 15084                               278     7/12/2013    Exide Technologies, LLC            $4,619.16                                                                                         $4,619.16
GREEN POWER SALES AND SERVICE
31-1736 ORANGEBROOK CT
PICKERING ON L1W 3GB CANADA

CANADA                                           319     7/17/2013    Exide Technologies, LLC            $9,755.66                                                         $0.00                           $9,755.66
GREEN, JUANITA
341 S HILLCREST AVE
KANKAKEE, IL 60901-4457                          2665    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GREEN, MINA
22307 W NIAGARA CT
PLAINFIELD, IL 60544-6042                        2941    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
GREEN, SPENCER W
144 MOONSHINE LN
HARPERS FERRY, WV 25425                          1060    10/9/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                   $0.00
GREENLEES, RAYMOND
1150 LEE ROAD 250
SALEM, AL 36874-1373                             1833    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GREENWICH INSURANCE COMPANY
C/O TROUTMAN SANDERS LLP
ATTN TERRENCE R. MCINNIS & MELISSA PEREZ
5 PARK PLAZA STE 1400
IRVINE, CA 92614                                 2535    10/31/2013   Exide Technologies, LLC                               Unliquidated                                              Unliquidated             $0.00




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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                           Amount                                                        Amount
GREGORY W FURNEAUX
C/O CHARLES M GREEN, PA
55 EAST PINE ST
ORLANDO, FL 32801                                      2863    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GREW, CLINTON
984 ESPANA AVE N
KEIZER, OR 97303-6330                                  1266    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GREYSTONE RISK MANAGEMENT
JIM TESTO
4 FRANKLIN SQUARE
SARATOGA SPRING, NY 12866                              1514    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GRIGSBY, THOMAS
7775 NE LOGSDON RD
CORVALLIS, OR 97330-9611                               1510    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GRIMES, LARRY
9536 PINE COVE DR
SHREVEPORT, LA 71118-4121                              1147    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
GRISELDA VARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3118    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00
GRISELDA VARAJAS, GUARDIAN OF MINOR
FATIMA JASMIN VARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3172    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00

GRISELDA VARAJAS, GUARDIAN OF MINOR MARTIN VARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3192    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00
GROEBNER, BARBARA
6196 27TH ST N
OAKDALE, MN 55128-3510                                 1221    10/12/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
GROENDYKE TRANSPORT-FT WORTH
1101 CANTRELL-SANSOM ROAD
FORT WORTH, TX 76161                                   833     10/4/2013    Exide Technologies, LLC              $105.00                                                                                           $105.00
GROFF, DONALD
3660 BIRCHPOND PL
EAGAN, MN 55122-1203                                   1491    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GROVES, B
3000 LAURA DR
FLOYDS KNOBS, IN 47119-9471                            1627    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
GRUNKE, ANN
23 HIGHLAND AVE
MONTVILLE, NJ 07045-9526                               512     8/19/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00


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                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                     Amount
GUADALUPE CONTRERAS
6717 PLASKA AVE
HUNTINGTON PARK, CA 90255                        3453    1/25/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
GUADALUPE CONTRERAS CERVANTES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3798    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
GUADALUPE CRUZ
3552 WHITESIDE ST
LOS ANGELES, CA 90063                            3632    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                   $10,000.00
GUADALUPE GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3946    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
GUADALUPE LEON
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3381     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
GUADALUPE LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3745    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
GUADALUPE MAGANA
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                 3370    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                         $0.00
GUADALUPE RAMOS
735 S FORD BLVD APT 14
LOS ANGELES, CA 90022-2448                       2674    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                         $0.00
GUADALUPE ROSALES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3682    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
GUARDIAN DOOR & DOCK
508 W 155TH ST
GARDENA, CA 90248                                586     8/30/2013    Exide Technologies, LLC             $1,975.31                                 $0.00                                               $1,975.31
GUDELIA TERRAZAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3618    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
GUILLERMO A PEREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3769    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
GULF POWER COMPANY
ATTN D GAINES
ONE ENERGY PL
BIN 712
PENSACOLA, FL 32520-0712                         482      8/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GULF POWER COMPANY
ONE ENERGY PLACE
ATTN D GAINES / BIN 712
PENSACOLA, FL 32520-0712                         699     9/19/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GUNN, ROBERT
8526 GROVER PL
SHREVEPORT, LA 71115-2708                        3204    11/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
GUSTAVO ARIAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3416     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
GUSTAVO ROBLES
2512 CUDAHY ST
HUNTINGTON PARK, CA 90255-6644                   2309    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
GUTI, JERRY
451 N 12TH ST
READING, PA 19604-2820                           758     10/3/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
H & M TRUCKING INC
2522 ED BABE GOMEZ AVE
OMAHA, NE 68107                                  233      7/8/2013    Exide Technologies, LLC            $130,630.49                                                                                    $130,630.49
H CLYDE SAYLOR AKA CLYDE SAYLOR
C/O APPEL & YOST LLP
ATTN ERIK D SPURLIN
33 N DUKE ST
LANCASTER, PA 17602                              2360    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
H K MCILHENNY IRREV TR DTD 12/20/2009
C/O JOHN J KATSOCK TTEE
2215 YARDLEY RD
YARDLEY, PA 19067                                2008    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
HAAG, PETER G
446 W ALDINE #3W
CHICAGO, IL 60657                                1960    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
HAER, JAMES
205 E NODAWAY ST APT 1A
OREGON, MO 64473-9698                            1297    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAFER, ALAN
107 WOLF CREEK RD
BERNVILLE, PA 19506-8691                         2696    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HAGEN BATTERIE AG
IM THIERGARTEN 1
D-63654 BÜDINGEN GERMANY

GERMANY                                          2491    10/30/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
HAIGES MACHINERY
KIM HAIGES
11314 E MAIN ST
HUNTLEY, IL 60142                                856     10/4/2013    Exide Technologies, LLC              $260.00                                                                                          $260.00
HAILEY SANCHEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3744    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
HALE JR, SIMMIE
3105 HOLTVILLE RD
WETUMPKA, AL 36092-8203                          1540    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HALEY, MICHAEL
CHARLES SCHWAB & CO INC CUST IRA ROLLOVER
15 CLOUDLEAP PL
SPRING, TX 77381                                 2090    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HALL, CHARLES
2109 DAKOTA ST
LEAVENWORTH, KS 66048-1119                       2449    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HALLADAY, PAMELA
4565 VANADIUM BND
CUMMING, GA 30040-8895                           2390    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HALLFORD JR, KENNETH W
7868 HORNED LARK CIR
PORT ST LUCIE, FL 34952                          2003    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HALLFORD JR, KENNETH W
7868 HORNED LARK CIR
PORT ST LUCIE, FL 34952                          2004    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAMBY, HERBERT
43 W 5TH ST
DRESDEN, OH 43821-9640                           1130    10/10/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
HAMER, MARY
84 N UNION ST
LAMBERTVILLE, NJ 08530-2002                      977     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAMILL, CHARLES
4021 LEFFLER RD
ROSEVILLE, OH 43777-9586                         1182    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HAMILTON NORMAN, W
12480 ANDERSON RD
INDEPENDENCE, OR 97351-9701                      2315    10/29/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
HAMILTON, LINDA
4201 MCCAIN AVE
JACKSON, MS 39209-5012                           1444    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAMMEL, JO ANN
9579 N AUBURN PT
DUNNELLON, FL 34434-3731                         2773    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HAMPTON, ALBERTUS
7730 SHINE LN
PINEWOOD, SC 29125-9585                          2056    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
HAMPTON, CHARLIE
7765 SHINE LN
PINEWOOD, SC 29125-9586                                2048    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HAMPTON, EARNEST
7770 SHINE LN
PINEWOOD, SC 29125-9585                                2037    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HAMPTON, JAMES
2910 ERVIN LN
SUMTER, SC 29154-8600                                  2052    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HANCOCK SR, RALPH
909 OLIVE ST
LEAVENWORTH, KS 66048-2480                             2653    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HANCOCK, GEORGE
PO BOX 801
MOUNT HOLLY, NJ 08060-0801                             1557    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HANCORN, PETER
23 ALDERLEY CLOSE
WOODLEY, READING
BERKSHIRE RG5 4TG
UNITED KINGDOM                                         1376    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HAND, PERCY
319 N PATSY 1
MEDIAPOLIS, IA 52637                                   1312    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HANNAH KIRBY
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                  2690    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HANSEN, DONALD
542 STAGECOACH RD
WARRENTON, NC 27589-8706                               1792    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HANSON, EVERETT
1513 HOLLY DR E
HUGO, MN 55038-8755                                    2679    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HARBAUGH, ROBERT
20365 390TH STREET BOX 122
EDGEWOOD, IA 52042                                     2467    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HARBISON-WALKER REFRACTORIES COMPANY
1305 CHERRINGTON PKWY STE 100
CORAOPOLIS, PA 15108-4355                              1019    10/7/2013    Exide Technologies, LLC            $154,834.38                                                                                   $154,834.38
HARDWICK, ROBERT
1500 W JEFFERY ST
KANKAKEE, IL 60901-8219                                1161    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HARNESS ROOFING INC.
ATTN: MIKE JONES
5324 SOUTH 31ST STREET
FORT SMITH, AR 72901                                   1887    10/25/2013   Exide Technologies, LLC              $2,640.17                                                                                     $2,640.17
HARPER, EDWARD
242 KITCHENS RD
FLORENCE, MS 39073-7910                                1674    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
HARPER, EMMITT
458 OLD ENOCHS RD
FLORENCE, MS 39073-9167                            1496    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HARPER, SHIRLEY
115 BICKMAN LANE
FLORENCE, MS 39073                                 1317    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HARPER, WILLIE
108 WEATHERSBY RD
BRAXTON, MS 39044-2905                             2430    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HARRIS COUNTY ET AL
C/O LINEBARGER GOGGAN BLAIR & SAMPSON LLP
ATTN JOHN P DILLMAN
PO BOX 3064
HOUSTON, TX 77253-3064                             153      7/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
HARRIS MACHINE & TOOL INC
158 WARE RD
PHENIX CITY, AL 36869                               22     6/18/2013    Exide Technologies, LLC             $6,546.00                 $0.00                              $1,295.00                          $7,841.00
HARRIS, JO
204 PARROTT ST
MOUNT VERNON, OH 43050-4524                        1687    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HARRIS, OLLIE
241 N FAIRMONT AVE
KANKAKEE, IL 60901-2706                            2936    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HARRIS, SADIE
252 DELAWARE AVE
JACKSON, MS 39209-5421                             1494    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HARRISON MACHINE SHOP & WELDING INC
ATTN VANESSA HARRISON
806 S KANSAS AVE
OLATHE, KS 66061                                   283     7/12/2013    Exide Technologies, LLC            $10,396.64                                                    $6,865.00                         $17,261.64
HARRISON NICHOLS CO
5265 NORTH 4TH ST
IRWINDALE, CA 91706                                1094    10/10/2013   Exide Technologies, LLC            $11,871.00                                                                                      $11,871.00
HARRISON, GLENDA
5004 MCCRACKEN RD
HERNANDO, MS 38632-8886                            1261    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HARRY M CHILCOAT & SHIRLEY S CHILCOAT TRUST
U/A DTD 10/10/2003
C/O S CHILCOAT & H CHILCOAT TRUSTEE
17792 LUTZ RD
STEWARTSTOWN, PA 17363                             1937    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HART, LINDA
614 WHITE ROCK RD
GREENWOOD, AR 72936-8250                           2241    10/29/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
HARVAN, CYRIL
79 LEGACY BLVD APT 100
SINKING SPG, PA 19608-2160                         2190    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HARVIN, THOMAS
1095 THOMAS HARVIN CIR
MANNING, SC 29102-4758                             2233    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
HASLAM, DIANE
1230 PINE CREEK RD
NEW RINGGOLD, PA 17960-9780                      2942    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HATCHER, BARBARA
3180 MATHIESON DR NE UNIT 512
ATLANTA, GA 30305-1865                           2276    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HATFIELD, KATHLEEN
70 LEE ROAD 209
PHENIX CITY, AL 36870-8441                       2708    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HAVE POTTY WILL TRAVEL II RONNIE FLINT
C/O RONNIE FLINT
213 ADA ST
FORTESCUE, MO 64437                              540     8/24/2013    Exide Technologies, LLC              $980.89                  $0.00                                                                   $980.89
HAWK ELECTRONICS LTD
MALT STREET, ACCRINGTON
LANCASHIRE BB1 5DR UNITED KINGDOM

UNITED KINGDOM                                   315     7/16/2013    Exide Technologies, LLC                    $0.00                                                                       $0.00            $0.00
HAY MECHANICAL LLC
622 E TWICKENHAM TRL
HOUSTON, TX 77076                                3431    1/10/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAYLEX MANUFACTURING LLC
PO BOX 2608
MUNCIE, IN 47307                                  86     6/27/2013    Exide Technologies, LLC            $9,222.00                                                                                        $9,222.00
HAYNSWORTH SINKLER BOYD PA
ATTN TARA E NAUFUL
PO BOX 11889
COLUMBIA, SC 29201                               1939    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAYS, DENNIS
5474 US 421 SOUTH
MCKEE, KY 40447                                  2088    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAYWARD AUTO SALVAGE INC.
W 281 - E. RIVER RD.
HAYWARD, WI 54843                                1670    10/21/2013   Exide Technologies, LLC            $7,131.92                                                    $1,560.24                           $8,692.16
HAYWARD C FOWLER II
410 GUNSTON HALL DR
ALPHARETTA, GA 30004-7504                        1836    10/24/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
HAYWARD, JERRY
18959 FM 1373
BREMOND, TX 76629-4563                           2441    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAZEL J SMITH
1082 BRIDGEPORT RD
PINOLA, MS 39149                                 3362    12/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HAZELLE SANCHEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3743    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00




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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
HCL AMERICA INC
ATTN CARL E AILARA JR, ESQ
15 EXCHANGE PL STE 730
JERSEY CITY, NJ 07302                                  3978    10/29/2014   Exide Technologies, LLC        $1,481,063.00                                                                                     $1,481,063.00
HCL AMERICA INC
ATTN MANISHA AURORA
330 POTRERO AVE
SUNNYVALE, CA 94085                                    377     7/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HCL AMERICA INC
C/O CARL E AILARA JR, ESQ
15 EXCHANGE PL STE 730
JERSEY CITY, NJ 07302                                  2795    10/31/2013   Exide Technologies, LLC        $2,078,105.59                                                                                     $2,078,105.59
HEARD, SADIE
430 LIVINGSTON VERNON RD
FLORA, MS 39071-9401                                   2327    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HECTOR J ROMO
C/O THE MENDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                   2555    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
HECTOR MATA JR
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3951    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
HEDGLIN, FRANK
304 BALLARD RD
BEREA, KY 40403-8721                                   2087    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HEFNER, MICHAEL P & DIANE J
C/O MICHAEL P HEFNER
14124 WESTBURY DR
LITTLEROCK, AR 72223                                   2977    11/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
HEIDI MAYEAUX
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                  2688    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HELEN MERCADO
3417 GLEASON AVE
LOS ANGELES, CA 90063                                  3092    11/7/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
HELON BUSHMAN
1806 E WALNUT ST
FRANKFORT, IN 46041-2720                               2488    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HEMI - SENECA
898 SWY 36
SENECA, KS 66538                                       2201    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HENDRICKS, PATSY
22550 WELLS CREEK RD
PHILOMATH, OR 97370-9109                               2293    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                    Amount                                                        Amount
HENDRICKS, WILLIAM
3530 NW EAGLE VIEW DR
ALBANY, OR 97321-9336                           2086    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
HENDRICKSON TRUCKING INC
PO BOX 292219
SACRAMENTO, CA 95829                            612      9/9/2013    Exide Technologies, LLC            $22,384.04                                                                                       $22,384.04
HENRY DAWKINS
815 E 77TH ST
LOS ANGELES, CA 90001-2816                      2153    10/28/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
HENRY DAWKINS
815 E 77TH ST
LOS ANGELES, CA 90001-2816                      3210    11/12/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
HENRY WOODWARD
INTEGRATED SUPPLY COMPANY
6639 MACON RD
COLUMBUS, GA 31907-5734                         814     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
HENRY'S PALLETS
BOX 226
OSLER SK S0K 3A0 CANADA

CANADA                                          2899    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
HERACLIO P MURILLO SR
9308 1/2 DEARBORN AVE
SOUTH GATE, CA 90280-4404                       3253    11/22/2013   Exide Technologies, LLC                               Unliquidated       Unliquidated                                                    $0.00
HERACLIO P MURILLO SR
9308 DEARBORN AVE
SOUTH GATE, CA 90280-4404                       3254    11/22/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
HERBENER, DONALD
17295 RED WOLF LN
MORRISON, CO 80465                              1522    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
HERBERT F ASPBURY
15 WAX MYRTLE WAY
VERO BEACH, FL 32963                            4120    5/29/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
HERBERT F ASPBURY
15 WAX MYRTLE WAY
VERO BEACH, FL 32963                            4121    5/29/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
HERBERT F ASPBURY
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                1659    10/21/2013   Exide Technologies, LLC            $11,000.00                                                                                       $11,000.00
HERBERT H PICHON
209 N NORTH ST
DANVILLE, IL 61832                              1331    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
HERBERT H PICHON & CAROL A PICHON
209 N NORTH ST
DANVILLE, IL 61832                              1332    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00




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                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                      Amount
HERIBERTO BLANCAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                           2547    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                  $10,000,000.00
HERIBERTO FERNANDEZ
5309 LOMA VISTA AVE #A
MAYWOOD, CA 90270                              3634    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                   $10,000.00
HERIBERTO HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                             3077    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                   $5,000,000.00
HERIBERTO HERNANDEZ, GUARDIAN OF MINOR
MIA R HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                             3167    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                   $5,000,000.00
HERITAGE ENVIRONMENTAL SERVICES LLC
3719 W 96TH ST
INDIANAPOLIS, IN 46268                         376     7/25/2013    Exide Technologies, LLC             $78,877.93                                                                                   $78,877.93
HERITAGE ENVIRONMENTAL SERVICES LLC
3719 W 96TH ST
INDIANAPOLIS, IN 46268                         526     8/22/2013    Exide Technologies, LLC            $339,007.67                                                                                  $339,007.67
HERITAGE-CRYSTAL CLEAN LLC
ATTN GARY M VANEK ATTORNEY AT LAW
200 W MAIN ST
ST CHARLES, IL 60174                           702     9/26/2013    Exide Technologies, LLC              $5,865.40                                                                                     $5,865.40
HERLINDA HERNANDEZ
9609 BOWMAN AVE
SOUTH GATE, CA 90280-5027                      1923    10/25/2013   Exide Technologies, LLC                                     $0.00                                                                     $0.00
HERLINDA HERNANDEZ
9609 BOWMAN AVE
SOUTH GATE, CA 90280-5027                      3868     2/4/2014    Exide Technologies, LLC                                $12,475.00                                                                $12,475.00
HERMAN J HERRON
1734 VICTORIA DR
MEMPHIS, TN 38116                              3970    9/16/2014    Exide Technologies, LLC                                     $0.00              $0.00                                                  $0.00
HERMES, DAVID J
310 CLYDESDALE CT
SPOTSYLVANIA, VA 22551-2414                    2082    10/28/2013   Exide Technologies, LLC                                                        $0.00                                                  $0.00
HERMINIA LEON
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3936    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                  $10,000,000.00
HERNDON, JEANNINE
6416 ORANGE COVE DR
ORLANDO, FL 32819-4104                         2474    10/30/2013   Exide Technologies, LLC                                     $0.00                                                                     $0.00


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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
HEUBEL MATERIAL HANDLING INC
ATTN NANCY STREETER
611 NE EQUITABLE RD
KANSAS CITY, MO 64120                           656     9/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HEUBEL MATERIAL HANDLING INC
ATTN NANCY STREETER
611 NE EQUITABLE RD
KANSAS CITY, MO 64120                           818     10/4/2013    Exide Technologies, LLC             $82,590.48                                                   $4,383.17                         $86,973.65
HEXACOMB CORPORATION
ATTN STEVE GRANT
1111 W JEFFERSON ST
BOISE, ID 83702                                 1383    10/15/2013   Exide Technologies, LLC            $192,213.04                                                  $29,623.96                        $221,837.00
HICKS, STEVEN P
25748 N SHORE DR
ELKHART, IN 46514                               1168    10/11/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
HIGGINS, JAMES
415 SHERIDAN ST
ZANESVILLE, OH 43701-2530                       1093    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HILARIO BUSANI
7009 SAN LUIS AVE
BELL GARDENS, CA 90201-3411                     2615    10/31/2013   Exide Technologies, LLC        $1,326,216.00                                                                                     $1,326,216.00
HILARIO HERNANDEZ
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                           3858     2/1/2014    Exide Technologies, LLC        $2,000,000.00                                                                                     $2,000,000.00
HILDA E MENDOZA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3502    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
HILDA T POLZER
1108 CHESTNUT ST
COPLAY, PA 18037-1415                           2922    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HI-LINE INC
2121 VALLEY VIEW LN
DALLAS, TX 75234                                610      9/4/2013    Exide Technologies, LLC               $222.80                                                                                         $222.80
HILL MANUFACTURING CO. - ATLANTA
1500 JONESBORO RD SE
ATLANTA, GA 30315-4084                          839     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HILL MANUFACTURING COMPANY INC
ATTN KEVIN LEVITAS
1500 JONESBORO RD SE
ATLANTA, GA 30315                                74     6/24/2013    Exide Technologies, LLC               $192.60                                                                                         $192.60
HILL, MILDRED
1135 ELLIS DR
P O BOX 523
WASKOM, TX 75692-3718                           3230    11/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HILL, PAUL
PO BOX 2142
GREER, SC 29652-2142                            899     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                   Amount                                                        Amount
HINDLE POWER INC
1075 ST JOHN STREET
EASTON, PA 18042-6661                          2380    10/30/2013   Exide Technologies, LLC             $61,957.36                                                                                     $61,957.36
HOAGLAND, RONALD DEAN
3822 W 11TH ST #14
GREELEY, CO 80634                              1242    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOE, PHAM
73 HARRELL RD
SUMTER, SC 29150-4724                          1740    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HOHENSCHILD WELDERS SUPPLY COMPANY
EMMA KARN
1620 CAMPBELL ST
KANSAS CITY, MO 64108                          873     10/5/2013    Exide Technologies, LLC             $10,692.88                                                                                     $10,692.88
HOLDEN, LINDA
3241 CLEF LN
LAKELAND, TN 38002-9718                        2714    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HOLIDAY COMMERCIAL
PO BOX 1216
MINNEAPOLIS, MN 55440-1216                     729     10/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOLLINGSWORTH & VOSE CO
112 WASHINGTON ST
EAST WALPOLE, MA 02032                         235      7/9/2013    Exide Technologies, LLC            $719,554.63                                                 $183,876.08                        $903,430.71
HOLLOWELL, HAROLD
PO BOX 1286
BATESVILLE, MS 38606-1286                      2463    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HOLT COUNTY TAX COLLECTOR
PO BOX 572
OREGON, MO 64473-0572                          3260    11/22/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
HOLT TEXAS LTD DBA HOLT CAT
C/O DEWEY M DALTON
8828 GREENVILLE AVE
DALLAS, TX 75243                               231      7/8/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
HONEYWELL INTERNATIONAL INC
ATTN THOMAS BYRNE
CHIEF ENVIRONMENTAL COUNSEL
101 COLUMBIA RD
MORRISTOWN, NJ 07962                           2351    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
HOOD, DIANA
126 STATE ST LOT 27
SPEARFISH, SD 57783-2773                       1822    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOOD, RHONDA
15544 FAITH ST
FONTANA, CA 92336-5740                         2898    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HOOK ASSOCIATES
73223 RIBBONWOOD CT
PALM DESERT, CA 92260                          1667    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOOPER, AUSTIN
PO BOX 32
DUNCAN FALLS, OH 43734-0032                    1425    10/17/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
HOOVER, JAMES
1520 CHEVINGTON CIR
ZANESVILLE, OH 43701-6979                        1842    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HORN, FRANCIS
402 WHITT RD
RICHMOND, KY 40475-7507                          1744    10/23/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HORNE, WILLIAM R & SANDRA W
875 HORNE HILL RD
PULASKI, TN 38478                                1199    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HORNER, DAVID
25410 SW PETES MOUNTAIN RD
WEST LINN, OR 97068-9513                         853     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
HORTON IRON AND METAL COMPANY
2216 US HIGHWAY 421 N
WILMINGTON, NC 28401-2443                        828     10/4/2013    Exide Technologies, LLC              $1,772.40                                                                                      $1,772.40
HOUNG E POENG
271 MARGARET AVE
LOS ANGELES, CA 90022-2226                       2637    10/31/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
HOUNG E POENG
271 MARGARET AVE
LOS ANGELES, CA 90022-2226                       3430     1/9/2014    Exide Technologies, LLC                                                                              $0.00                              $0.00
HOUNG E POENG
271 MARGARET AVE
LOS ANGELES, CA 90022-2226                       3897     4/7/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOUSTON, MONROE
PO BOX 1017
BIG STONE GAP, VA 24219-0927                     1343    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HOWARD, CLAUDE
RR 2 BOX 61
ELIZABETHTOWN, IL 62931-9615                     1618    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HOWELL, J
1130 SE RIVERGREEN AVE
CORVALLIS, OR 97333-9289                         2389    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HOYT TRANSPORTATION INC
ATTN MICHAEL R HOYT
28245 EL TORO CUT OFF RD
LAKE ELSINORE, CA 92532                          499     8/16/2013    Exide Technologies, LLC            $106,804.29                                                                                    $106,804.29
HUANG, MING-AN
NO 3 ALY 42 LN 122 RUIGUANG RD
NEIHU DIST
TAIPEI CITY 114 TAIWAN (ROC)

TAIWAN, PROVINCE OF CHINA                        1396    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
HUANG, MING-AN
NO 3 ALY 42 LN 122 RUIGUANG RD
NEIHU DIST
TAIPEI CITY 114
TAIWAN                                           1270    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
HUDSON EXTRUSIONS INC
PO BOX 255
HUDSON, OH 44236                                 27     6/19/2013    Exide Technologies, LLC             $5,455.51                                                                                       $5,455.51
HUFF, CARL
178 SPRING VALLEY CT
SPRINGTOWN, TX 76082-7322                       1825    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUFF, STANLEY
75 IMPERIAL CT
WAYNESVILLE, NC 28785-2403                      2921    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUFFER, SHERRILL
315 LAKE ST
UPLAND, IN 46989-4100                           717     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUFFMAN, MARGIE
541 LUCY RD
KINGSPORT, TN 37660-6530                        2442    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HUGHES, CHRIS
PO BOX 764
HAMPTON, TN 37658-0764                          2472    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
HUKILL CHEMICAL CORP
C/O WELTMAN WEINBERG & REIS CO LPA
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             348     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
HULETT AND SON AUTO SALVAGE
1706 OSAGE ST
CRESTON, IA 50801                               650     9/17/2013    Exide Technologies, LLC             $2,041.00                                                                                       $2,041.00
HUMANICK, MICHAEL
1016 POPLAR ST
COPLAY, PA 18037-1705                           2480    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HUMANICK, ROBERT
49 N 7TH ST
COPLAY, PA 18037-1512                           2833    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
HUMBERTO HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3184    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
HUME, WILLIAM
1900 E GIRARD PL #501
ENGLEWOOD, CO 80113                             1550    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HURT, JAMES
146 AVIATION DR
ELIZABETHTON, TN 37643-6037                     1684    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
HUSCH BLACKWELL LLP
ATTN GARY L VINCENT, ESQ
190 CARONDELET PLAZA STE 600
ST LOUIS, MO 63105                               77     6/24/2013    Exide Technologies, LLC            $14,752.28                                                                                      $14,752.28
HUTCHINSON, ROBERT
3021 CHIMNEYWOOD DR
FLOYDS KNOBS, IN 47119-9476                     1377    10/15/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
HUTSON, EARL
1359B N7000W RD
BONFIELD, IL 60913                               2396    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
HYDRA-MATIC PACKAGING COMPANY INC
C/O PINCKNEY HARRIS & WEIDINGER LLC
ATTN DONNA L HARRIS
1220 N MARKET ST STE 950
WILMINGTON, DE 19801                             421     7/31/2013    Exide Technologies, LLC                                                                        $41,742.30                         $41,742.30
HYDRA-MATIC PACKING COMPANY INC
C/O PINCKNEY HARRIS & WEIDINGER LLC
ATTN DONNA L HARRIS ESQ
1220 N MARKET ST STE 950
WILMINGTON, DE 19801                             420     7/31/2013    Exide Technologies, LLC            $22,057.20                                                                                     $22,057.20
HYDRITE CHEMICAL CO INC
BOX 689227
CHICAGO, IL 60695-9227                           1167    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
HYMAN, LAWRENCE
919 MEDORA DR
GREER, SC 29650-4752                             778     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
HYPHEN TRANSPORTATION MANAGEMENT INC
107 ALFRED KUEHNE BLVD
BRAMPTON ONTARIO L6T 4K3 CANADA

CANADA                                           662     9/18/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
HYPHEN TRANSPORTATION MANAGEMENT INC.
C/O T9976U
PO BOX 9976, STN A
TORONTO ON M5W 2J2 CANADA

CANADA                                           2957    11/4/2013    Exide Technologies, LLC            $22,411.34                                                                                     $22,411.34
I & M MACHINE AND FABRICATION
401 S 3RD ST
ST JOSEPH, MO 64501                              437      8/2/2013    Exide Technologies, LLC            $23,178.20                                                                                     $23,178.20
IAN GILLOTT
SUITE 400, L4, 1600 SEAPORT BLVD.
REDWOOD CITY, CA 94063                           1232    10/12/2013   Exide Technologies, LLC             $1,764.80                                                       $0.00                          $1,764.80
IGNACIO DURAN
2819 ARGONN
SALINA, KS 67401                                 1482    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
IGNACIO GALLEGOS
326 W 65TH ST
LOS ANGELES, CA 90003                            3818    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
ILCO SITE REMEDIATION GROUP
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                             2145    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ILLINOIS DEPARTMENT OF REVENUE
PO BOX 64338
CHICAGO, IL 60664-0338                           3277    11/26/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00

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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                       Amount                                                        Amount
IMELDA ESPARZA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                               3391     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
IMKO & DIVERSIFIED STAFFING
PO BOX 4040
OMAHA, NE 68104                                    838     10/4/2013    Exide Technologies, LLC             $1,557.68                 $0.00                                                                   $1,557.68
IMPERIAL ZINC CORP
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                             1092    9/25/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
IMR INC.
808 QUAIL RIDGE DR
WESTMONT, IL 60559-6149                            1010    10/7/2013    Exide Technologies, LLC            $18,750.00                                                        $0.00                          $18,750.00
IMRIE-GIELOW, INC. - ST LOUIS
2823 PAPIN ST
SAINT LOUIS, MO 63103-3029                         803     10/3/2013    Exide Technologies, LLC             $7,830.96                                                                                         $7,830.96
IMS COMPANY
10373 STAFFORD
CHAGRIN FALLS, OH 44023                            2158    10/28/2013   Exide Technologies, LLC             $1,076.65                                                                                         $1,076.65
INBATEC GMBH
KONRAD ADENAUER RING 40
58135 HAGEN GERMANY

GERMANY                                            223      7/8/2013    Exide Technologies, LLC                                       $0.00              $0.00               $0.00                               $0.00
INBATEC GMBH
KONRAD ADENAUER RING 40
58135 HAGEN GERMANY

GERMANY                                            1326    10/15/2013   Exide Technologies, LLC             $1,133.61                 $0.00              $0.00               $0.00              $0.00         $1,133.61
INCOE CORPORATION
1740 E MAPLE RD
TROY, MI 48083-4209                                1490    10/18/2013   Exide Technologies, LLC             $5,444.06                                                                                         $5,444.06
INDEPENDANT CHARGER SERVICES
366 LINDEN VALLEY ROAD
RR # 1
WOODVILLE ON K0M 2T0

CANADA                                             2404    10/30/2013   Exide Technologies, LLC            $10,515.17                                    $0.00                                              $10,515.17
INDIANA AMERICAN WATER
PO BOX 578
ALTON, IL 62002                                    2450    10/30/2013   Exide Technologies, LLC               $57.51                                                                                            $57.51
INDIANA AMERICAN WATER
PO BOX 578
ALTON, IL 62002                                    2451    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
INDIANA AMERICAN WATER
PO BOX 578
ALTON, IL 62002                                    2452    10/30/2013   Exide Technologies, LLC              $747.53                                                                                           $747.53


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
INDIANA AMERICAN WATER
PO BOX 578
ALTON, IL 62002                                  2453    10/30/2013   Exide Technologies, LLC             $1,886.56                                                                                       $1,886.56
INDIANA DEPT OF ENVIRONMENTAL MGMT
BANKRUPTCY COORDINATOR
MAIL CODE 60-01
100 N SENATE AVE
INDIANAPOLIS, IN 46204                           3336    12/9/2013    Exide Technologies, LLC        $2,601,971.50                                                                                    $2,601,971.50
INDIANA FARM BUREAU INSURANCE
C/O LAW OFFICES OF PATRICK SCANLON P A
203 NE FRONT ST STE 101
MILFORD, DE 19963                                4144    7/29/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
INDIANA FARM BUREAU INSURANCE
C/O LAW OFFICES OF PATRICK SCANLON PA
203 NE FRONT ST STE 101
MILFORD, DE 19963                                4149    8/18/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
INDIANA FARM BUREAU INSURANCE
C/O LAW OFFICES OF PATRICK SCANLON PA
203 NE FRONT ST STE 101
MILFORD, DE 19963                                4150    8/18/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
INDIANA FARM BUREAU INSURANCE
C/O LAW OFFICES OF PATRICK SCANLON PA
203 NE FRONT ST STE 101
MILFORD, DE 19963                                4151    8/18/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
INDIANA MICHIGAN POWER COMPANY
DBA AMERICAN ELECTRIC POWER
C/O LAW FIRM OF RUSSELL R JOHNSON III PLC
ATTN RUSSELL R JOHNSON III ESQ
2258 WHEATLANDS DR
MANAKIN-SABOT, VA 23103                          2608    10/31/2013   Exide Technologies, LLC                                                                        $70,754.18                         $70,754.18
INDIANA MICHIGAN POWER COMPANY
DBA AMERICAN ELECTRIC POWER
C/O LAW FIRM OF RUSSELL R JOHNSON III PLC
ATTN RUSSELL R JOHNSON III ESQ
2258 WHEATLANDS DR
MANAKIN-SABOT, VA 23103                          2610    10/31/2013   Exide Technologies, LLC                                                                             $0.00                              $0.00
INDIANA OXYGEN CO.
PO BOX 78588
INDIANAPOLIS, IN 46278-0588                      1890    10/25/2013   Exide Technologies, LLC            $16,723.69                                                   $4,598.85                         $21,322.54
INDIANAPOLIS POWER & LIGHT COMPANY
PO BOX 1595
INDIANAPOLIS, IN 46206-1595                      259      7/1/2013    Exide Technologies, LLC              $975.97                                                                                         $975.97
INDIKIA MCKENLEY
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2585    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
INDUSTRIAL DOOR CO.,INC. - MINNEAPOLIS
360 COON RAPIDS BLVD NW
MINNEAPOLIS, MN 55433-5627                       720     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                      Amount                                                       Amount
INDUSTRIAL RECYCLERS INC
C/O WHYTE HIRSCHBOECK DUDEK SC
ATTN TIMOTHY H POSNANSKI
555 E WELLS ST STE 1900
MILWAUKEE, WI 53202                               2460    10/30/2013   Exide Technologies, LLC             $34,424.23                                                                                     $34,424.23
INDUSTRIAL REPAIR SERVICES, INC-CUMMING
2650 BUSINESS DR
CUMMING, GA 30028-4878                            1746    10/23/2013   Exide Technologies, LLC                                                                             $0.00                               $0.00
INDUSTRIE COMPOSIZIONE STAMPATI SRL
CENTRO AZIENDALE QUERCETE SNC
81016 SAN POTITO SANNITICO CE ITALY

ITALY                                             333     7/19/2013    Exide Technologies, LLC            $135,914.75                                                                                    $135,914.75
INFRARED SERVICES INC - FT WAYNE
5730 FALLS DR STE 100
FORT WAYNE, IN 46804-7147                         2625    10/31/2013   Exide Technologies, LLC              $1,675.00                                                                                      $1,675.00
INSIGHT DIRECT USA INC
ATTN MICHAEL L WALKER
6820 S HARL AVE
TEMPE, AZ 85283                                   423      8/1/2013    Exide Technologies, LLC             $10,632.20                                                                                     $10,632.20
INTEGRATED SUPPLY OF COLUMBUS
6639 MACON RD
COLUMBUS, GA 31907-5734                           858     10/4/2013    Exide Technologies, LLC             $62,714.36                                                                                     $62,714.36
INTERCALL INC
ATTN MELODY LOHR
7171 MERCY RD STE 200
OMAHA, NE 68106                                   329     7/19/2013    Exide Technologies, LLC            $212,940.37                                                                                    $212,940.37
INTERCON SOLUTIONS INC
1001-59 WASHINGTON AVE
CHICAGO HEIGHTS, IL 60411                         1804    10/24/2013   Exide Technologies, LLC              $2,688.88                                                                                      $2,688.88
INTERIM PEDRICKTOWN SITE REMEDIATION GROUP
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                              2424    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
INTERNATIONAL LEAD ASSOCIATION
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                              1028    10/8/2013    Exide Technologies, LLC            $117,150.66                                                                                    $117,150.66
INTERNATIONAL UNION UAW
ATTN NIRAJ R GANATRA
8000 E JEFFERSON AVE
DETROIT, MI 48214                                 2595    10/31/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
INTERSTATE BATTERIES RECYCLING LLC
FKA INTERSTATE BATTERIES RECYCLING INC
12770 MERIT DRIVE SUITE 400
DALLAS, TX 75251                                  1318    10/15/2013   Exide Technologies, LLC             $55,637.40                                                                                     $55,637.40



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                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                            Amount                                                        Amount
INTERSTATE DIST CO
11707 21ST AVE
TACOMA, WA 98444                                        2421    10/30/2013   Exide Technologies, LLC              $1,030.05                                                                                       $1,030.05
INTERSTATE INDUSTRIAL INSTRUMENTATION INC
ATTN TAMRA MALOUSEK
10424 J ST
PO BOX 27310
OMAHA, NE 68127                                         1055    10/7/2013    Exide Technologies, LLC              $1,310.90                                   $0.00                                               $1,310.90

INTERSTATE POWER & LIGHT COMPANY
A WHOLLY OWNED SUBSIDIARY OF ALLAINT ENERGY CORP
ATTN DEB HENKLE
300 E SHERIDAN AVE
CENTERVILLE, IA 52544                                   686     9/24/2013    Exide Technologies, LLC            $405,405.66                                                                                    $405,405.66
INTRAPACK INDUSTRIES
ATTN TRACY ZAFFINO
10650 MARKISON RD
DALLAS, TX 75238                                        3898    4/29/2014    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
INTRAPACK INDUSTRIES
TINA HARRISON
10650 MARKISON RD
DALLAS, TX 75238                                        2624    10/31/2013   Exide Technologies, LLC              $9,566.36                                                  $23,806.10                         $33,372.46
INTRUDER ALERT SYSTEMS
VICKI SAMULIN
PO BOX 791475
SAN ANTONIO, TX 78279                                   791     10/3/2013    Exide Technologies, LLC               $119.13                                                                                         $119.13
INVENTORY SALES COMPANY
9777 REAVIS RD
SAINT LOUIS, MO 63123-5329                              1948    10/25/2013   Exide Technologies, LLC              $6,236.78                                                     $787.63                           $7,024.41
IOWA DIVISION OF LABOR SERVICES
BOILER SAFETY SECTION
1000 E GRAND AVE
DES MOINES, IA 50319-0209                               943     10/7/2013    Exide Technologies, LLC                $50.00                 $0.00                                                                    $50.00
IPREO HOLDINGS LLC
INCLUDES I-DEAL, LLC BIGDOUGH.COM
ATTN GENERAL COUNSEL
1359 BROADWAY 2ND FL
NEW YORK, NY 10018                                      664     9/19/2013    Exide Technologies, LLC             $35,000.00                                                                                     $35,000.00
IQTV INC (DBA IQ INTERACTIVE)
280 INTERSTATE NORTH CIRCLE STE 300
ATLANTA, GA 30339                                        95     6/27/2013    Exide Technologies, LLC            $216,626.00                                                                                    $216,626.00
IRA FBO JAMES D CHAMBERLAIN
1236 STALEY RD
GRAND ISLAND, NY 14072                                  1098    10/10/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
IRANY PONCE
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                     3565    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00


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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
IRENE LLAMAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                4062     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
IRENE VALDEZ
4927 KINSIE ST
COMMERCE, CA 90040                                  2312    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
IRMA BARAJAS
6513 E OLYMPIC BLVD
LOS ANGELES, CA 90022-5450                          1360    10/15/2013   Exide Technologies, LLC             $15,000.00                                                                                     $15,000.00
IRON MOUNTAIN MANAGEMENT LLC
C/O IRON MOUNTAIN INFORMATION MANAGEMENT LLC
ATTN JOSEPH CORRIGAN, ESQ
1 FEDERAL ST FL 7
BOSTON, MA 02110-2003                               2617    10/31/2013   Exide Technologies, LLC            $110,236.65                              $25,732.00                                            $135,968.65
IRWIN, ROBERT THOMAS
10326 DOLAN AVE
DOWNEY, CA 90241                                    1359    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ISAAC LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                              3763    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ISAAIAH ALEMAN (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                              3782    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ISABELLA HERNANDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3917    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ISMAEL GUZMAN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3947    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ISRA DAWSON
2515 HWY 261 N
DALZELL, SC 29040-9099                              3998     3/2/2015    Exide Technologies, LLC                                  $19,394.24                                                                $19,394.24
ISRAEL CHAVELAS
6015 1/2 WOODWARD AVE
MAYWOOD, CA 90270                                   3629    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00
ISRAEL GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                3405     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00

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                Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                             Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                     Amount
ITW DELPRO
18531 SPRING CREEK DR
TINLEY PARK, IL 60477-6239                              7      6/14/2013    Exide Technologies, LLC              $9,834.73                                                                                    $9,834.73
ITZEL LOPEZ-PAZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3698    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
IUANOW, NICHOLAS
PO BOX 690
ALPHARETTA, GA 30009-0690                              2695    10/31/2013   Exide Technologies, LLC            $100,000.00                                                                                 $100,000.00
IVAN LOPEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                   3390     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
IZAIAH ANDRES BUSANI A MINOR
C/O HIS FATHER ANDY BUSANI
7009 SAN LUIS AVE
BELL GARDENS, CA 90201-3411                            2614    10/31/2013   Exide Technologies, LLC        $1,039,500.00                                                                                  $1,039,500.00
IZKOATL ANGULO LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3911    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
J & R ENTERPRISES- SALINA
7106 S HOLMES RD
ASSARIA, KS 67416-8733                                 1095    10/10/2013   Exide Technologies, LLC             $88,651.42                                                                                  $88,651.42
J A STREET & ASSOCIATES - BLOUNTVILLE
245 BIRCH ST
BLOUNTVILLE, TN 37617-4758                             773     10/3/2013    Exide Technologies, LLC             $22,611.10                                                                                  $22,611.10
J J KELLER & ASSOCIATES INC
PO BOX 548
NEENAH, WI 54957-0548                                  415     7/30/2013    Exide Technologies, LLC             $22,411.56                                                $2,002.23                         $24,413.79
J W MOBILE SHREDDING
C/O J W OUTFITTERS INC
3102 OAKCLIFF INDUSTRIAL ST
ATLANTA, GA 30340                                      461      8/8/2013    Exide Technologies, LLC               $945.00               $0.00                                 $0.00                            $945.00
J.I.T. WAREHOUSE INC
PO BOX 1486
VAN BUREN, AR 72957                                    2065    10/28/2013   Exide Technologies, LLC            $126,429.29                                                                                 $126,429.29
J.P. MASCARO & SONS
2650 AUDUBON ROAD
AUDUBON, PA 19403                                      718     9/30/2013    Exide Technologies, LLC               $542.47                                                                                      $542.47

JACK HORNER'S MACHINERY & CONTRACTOR SUPPLIERS INC
PO BOX 248
ST JOSEPH, MO 64502                                    277     7/12/2013    Exide Technologies, LLC              $1,985.38                                                                                    $1,985.38




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                Creditor Name and Address          Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
JACKELINE WITRON
10111 SAN JUAN AVE
SOUTH GATE, CA 90280                                 3808    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
JACKIE PEREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3162    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JACKIE PEREZ, GUARDIAN OF MINOR ALIZE MEJIA
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3157    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JACKIE PEREZ, GUARDIAN OF MINOR JAYLEEN PEREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3032    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JACK'S SALVAGE & AUTO PARTS
625 METACOM AVE
BRISTOL, RI 02809                                    443      8/2/2013    Exide Technologies, LLC              $1,848.00                                                                                      $1,848.00
JACKSON, ALVIS
107 FLOWERS ST
WAXAHACHIE, TX 75165-4411                            1712    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JACKSON, LEWIS
PO BOX 341
LANCASTER, TX 75146-0341                             2831    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JACKSON, MIKE
1504 BALFOUR RD
WEST MEMPHIS, AR 72301-1814                          1807    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JACOB IAN MEDEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3955    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JACOBSON TRANSPORTATION COMPANY, INC.
MARTY R. HOWARD
3811 DIXON STREET
DES MOINES, IA 50313                                 1321    10/15/2013   Exide Technologies, LLC            $131,173.76                                                      $0.00                        $131,173.76
JACQUELYN RAMOS
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                     3372    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JADE MARIE MARTINEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3679    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JAHN TRANSFER
2414 HEMSTOCK DR
LA CROSSE, WI 54603                                  590      9/3/2013    Exide Technologies, LLC               $659.55                                                                                        $659.55

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                Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                            Amount                                                        Amount
JAIME CORTEZ
LARRY BENDESKY, BRIAN E. FRITZ, WILLIAM A. WEISS
C/O SALTZ, MONGELUZZI, BARRETT & BENDESKY, P.C.
ONE LIBERTY PLACE, 52ND FLOOR, 1650 MARKET ST.
PHILADELPHIA, PA 19103                                  2352    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JAIME RAMIREZ
636 BRADSHAWE AVE
LOS ANGELES, CA 90022-3403                              3517    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JAMEIRA TOSCANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3183    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JAMES B DAVIS TRUST
6675 CHAMPION RD
SHELBY, OH 44875                                        1306    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JAMES C SMITH
631 SPRYFIELD RD
JACKSON, MS 39212                                       2020    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JAMES GROFF & SON, INC -
17 N HESS ST
QUARRYVILLE, PA 17566-1221                              771     10/3/2013    Exide Technologies, LLC              $724.20                                                                                          $724.20
JAMES H BERGMAN
PO BOX 112167
ANCHORAGE, AK 99511                                     669     9/12/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
JAMES H LAAS CO INC
6185 VALLEY DR
BETTENDORF, IA 52722                                    1283    10/14/2013   Exide Technologies, LLC            $3,563.02                                                                                        $3,563.02
JAMES H ULLRICH REV TR
C/O JAMES H ULLRICH TTEE
23201 SCOTCH PINE LN
MACOMB, MI 48042                                        2837    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
JAMES HAMPTON
2910 ERVIN LN
SUMTER, SC 29154-8600                                   4016     3/2/2015    Exide Technologies, LLC                                  $29,242.08                                                                $29,242.08
JAMES L PALM REVOCABLE LIVING TRUST
C/O JAMES L PALM
10421 FIVE POINTS RD
ORRVILLE, OH 44667                                      1856    10/24/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
JAMES R RIGGINS TRUST DTD 4/24/2012
213 MARINERS POINT RD
SEQUIM, WA 98382                                        3973    10/3/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
JAMES SIDNEY CRAIG LIVING TRUST
17400 CACHAGUA RD
CARMEL VALLEY, CA 93924                                 1682    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
JAMES TOMLIN
5130 JOE BILLY RD
GABLE, SC 29051-9649                                    4004     3/2/2015    Exide Technologies, LLC                                  $14,245.06                                                                $14,245.06




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
JAMES TULLY
14844 RIDGEWOOD DR
OAK FOREST, IL 60452                             1653    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
JAMES, PEGGY
1203 BONNIE LN
MINDEN, LA 71055-2007                            857     10/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                  $0.00            $0.00
JAMISON, LARRY
7745 SHADOW CREEK DR UNIT 527
HAMILTON, OH 45011-5365                          1225    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JANI ABEL
105 LEXINGTON AVE #4B
NEW YORK, NY 10016                               1851    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
JANI KING
JOYCE ROSENTHAL
2469 SUNSET POINT RD
CLEARWATER, FL 33765                             1192    10/11/2013   Exide Technologies, LLC               $568.75                                                                                          $568.75
JANI KING OF SOUTHERN, BC
STN. R BOX 2177
KELOWNA BC V1X 4K6 CANADA

CANADA                                           1922    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
JARED E LARA (MINOR)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                             4075    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
JASMINE ALFARO (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3787    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
JASON BYAS
200 WHITE TOP RD
BLUFF CITY, TN 37618-1540                        2013    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JASON C BYAS
200 WHITE TOP RD
BLUFF CITY, TN 37618-1540                        668     9/17/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
JASON C BYAS
200 WHITE TOP RD
BLUFF CITY, TN 37618-1540                        2014    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JASON C BYAS
200 WHITE TOP RD
BLUFF CITY, TN 37618-1540                        2015    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JASON J KESTON
748 S PLYMOUTH
LOS ANGELES, CA 90005                            3446    1/22/2014    Exide Technologies, LLC            $250,000.00                                                                                     $250,000.00
JASON MILLER
2624 MAPLE AVE
PALMYRA, NY 14522                                4133     6/4/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00


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              Creditor Name and Address          Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                       Amount                                                       Amount
JASON PICKETT
370 SUMMER SHADE LN
ROSWELL, GA 30075                                  2516    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JAVIER A HERNANDEZ
PO BOX 328
BELL GARDENS, CA 90201-0328                        2747    10/31/2013   Exide Technologies, LLC            $125,000.00                                                                                   $125,000.00
JAVIER DEL CARMEN
4922 1/2 E 60TH PL
MAYWOOD, CA 90270                                  3624    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
JAVIER GARCIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3572    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JAVIER GONZALES JR
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3952    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JAVIER SANTOS P
4905 60TH PL APT C
MAYWOOD, CA 90270                                  3815    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
JAYCOB GAONA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                               3395     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JAZIER SANTIBANEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3711    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JB HUNT TRANSPORT INC
615 JB HUNT CORPORATE DR
LOWELL, AR 72745                                   113     6/28/2013    Exide Technologies, LLC             $24,038.59                                                                                    $24,038.59
JCI INDUSTRIES INC
ATTN JIM DRISKELL, CONTROLLER
1161 SE HAMBLEN RD
LEE'S SUMMIT, MO 64081                             643     9/16/2013    Exide Technologies, LLC              $1,566.55                                                                                      $1,566.55
JEANNE M SCHLOTZ IRA
23 MIGUEL ST
SAN FRANCISCO, CA 94131                            1616    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JEARIM JUAREZ
PO BOX 1388
LOS ANGELES, CA 90001-0388                         3356    12/20/2013   Exide Technologies, LLC                                                  Unliquidated                                                  $0.00
JEFFERSON COUNTY ALABAMA REVENUE DEPARTMENT
C/O A ALLEN RAMSEY PC
201 20TH ST S
BIRMINGHAM, AL 35210-1635                          484     8/12/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00


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               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
JEFFREY FORSYTHE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3661    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JEFFREY FORSYTHE GUARDIAN AD LITEM FOR
ALEXA J FORSYTHE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3658    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JENICE ALEMAN
735 E VERNON AVE
LOS ANGELES, CA 90011                           3814    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
JENKINS, EDDIE
1435 LEE RD #288
SMITHS, AL 36877                                2953    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
JENKINS, JOHN
1114 WILLIAM ST
HAMILTON, NJ 08610-5439                         1462    10/17/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JENKINS, SUE
100 MILDRED CT
RICHMOND, KY 40475-1323                         2827    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
JENNIFER HERNANDEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            3398     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
JENNIFER ZELENIAKAS
6341 EMIL AVE APT D
COMMERCE, CA 90040-3759                         3235    11/16/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JENNY GALAZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                3450    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
JEROME WICKMAN
4516 N BROAD ST
PHILADELPHIA, PA 19140                          1393    10/15/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
JERRY BROWN LTD
26 LOWER WARREN ST
QUEENSBURY, NY 12804-3815                       1123    10/10/2013   Exide Technologies, LLC             $4,396.70                                                                                        $4,396.70
JERRY GUTI
451 N 12TH ST
READING, PA 19604-2820                          788     10/3/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
JERRY JAYNES IRA
380 PECAN DR
SYLVA, NC 28779-6933                            1921    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00




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                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
JERRY PAVIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3552    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JESENIA DEL CARMEN
4922 1/2 E 60TH PL
MAYWOOD, CA 90270                               3842    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
JESSE AND JESSIE CARDIEL
2315 1/2 OPAL ST
LOS ANGELES, CA 90023-2123                      2908    11/1/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JESSE MANGUM
1003 METAIRIE RD
JACKSON, MS 39209-6912                          2115    10/28/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
JESSE R BORDER DBA VIBTECH
PO BOX 2221
SINKING SPRING, PA 19608                        143      7/2/2013    Exide Technologies, LLC             $4,900.00                                                                                        $4,900.00
JESSICA DIAZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3067    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JESSICA HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3178    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JESSICA PARENTE
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3657    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JESSIE EMANUEL GOMEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3569    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
JESUS E GONZALEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3494    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
JESUS GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            4067    4/15/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
JESUS IBARRA
10315 RICHLEE AVE
SOUTH GATE, CA 90280                            3459    1/28/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00

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                                                                                                Current General                                              Current 503(b)(9)
                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
JESUS L ACOSTA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3196    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JESUS LOPEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3518    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JESUS PLASCENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2559    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JILBERTO MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3597    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JIMMY E DUST
329 JENKINS HOLLOW RD
BLUFF CITY, TN 37618-4119                       522     8/21/2013    Exide Technologies, LLC            $15,454.61                 $0.00                                                               $15,454.61
JIMMY HERNANDEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            3400     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JIMMY MORALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3119    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JIRGES, VELDA
2232 42ND AVE SE UNIT 595
SALEM, OR 97317-6126                            1442    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JLW HOLDINGS, INC. DBA THE GUN ROOM
9221 SURVEY RD
ELK GROVE, CA 95624-9756                        1620    10/21/2013   Exide Technologies, LLC             $2,649.01                                                                                       $2,649.01
JMC SERVICES INC
C/O JMC ELECTRIC
3407 MERRIAM DR
OCERLAND PARK, KS 66203                          31     6/20/2013    Exide Technologies, LLC             $1,050.00                                                     $125.67                           $1,175.67
JOAN RODGERS
1782 NORTH PARKWAY
MEMPHIS, TN 38112                               1552    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JOANNA AMADOR
927 N HAZARD AVE
LOS ANGELES, CA 90063-1253                      2433    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00


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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                         Amount                                                    Amount
JOANNA E HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3164    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                  $5,000,000.00

JOANNA HERNANDEZ, GUARDIAN OF MINOR DNEEY CAMPOS
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3182    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                  $5,000,000.00

JOANNA HERNANDEZ, GUARDIAN OF MINOR DNELL CAMPOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3082    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                  $5,000,000.00
JOANNA VELAZQUEZ, GUARDIAN OF MINOR
NATALIE JARAMILLO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3072    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                  $5,000,000.00
JOAQUIN GUZMAN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3586    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
JOBCO INCORPORATED
1913 TOWSON AVE
FORT SMITH, AR 72901                                 224      7/8/2013    Exide Technologies, LLC             $3,198.16                                                  $900.00                            $4,098.16
JOCELYN AVILA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3608    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
JOE & IRMA DAVIS
10072 HIGHWAY 65
HOUSTONIA, MO 65333                                  4093    5/18/2015    Exide Technologies, LLC                                                                                             $0.00            $0.00
JOE GONZALEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                 2580    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                 $10,000,000.00
JOEL ALEMAN
3631 1/2 TRINITY ST
LOS ANGELES, CA 90011                                3820    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                   $10,000.00




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                 Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                            Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                       Amount                                                        Amount
JOEY NAVARETTE
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3109    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00
JOHN B HOOK TRUST U/A 01-01-02
JOHN B HOOK TRUSTEE FBO JOHN B HOOK
73223 RIBBONWOOD CT
PALM DESERT, CA 92260                              1666    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
JOHN BOY'S /JOHN BROOK
26415 HOLT 180
MOUND CITY, MO 64470-8230                          936     10/7/2013    Exide Technologies, LLC             $1,410.10                                                                                        $1,410.10
John Deere Financial
c/o Weltman, Weinberg and Reis Co., LPA
965 Keynote Circle
Brooklyn Hts, OH 44131                             4182    11/20/2019   Exide Technologies, LLC            $21,084.23                                                                                       $21,084.23
JOHN DEERE FINANCIAL FSB
PO BOX 6600
JOHNSTON, IA 50131                                 250      7/9/2013    Exide Technologies, LLC            $21,084.23                                                                                       $21,084.23
John Deere Financial, f.s.b.
P.O. Box 6600
Johnston, IA 50131                                 4183    11/20/2019   Exide Technologies, LLC            $21,084.23                                                                                       $21,084.23
JOHN EDWARD O'HIGGINS
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                   1715    10/22/2013   Exide Technologies, LLC            $11,000.00                                                                                       $11,000.00
JOHN GILLIARD
4325 PATRIOT PKWY
SUMTER, SC 29154-9772                              4005     3/2/2015    Exide Technologies, LLC                                  $14,904.17                                                                 $14,904.17
JOHN J KATSOCK & VIVIAN M KATSOCK JT / WROS
2215 YARDLEY RD
YARDLEY, PA 19067                                  2007    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
JOHN M BELCEA
2550 VENTURA CIR
W MELBOURNE, FL 32904                              4085     5/9/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
JOHN M BELCEA
2550 VENTURA CIR
W MELBOURNE, FL 32904                              4086     5/9/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
JOHN O'HIGGINS
C/O SPECTRIS PLC
HERITAGE HOUSE
CHURCH ROAD
EGHAM SURREY TW20 9QD

UNITED KINGDOM                                     4106    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00




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                Creditor Name and Address               Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                              Amount                                                        Amount
JOHN O'HIGGINS
C/O SPECTRIS PLC
HERITAGE HOUSE
CHURCH ROAD
EGHAM SURREY TW20 9QD

UNITED KINGDOM                                            4107    5/22/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
JOHN P REILLY
940 CAPE MARCO UNIT 2201
MARCO ISLAND, FL 34145                                    1603    10/19/2013   Exide Technologies, LLC            $9,000.00                                                                                          $9,000.00
JOHN P REILLY
940 CAPE MARCO UNIT 2201
MARCO ISLAND, FL 34145                                    4102    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
JOHN P REILLY
940 CAPE MARCO UNIT 2201
MARCO ISLAND, FL 34145                                    4103    5/22/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
JOHN TAYLOR
C/O DREW TAYLOR, TRUSTEE
7198 41ST ST N
MOORHEAD, MN 56560                                        4033     4/7/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
JOHN TINAJERO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                    3735    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
JOHN, KEITH
PO BOX 78
OQUAWKA, IL 61469-0078                                    2521    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JOHNNIE A MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                       3953    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
JOHNNY WARNOCK
1406 S FARGO ST
MULDROW, OK 74948                                         1657    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
JOHNS, ANITA
6820 OAK BRANCH CIR
SHREVEPORT, LA 71109-8338                                 3256    11/22/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00



JOHNSON CONTROLS INC(OBO ITSELF & ITS SUBSIDIARIES
& AFFILIATES INCLUDING BUT NOT LIMITED TO JOHNSON
CONTROLS BATTERY GROUP INC)
C/O DICKINSON WRIGHT PLLC ATTN JAMES A PLEMMONS
500 WOODWARD AVE STE 4000
DETROIT, MI 48226-3425                                    2599    10/31/2013   Exide Technologies, LLC                                                          $0.00                                  $0.00            $0.00
JOHNSON EQUIPMENT COMPANY
PO BOX 802009
DALLAS, TX 75380-2009                                     1645    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00

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                                                                                                 Current General                                              Current 503(b)(9)
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                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
JOHNSON JR, JAMES
25719 FIDRA AVE
SORRENTO, FL 32776-8912                          1773    10/23/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSON, FLOSSIE
924 SALTWOOD RD
SUMTER, SC 29154-7275                            2111    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSON, FREDDIE
1412 WOODSHIRE DR
JACKSON, MS 39211-2135                           1585    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSON, KENNETH
2311 SILVERTHORNE DR
DALLAS, TX 75287-5863                            1699    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JOHNSON, ROBERT
3275 N RESERVE ST STE D PMB 13
MISSOULA, MT 59808-1562                          2774    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSON, ROSIE
200 MAPLE CIR
VICKSBURG, MS 39180-8995                         2883    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSON, WALTER
3018 AVENUE I
FORT MADISON, IA 52627-3613                      1840    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSTON COUNTY
PO BOX 451
SMITHFIELD, NC 27577-0451                        3292    12/2/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
JOHNSTON, CORY
540 OAK STREET
AUMSVILLE, OR 87325                              1793    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JONATHAN DE LA ROSA
1350 VAN PELT
LOS ANGELES, CA 90063                            3845    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
JONATHAN ROMO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2536    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JONATHON WHITE
C/O THE SANTILLI LAW GROUP, LTD
111 W WASHINGTON ST, STE 1240
CHICAGO, IL 60602                                2205    10/28/2013   Exide Technologies, LLC            $20,000.00                                                                                     $20,000.00
JONES DAY - ATLANTA
ATTN BRETT J BERLIN
1420 PEACHTREE ST NE STE 800
ATLANTA, GA 30309                                2387    10/30/2013   Exide Technologies, LLC        $1,459,970.43                                                                                    $1,459,970.43
JONES MANUFACTURING INC
948 ELM ST
YORK, PA 17403                                   238     7/10/2013    Exide Technologies, LLC             $1,729.78                                                                                       $1,729.78
JONES, CLIFFORD
2308 10TH AVE
LEAVENWORTH, KS 66048-4213                       995     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00


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                                                                                                Current General                                              Current 503(b)(9)
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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
JONES, GLADYS
2780 BONNELL DR
SUMTER, SC 29154-4605                           2508    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JONES, JERRY
104 E SPROLES ST
CLINTON, MS 39056-3746                          2075    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JONES, JERRY
3940 TIOGA ST
DALLAS, TX 75241-6101                           1940    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JONES, LLOYD
7119 WAYCREST DR
DALLAS, TX 75232-3927                           1096    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JONES, LONZIA
PO BOX 8582
JACKSON, MS 39284-8582                          1329    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JONES, TOMMY
4730 DUBARRY LN
JACKSON, MS 39209-4929                          1194    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JONG BEAK CHOI
405 S INDIANA ST
LOS ANGELES, CA 90063-3908                      3531    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JORDAN ENTERPRISES CONTROLS
ATTN ROBERT M JORDAN
34353 LA HWY 1019
DENHAM SPRINGS, LA 70706                        304     7/16/2013    Exide Technologies, LLC            $28,060.47                                                                                     $28,060.47
JORDAN, DENNIS
13075 BETHANY STATE LINE RD
BETHANY, LA 71007-9768                          2129    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
JORGE GUTIERREZ
5307 LOMA VISTA AVE
MAYWOOD, CA 90270                               3649    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
JORGE L JUAREZ ROMERO
706 W 74TH ST
LOS ANGELES, CA 90044                           3355    12/20/2013   Exide Technologies, LLC                                                  Unliquidated                                                  $0.00
JORGE L NAVARRO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3473    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JORGE LUJAN
1626 DOVER CIR
SALINA, KS 67601                                2905    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
JORGE LUJAN
1626 DOVER CIRCLE
SALINA, KS 67401                                2148    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JORGE STOPANI
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3461    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00

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                                                                                                    Current General                                              Current 503(b)(9)
                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address          Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                        Amount                                                       Amount
JOSALYN PEREZ, GUARDIAN OF MINOR BELLA MEJIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3040    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JOSE & CELIA OLVERA
8954 OTIS ST
SOUTH GATE, CA 90280-3204                           3354    12/18/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JOSE A FARIAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3571    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE A ROMAN
6151 WILCOX AVE APT A
MAYWOOD, CA 90270-3414                              3877     2/8/2014    Exide Technologies, LLC             $75,000.00                                                                                    $75,000.00
JOSE A SANCHEZ
146 N ROWAN AVE
LOS ANGELES, CA 90063                               3844    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
JOSE ANDRES LOZANO
PO BOX 933
HUNTINGTON PARK, CA 90255-0933                      3271    11/26/2013   Exide Technologies, LLC                    $0.00            $500.00                                                                  $500.00
JOSE ANTONIO GUTTIEREZ JR
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3575    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE ANTONIO RAMIREZ
3365 BROADWAY
HUNTINGTON PARK, CA 90255-6441                      3511    1/28/2014    Exide Technologies, LLC            $500,000.00                                                                                   $500,000.00
JOSE D GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                2593    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE GUTTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                4065    4/15/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE ISABEL RAMOS
735 S FORD BLVD APT 14
LOS ANGELES, CA 90022-2448                          2638    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JOSE J VELASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3134    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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                                                                                                Current General                                              Current 503(b)(9)
                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
JOSE L FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3115    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JOSE L MACIEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3932    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE LUIS CARLOS MACIAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2568    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE LUIS GUTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2591    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE LUIS GUTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            3403     1/2/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
JOSE LUIS MAGANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2558    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE LUIS VAASCO
BANK OF AMERICA
6034 SOUTHSIDE DR
LOS ANGELES, CA 90022-5217                      3452    1/25/2014    Exide Technologies, LLC                                                  Unliquidated                                                  $0.00
JOSE MAGANO (SON)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2560    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE MANUEL CALDERON
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3950    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JOSE MARIA GUTIERREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3495    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00


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                                                                                                                       Current Priority   Current Secured                         Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                              Admin Priority
                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                      Amount
JOSE MEJIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3934    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                  $10,000,000.00
JOSE MENDOZA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3489    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                  $10,000,000.00
JOSE P VELASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3007    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                   $5,000,000.00
JOSE ROSALES
1260 VAN PELT AVE
LOS ANGELES, CA 90063-1226                       1447    10/17/2013   Exide Technologies, LLC             $15,000.00                                                                                   $15,000.00
JOSE SOTO
3809 OLIVE ST APT A
HUNTINGTON PARK, CA 90255-6508                   2133    10/28/2013   Exide Technologies, LLC            $100,000.00                                                                                  $100,000.00
JOSEFINA JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3757    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                          $0.00
JOSEPH DAMPIER
238 BILL WOMACK RD
MENDENHALL, MS 39114-5575                        1122    10/10/2013   Exide Technologies, LLC                                     $0.00              $0.00                                                  $0.00
JOSEPH F. ODDO
1081 NARANCA AVE #B
EL CAJON, CA 92021-5653                          1968    10/25/2013   Exide Technologies, LLC                                 $1,208.06      Unliquidated                                                $1,208.06
JOSEPH GAINES
717 N MAIN ST
SUMTER, SC 29150-3521                            4003     3/2/2015    Exide Technologies, LLC                                $14,691.60                                                                $14,691.60
JOSEPH M MCCABE III IRA
C/O OREDIA W WESTBURY, POA
103 PECAN GROVE LN
FT MOTTE, SC 29135-8871                          2213    10/28/2013   Exide Technologies, LLC                                                        $0.00                                                  $0.00
JOVANNI FLORES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3665    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                          $0.00
JOVANNIE MATHEW MORENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3920    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                  $10,000,000.00


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
JOVANY GAONA
PO BOX 861
MAYWOOD, CA 90270                                3623    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
JOVITA MORALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3026    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JOYCE THOMAS
379 FARNHAM AVE
LODI, NJ 07644-1113                              2741    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
JUAN AMADOR TORRES
927 N HAZARD AVE
LOS ANGELES, CA 90063                            2435    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JUAN CORONA
3135 CALIFORNIA ST
HUNTINGTON PARK, CA 90255                        3378    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JUAN DE DIOS ALTAMIRANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4034     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JUAN GONZALEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3767    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JUAN JOSE GUDINO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3481    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
JUAN M RENTERIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3107    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
JUAN MANUEL AMADOR JR
927 N HAZARD AVE
LOS ANGELES, CA 90063                            2434    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
JUAN MARTINES
3550 E CESAR E CHAVEZ AVE
LOS ANGELES, CA 90063-2239                       3283    11/29/2013   Exide Technologies, LLC        $1,000,000.00                                                                                    $1,000,000.00
JUAN MENDEZ
C/O BROWN RUDNICK LLP
ATTN WILLAIM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3548    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                            Admin Priority
                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                    Amount
JUAN MONROY
5221 WOOD AVE
SOUTH GATE, CA 90280-5340                        2669    10/31/2013   Exide Technologies, LLC            $28,825.00         $12,475.00                                                               $41,300.00
JUAN PLASCENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2554    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
JUAN RODRIGUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3602    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
JUAN SANCHEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3754    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
JUANA TENAUD
4544 E 58TH ST
MAYWOOD, CA 90270                                3630    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JUANA V RAMIREZ
4118 E 60 ST
HUNTINGTON PARK, CA 90255                        3650    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
JUANITA MARQUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3928    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
JUANITA VANEGAS TORRES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3613    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
JUANITA WEATHERLY
866 WHATLEY ST
SUMTER, SC 29154-6042                            4001     3/2/2015    Exide Technologies, LLC                               $10,927.35                                                               $10,927.35
JUDE ORTIZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3730    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
JUDITH DELGADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3692    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
JULIAN ALARCON
6015 VINEVALE AVE
MAYWOOD, CA 90270                                3839    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00

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                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
JULIAN RICHARD CHAVEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3527    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JULIAN ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3687    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
JULIE GALAZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                 3447    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
JULIE M FAGAN & LLOYD H WAXMAN
C/O LLOYD WAXMAN
440 TOP ROCK TRAIL
KINTNERSVILLE, PA 18930                          2836    10/31/2013   Exide Technologies, LLC                    $0.00                                 $0.00               $0.00                              $0.00
JULIEANNA M DURAN
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3064    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JULIUS, DOUGLAS P
1014 MT TABOR RD
NEW ALBANY, IN 47150                             1243    10/12/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
JUSTIN K SERGIO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3174    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
JW INVEST PARTNERSHIP
PO BOX 8157
FAYETTEVILLE, AR 72703-0003                      1615    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
K A STEEL CHEMICALS - CHICAGO
C/O JENNER & BLOCK
ATTN MELISSA M HINDS
353 N CLARK ST
CHICAGO, IL 60654-3456                           2260    10/29/2013   Exide Technologies, LLC            $37,488.67                                                   $23,218.71                         $60,707.38
K A STEEL CHEMICALS - CHICAGO
C/O JENNER & BLOCK
ATTN MELISSA M HINDS
353 N CLARK ST
CHICAGO, IL 60654-3456                           2261    10/29/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
K Z R INC - SMOLAN
6353 S MUIR RD
SMOLAN, KS 67456-8063                            1819    10/24/2013   Exide Technologies, LLC             $4,279.25                                                                                       $4,279.25




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                Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
K&L ELECTRICAL INC FKA MILLER ELECTRIC SUPPLY INC
C/O O'CONNOR & THOMAS PC
ATTN TONYA TRUMM
700 LOCUST ST STE 200
DUBUQUE, IA 52001                                        4153     9/1/2015    Exide Technologies, LLC              $4,500.00                                                                                      $4,500.00
K&R PLASTICS
C/O RUGGERO LAW FIRM PC
ATTN PETER RUGGERO
1411 W AVE STE 200
AUSTIN, TX 78701                                         422      8/1/2013    Exide Technologies, LLC             $22,402.04                                   $0.00                                             $22,402.04
KAESER COMPRESSORS INC.
P.O. BOX 946
FREDRICKSBURG, VA 22404                                  1502    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KAGAN, LAURENCE & LISA
16 NOEL LN
JERICHO, NY 11753-1316                                   334     7/20/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
KAISER, TIM
510 MAPLE ST
TIPTON, IN 46072-1521                                    1102    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KALTER, BRAD
100 CLUB FALLS DR
ALPHARETTA, GA 30022-3247                                2278    10/29/2013   Exide Technologies, LLC            $100,000.00                                                                                    $100,000.00
KALTER, BRAD
100 CLUB FALLS DRIVE
ALPHARETTA, GA 30022                                     2279    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KANITKAR, RAJAN
13228 STABLE BROOK WAY
HERNDON, VA 20171                                        1433    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KANSAS CITY POWER & LIGHT (KCP&L)
PO BOX 418679
KANSAS CITY, MO 64141-8679                               3441    1/21/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KANSAS CITY VALVE & FITTING CO
PO BOX 329
SHAWNEE MISSION, KS 66201-0329                           1315    10/15/2013   Exide Technologies, LLC               $182.25                                                                                         $182.25
KANSAS ELECTRIC
1420 NW 36TH ST
NEWTON, KS 67114                                         926     10/7/2013    Exide Technologies, LLC             $19,645.00                                                                                     $19,645.00
KANSAS GAS SERVICE
ATTN BANKRUPTCY TEAM
PO BOX 3535
TOPEKA, KS 66601-3535                                    528     8/16/2013    Exide Technologies, LLC             $35,027.17                                                                                     $35,027.17
KAPLAN, ALVIN
10341 CROSSWIND RD
BOCA RATON, FL 33498                                     1698    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KAPLAN, ALVIN
10341 CROSSWIND RD
BOCA RATON, FL 33498                                     2069    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
KAPSTONE PAPER & PACKAGING
ATTN ROBERT BEAL
1101 SKOKIE BLVD
NORTHBROOK, IL 60062                                 293     7/15/2013    Exide Technologies, LLC            $92,570.74                                                                                     $92,570.74
KAREN CALERO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3141    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
KAREN CALERO GUARDIAN OF MINOR BRIAN GOMEZ JR
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3171    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
KAREN DIAZ
2722 HILL ST
WALNUT PARK, CA 90255                                2969    11/4/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KAREN HERNANDEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                 3399     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
KAREN KOMABA
3421 LANFRANCO ST
LOS ANGELES, CA 90063-2910                           3219    11/12/2013   Exide Technologies, LLC                                   $2,000.00      Unliquidated                                               $2,000.00
KAREN NEWBOLD SEP / IRA
1006 SYLVAN BLVD
HENDERSONVILLE, NC 28791                             2931    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
KAREN REIDENBACH
169 EAST COUNTY 180 NORTH
FRANKFORT, IN 46041                                  2489    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KARINA AVILA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3789    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KARINA DIAZ, GUARDIAN OF MINOR CAMILA MAGANA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3043    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
KARINA DIAZ, GUARDIAN OF MINOR LUNA MAGANA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3041    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
KARINA HERNANDEZ GUTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3401     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
KARINA LOPEZ ZUNIGO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3753    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KARINA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3747    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KARLA HERNANDEZ & FAMILY
3511 TODD AVE
COMMERCE, CA 90040-3309                          2631    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KARLA RAMIREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3414     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
KARLA S ROSGADO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3739    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KARY MIRALRIO LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3752    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KASSIA PARKS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                        1909    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KATE S COOK
COOK LAW GROUP LLC
PO BOX 2415
GAINESVILLE, GA 30503-2415                       2721    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KATSUMI L MIRALRIO LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3751    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KATTEN MUCHIN ROSENMAN LLP
ATTN DAVID E AVRAHAM
525 W MONROE ST STE 1900
CHICAGO, IL 60661-3693                           564     8/27/2013    Exide Technologies, LLC            $305,349.90                                                                                   $305,349.90

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               Creditor Name and Address               Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
KCPI SECURITY INC
1228 E WALNUT ST
RAYMORE, MO 64083                                        476     8/13/2013    Exide Technologies, LLC            $5,760.00                                                                                        $5,760.00
KEATHLEY-PATTERSON ELECTRIC
PO BOX 2259
SHAWNEE MISSION, KS 66201-1259                           1412    10/16/2013   Exide Technologies, LLC            $9,262.71                                                                                        $9,262.71
KEEGO HARBER EXPRESS EMPLOYMENT PROFESSIONALS
FRAN KRAUSE
3080 ORCHARD LAKE ROAD SUITE A
KEEGO HARBOR, MI 48320                                   1652    10/21/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
KEEN, ZENA
PO BOX 115
REDWOOD, MS 39156-0115                                   2660    10/31/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
KEILERS, CHARLES H
2518 LINDENWOOD DR
SAN ANGELO, TX 76904                                     1107    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KEITH JOHNS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                                1906    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KEITH STARRETT SELF EMPLOYED PENSION PLAN & TRUST
C/O KEITH STARRETT TRUSTEE
701 N MAIN ST STE 228
HATTIESBURG, MS 39401                                    1647    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
KEITH, GREGORY
3206 ELM AVE
BRIGHTON, IA 52540-9657                                  2319    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KELLEY DRYE & WARREN LLP
ATTN MICHELE SCHAFFEL
101 PARK AVE
NEW YORK, NY 10178                                       824     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KELLEY, CHARLOTTE
2121 GREENVILLE CIR
SUMTER, SC 29154-6176                                    2051    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KELLY BOX & PACKAGING CORPORATION
PO BOX 66852
INDIANAPOLIS, IN 46266-6852                              2454    10/30/2013   Exide Technologies, LLC            $3,788.67                                                         $0.00                          $3,788.67
KELLY CURIMAO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                       3057    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

KELLY CURIMAO, GUARDIAN OF MINOR CHRISTIAN CURIMAO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                       3150    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
KELLY SCOTT & MADISON INC
303 E WACKER DR 8TH FL
CHICAGO, IL 60601                                 24     6/18/2013    Exide Technologies, LLC            $29,461.00                                                                                     $29,461.00
KELLY SERVICES INC
999 WEST BIG BEAVER
TROY, MI 48317                                   577      7/8/2013    Exide Technologies, LLC            $12,224.61                                                                                     $12,224.61
KELLY-FISHER, SMEADIE
1832 LULA LN HWY 18
JACKSON, MS 39209                                3207    11/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
KELVIN WILLIAMS
5911 HIGHWAY 13
PRENTISS, MS 39474-5131                          1097    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KEMIRA WATER SOLUTIONS INC
ATTN THOMAS FORBES
1000 PARKWOOD CIRCLE
SUITE 500
ATLANTA, GA 30339                                2602    10/31/2013   Exide Technologies, LLC             $8,481.60                                                   $8,589.60                         $17,071.20
KENDALL ELECTRIC
5101 S SPRINKLE RD
PORTAGE, MI 49002                                409     7/29/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
KENDALL ELECTRIC INC - DETROIT MI
ATTN JUDITH M. GATES
5101 S. SPRINKLE RD
PORTAGE, MI 49002                                929     10/7/2013    Exide Technologies, LLC             $7,482.23                                                                                      $7,482.23
KENDERICK ROSGADO (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3741    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KENNETH GIFFORD
6 ALICIA CIR
READING, PA 19608-9404                           2893    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
KENYA SOTO
6022 FISHBURN AVE
HUNTINGTON PARK, CA 90255                        3422     1/7/2014    Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
KEPNER-TREGOE INC
C/O PAULA BRUSKIEWITZ
116 VILLAGE BLVD STE 300
PRINCETON, NJ 08540                              623     9/11/2013    Exide Technologies, LLC             $1,079.60                                                  $14,000.00                         $15,079.60
KEPROS BATTERY CONSULTING, LTD.
MICHAEL KEPROS
703 THIRD STREET EAST
CRESCO, IA 52136-1125                            2724    10/31/2013   Exide Technologies, LLC            $13,425.00                                                                                     $13,425.00
KERR PUMP AND SUPPLY INC
12880 CLOVERDALE
OAK PARK, MI 48237                               477     8/13/2013    Exide Technologies, LLC            $12,388.45                                                                                     $12,388.45




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
KERRY KIRBY
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                  2686    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KERRY KIRBY, LORI KIRBY, HEIDI MAYEAUX
AC KIRBY, HANNAH KIRBY & KERRY KIRBY, JR
ATTN SCOTT FRUGE, MICHAEL PALMINTIER
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FR
618 MAIN STREET
BATON ROUGE, LA 70801                                  2691    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
KERSCHNER, J
1048 HADLEY AVE N APT 112
SAINT PAUL, MN 55128-5919                              1034    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
KERSH, WILLIE
304 BOMAR ST
BRANDON, MS 39042                                      1964    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
KEVIN GONZALEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3766    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KEY CITY RECYCLING - DUBUQUE
3270 DODGE ST
DUBUQUE, IA 52003-5246                                 1553    10/19/2013   Exide Technologies, LLC            $4,778.67                                                    $5,080.14                          $9,858.81
KEYSPAN GAS EAST CORP DBA NATIONAL GRID
C/O SUZANNE BRIENZA, ESQ
15 PARK DR
MELVILLE, NY 11747                                     463      8/1/2013    Exide Technologies, LLC              $259.30                                                                                         $259.30
KEYSTONE LAB INC. - NEWTON
600 EAST 17TH STREET SOUTH
NEWTON, IA 50208                                       2662    10/31/2013   Exide Technologies, LLC            $2,049.35                                                        $0.00                          $2,049.35
KHRIS A SANCHEZ MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3748    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
KIBBLE EQUIPMENT
36648 US HIGHWAY 71
REDWOOD FALLS, MN 56283-2747                           1121    10/10/2013   Exide Technologies, LLC                                                                             $0.00                              $0.00
KIMBALL, RICHARD
2000 CAMBRIDGE AVE APT 153
WYOMISSING, PA 19610-2732                              810     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
KIMBERLY FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3098    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
KIMBERLY L CURIMAO-BUTAC
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3079    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
KIMBERLY LUNA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3694    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
KING, BARBARA
2025 WORCESTER LN
GARLAND, TX 75040-3337                          1650    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KING, ELBERT
PO BOX 1832
VICKSBURG, MS 39181-1832                        2737    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KINTETSU WORLD EXP
DEPT CH 17097
PALATINE, IL 60055                              2112    10/28/2013   Exide Technologies, LLC            $25,165.18                                                                                      $25,165.18
KIR G KAROUNA
2408 HANNON CT
ELLICOTT CITY, MD 21042-1763                    794     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KIR G KAROUNA
2408 HANNON CT
ELLICOTT CITY, MD 21042-1763                    1689    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
KIRCHNER BROTHERS PEST CONTROL-LANCASTER
2635 COLUMBIA AVE
LANCASTER, PA 17603-4113                        772     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KIRK LITTRUP
C/O GEORGE T UNDERWOOD JR, ATTORNEY
5401 KINGSTON PIKE, STE 520B
KNOXVILLE, TN 37919                             260      7/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KIRK M LITTRUP
PO BOX 3437
HUNTSVILLE, AL 35807                            2399    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
KIRK NATIONALEASE CO
C/O FAULKNER GARMHAUSEN KEISTER & SHENK
ATTN MICHAEL A STAUDT
100 S MAIN AVE STE 300
SIDNEY, OH 45365                                1777    10/23/2013   Exide Technologies, LLC            $33,463.88                                                                                      $33,463.88
KIRKLAND, HATTIE
430 ROLAND ST
JACKSON, MS 39209-5131                          1493    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KISHORE H GIDVANI & ASHA K GIDVANI
C/O KISHORE H GIDVANI
7000 VILLAGE PKWY #4
DUBLIN, CA 94568                                2918    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
KLINE, CARL
9418 BARKER RD
WHITE PIGEON, MI 49099                          1352    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
KLINE, JOETTA
1009 WHITNER RD
READING, PA 19605-1052                           1779    10/23/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
KNIGHT TRANSPORTATION SERVICES, INC.,
CONTRACT ADMINISTRATION
20002 N 19TH AVE
PHOENIX, AZ 85027-4250                           1841    10/24/2013   Exide Technologies, LLC            $12,856.32                                                                                       $12,856.32
KNOX COUNTY TRUSTEE
ATTN BANKRUPTCY
PO BOX 70
KNOXVILLE, TN 37901                              767     10/3/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00
KOCH NATIONALEASE - MINNEAPOLIS
SDS-12-2754 PO BOX 86
MINNEAPOLIS, MN 55486-2754                       1518    10/18/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
KOHL MARKETING, INC.
PO BOX 20134
BALTIMORE, MD 21284-0134                         840     10/4/2013    Exide Technologies, LLC             $3,852.00                                                                                        $3,852.00
KONECRANES INC
ATTN KAREN MOORE
4401 GATEWAY BLVD
SPRINGFIELD, OH 45502                            2323    10/29/2013   Exide Technologies, LLC             $2,964.00                                                                                        $2,964.00
KOPPEL, JACK S
9601 SUNRISE LAKES BLVD
SUNRISE, FL 33322                                2196    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
KORMET METALS LLC
1031 E 103RD ST
CHICAGO, IL 60628                                1454    10/17/2013   Exide Technologies, LLC            $54,588.05                                                                                       $54,588.05
KRAIGER, JOHN
1111 WINDHORST RIDGE DR
BRANDON, FL 33510-3119                           992     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
KRASKA, KENNETH W
1812 BROKEN BEND DR
WESTLAKE, TX 76262                               2630    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
KRAUS, HEINZ JOSEPH
LAMBERTUSSTRASSE 23
ROMMERSKIRCHEN D-41569 GERMANY

GERMANY                                          2933    11/2/2013    Exide Technologies, LLC                    $0.00              $0.00                                  $0.00                               $0.00
KREBS, RONALD
2982 FRATTALONE LN
LITTLE CANADA, MN 55117-4637                     1190    10/11/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
KRIZ DAVIS CO
PO BOX 767
232 N THIRD ST
SALINA, KS 67402-0767                            2214    10/28/2013   Exide Technologies, LLC              $779.97                                                       $582.65                           $1,362.62
KRIZ-DAVIS COMPANY
PO BOX 125
SAINT JOSEPH, MO 64502                           2215    10/28/2013   Exide Technologies, LLC             $5,244.81                                                    $5,892.95                          $11,137.76




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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
KROEKER, CHERYL
4856 STATE HIGHWAY 84 UNIT 31
LONGVILLE, MN 56655-3366                           1995    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KROFF CHEMICAL COMPANY
C/O COFACE NORTH AMERICA INSURANCE COMPANY
650 COLLEGE ROAD EAST, STE 2005
PRINCETON, NJ 08540                                 87     6/27/2013    Exide Technologies, LLC            $25,074.00                                                                                      $25,074.00
KROPF LUMBER INC - HESSTON
400 N LANCASTER AVE
HESSTON, KS 67062-8805                             811     10/4/2013    Exide Technologies, LLC             $6,132.19                                                                                       $6,132.19
KRUITHOF, RONALD
7025 QUINTARA DR NE
COMSTOCK PARK, MI 49321-8383                       2726    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
KRUKEMYER, TERRY R
16107 ST RT 199
PEMBERVILLE, OH 43450                              1520    10/18/2013   Exide Technologies, LLC                                       $0.00              $0.00               $0.00                              $0.00
KRYSZTOFORSKI, RICHARD
51 ALVERSON LOOP
STATEN ISLAND, NY 10309-1748                       2823    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
KURT A LEWIS
322 CONCRETE ST
ANCHORAGE, AK 99501                                1375    10/15/2013   Exide Technologies, LLC              $978.50                                                                                          $978.50
KURT FAULK BOILERS
3500 WANDA LYNN DR
METAIRIE, LA 70002-4630                            934     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KW PLASTICS
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                               2144    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
KW PLASTICS
PO DRAWER 707
TROY, AL 36081                                     1336    10/15/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
KW PLASTICS INC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                             427     7/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
KYLE BEALL - ATTORNEY AT LAW
628 NORTH BLVD
BATON ROUGE, LA 70802-5721                         1103    10/10/2013   Exide Technologies, LLC             $2,784.00                                                                                       $2,784.00
KYLE, SYLVIA
9146 HILLMAN WAY DR
BARTLETT, TN 38133-4179                            1806    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
L & L SCRAP METALS RECYCLING INC
128 TEXAS RD
GALLIPOLIS, OH 45631                               125      7/1/2013    Exide Technologies, LLC             $4,567.84                                                    $3,959.98                          $8,527.82
LA COUNTY FIRE DEPARTMENT
PO BOX 60440
LOS ANGELES, CA 90060-0440                         1054    10/8/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
LAB. D'ETUDE ET DE REALISATION - FRANCE
Z.I PRE-FUSE
RUE JEAN MOULIN
PONTAULT-COMBAULT 77340 FRANCE

FRANCE                                           1641    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LABELING EQUIPMENT SUPPLIES SER-ALLEGAN
1244 TURKEY LN
ALLEGAN, MI 49010-9772                           792     10/3/2013    Exide Technologies, LLC              $494.00                                                                                          $494.00
LABOR READY TRUE BLUE
ALAN YOST
4315 W. CLARA LN.
MUNCIE, IN 47304                                 2358    10/30/2013   Exide Technologies, LLC            $21,642.99                                                                                      $21,642.99
LAIL, MARCUS
323 MILLCREEK DR
BRANDON, MS 39047-9001                           2109    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LAKE DESIGN & DECOR, LLC-MANCHESTER
107 N FRANKLIN ST
MANCHESTER, IA 52057-1540                        975     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAKEMAN AND SONS INC
STEVEN LEE
PO BOX 787
HOLDEN, ME 04429                                 2914    11/1/2013    Exide Technologies, LLC             $2,434.60                                    $0.00               $0.00                          $2,434.60
LAMAR JOHNSON
HARVEY COVENSKY, C/O HARVEYCOVENSKY, P.C.
4000 TOWN CENTER, SUITE 1470
SOUTHFIELD, MI 48075                             1082    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAMBERTS HEATING & AIR CONDITIONING
PO BOX 53424
BATON ROUGE, LA 70892-3424                       832     10/4/2013    Exide Technologies, LLC             $3,563.74                                                                                       $3,563.74
LAMER, JOYCELENE
410 W 1ST ST
MILTONVALE, KS 67466-5020                        1345    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LAMPTON WELDING SUPPLY CO INC
ATTN SUZAN SCHMITZ
PO BOX 765
WICHITA, KS 67201                                1594    10/19/2013   Exide Technologies, LLC             $3,756.46                                                      $523.86                          $4,280.32
LANCASTER LABORATORIES INC
PO BOX 12425
2425 NEW HOLLAND PIKE
LANCASTER, PA 17605-2425                         906     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LANCASTER MOLD INC
C/O JOE GORLASKI
2501 HORSESHOE RD
LANCASTER, PA 17601                              2151    10/28/2013   Exide Technologies, LLC            $99,044.79                                                                                      $99,044.79
LANCASTER, CARRIE
344 WILDWOOD AVE
SUMTER, SC 29154-5400                            2509    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00



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               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
LANDERMAN, THOMAS
7600 OLD TOWN RD
MOUNT PERRY, OH 43760-9661                      937     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
LANDIS MECHANICAL GROUP, INC-LEESPORT
2668 LEISCZS BRIDGE RD
LEESPORT, PA 19533-9334                         1385    10/15/2013   Exide Technologies, LLC             $35,588.33                                                                                     $35,588.33
LANDSBERG
C/O ORORA
6600 VALLEY VIEW ST
BUENA PARK, CA 90620                            3888     3/5/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LANDSTAR RANGER INC
ATTN DAWN BOWERS
13410 SUTTON PARK DR S
JACKSONVILLE, FL 32224                          533     8/19/2013    Exide Technologies, LLC            $126,094.27                                                                                    $126,094.27
LANE, WILLIE
4833 WOODSTOCK RD
WOODVILLE, MS 39669-4568                        2074    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LANKFORD, STEPHEN L
1822 PITTS RD
RICHMOND, TX 77406                              1713    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LANZAFAME, STEVEN
414 HICKORY CT
BLUFF CITY, TN 37618-3908                       1051    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LARA ALEXANDRINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            4064    4/15/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LAREAU, TERRY
5927 EAST 3500 S ROAD
ST ANNE, IL 60964                               932     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
LARRY BROWN
688 MARLBOROUGH DR
SUMTER, SC 29154                                2050    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LARRY BROWN
688 MARLBOROUGH DR
SUMTER, SC 29154                                4018     3/2/2015    Exide Technologies, LLC                                  $54,870.00                                                                $54,870.00
LARRY D HENDERSON
PO BOX 55
FLORA, MS 39071-0055                            1576    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LARRY HALE
1710 W HICKORY
KANKAKEE, IL 60901                              2666    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LARRY HARRISON
1100 W MAGNOLIA AVE
GENEVA, AL 36340-1204                           2881    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LARRY SPROLES
RANDALL ESTES, ESTES LAW FIRM
10566 AIRLINE HWY
BATON ROUGE, LA 70816                           1771    10/23/2013   Exide Technologies, LLC             $20,000.00                                                                                     $20,000.00

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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                           Amount                                                       Amount
LARUE, ROBERT
6585 BERNADEAN BLVD
PUNTA GORDA, FL 33982-1602                             1998    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LATVIAN RELIEF FUND OF AMERICA INC
ATTN JOHN G BERZINS
8119 CADWALADER AVE
ELKINS PARK, PA 19027                                  1950    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAURA AVILA
530 S FERRIS AVE
LOS ANGELES, CA 90022                                  3636    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
LAURA BANUELOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3053    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
LAURA BANUELOS, GUARDIAN OF MINOR
KING ISAIAH SALINAS
C/O BROWN RUDNICK, LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3039    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
LAURA BANUELOS, GUARDIAN OF MINOR ARIEL SALINAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3038    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

LAURA BANUELOS, GUARDIAN OF MINOR RUBEN B SALINAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3186    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
LAURA RENDON
10216 BOWMAN AVE
SOUTH GATE, CA 90280-6740                              1664    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAURY, YVONIA
5150 GINGER ST
JACKSON, MS 39209-3129                                 2192    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LAVELLE INDUSTRIES INC
ATTN ACCOUNTS RECEIVABLE
665 MCHENRY ST
BURLINGTON, WI 53105                                   352     7/22/2013    Exide Technologies, LLC            $66,693.77                                                  $40,094.08                         $106,787.85
LAVELLE INDUSTRIES INC
ATTN DEBORAH SCHEFFLER
665 MCHENRY ST
BURLINGTON, WI 53105                                   4111    5/27/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
LAWHORNE, PAULINE
4355 E 150 N
KNOX, IN 46534-8192                                    1823    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00


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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
LAWLIS, JOAN
JOAN W LAWLIS TRUST (INTERVIVOS)
PO BOX 37
HOULTON, ME 04730-0037                          2628    10/31/2013   Exide Technologies, LLC            $50,422.57                                                                                      $50,422.57
LAWNSCAPE ASSOCIATES
ATTN NEIL MCGORISK
PO BOX 930282
WIXOM, MI 48393                                 2870    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAWRENCE ROLL UP DOORS, INC - BALDWIN PA
4525 LITTLEJOHN ST
BALDWIN PARK, CA 91706-2239                     868     10/5/2013    Exide Technologies, LLC             $2,071.45                                                                                       $2,071.45
LAWRENCE VOLPERT
9540 PARK LANE
DES PLAINES, IL 60016                           603      9/5/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
LAWRENCE, BILLY
3426 WAX MYRTLE CIR
ZELLWOOD, FL 32798-9708                         2095    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LAWRENCE, DONALD R
PO BOX 174
ORELAND, PA 19075                               2670    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAWSON PRODUCTS INC
8770 BRYN MAWR AVE
CREDIT ADMINISTRATION
CHICAGO, IL 60631                               100     6/24/2013    Exide Technologies, LLC            $30,989.96                                                                                      $30,989.96
LAWSON PRODUCTS INC
8770 W BRYN MAWR
CHICAGO, IL 60631                               101     6/24/2013    Exide Technologies, LLC              $204.37                                                     $6,100.85                          $6,305.22
LAYTON, JAMES
3509 N STATE ROAD 39
FRANKFORT, IN 46041-7459                        1427    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LAZARO PEREZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                3448    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
LBUBS 2006-C1 NORCROSS OFFICES LP
C/O LNR PARTNERS
ATTN MARK MILLER
1601 WASHINGTON AVE STE 700
MIAMI BEACH, FL 33139                           2760    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
LEAH MITTELBERG IRREVOCABLE TRUST
C/O KENNETH MITTELBERG TTEE
903 GERRY AVE
LIDO BEACH, NY 11561-5216                       1982    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
LEATHERS, TERRY
735 N JACKSON AVE
BRADLEY, IL 60915-1461                          2676    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LEE, D
27228 BELLFOUNTAIN RD
MONROE, OR 97456-9766                           2303    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                         Amount                                                       Amount
LEE, HOWARD
628 SCRANTON POCONO HWY
COVINGTON TWP, PA 18444-7905                         1323    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LEE, JOSEPH
27228 BELLFOUNTAIN RD
MONROE, OR 97456-9766                                2302    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LEE, PEARL
464 OLD ENOCHS RD
FLORENCE, MS 39073-9167                              1538    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LEED ENVIRONMENTAL INC
2209 QUARRY DRIVE, SUITE C-35
READING, PA 19609                                    1001    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LEESBURG IRON & METAL-LEESBURG
229 DEPOT CT SE
LEESBURG, VA 20175-3017                              3003    11/6/2013    Exide Technologies, LLC              $659.88                                                                                         $659.88
LEGAL AID FOUNDATION OF LOS ANGELES
ATTN SILVIA ARGUETA
1102 CRENSHAW BLVD
LOS ANGELES, CA 90019                                2365    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
LEGGETTE BRASHEARS & GRAHAM
4 RESEARCH DR
SHELTON, CT 06484                                    200      7/6/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LEHIGH OUTFITTERS LLC
C/O LEHIGH SAFETY SHOES DBA LEHIGH OUTFITTERS
39 E CANAL ST
NELSONVILLE, OH 45764                                735     10/2/2013    Exide Technologies, LLC            $2,203.87                                                                                        $2,203.87
LEHTO, FREDERICK
4920 BELLMANN DR
WEST BEND, WI 53095-9243                             1348    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LEILANI PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3482    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
LEILANI PEREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3562    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LENOIR CITY UTILITY BOARD
200 DEPOT STREET, PO BOX 449
LENOIR CITY, TN 37771                                1244    10/12/2013   Exide Technologies, LLC            $1,093.20                                                                                        $1,093.20
LENOX INSTRUMENT COMPANY INC
265 ANDREWS RD
TREVOSE, PA 19053                                    557     8/26/2013    Exide Technologies, LLC            $3,728.17                                                                                        $3,728.17
LEONARD MANDUJANO
PO BOX 241
SOUTH GATE, CA 90280-0241                            2930    11/2/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
LEONARDO AVILA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3788    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
LEONEL YOQUE
1427 E 60TH ST
LOS ANGELES, CA 90001-1216                       2673    10/31/2013   Exide Technologies, LLC                                     $273.50      Unliquidated                                                 $273.50
LEONOR GARCIA
1170 SPENCE ST
LOS ANGELES, CA 90023-3046                       2017    10/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
LESHER LEASING INC - LEBANON
2700 CUMBERLAND STREET
LEBANON, PA 17042                                2237    10/29/2013   Exide Technologies, LLC             $1,478.33                                                        $0.00                           $1,478.33
LESLY FLOREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3590    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LETICIA DEL CARMEN
6015 1/2 WOODWARD AVE
MAYWOOD, CA 90270                                3633    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
LETICIA FARIAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3570    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LETICIA LINAN
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3737    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
LETTS, HARRY
923 US HIGHWAY 206
BORDENTOWN, NJ 08505-1528                        1816    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEVELLS, WILLIAM
PO BOX 381321
DUNCANVILLE, TX 75138-1321                       2594    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEWANDOWSKI JR, FRANK L
20700 NORTHOME ST
SOUTHFIELD, MI 48076-5258                        1800    10/24/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
LEWELLYN, STEPHEN K
122 W CAMERON ST
CULPEPER, VA 22701                               2839    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LEWELLYN, STEPHEN K
122 W CAMERON ST
CULPEPER, VA 22701                               2840    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                             Amount                                                        Amount
LEWIS ENVIRONMENTAL
C/O MCNEES WALLACE & NURICK LLC
ATTN CLAYTON W DAVIDSON
100 PINE ST, PO BOX 1166
HARRISBURG, PA 17108-1166                                689     9/23/2013    Exide Technologies, LLC             $58,939.96                                                                                     $58,939.96
LEWIS, BETTIE
452 WHITE RD
FLORENCE, MS 39073-8388                                  1695    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEWIS, CECIL
210 FOSTER RD
FLORENCE, MS 39073-9014                                  2440    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEWIS, JOHNETTA
198 SPRING HILL DR
FLORENCE, MS 39073-8697                                  1692    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LEWIS, JUDI
554 WHITE RD
FLORENCE, MS 39073-9571                                  2892    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
LEWIS, MELINDA
529 WHITE RD
FLORENCE, MS 39073-9627                                  2974    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
LIBERTY UTILITIES
C/O WERB & SULLIVAN
ATTN "J" JACKSON SHRUM
300 DELAWARE AVE STE 1300
WILMINGTON, DE 19801                                     2764    10/31/2013   Exide Technologies, LLC              $7,584.08                                                       $0.00                          $7,584.08
LIFE INSURANCE COMPANY OF NORTH AMERICA
ATTN MARYLOU KILIAN RICE COMPLIANCE SPEC
900 COTTAGE GROVE RD B6LPA
HARTFORD, CT 06152                                       1661    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LIFECOM-SAFETY SERVICE & SUPPLY CO
5081 ARGOSY AVE
HUNTINGTON BEACH, CA 92649-1001                          807     10/4/2013    Exide Technologies, LLC              $1,005.27                                                                                      $1,005.27
LIFT TRUCK LEASE & SERVICE INC DBA A D LIFT TRUCK
ATTN S M GULP
5434 NATURAL BRIDGE AVE
ST LOUIS, MO 63120                                       700     9/27/2013    Exide Technologies, LLC                $68.89                                                       $44.26                            $113.15
LIFT, INC.
ATTN NANCY LEWIS, CREDIT MANAGER
3745 HEMPLAND RD
MOUNTVILLE, PA 17554                                     2344    10/29/2013   Exide Technologies, LLC             $43,070.10                                                                                     $43,070.10
LILIA CASTILLO
4922 1/2 E 60TH PL
MAYWOOD, CA 90270                                        3813    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00
LINDA E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                                       2413    10/30/2013   Exide Technologies, LLC            $150,000.00                                                                                    $150,000.00




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                                                                                                                 Amount                                                       Amount
LINDA L GONZALEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                         2578    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
LINDE LLC
ATTN GAIL GERSLEY, CREDIT - IE
575 MOUNTAIN AVE
MURRAY HILL, NJ 07974                                        361     7/15/2013    Exide Technologies, LLC            $14,574.25                                                                                     $14,574.25
LINDEMAN, DAWN
6420 AUMSVILLE HWY SE
SALEM, OR 97317-9115                                         1176    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LINDIE JOHNSON
PO BOX 873096
VANCOUVER, WA 98687-3096                                     3239    11/16/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LINDROSE, FLORENCE
6960 LAFAYETTE RD
MEDINA, OH 44256-8580                                        3314    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LINDSAY MACHINE WORKS INC
ATTN SUSANNA LINDSAY
PO BOX 488
LIBERTY, MO 64069                                            189      7/6/2013    Exide Technologies, LLC             $3,485.00                                                                                       $3,485.00
LINDSEY, MADELINE
873 HOLLY BUSH RD
BRANDON, MS 39047-8246                                       1492    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00

LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF EZRED COMPANY
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                         248     7/11/2013    Exide Technologies, LLC             $9,539.62                                                                                       $9,539.62
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF MEIER SALVAGE
INC.
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                         1467    10/18/2013   Exide Technologies, LLC             $1,061.48                 $0.00                                                                 $1,061.48
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF NATIONAL
RUBBER TECHNOLOGIES
ONE UNIVERSITY PLAZA
SUITE 312
HACKENSACK, NJ 07601                                         2371    10/30/2013   Exide Technologies, LLC            $45,326.49                                                                                     $45,326.49
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF POWER MOTION
SALES INC
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                         967     10/7/2013    Exide Technologies, LLC             $3,905.53                                                                                       $3,905.53
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF RADIO
WHOLESALE
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                         2092    10/28/2013   Exide Technologies, LLC             $7,417.74                                                                                       $7,417.74

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                                                                                                                  Amount                                                       Amount

LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF RESCO PRODUCTS
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                          539     8/24/2013    Exide Technologies, LLC            $30,755.32                                                                                     $30,755.32
LIQUIDITY SOLUTIONS, INC. AS TRANSFEREE OF TRADE CENTER
AUTO
ONE UNIVERSITY PLAZA
STE 312
HACKENSACK, NJ 07601                                          446      8/2/2013    Exide Technologies, LLC             $3,702.78                                                                                      $3,702.78
LIQUITECH INC
13520 W 107TH ST
LENEXA, KS 66215                                              122      7/1/2013    Exide Technologies, LLC            $11,670.27                                                   $4,218.86                         $15,889.13
LITTLER MENDELSON PC
650 CALIFORNIA ST 20TH FL
SAN FRANCISCO, CA 94108                                       530     8/20/2013    Exide Technologies, LLC             $5,279.00                                                                                      $5,279.00
LITTLETON, JOSEPH
1321 MEADOWS DR
LANCASTER, OH 43130-8280                                      756     10/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LKQ NORTH TEXAS #1702
904 I-45 SOUTH
HUTCHINS, TX 75141                                            1749    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
LKQ OF NEVADA #1725
IN C/O LKQ CORPORATION
655 GRASSMERE PARK DRIVE
NASHVILLE, TN 37211                                           1748    10/23/2013   Exide Technologies, LLC             $3,600.00                                                   $1,685.24                          $5,285.24
LKQ SELF SERVICE - RALEIGH
IN/CO LKQ CORP
655 GRASSMERE PARK DRIVE
NASHVILLE, TN 37211                                           1747    10/23/2013   Exide Technologies, LLC             $2,176.20                                                                                      $2,176.20
LLOYD JONES
7119 WAY CREST DR
DALLAS, TX 25232                                              2728    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LMC AUTOMOTIVE US INC
ATTN ANNE WELCH
4TH FL, CLARENDON HOUSE
52 CORNMARKET ST
OXFORD OX1 3HJ
UNITED KINGDOM                                                646     9/16/2013    Exide Technologies, LLC            $22,166.77                                                                                     $22,166.77
LOFQUIST, WILLIAM
2540 W CROWN KING DR
TUCSON, AZ 85741-2566                                         1207    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
LOFTON INDUSTRIAL SERVICES
9414 INTERLINE AVE
BATON ROUGE, LA 70809                                         336     7/20/2013    Exide Technologies, LLC            $57,449.79                 $0.00                                                               $57,449.79
LOFTON SECURITY SERVICE
9414 INTERLINE AVE
BATON ROUGE, LA 70809                                         626     9/12/2013    Exide Technologies, LLC            $31,571.40                 $0.00                                                               $31,571.40




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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
LOGAN, CLEVELAND
4046 ELLISTON RD
MEMPHIS, TN 38111-7102                                 2723    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LONE STAR INDUSTRIES INC DBA BUZZI UNICEM USA
ATTN DAVID F HOWELL
10401 N MERIDIAN ST STE 400
INDIANAPOLIS, IN 46290                                 2062    10/28/2013   Exide Technologies, LLC            $12,385.90                                                    $6,190.50                         $18,576.40
LONG ISLAND LIGHTING COMPANY DBA LIPA
C/O SUZANNE BRIENZA, ESQ
15 PARK DR
MELVILLE, NY 11747                                     462      8/1/2013    Exide Technologies, LLC             $1,440.73                                                                                        $1,440.73
LONNIE RUSSELL
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                              1911    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
LOPCHINSKY, RICHARD A
302 E ROVEY AVE
PHOENIX, AZ 85012                                      1201    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LOPEZ, JUAN
5061 AMHURST LN
THE COLONY, TX 75056-2522                              825     10/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
LORENZA CARMEN RUIZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                   4048     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LORENZA RIVERA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3595    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LORETT OIL CO
1311 BEVERLY DR
SALINA, KS 67401-4320                                  1133    10/10/2013   Exide Technologies, LLC             $3,567.33                                                    $4,204.86                           $7,772.19
LORI KIRBY
SCOTT FRUGE, MICHAEL C. PALMINTIER,
C/O DEGRAVELLES PALMINTIER HOLTHAUS & FRUGE LLP
618 MAIN STREET
BATON ROUGE, LA 70801                                  2687    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LOS ANGELES CENTER FOR LAW AND JUSTICE
ATTN HELLEN HONG, ESQ
1241 S SOTO ST STE 102
LOS ANGELES, CA 90023                                  2252    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
LOS ANGELES COUNTY TREASURER & TAX COLLECTOR
PO BOX 54110
LOS ANGELES, CA 90054-0110                             389     7/26/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
PO BOX 54110
LOS ANGELES, CA 90054-0110                             249     7/11/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00


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                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
PO BOX 54110
LOS ANGELES, CA 90054-0110                            4181    7/19/2018    Exide Technologies, LLC                                                    $179,381.06                                            $179,381.06
LOU MARTINEZ
12035 N HICKORY TRACE
ALPHARETTA, GA 30004                                  2515    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LOUIS A & RUTH L TRIMARCO JT WROS
10161 TURNBERRY PL
OAKTON, VA 22124                                      1826    10/24/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY
C/O ELLIOTT B VEGA
PO BOX 4302
BATON ROUGE, LA 70821-4302                            3339    12/9/2013    Exide Technologies, LLC         Unliquidated          Unliquidated       Unliquidated                                                   $0.00
LOURDES GARIBAY
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3933    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LOWERY, EDWARD
2905 HOMESTEAD RD
SUMTER, SC 29153-7632                                 2055    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
LP PALLET
1455 E 3RD ST
POMONA, CA 91766-2202                                 1787    10/24/2013   Exide Technologies, LLC            $4,844.75                                                       $787.50                           $5,632.25
LUBBOCK CENTRAL APPRAISAL DISTRICT
C/O PERDUE BRANDON FIELDER COLLINS & MOTT LLP
ATTN LAURA J MONROE
PO BOX 817
LUBBOCK, TX 79408                                      19     6/17/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
LUBBOCK CENTRAL APPRAISAL DISTRICT
C/O PERDUE BRANDON FIELDER COLLINS & MOTT LLP
ATTN LAURA J MONROE
PO BOX 817
LUBBOCK, TX 79408                                     962     10/7/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
LUCIA V ROMO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3180    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
LUCILLE FARFAN RAMOS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3558    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
LUCY CURIEL CESENA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3504    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00


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               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
LUIGI H AGUILAR
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3660    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
LUIS ENRIQUE MENDOZA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3706    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
LUIS GALAZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                     3449    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                    $1,000,000.00
LUIS H LARA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                                 4077    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
LUIS J HERNANDEZ
3157 GRAND AVE
HUNTINGTON PARK, CA 90255-6230                       1898    10/25/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
LUIS LARA JR
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                                 4078    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
LUISA MARIA CARRANZA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                 3412     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
LUMPKIN, HOWARD
5520 HUNTER JACK CV
ARLINGTON, TN 38002-4582                             875     10/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LUNDQUIST, JOHN W
4224 QUEEN AVE S
MINNEAPOLIS, MN 55410                                2913    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LUNNING, GAYLE
324 SE BINGHAM DR
LEES SUMMIT, MO 64063-3405                           1033    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
LURDES VILLEGAS OBO DECEDENT CLAUDIA MARTINEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3655    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                   Amount                                                    Amount
LURDES VILLEGAS, GUARDIAN OF MINOR
CLAUDIA MARTINEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                             3146    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
LUTZ SALES COMPANY INC
20 N MARTINGALE RD STE 210
SCHAUMBURG, IL 60173-2058                      406     7/29/2013    Exide Technologies, LLC             $1,944.50                                                                                    $1,944.50
LUZ MARIA ROMAN
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                             3663    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
LUZ MARIA ROMAN GUARDIAN OF MINOR
ISRAEL LORENZO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                             3520    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
LUZ MARIA ROMAN GUARDIAN OF MINOR
PEDRO LUIS LORENZO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                             3546    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
LUZ MENDOZA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                           3383     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
LVP 11301 INDUSTRIPLEX LLC
C/O RONALD GELLERT
1201 N. ORANGE STREET, SUITE 300
WILMINGTON, DE 19801                           4160    11/4/2015    Exide Technologies, LLC             $1,000.00                                                                                    $1,000.00
LYANNA MARTIN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                           2590    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
LYNDEN TRANSPORT
C/O LYNDEN INC
18000 INTERNATIONAL BLVD
STE 800
SEATTLE, WA 98188                              417     7/31/2013    Exide Technologies, LLC            $59,024.53                                                                                  $59,024.53
M CURIEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3866    1/31/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00

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                                                                                                                       Current Priority   Current Secured                         Current Admin     Total Current
              Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                        Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                   Amount                                                        Amount
M D F INDUSTRIES INC
1012 N MARYMOUNT ROAD
PO BOX 2302
SALINA, KS 67401                               1837    10/24/2013   Exide Technologies, LLC             $62,425.00                                                                                      $62,425.00
M J REIDER ASSOCIATES INC
ATTN BARBARA COYLE
107 ANGELICA ST
READING, PA 19611                              602      9/5/2013    Exide Technologies, LLC             $13,516.00                                                                                      $13,516.00
M P RESSNER
2013 PRESCOTT PL
RALEIGH, NC 27615-5555                         4115    5/29/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
M3 RESOURCES USA LLC
4908 CAHABA RIVER RD STE 100
VESTAVIA, AL 35243-3278                        1394    10/15/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
MAC ENGINEERING & EQUIPMENT COMPANY INC
2775 MEADOWBROOK RD
BENTON HARBOR, MI 49022                        908     10/7/2013    Exide Technologies, LLC             $18,614.62                                                                                      $18,614.62
MAC PROCESS LLC
ATTN RICHARD SMITH
7901 NW 107TH TERR
KANSAS CITY, MO 64153                          589      9/3/2013    Exide Technologies, LLC               $190.86                                                                                          $190.86
MACALLISTER MACHINERY CO INC
PO BOX 660200
INDIANAPOLIS, IN 46266                          58     6/17/2013    Exide Technologies, LLC            $138,938.26                                                                                     $138,938.26
MACK, ALBERT
731 N HOBBIE AVE
KANKAKEE, IL 60901-2614                        2671    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
MACK, HENRIETTA
2300 FOREST GLEN DR
JACKSON, MS 39213-3902                         1630    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MACKLIN, HATTIE
1721 BROOKHOLLOW CIR
JACKSON, MS 39212-2008                         1648    10/21/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
MADELINE GUERARA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                         3774    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
MADEWELL & MADEWELL
PO BOX 386
JONES, OK 73049                                2868    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MADEWELL & MADEWELL INC
PO BOX 386
JONES, OK 73049-0386                           2869    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MADEWELL & MADEWELL INC.
9400 N CHOCTAW RD
JONES, OK 73049-7807                           2865    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MADEWELL & MADEWELL, INC.
PO BOX 386
JONES, OK 73049                                2864    10/31/2013   Exide Technologies, LLC            $186,220.79                                                                                     $186,220.79

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
MADEWELL AND MADEWELL
P.O. BOX 386
JONES, OK 73049                                  2866    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MADEWELL METALS
P.O. BOX 386
JONES, OK 73049                                  2867    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MAGDA GALAZ
7827 BIRCHCREST RD
DOWNEY, CA 90240                                 3451    1/24/2014    Exide Technologies, LLC        $1,000,000.00                                                                                    $1,000,000.00
MAGELLAN DIAGNOSTICS INC
101 BILLERICA AVE BLDG 4
BILLERICA, MA 01862                              147      7/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MAGZA PAZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3725    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MAINTENANCE 51 - ARNPRIOR
35 MAPLE DRIVE
ARNPRIOR ON K7S 3R8

CANADA                                           2257    10/29/2013   Exide Technologies, LLC             $4,988.53                                                     $176.88                          $5,165.41
MAJOR, PAULINE
112 GREENVIEW DR
VICKSBURG, MS 39183-9003                         2887    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
MALISSA STRONG
400 S ST LOUIS ST
LOS ANGELES, CA 90033                            2432    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MALOUFF SALVAGE
PO BOX 42
KIRTLAND, NM 87417-0042                          1809    10/24/2013   Exide Technologies, LLC            $17,738.70                                                                                     $17,738.70
MANAGEMENT STRATEGIES GROUP
PO BOX 9518
RAYTOWN, MO 64133                                2600    10/31/2013   Exide Technologies, LLC             $5,706.73                                                                                      $5,706.73
MANFRED STAEBLER
127 TRENT SHORES DR.
NEW BERN, NC 28562                               915     10/7/2013    Exide Technologies, LLC              $497.18                                                                                         $497.18
MANLEY'S RECYCLING INC
503 MILL ST
MIDDLEPORT, OH 45760                              1      6/12/2013    Exide Technologies, LLC             $6,886.80                 $0.00                                                                $6,886.80
MANUAL AVILA SR & REBECCA AVILA
6608 PASSAIC ST
HUNTINGTON PARK, CA 90255-5128                   2788    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MANUEL AVILA SR
6608 PASSAIC ST
HUNTINGTON PARK, CA 90255                        2786    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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                                                                                                      Current General                                              Current 503(b)(9)
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                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                       Amount
MANUEL HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3063    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MANUEL MORFIN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3464    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00

MANUELA MEDINA GUARDIAN OF MINOR ALEJANDRO MEDINA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3009    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MAR-BAL INC
10095 QUEENS WAY
CHAGRIN FALLS, OH 44023                               537     8/23/2013    Exide Technologies, LLC             $2,970.00                                                                                       $2,970.00
MARBEL FERNANDEZ
5309 LOMA VISTA AVE #A
MAYWOOD, CA 90270                                     3642    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
MARCELA SOSA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  4061     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARCELO HERNANDEZ RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3460    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARCELO HERNANDEZ RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3561    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARCHWINSKI, LAURA
254 BELLEVUE AVE
DEPEW, NY 14043-3102                                  953     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
MARCO ANTONIO MARTIN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  2561    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARCO PEREZ
C/O LAW OFFICES OF DENNIS R FUSI
4909 LAKEWOOD BLVD 6TH FL
LAKEWOOD, CA 90712                                    3297    12/2/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
MARCOS IBARRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3059    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARCOS SUENTES (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3723    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARGARET LUCKENBILL
727 FRANKLIN ST
HAMBURG, PA 19526                                674     9/21/2013    Exide Technologies, LLC              $388.50                                                                                         $388.50
MARGARITA ACEVEDO QUINTANA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3944    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARGARITA GREENE
3538 ELSINORE PL
SAN DIEGO, CA 92117                              2698    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARIA VELEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3519    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARIA A MACIEL
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3931    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARIA ACENEDO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3417     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARIA AGUILA
941 S BERNAL AVE
LOS ANGELES, CA 90023-2228                       2634    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARIA ANGELINA RAMIREZ GUTIERRAZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3738    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARIA AVILA
6608 PASSAIC ST
HUNTINGTON PARK, CA 90255                        2761    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                   Amount
MARIA CASTILLO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3056    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO OBO DECEDENT BRANDON RIOS
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3656    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR
PRINCESS SERINA L ROSS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3143    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR AUDRINA S RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3136    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR BRANDY RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3125    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR ELIJAH RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3037    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00

MARIA CASTILLO, GUARDIAN OF MINOR MATTHEW A RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3101    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CASTILLO, GUARDIAN OF MINOR NATALIA S RIOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3138    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CERVANTES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                  3791    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00




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                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                       Amount                                                   Amount
MARIA CRUZ, GUARDIAN OF MINOR MARIBEL CRUZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                 3005    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA CRUZ, GUARDIAN OF MINOR MARISELA CRUZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3163    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA DE LOS ANGELES VELEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3469    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA DEL CARMEN RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3493    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                               $10,000,000.00
MARIA DEL CARMEN VASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3106    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA DEL CARMEN VASQUEZ, GUARDIAN OF MINOR
ANTONIO VASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3051    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA DEL CARMEN VASQUEZ, GUARDIAN OF MINOR
CARLOS VASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3052    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA DEL CARMEN VASQUEZ, GUARDIAN OF MINOR
LEONNIDES J BARASA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3102    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                $5,000,000.00
MARIA DEL ROSARIO ALCANTAR
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3780    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                       $0.00




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                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                    Amount
MARIA DEUSTUA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3130    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIA E BARRON
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3475    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIA E CASTILLO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4066    4/15/2015    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIA E SANCHEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3923    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIA ELENA DUPONE
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3793    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
MARIA ELENA ESPINOSA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4037     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIA ELENA RIVERA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3591    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIA FERNANDA SANTOS P
4905 60TH PL APT C
MAYWOOD, CA 90270                                3816    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
MARIA G LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3593    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIA GUERARA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3736    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00




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                Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                            Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                    Amount
MARIA L ORRANTIA MARTIN GARCIA & JOSE LIRA (SON)
740 1/2 ORME AVE
LOS ANGELES, CA 90023-1454                              3445    1/21/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
MARIA LETICIA SANCHEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                     3924    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIA LUISA GONSALEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3097    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIA MEDINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CTR DR STE 102
NORTHRIDGE, CA 91324                                    4079    4/27/2015    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIA NAVARRO
14121 SHOEMAKER AVE APT 4
NORWALK, CA 90650-4539                                  3827    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
MARIA OCHOA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3550    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIA P CARRILLO
913 N EASTMAN AVE
LOS ANGELES, CA 90063-2111                              2990    11/5/2013    Exide Technologies, LLC             $4,750.00                                                                                    $4,750.00
MARIA PEREZ
3528 PERCY ST
LOS ANGELES, CA 90023-1718                              3290    12/3/2013    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
MARIA RAMOS
735 S FORD BLVD APT 12
LOS ANGELES, CA 90022-2448                              2672    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                        $0.00
MARIA ROBLES
1319 E 78TH ST
LOS ANGELES, CA 90001-3015                              2310    10/29/2013   Exide Technologies, LLC         Unliquidated                                                                                        $0.00
MARIA TRINIDAD JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                  3689    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
MARIA VELEZ GUARDIAN OF MINOR LESZLY GOMEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3529    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                        Amount                                                    Amount
MARIA VELEZ GUARDIAN OF MINOR VALARIE VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3652    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIA ZEPEDA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3538    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIANA GUTIERREZ
5307 LOMA VISTA AVE
MAYWOOD, CA 90270                                   3647    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
MARICARMEN ZEPEDA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3526    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARICARMEN ZEPEDA GUARDIAN OF MINOR
ANGEL JIMENEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3525    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARICARMEN ZEPEDA GUARDIAN OF MINOR
KARLA JIMENEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3540    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARICARMEN ZEPEDA GUARDIAN OF MINOR
MICHELLE VASQUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3545    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
MARIE LANDEROS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                3393     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
MARIE'S LOCK & SAFE, INC.
9608 ROGERS AVE
FORT SMITH, AR 72903-5769                           1601    10/19/2013   Exide Technologies, LLC              $157.87                                                                                      $157.87
MARILU CASTANON
146 N ROWAN AVE
LOS ANGELES, CA 90063                               3853    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
MARINA MORFIN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3466    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARIO LEON REYES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4046     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARIO MORALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3467    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARION COUNTY TREASURER
ATTN B DARLAND
200 E WASHINGTON ST STE 1041
INDIANAPOLIS, IN 46204                           964     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
MARISA GUADALUPE GALLARDO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4039     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARISELA SOTO
6022 FISHBURN AVE
HUNTINGTON PARK, CA 90255                        3420     1/7/2014    Exide Technologies, LLC         Unliquidated                                                                   Unliquidated            $0.00
MARISOL JUAREZ DELEON
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3707    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARISOL MENDOZA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3592    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARK GRAY ENTERPRISES DBA J-TOPYS
464 NORTH HIGHLAND AVE
COLUMBUS, OH 43204                               2644    10/31/2013   Exide Technologies, LLC            $1,514.00                                                                                        $1,514.00
MARK PEREZ
1167 MIRASOL ST
LOS ANGELES, CA 90023                            3434    1/13/2014    Exide Technologies, LLC                                                  Unliquidated                                                  $0.00
MARK S WEISSMAN
17316 CHENANGO LN
TAMPA, FL 33647                                  4134     6/4/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARLENE A ALEMAN-ZUNIGA
286 MARGARET AVE
LOS ANGELES, CA 90022-2225                       3557    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00


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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
MARSH USA INC
ATTN SEAN GRAY
1166 AVE OF THE AMERICAS 23RD FL
NEW YORK, NY 10036                                     2762    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MARSHALL POWER AUSTRALIA PTY LTD
C/O SANTIAGO & SANTIAGO LAW OFFICES
GROUND FLOOR ORTIGAS BLDG, ORTIGAS AVE
1605 PASIG CITY
METRO MANILA, PHILLIPINES

PHILIPPINES                                            2534    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MARSHALL POWER LIMITED
C/O SANTIAGO & SANTIAGO LAW OFFICES
GROUND FLOOR ORTIGAS BLDG, ORTIGAS AVE
1605 PASIG CITY
METRO MANILA, PHILLIPINES

PHILIPPINES                                            2533    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MARSHALL, INEZ
7204 CLASSIC CIR
SHREVEPORT, LA 71108-4712                              1883    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MARSHALL, MARJORIE
2830 WINEGARD DRIVE #79
BURLINGTON, IA 52601                                   1311    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MARSHALL, MARY
1079 HARDGE LANE
EDWARDS, MS 39066                                      2935    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MARTA GALLEGOS DUDOVITZ
724 S BONNIE BEACH PL
LOS ANGELES, CA 90023-1906                             2635    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00

MARTA SANCHEZ GUARDIAN OF MINOR CHRISTOPHER GARCIA
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3170    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
MARTHA RAMOS MARQUEZ
507 AMALIA AVE
LOS ANGELES, CA 90022                                  2152    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MARTHA AMBRIZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3522    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
MARTHA ESQUIVEL
5064 E 60TH PL
MAYWOOD, CA 90270                                      3637    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00
MARTHA FIERRO
7119 E GAGE AVE APT 6
COMMERCE, CA 90040-3842                                2416    10/30/2013   Exide Technologies, LLC            $300,000.00                                                                                    $300,000.00

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
MARTHA LAURA IBARRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3045    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARTHA OFELIA JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3755    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARTHA ROSALINA RAMIREZ
3365 BROADWAY
HUNTINGTON PARK, CA 90255-6441                   3512    1/28/2014    Exide Technologies, LLC            $100,000.00                                                                                   $100,000.00
MARTHA RUIZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3733    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARTIN AMEZCUA ZAMORA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3918    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARTIN MARIETTA MAGNESIA SPECIALTIES
BARB LABRIERE
8140 CORPORATE DR.
STE. 220
BALTIMORE, MD 21236                              987     10/7/2013    Exide Technologies, LLC              $7,173.70                                                                                      $7,173.70
MARTIN PRODUCT SALES LLC
ATTN CREDIT DEPARTMENT
4200 STONE RD
KILGORE, TX 75662                                575     8/29/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARTIN VALENSI VARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3122    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MARTIN, ALFRED
2947 LONGWOOD DR
JACKSON, MS 39212-2514                           2958    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARTIN, LUKE
5 BON AIRE TER
PITTSTON, PA 18640-3202                          2239    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARTINA GONZALEZ
3042 GUIRADO ST
LOS ANGELES, CA 90023                            3864    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MARTINELLI, LOUIS
208 CHURCH ST
DUNMORE, PA 18512-1910                           2659    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00


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                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                   Amount                                                       Amount
MARTINEZ, PETE
1722 MARIE LN
IRVING, TX 75060-6801                          2629    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MARVIN HARRIS JR./TREESAVER INC.
4591 SYCAMORE RD
COLDWATER, MS 38618-5525                       827     10/4/2013    Exide Technologies, LLC            $3,122.73                  $0.00                                                                 $3,122.73
MARVIN THACKER
C/O CRAY GODDARD MILLER & TAYLOR LLP
ATTN MITCHELL L TAYLOR
205 WASHINGTON STE 300
BURLINGTON, IA 52601                           1902    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARY ALDRIDGE
C/O MICHAEL HARRY ATTY
1405 W CENTER
GREENWOOD, AR 72936                            2745    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARY ALDRIDGE
C/O MICHAEL HARRY, ATTORNEY
1405 W CENTER
GREENWOOD, AR 72936                            2844    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARY CUMMINGS
PO BOX 2231
SUMTER, SC 29161-2231                          4024     3/2/2015    Exide Technologies, LLC                                  $18,427.97                                                               $18,427.97
MARY E O'GRADY
1336 HELEN DR
LOS ANGELES, CA 90063-3222                     2775    10/31/2013   Exide Technologies, LLC                                   $8,000.00                                                                 $8,000.00
MARY ELENA RODRIGUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3490    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARY JANE LEHMANN
5807 N 6TH ST
PHILADELPHIA, PA 19120-1302                    1701    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARY ROSE SAYLOR
C/O APPEL & YOST LLP
ATTN ERIK D SPURLIN
33 N DUKE ST
LANCASTER, PA 17602                            2403    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MARYJANE RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3491    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MARZOLINO, JAMES
1128 N LINDA VISTA ST
ORANGE, CA 92869-1315                          2093    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MASSACHUSETTS DEPARTMENT OF REVENUE
BANKRUPTCY UNIT
PO BOX 9564
BOSTON, MA 02114                               3903    6/12/2014    Exide Technologies, LLC                                       $0.00                                                                    $0.00

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                                                                                                    Amount                                                       Amount
MASSACHUSETTS DEPARTMENT OF REVENUE
LITIGATION BUREAU, BANKRUPTCY UNIT
PO BOX 9564
BOSTON, MA 02114-9564                           3315    12/9/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
MASTERWARE CORPORATION
ATTN DAVID DIPASQUALE
PO BOX 25834
SHAWNEE MISSION, KS 66225-5834                  180      7/5/2013    Exide Technologies, LLC              $1,300.00                                                                                     $1,300.00
MATA NEVARES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3128    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MATERIAL MOTION INC
C/O ISENBERG & HEWITT PC
ATTN RYAN L ISENBERG
7000 PEACHTREE DUNWOODY RD
BLDG 15 STE 100
ATLANTA, GA 30328                               307     7/16/2013    Exide Technologies, LLC             $13,497.54                                                                                    $13,497.54
MATHEW LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3761    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MATRIX CABLE SOLUTIONS
ATTN ANNETTE DESPRES
PO BOX 432
AMERY, WI 54001                                 310     7/16/2013    Exide Technologies, LLC              $5,194.48                                                  $3,742.20                          $8,936.68
MATTHEW E COOK
COOK LAW GROUP LLC
PO BOX 2415
GAINESVILLE, GA 30503-2415                      2722    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MATTHEW KLEIMAN, PC - CHICAGO
2506 N CLARK ST, STE 307
CHICAGO, IL 60614                               2519    10/30/2013   Exide Technologies, LLC            $152,630.55                                                                                   $152,630.55
MATTHEW ORTIZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3731    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MAX ENVIRONMENTAL TECHNOLOGIES
ELLEN YOCHUS
1815 WASHINGTON ROAD
PITTSBURGH, PA 15241                            999     10/7/2013    Exide Technologies, LLC             $36,947.46                                                      $0.00                         $36,947.46
MAXIMA VICTORIANO
4913 E 60TH PL
MAYWOOD, CA 90270                               3843    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00




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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                           Amount                                                        Amount

MAYA ELY RAMIREZ
A MINOR BY & THROUGH HER PARENT ELIZABETH ALAMILLO
8933 TOPE AVE
SOUTH GATE, CA 90280-2644                              3515    1/28/2014    Exide Technologies, LLC            $100,000.00                                                                                     $100,000.00
MAYBERRY, FRAZE
213 TRAYLOR RD
FLORENCE, MS 39073-8455                                2166    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
MAYBURY MATERIAL /EAST LONGMEADOW
90 DENSLOW ROAD
EAST LONGMEADOW, MA 01028                              813     10/4/2013    Exide Technologies, LLC                $95.72                                                                                           $95.72
MAYES, IRMA
163 SPRING HILL DR
FLORENCE, MS 39073-8698                                2342    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MAYEWSKI, BRUNO
8 OHARA DR
PLANTATION LANDINGS
HAINES CITY, FL 33844-9278                             1058    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
MAYS, PATRICIA
227 E EGAN ST
SHREVEPORT, LA 71101-5106                              1848    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
MAYS, WILLIE
8802 NW CACHE RD APT 810
LAWTON, OK 73505-9657                                  1582    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MAYSTEEL LLC
C/O EVERETT SMITH GROUP LTD
ATTN KATHERINE M BEHM, ESQ
330 E KILBOURN AVE STE 1400
MILWAUKEE, WI 53202-3145                               1455    10/17/2013   Exide Technologies, LLC             $69,327.91                                                                                      $69,327.91
MCBEE, WILLIE
304 WEST RD
TRAVELERS REST, SC 29690-1729                          2471    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
MCCABE III, JOSEPH M
C/O OREDIA W WESTBURY, POA
103 PECAN GROVE LN
FT MOTTE, SC 29135-8871                                2212    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
MCCLUNG, JOHN
683 ARCADIA DR
SAINT PAUL, MN 55118-1801                              1145    10/10/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
MCCORMICK, HENRY THOMAS
621 VALLEY GREEN TRACE
MARIETTA, GA 30068-2567                                1568    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MCCORMICK, JACKIE B
621 VALLEY GREEN TRACE
MARIETTA, GA 30068-2567                                1567    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MCCREADIE, BEN
5367 NEWCOMB ROAD
HUNTINGTON, WV 25704                                   1195    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00




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                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                        Amount
MCDOWELL FARM IMPLEMENT CO
1433 SANDY LAKE RD
GROVE CITY, PA 16127                           2469    10/30/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
MCFARLAND, MAE
674 SPRINGWATER RANCH RD
BRANDON, MS 39042-8324                         1339    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MCGAUGHEY, S
8502 REBECCA SCOTT WAY
LOUISVILLE, KY 40228-3300                      1959    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MCGUIRE, DENIS
C/O SCOTIAMCLEOD
650 W GEORGIA ST STE 1100
VANCOUVER, BC V6B 4N9
CANADA                                         2140    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MCINTIRE BUILDING CENTER
108 W 7TH ST
MOUND CITY, MO 64470                           2654    10/31/2013   Exide Technologies, LLC             $11,647.27                                                   $1,913.02                         $13,560.29
MCLEARY, THOMAS
1808 OSBORNE STREET
HUMBOLDT, TN 38343                             2336    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MCLENDON, CLARA
210 KITETOWN RD
SEALE, AL 36875-5719                           2304    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MCMAHON SALVAGE LLC
16211 175TH ST
MAQUOKETA, IA 52060-9086                       291     7/15/2013    Exide Technologies, LLC               $843.60                                                        $0.00                            $843.60
MCMASTER-CARR SUPPLY COMPANY
PO BOX 4355
CHICAGO, IL 60680                               49     6/21/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
MCMASTER-CARR SUPPLY COMPANY
PO BOX 4355
CHICAGO, IL 60680                              256     6/25/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
MCMASTER-CARR SUPPLY COMPANY
PO BOX 4355
CHICAGO, IL 60680                              400     7/29/2013    Exide Technologies, LLC            $188,067.27                                                  $22,016.74                        $210,084.01
MCMILLIAN, FRED
4811 DUNCANVILLE RD APT 101
DALLAS, TX 75236-1864                          1100    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MCNEES WALLACE & NURICK
PO BOX 1166
HARRISBURG, PA 17108-1166                      1031    10/8/2013    Exide Technologies, LLC              $2,161.21                                                                                      $2,161.21
MCTEL CO INC
11841 SW KERNS RD
STEWARTSVILLE, MO 64490                         43     6/21/2013    Exide Technologies, LLC               $684.60                                                      $275.00                            $959.60
MCTEL CO INC
11841 SW KERNS RD
STEWARTSVILLE, MO 64490-6193                   1942    10/25/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
MCTELCO
VICKIE MCGREGOR
11841 SOUTHWEST KERNS ROAD
STEWARTSVILLE, MO 64490                                1941    10/25/2013   Exide Technologies, LLC                                                                            $22.20                             $22.20
M-D METALS SCRAP & SALVAGE
8179 DECATUR CONEHATTA RD
DECATUR, MS 39327                                      471     8/10/2013    Exide Technologies, LLC            $8,608.60                                                        $0.00                           $8,608.60
MDC RIDER TRAIL LLC
C/O SIMERI LAW LLC
ATTN JAMES J SIMERI
222 S CENTRAL AVE STE 110
CLAYTON, MO 63105                                      2616    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MEADWESTVACO CORP.
ATTN RICK CAPUTO
501 SOUTH 5TH ST
RICHMOND, VA 23219                                     1418    10/16/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00

MECKLENBURG COUNTY TAX COLLECTOR
OFFICE OF THE TAX COLLECTOR/TAX BANKRUPTCY SECTION
PO BOX 31637
CHARLOTTE, NC 28231-1637                               3341    12/9/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
MEDICAL ASSOCIATES CLINIC - DUBUQUE
1500 ASSOCIATES DR
DUBUQUE, IA 52002-2260                                 1193    10/11/2013   Exide Technologies, LLC              $477.00                                                                                         $477.00
MEIER, RANDY
949 S SANTA FE AVE
SALINA, KS 67401-5041                                  2108    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MELANIA MORA RODRIGUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3486    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MELVIN LAUER
1800 E CLINTON ST
FRANKFORT, IN 46041-2709                               2486    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MEMA FINANCIAL SERVICES GROUP INC
ACCOUNTING DEPARTMENT
10 LABORATORY DR
RESEARCH TRIANGLE PARK, NC 27709-0161                  769     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MEMPHIS LIGHT GAS & WATER DIVISION
ATTN CREDIT OPERATIONS
PO BOX 430
MEMPHIS, TN 38101-0430                                 481      8/9/2013    Exide Technologies, LLC            $1,492.11                                                                                        $1,492.11
MENOR DE EDAD
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3715    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00



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               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
MERCEDEZ ROSALES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3683    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MERCHANT & GOULD PC
C/O LINDQUIST & VENNUM LLP
ATTN GEORGE H SINGER
80 S 8TH ST STE 4200
MINNEAPOLIS, MN 55402                           4155    10/8/2015    Exide Technologies, LLC            $14,000.00                                                                                      $14,000.00
MEREDITH USED CAR SALES & RECYCLING LLC
PO BOX 116
207 E 2ND ST
MONTROSE, MO 64770                              628     9/13/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MEREDITH USED CAR SALES RECY. -MONTROSE
207 E SECOND / PO BOX 116
MONTROSE, MO 64770                              1420    10/16/2013   Exide Technologies, LLC            $16,009.00                                                                                      $16,009.00
MEREDITH, BENNY
8 CAVENDISH CIR
TAYLORS, SC 29687-3117                          3232    11/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MERITEX PROPERTIES LLC
ATTN SANDY TOBIAS
24 UNIVERSITY AVE NE
SUITE 200
MINNEAPOLIS, MN 55413                           1839    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MERRILL, LINDA
4221 FAIRVIEW ROAD
ELLENSBURG, WA 98926                            2224    10/28/2013   Exide Technologies, LLC              $497.18                                                                                          $497.18
MESSER, BRENDA M
WALTER WENDT TR FBO HI JOLLY GIFT SHOP
PENSION PLAN PSP FBO BRENDA M MESSER
856 N BARKLEY
MESA, AZ 85203-5717                             1634    10/21/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
META4 USA INC
PO BOX 1031
ELLIJAY, GA 30540                               301     7/15/2013    Exide Technologies, LLC             $7,581.37                                                        $0.00                          $7,581.37
METAL CONVERSION TECHNOLOGIES LLC
PO BOX 1026
CARTERSVILLE, GA 30120                          584     8/30/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
METAL CONVERSION TECHNOLOGIES, LLC
PO BOX 1026
CARTERSVILLE, GA 30120-1026                     738     10/2/2013    Exide Technologies, LLC                                                                         $16,510.26                         $16,510.26
METAL MASTERS, INC.-J COFFEY METAL MASTE
PO BOX 33001
INDIANAPOLIS, IN 46203-0001                     884     10/5/2013    Exide Technologies, LLC             $4,700.00                                                        $0.00                          $4,700.00
METRO METALS CORPORATION
2576 DOSWELL AVE
ST PAUL, MN 55108                               599      9/4/2013    Exide Technologies, LLC            $28,003.05                                                   $24,150.27                         $52,153.32




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                                                                                                          Amount                                                       Amount

METROPOLITAN EDISON COMPANY A FIRSTENERGY COMPANY
101 CRAWFORDS CORNER RD
HOLMDEL, NJ 07733-1900                                102     6/20/2013    Exide Technologies, LLC            $11,555.93                                                                                     $11,555.93
METROPOLITAN ST LOUIS SEWER DISTRICT
2350 MARKET ST
ST LOUIS, MO 63103-2555                               1091    9/30/2013    Exide Technologies, LLC                                                       $365.84                                                $365.84
METROPOLITAN UTILITIES DISTRICT
1723 HARNEY ST
OMAHA, NE 68102-1960                                  327     7/19/2013    Exide Technologies, LLC              $283.88                                                                                         $283.88
MEYER LABORATORY, INC.
ATTN TERROY OLES
2401 W. JEFFERSON ST
BLUE SPRINGS, MO 64015                                765     10/3/2013    Exide Technologies, LLC             $4,940.00                 $0.00                             $2,450.00                           $7,390.00
MEYER, LYLE
3172 N 1100W RD
BONFIELD, IL 60913                                    1782    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MEYER, LYNN C
15 OHIO ST
LAKE HOPATCONG, NJ 07849                              2748    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MEYERS TRACTOR SALVAGE LLC
39012 128TH ST
ABERDEEN, SD 57401-8110                               1089    10/9/2013    Exide Technologies, LLC                                                                         $7,016.00                           $7,016.00
MEYRA ESPINOSA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  4038     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MFA OIL COMPANY
C/O NEWMAN COMLEY & RUTH PC
ATTN ALICIA EMBLEY TURNER
PO BOX 537
JEFFERSON CITY, MO 65102-0537                         2428    10/30/2013   Exide Technologies, LLC            $10,607.25                                                  $10,640.77                         $21,248.02
MH EQUIPMENT CO
PO BOX 50
MOSSVILLE, IL 61552                                   104     6/28/2013    Exide Technologies, LLC             $5,304.37                                                                                       $5,304.37
MICHAEL ACEVES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3069    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MICHAEL BROTHERS
PO BOX 157
BETHEL PARK, PA 15102                                 347     7/22/2013    Exide Technologies, LLC             $2,971.60                                                                                       $2,971.60
MICHAEL GEORGE
C/O COOK LAW GROUP LLC
PO BOX 2415
GAINESVILLE, GA 30503-2415                            2720    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
MICHAEL J N ARELLANO
1170 SPENCE ST
LOS ANGELES, CA 90023                           2531    10/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MICHAEL L WOLLOVER
1 HILLCREST AVE APT 309
MORRISVILLE, PA 19067                           2288    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MICHAEL OSTERMANN
13000 DEERFIELD PARKWAY, BLDG. 200
MILTON, GA 30004                                2513    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MICHAEL P RESSNER
2013 PRESCOTT PL
RALEIGH, NC 27615-5555                          4114    5/29/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MICHAEL P RESSNER
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                1625    10/21/2013   Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00
MICHAEL R DAPPOLONIA
2100 RIVOLI CT
NAPLES, FL 34105                                4101    5/22/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MICHAEL R D'APPOLONIA
C/O AKIN GUMP STRAUSS HAUER & FELD LLP
ATTN SARAH LINK SCHULTZ
1700 PACIFIC AVE STE 4100
DALLAS, TX 75201                                1707    10/22/2013   Exide Technologies, LLC             $11,000.00                                                                                     $11,000.00
MICHAEL R FORD DBA DOLPHIN TACKLE CO
883 S ROSE PL
ANAHEIM, CA 92805                               2462    10/30/2013   Exide Technologies, LLC              $9,627.75                                                                                       $9,627.75
MICHAEL ZERMENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3943    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
MICHAELS, DAVID & LYNN
ATTN DAVID MICHAELS
22 GREENWAY TERR N
MAHOPAC, NY 10541-1230                          1973    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
MICHELE BAUTISTA
735 S FORD BLVD APT 12
LOS ANGELES, CA 90022-2448                      2684    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
MICHELLE D GUTIERREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            3402     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
MICHELLE HWYNN
1535 N HERBERT AVE
LOS ANGELES, CA 90063-1936                      3454    1/27/2014    Exide Technologies, LLC            $200,000.00                                                                                    $200,000.00




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                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
MICHELLE L FLORES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                      3006    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MICHELLE LUNA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                  3695    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MICHELLE VERA, GUARDIAN OF MINOR ANDY ARIZAGA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3100    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MICHELLE VERA, GUARDIAN OF MINOR JOHNNY G VERA
C/O BROWN RUDNICK LLP
ATT WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3147    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MICHELLE VERA, GUARDIAN OF MINOR NATHALIE I VERA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3155    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
MID KANSAS COOPERATIVE ASSOCIATION
BRENT HEIZELMAN
P.O BOX D
MOUNDRIDGE, KS 67107                                    2341    10/29/2013   Exide Technologies, LLC            $67,451.13                                                  $18,751.44                         $86,202.57
MID SOUTH CONTROL & SUPPLY
3803 POINTER TRL E
VAN BUREN, AR 72956-8843                                3359    12/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MIDAMERICAN ENERGY CO
PO BOX 4350 CREDIT
DAVENPORT, IA 52808                                     198      7/6/2013    Exide Technologies, LLC             $1,072.56                                                                                      $1,072.56
MID-STATE DOOR INC.
HEIDI EARL
602 CAMBRIDGE AVE
SYRACUSE, NY 13208                                      796     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MID-STATES SUPPLY COMPANY INC
ATTN KATRINA CROUCH
1716 GUINOTTE AVE
KANSAS CITY, MO 64120                                    72     6/24/2013    Exide Technologies, LLC             $2,143.10                                                   $2,318.92                          $4,462.02
MIDTOWN PLUMBING INC
ATTN LAURA L VERDI
8234 S GARFIELD AVE
BELL GARDENS, CA 90201                                  1327    10/15/2013   Exide Technologies, LLC            $16,053.60                                                      $71.45                         $16,125.05




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                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
MIDTRONICS INC
ATTN CHAD NORTON
7000 MONROE ST
WILLOWBROOK, IL 60521                           4072    4/23/2015    Exide Technologies, LLC                                                                             $0.00                              $0.00
MIDTRONICS INC
ATTN CHAD NORTON
7000 MONROE ST
WILLOWBROOK, IL 60521                           4081    4/29/2015    Exide Technologies, LLC                                                                             $0.00                              $0.00
MIDTRONICS, INC.
PRESIDENT
7000 MONROE STREET
WILLOWBROOK, IL 60521                           2150    10/28/2013   Exide Technologies, LLC            $134,144.75                                                 $30,605.69                        $164,750.44
MIDWESCO FILTER RESOURCES INC
PO BOX 480747
NILES, IL 60714-0747                            1087    10/9/2013    Exide Technologies, LLC              $9,417.87                                                                                     $9,417.87
MIDWEST CONSTRUCTION DBA TRILLIUM DRIVER
BARBARA COUNTRYMAN-SITAR
5555 GULL RD
SUITE 300
KALAMAZOO, MI 49048                             1292    10/15/2013   Exide Technologies, LLC              $2,847.93                                                                                     $2,847.93
MIDWEST SCRAP MANAGEMENT
PO BOX 787
STJOSEPH, MO 64502                              2647    10/31/2013   Exide Technologies, LLC            $245,046.15                                                                                   $245,046.15
MIDWEST SCRAP MANAGEMENT (BUR-131)
C/O BRUCE E STRAUSS
1044 MAIN ST 400 PECK'S PLAZA
KANSAS CITY, MO 64105                           275     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MIDWEST SINGLE SOURCE
PO BOX 49380
WICHITA, KS 67201-9380                          1371    10/15/2013   Exide Technologies, LLC                                                                           $528.29                            $528.29
MIELKE MOTOR COMPANY INC
3364 SUNSET BEACH LN
SUAMICO, WI 54173-8257                          1805    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MIGUEL A JUAREZ
4901 JILLSON ST APT C
COMMERCE, CA 90040-1158                         2444    10/30/2013   Exide Technologies, LLC              $2,350.00                                                                                     $2,350.00
MIGUEL ALFARO
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3783    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MIGUEL ANGEL ALFARO (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3785    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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                                                                                                                       Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                    Amount                                                      Amount
MIGUEL ANGEL CONTRERAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2548    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MIGUEL ANGEL CONTRERAS (SON)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2570    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MIGUEL ANGEL LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3566    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MIKE GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3599    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
MILDRED BLACK
114 FLEETWOOD DR
VICKSBURG, MS 39180                             2983    11/4/2013    Exide Technologies, LLC                                     $0.00                                                                      $0.00
MILE HIGH RIGGING INC
6400 E STAPLETON DR S UNIT C
DENVER, CO 80216                                488     8/14/2013    Exide Technologies, LLC             $18,676.60                                                 $4,488.40                          $23,165.00
MILES CHEMICAL COMPANY INC
12801 RANGOON ST
ARLETA, CA 91331                                3272    11/26/2013   Exide Technologies, LLC            $138,055.78                                                     $0.00                         $138,055.78
MILLENNIUM TECHNOLOGIES INC
ATTN HARRY WONDERS
5566 OLD WILLIAM PENN HWY
EXPORT, PA 15632                                490     8/15/2013    Exide Technologies, LLC             $12,997.82                                                                                    $12,997.82
MILLER, ANNETTE
9840 HIGHWAY 15 S
RIPLEY, MS 38663-2929                           1717    10/22/2013   Exide Technologies, LLC                                                        $0.00                                                   $0.00
MILLER, GIRARD C
1603 ARCH BAY DR
NEWPORT BEACH, CA 92660                         1613    10/21/2013   Exide Technologies, LLC                                                        $0.00                                                   $0.00
MILLER, HELEN
141 BARBARA AVE
PAHRUMP, NV 89060-1788                          1726    10/22/2013   Exide Technologies, LLC                                     $0.00                                                                      $0.00
MILLER, IDA
220 IRONWOOD DRIVE LOT #25
VICKSBURG, MS 39180                             2962    11/4/2013    Exide Technologies, LLC                                     $0.00              $0.00                                  $0.00            $0.00
MILLER, SHERRY
PO BOX 343
BIRCHWOOD, WI 54817-0343                        1245    10/12/2013   Exide Technologies, LLC                                     $0.00                                                     $0.00            $0.00




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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                           Amount                                                        Amount
MILLER, SIDNEY
2914 SUNNYBROOK ST
SHREVEPORT, LA 71108-3746                              2464    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                   $0.00
MILLS JR, JOSEPH L
3826 CHALLEDON RD
JARRETTSVILLE, MD 21084                                371     7/24/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
MILLS JR, JOSEPH L
3826 CHALLEDON RD
JARRETTSVILLE, MD 21084                                1655    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
MILPORT ENTERPRISES, INC
2829 S 5TH CT
MILWAUKEE, WI 53207-1458                               1395    10/15/2013   Exide Technologies, LLC              $177.00                                                                                           $177.00
MILTON H LARSEN REV LVG TR
C/O MILTON H LARSEN, TRUSTEE
1315 N WEST ST APT 13
WICHITA, KS 67203-1307                                 2131    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
MIMS, PIERCE
305 BAGGETT CIR
LAWRENCEVILLE, GA 30044-4233                           1253    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
MINE EQUIPMENT & DESIGN LLC
6295 DRY FORK RD
CLEVES, OH 45061                                        20     6/17/2013    Exide Technologies, LLC             $2,148.75                                                                                        $2,148.75
MINNER, THOMAS
3485 NEWPORT BAY DR
ALPHARETTA, GA 30005-7820                              1724    10/22/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00

MIREF FREMONT DISTRIBUTION CENTER LLC
C/O ALLEN MATKINS LECK GAMBLE MALLORY & NATSIS LLP
ATTN IVAN M GOLD
THREE EMBARCADERO CENTER 12TH FL
SAN FRANCISCO, CA 94111                                2596    10/31/2013   Exide Technologies, LLC                    $0.00                                                                        $0.00            $0.00
MISSISSIPPI DEPARTMENT OF REVENUE
ATTN BANKRUPTCY SECTION
PO BOX 22808
JACKSON, MS 39225-2808                                 3975    10/6/2014    Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
MISSISSIPPI DEPARTMENT OF REVENUE
BANKRUPTCY SECTION
PO BOX 22808
JACKSON, MS 39225-2808                                 3976    10/6/2014    Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS
ASSISTANT ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                               4112    5/28/2015    Exide Technologies, LLC                                                                                            $30,000.00       $30,000.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                               3329    12/9/2013    Exide Technologies, LLC            $52,000.00                                                                                       $52,000.00




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                      Amount                                                       Amount
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                          3330    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                          3331    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                          3332    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                          3333    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                          3334    12/9/2013    Exide Technologies, LLC            $3,275.61                                                                                        $3,275.61
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                          3335    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
ATTN MICHAEL MORRIS, ASST ATTORNEY GENERAL
PO BOX 899
JEFFERSON CITY, MO 65102                          4136    6/12/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
MISSOURI DEPARTMENT OF REVENUE
ATTN HEATHER MCDONALD
BOX 475
JEFFERSON CITY, MO 65105                          4177    9/12/2016    Exide Technologies, LLC                    $0.00                                                                       $0.00            $0.00
MISSOURI DEPARTMENT OF REVENUE
ATTN MARIA ROBINETT LEGAL AIDE
BOX 475
JEFFERSON CITY, MO 65105                          3995    2/17/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF REVENUE
ATTN YOLANDA CALVIN, LEGAL AIDE
PO BOX 475
JEFFERSON CITY, MO 65105                          3262    11/23/2013   Exide Technologies, LLC                                                                                                $0.00            $0.00
MISSOURI GAS ENERGY
3420 BROADWAY AVE
KANSAS CITY, MO 64111                             949     10/7/2013    Exide Technologies, LLC              $214.81                                                                                          $214.81
MISTY JENNINGS
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                 325     7/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
MISTY JENNINGS
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                       370     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
MITCHELL, BIRDIA
2020 ELDRIDGE PKWY APT 1003
HOUSTON, TX 77077-1898                                  2731    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MITCHELL, SAMMIE
803 GRANADA DR
DUNCANVILLE, TX 75116-3913                              2084    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MITSUBISHI ELECTRIC POWER PRODUCTS INC
C/O MITSUBISHI ELECTRIC US, AMERICAS CORP OFFICE
ATTN JOHN CIPRIANO, ASST GENERAL COUNSEL
500 CORPORATE WOODS PKWY
VERNON HILLS, IL 60061                                  3880    2/13/2014    Exide Technologies, LLC            $600,000.00                                                                                   $600,000.00
MK SPECIALTIES - NICK KUCENIC
PO BOX 12349
KANSAS CITY, KS 66112-0349                              1257    10/12/2013   Exide Technologies, LLC             $23,798.20                                                  $4,347.29                         $28,145.49
MK TECHNOLOGIES INC DBA OMEGA CONTROLS INC
C/O OMEGA CONTROLS INC
PO BOX 275
VAN BUREN, AR 72957                                     4152    8/20/2015    Exide Technologies, LLC             $29,366.00                                                                                    $29,366.00
M-LINE INC
ATTN DUFF HELMERS
3186 N CHARLOTTE ST
GILBERTSVILLE, PA 19525                                 3968    9/15/2014    Exide Technologies, LLC                                                                             $0.00                              $0.00
MOBILE DREDGING & PUMP
3100 BETHEL RD
CHESTER, PA 19013-1488                                  2366    10/30/2013   Exide Technologies, LLC             $34,466.50                                                                                    $34,466.50
MOBILE MINI
ANN CHAMBERLIN
7420 SOUTH KYRENE RD
TEMPE, AZ 85283                                         882     10/5/2013    Exide Technologies, LLC              $4,351.62                                                                                     $4,351.62
MOBILITY MATTERS LLC
24 WOODSTOCK RD STE 200
ROSWELL, GA 30075-3594                                  2361    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MOLLEN IMMUNIZATION CLINICS LLC
15029 N THOMPSON PEAK PKWY STE B111
SCOTTSDALE, AZ 85260-2223                               1337    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MONICA GALLEGOS CHAVARRIA & FAMILY
724 S BONNIE BEACH PL
LOS ANGELES, CA 90023-1906                              2639    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MONIQUE BRISSON
2701 RANDOLPH ST APT 207
HUNTINGTON PARK, CA 90255-3078                          3812    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
MONROE, JOSEPH
1609 63RD ST SE # A
EVERETT, WA 98203-4612                                  2202    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                Creditor Name and Address       Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
MONTALVAN, PEDRO
7918 EL CAJON BLVD., N190
LA MESA, CA 91941-3710                            1474    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MONTANA-DAKOTA UTILITIES CO
MDU RESOURCES GROUP
400 N 4TH ST
BISMARCK, ND 58501-4022                           764     10/3/2013    Exide Technologies, LLC             $1,228.03                                                                                       $1,228.03
MONTANEZ, RUDY
9077 ROAD 238B
TERRA BELLA, CA 93270                             947     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MONTGOMERY COMMUNICATIONS
222 W 6TH ST
JUNCTION CITY, KS 66441                           473     8/12/2013    Exide Technologies, LLC              $717.89                                                         $0.00                            $717.89
MONTGOMERY COMMUNICATIONS
222 W 6TH ST
JUNCTION CITY, KS 66441                           971     10/7/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
MONTHLY MEETING OF FRIENDS OF PHILADELPHIA
ATTN ELIOT INGRAM, CLERK FINANCE COMMITTEE
320 ARCH ST
PHILADELPHIA, PA 19106                            2755    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MOODYS CLEAN SWEEP - LAKEVILLE
9 MILLVIEW DRIVE
LAKEVILLE NB E1H 1A5 CANADA

CANADA                                            2000    10/26/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
MOORE, DIANNAH
201 S OAKDALE AVE
KANKAKEE, IL 60901-6113                           2664    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MOORE, JOHN
PO BOX 106
PRINCETON, LA 71067-0106                          2702    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MOORE, VICKIE
4039 STABLE CREEK DR
PERRYSBURG, OH 43551-6912                         2709    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MORRISON TRUCKING
PO BOX 171
ALBURNETT, IA 52202                               2388    10/30/2013   Exide Technologies, LLC            $26,926.45                                                                                      $26,926.45
MORRISON, KATHRYN
1034 LIBERTY PARK DR
BRASELTON, GA 30517-1884                          1614    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MORTER, ROBERT
55755 BUCKEYE RD
MISHAWAKA, IN 46545-7920                          1530    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MORTON, LANCE
C/O WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050                            2298    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MOSES, EDITH
PO BOX 3451
BARTLESVILLE, OK 74006-3451                       1951    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
MOSLEY, SHANNON
9723 SYCAMORE DR
LITTLE ELM, TX 75068-3806                            1685    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
MOTIVE ENERGY INC - ANAHEIM
125 E COMMERCIAL ST STE B
ANAHEIM, CA 92801-1217                               1734    10/22/2013   Exide Technologies, LLC             $1,011.97                                                   $1,255.70                          $2,267.67
MOTOR APPLIANCE CORPORATION
C/O CONNOLLY GALLAGHER LLP
ATTN KELLY M CONLAN
1000 WEST ST STE 1400
WILMINGTON, DE 19899                                 570     8/27/2013    Exide Technologies, LLC                                                                       $306,565.29                        $306,565.29
MOUND CITY KIWANIS CLUB
ATTN DAVID E FREDE
614 STATE ST
MOUND CITY, MO 64470-1147                            1599    10/19/2013   Exide Technologies, LLC              $360.00                                                                                         $360.00
MOUNTAIN AIR COMPRESSOR INC
1508 W STATE ST
P O BOX 1888
BRISTOL, TN 37620-2040                               1408    10/16/2013   Exide Technologies, LLC             $1,214.00                                                                                      $1,214.00
MOVEMENT SEARCH LLC
ATTN DOUGLAS SCOTT
20 W WASHINGTON STE 14
CLARKSTON, MI 48346                                  597      9/4/2013    Exide Technologies, LLC            $45,682.50                                                       $0.00                         $45,682.50
MS DEPARTMENT OF ENVIRONMENTAL QUALITY (MDEQ)
OBO MS COMMISSON ON ENVIRONMENTAL QUALITY
ATTN TED LAMPTON, LEGAL DIVISION
PO BOX 2261
JACKSON, MS 39225-2261                               3270    11/25/2013   Exide Technologies, LLC        $1,125,173.00                                                                                    $1,125,173.00
MS JOYCE E HENNEN
4003 SUNRISE WAY DR
SAINT LOUIS, MO 63125-3444                           1198    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                   251      7/2/2013    Exide Technologies, LLC             $4,652.38                                                                                      $4,652.38
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                   265      7/2/2013    Exide Technologies, LLC             $7,665.86                                                                                      $7,665.86
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                   272      7/2/2013    Exide Technologies, LLC             $9,375.35                                                                                      $9,375.35
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                                   273      7/2/2013    Exide Technologies, LLC              $123.55                                                                                         $123.55




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                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                        Amount
MSC INDUSTRIAL SUPPLY CO
ATTN LEGAL DEPT
75 MAXESS RD
MELVILLE, NY 11747                             274      7/2/2013    Exide Technologies, LLC             $2,769.13                                                                                       $2,769.13
MSR CUSTOMS CORPORATION
PEACE BRIDGE PLAZA
PO BOX 926
BUFFALO, NY 14213-0926                         2661    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MTU ONSITE ENERGY
100 POWER DR
MANKATO, MN 56001                              3883    2/25/2014    Exide Technologies, LLC                                                                              $0.00                              $0.00
MUHLENBERG TOWNSHIP AUTHORITY
2840 KUTZTOWN RD
READING, PA 19605                              723     9/30/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
MULLARKY, EDWARD
1127 EDGCUMBE RD
SAINT PAUL, MN 55105-2831                      2256    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MUNCIE CASTING CORP
PO BOX 2328
MUNCIE, IN 47307                               3246    11/20/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
MUNCIE SANITARY DISTRICT
ATTN MICHAEL P QUIRK
311 S WALNUT ST
MUNCIE, IN 47305                               2098    10/28/2013   Exide Technologies, LLC              $424.43                                                                                          $424.43
MUNCIE SANITARY DISTRICT
ATTN MICHAEL P QUIRK
311 S WALNUT ST
MUNCIE, IN 47305                               2099    10/28/2013   Exide Technologies, LLC            $17,121.04                                                                                      $17,121.04
MUNCIE SANITARY DISTRICT
ATTN MICHAEL P QUIRK
311 S WALNUT ST
MUNCIE, IN 47305                               2125    10/28/2013   Exide Technologies, LLC             $2,382.13                                                                                       $2,382.13
MUNCIE SANITARY DISTRICT
ATTN MICHAEL P QUIRK
311 S WALNUT ST
MUNCIE, IN 47305                               2126    10/28/2013   Exide Technologies, LLC             $5,445.75                                                                                       $5,445.75
MURDOCH'S RANCH & HOME SUPPLY
2275 N 7TH AVENUE
BOZEMAN, MT 59715                              973     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MURDOCK MACKAY LTD
5 NIXON ROAD
BOLTON, ON L7E 1L2
CANADA                                         2948    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MURPHY, F
6230 N 33RD AVE UNIT 135
PHOENIX, AZ 85017-1452                         862     10/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
MURREYS DISPOSAL
PO BOX 399
PUYALLUP, WA 98371                             266      7/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                         Amount                                                        Amount
MURREYS DISPOSAL
PO BOX 399
PUYALLUP, WA 98371                                   1524    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MURRY, CARL
1081 WILSON DR
TERRY, MS 39170-9332                                 1965    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
MXI ENVIRONMENTAL SERVICES LLC
26319 OLD TRAIL RD
ABINGDON, VA 24210-7635                              1050    10/8/2013    Exide Technologies, LLC            $9,495.00                                                                                         $9,495.00
MYERS, JAMES W (J WILLIAM MYERS)
1883 STACY WAY
UPLAND, CA 91784                                     1743    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
MYERS, THOMAS
2298 TOWNSHIP ROAD 196 NE
CROOKSVILLE, OH 43731-9525                           754     10/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
MYHRER, PHYLLIS
5324 152ND LN NW
RAMSEY, MN 55303-6401                                1815    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
NAC DYNAMICS, LLC
16110 FLIGHT PLATH DRIVE
BROOKSVILLE, FL 34604                                976     10/7/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
NADIA OJEDA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                 4035     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
NAHUM SANCHEZ LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3750    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
NALCO COMPANY
1601 W DIEHL RD
NAPERVILLE, IL 60563                                 637      9/9/2013    Exide Technologies, LLC            $2,452.14                                                                                         $2,452.14
NAMECHE, LARRY
205 GOLFVIEW DR
PLAINWELL, MI 49080-9118                             757     10/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
NAMIRANIAN, TAHMURAS
5969 EDINBURGH DR
PLANO, TX 75093-4798                                 1838    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
NAMISLO, ROBERT A
2775 NW 49TH AVE #106
OCALA, FL 34482-6212                                 2005    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
NANCY C LIRA ADRIAN VASQUEZ & AUDRINA VASQUEZ
740 ORME AVE
LOS ANGELES, CA 90023-1454                           3443    1/21/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
NANCY RAMOS
5218 1/4 LIVE OAK ST
CUDAHY, CA 90201                                     3364    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00


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               Creditor Name and Address               Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                             Amount                                                        Amount
NANNETTE EQUIHUA
1500 S DUNCAN AVE
COMMERCE, CA 90040                                       2408    10/30/2013   Exide Technologies, LLC            $390,000.00                                                                                     $390,000.00
NARCIS TUSSEY
3937 KY HWY 2002
MCKEE, KY 40447                                          1549    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
NARDELLI, GERALDINE
114 SWARTZ ST
DUNMORE, PA 18512-1951                                   1228    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
NATALIA PAZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                      3919    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
NATALY MUNGUIA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                      3483    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
NATE, GARY
4786 BURCH CREEK DR
OGDEN, UT 84403                                          3996    2/23/2015    Exide Technologies, LLC                                                          $0.00                                                   $0.00

NATHALIE DIAZ, GUARDIAN OF MINOR KEVAN J URGUILLA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                       3035    11/7/2013    Exide Technologies, LLC       $25,000,000.00                                                                                     $25,000,000.00
NATHAN CARTER
126 THELMA DR
SUMTER, SC 29150                                         2049    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
NATHAN CARTER
126 THELMA DR
SUMTER, SC 29150                                         4019     3/2/2015    Exide Technologies, LLC                                  $16,605.79                                                                 $16,605.79

NATIONAL ASSOCIATION FOR STOCK CAR AUTO RACING INC
C/O STINSON MORRISON HECKER LLP
ATTN LAWRENCE W BIGUS
1201 WALNUT STE 2900
KANSAS CITY, MO 64106                                    1885    10/25/2013   Exide Technologies, LLC                                                                                                 $0.00            $0.00

NATIONAL ASSOCIATION FOR STOCK CAR AUTO RACING INC
C/O STINSON MORRISON HECKER LLP
ATTN LAWRENCE W BIGUS
1201 WALNUT STE 2900
KANSAS CITY, MO 64106                                    1886    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
NATIONAL AUTOMOTIVE PARTS ASSOCIATION &
GENUINE PARTS COMPANY
C/O BARACK FERRAZZANO KIRSCHBAUM ET AL
ATTN KIMBERLY J ROBINSON
200 W MADISON ST STE 3900
CHICAGO, IL 60606                                 2386    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NATIONAL EXECUTIVE RESOURCES INC
8361 SANGRE DE CRISTO RD STE 150
LITTLETON, CO 80127                               598      9/4/2013    Exide Technologies, LLC             $25,000.00                                                                                    $25,000.00
NATIONAL FUEL GAS DISTRIBUTION CORPORATION
ATTN CORRESPONDENCE
6363 MAIN ST
WILLIAMSVILLE, NY 14221                           1049    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
NATIONAL GRID
300 ERIE BLVD W
SYRACUSE, NY 13202                                698     9/19/2013    Exide Technologies, LLC              $2,849.65                                                                                     $2,849.65
NATIONWIDE ENVIRONMENTAL SERVICES
ATTN ANI SAMUELIAN
11914 FRONT ST
NORWALK, CA 90650                                 229      7/8/2013    Exide Technologies, LLC             $22,732.50                                                                                    $22,732.50
NATIONWIDE PLASTICS - DALLAS
2001 TIMBERLAKE DR
ARLINGTON, TX 76010-5321                          1413    10/16/2013   Exide Technologies, LLC             $11,170.37                                                                                    $11,170.37
NAUTADUTILH - NEW YORK
ONE ROCKEFELLER PLAZA
NEW YORK, NY 10020                                1861    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NCB COMMODITIES INC
PO BOX 3338
3340 CONCORD RD
YORK, PA 17402                                     47     6/21/2013    Exide Technologies, LLC            $105,425.46                                                      $0.00                        $105,425.46
NCM DEMOLITION AND REMEDIATION LP
C/O SHUTTS & BOWEN LLP
ATTN JAMES A TIMKO, ESQ
300 S ORANGE AVE STE 1000
ORLANDO, FL 32801                                 497     8/16/2013    Exide Technologies, LLC            $150,791.07                                                                                   $150,791.07
NEBRASKA DEPARTMENT OF REVENUE
ATTN BANKRUPTCY UNIT
PO BOX 94818
LINCOLN, NE 68509-4818                            701     9/27/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
NEFF PACKAGING SYSTEMS-KANSAS
PO BOX 15056
KANSAS CITY, KS 66115-0056                        1570    10/19/2013   Exide Technologies, LLC             $18,262.92                                                                                    $18,262.92
NEILL, TIMOTHY
C/O WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050                            2296    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NELSON LEASING INC.
ATTN DAN GROTHE
4235 W. MAIN AVE
FARGO, ND 58103                                   986     10/7/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00

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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                        Amount                                                       Amount
NELSON, DALE
27628 QUE AVE
LINDSTROM, MN 55045-9085                            2324    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
NELSON, IVORY
PO BOX 726
YAZOO CITY, MS 39194-0726                           2951    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
NELSON, KENNETH
1539 LANGENBERG AVE
IOWA CITY, IA 52240-9107                            2532    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NEMALYN BUTAC
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3193    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

NEMALYN BUTAC, GUARDIAN OF MINOR NEVAEH CURIMAO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3149    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
NES RENTALS
8420 WEST BRYN MAWR AVE STE 310
CHICAGO, IL 60631                                   2622    10/31/2013   Exide Technologies, LLC            $6,350.66                                                                                        $6,350.66
NESTOR ENRIQUE VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                2556    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
NESTOR U RICO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                2587    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
NEW JERSEY DEPT OF LABOR & WORKFORCE DEV
DIVISION OF EMPLOYER ACCOUNTS
PO BOX 379
TRENTON, NJ 08625-0379                              1519    10/16/2013   Exide Technologies, LLC              $301.92                 $31.50                                                                  $333.42
NEW PENN MOTOR EXPRESS INC
24801 NETWORK PL
CHICAGO, IL 60673-1248                              1173    10/11/2013   Exide Technologies, LLC              $654.03                                                                                         $654.03
NEW PIG CORP
ONE PORK AVE
TIPTON, PA 16684                                    635     9/13/2013    Exide Technologies, LLC            $2,018.29                                                                                        $2,018.29
NEWALTA CORPORATION
C/O MOYE WHITE LLP
ATTN JAMES T BURGHARDT ESQ
1400 16TH ST 6TH FL
DENVER, CO 80202-1486                               2699    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
NICHOLAS J IUANOW
PO BOX 690
ALPHARETTA, GA 30009                            2694    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NICHOLAS MAYA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3190    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
NICHOLSON, ALBERT
1051 LOMAX LN
CRYSTAL SPRINGS, MS 39059-9122                  854     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
NICOR GAS
PO BOX 549
AURORA, IL 60507                                2849    10/30/2013   Exide Technologies, LLC            $1,142.58                                                                                        $1,142.58
NIEKRASH, RITA E
19 JUNIPER LANE
W HARTFORD, CT 06117                            2447    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NIKAS, YVONNE
36 S THROOP PKWY
CHICAGO, IL 60607                               1975    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NILZA VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2546    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
NISSAN NORTH AMERICA INC
C/O WALLER LANSDEN DORTCH & DAVIS LLP
ATTN MICHAEL R PASLAY, ESQ
511 UNION ST STE 2700
NASHVILLE, TN 37219                             1925    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NL INDUSTRIES INC
C/O LAW OFFICES OF JOEL L HERZ
3573 E SUNRISE DR STE 215
TUCSON, AZ 85718                                2274    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NMHG FINANCIAL SERVICES
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                          428     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
NMHG FINANCIAL SERVICES
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                          430     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
NMHG FINANCIAL SERVICES
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                          431     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
NMHG FINANCIAL SERVICES
ATTN KIMBERLY LEVELLE
1010 THOMAS EDISON BLVD SW
CEDAR RAPIDS, IA 52404                          432     7/31/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00

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                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
NOLAN, ROBERT
PO BOX 723
HIAWASSEE, GA 30546-0723                         2655    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NOMAS AMAYA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3734    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
NORA DALIA GOMEZ-TORRES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3605    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
NORDIS PARENTE
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3810    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
NORDSON CORPORATION
300 NORDSON DR
AMHERST, OH 44001-2454                           704     9/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NORFALCO INC
ATTN DOUGLAS CODISPOTI
6000 LOMBARDO CTR STE 650
SEVEN HILLS, OH 44133                            496     8/16/2013    Exide Technologies, LLC            $16,481.41                                                                                      $16,481.41
NORFOLK SOUTHERN RAILWAY COMPANY
ATTN WILLIAM H JOHNSON, ESQ
THREE COMMERCIAL PL
NORFOLK, VA 23510-9241                           2423    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NORMA A ROLDAN
600 S CURSON AVE #403
LOS ANGELES, CA 90036                            1556    10/19/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00
NORMA DIAZ
2722 HILL ST
HUNTINGTON PARK, CA 90255-6336                   2970    11/4/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
NORMA RUIZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3717    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
NORMA THOMAS F/K/A NORMA TIRINO
C/O ROBERT WASHUTA
11 BROADWAY, SUITE 615
NEW YORK, NY 10004                               749     10/2/2013    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
NORMA THOMAS FNA NORMA TIRINO
C/O LAW OFFICES OF ROBERT WASHUTA PC
ATTN ROBERT WASHUTA ESQ
11 BROADWAY STE 615
NEW YORK, NY 10004                               115     6/29/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
NORMA THOMAS FNA NORMA TIRINO
C/O LAW OFFICES OF ROBERT WASHUTA PC
ATTN ROBERT WASHUTA ESQ
11 BROADWAY STE 615
NEW YORK, NY 10004                               152      7/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORMAN S ROSENFELD
813 BERKENSTOCK CIR
PLACENTIA, CA 92879                              3455    1/27/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
NORRELL, DORIS
1117 LOVING TRL
GRAND PRAIRIE, TX 75052-2119                     2483    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
NORTHEAST BATTERY & ALTERNATOR INC
240 WASHINGTON ST
AUBURN, MA 01501                                 168      7/3/2013    Exide Technologies, LLC            $2,955.00                                                                                       $2,955.00
NORTHEAST IOWA COMMUNITY COLLEGE
PO BOX 400
CALMAR, IA 52132-0400                            2301    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORTHEAST PLASTIC SUPPLY CO INC
3021 DARNELL RD
PHILADELPHIA, PA 19154-3201                      2713    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORTHERN STATES POWER CO A MINNESOTA CORP
DBA XCEL ENERGY
3215 COMMERCE ST
LA CROSSE, WI 54603                               64     6/22/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORTHLAND INDUSTRIAL TRUCK INC
PO BOX 845534
BOSTON, MA 02284-5534                            989     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORTHSTAR BATTERY COMPANY
4000 E CONTINENTAL WAY
SPRINGFIELD, MO 65803                            2517    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORTHWEST FIRE PROTECTION INC
2430 S VICKSBURG
FT SMITH, AR 72901                                73     6/24/2013    Exide Technologies, LLC            $9,241.58                  $0.00                                                                $9,241.58
NORTHWEST FORKLIFT
838 SENECA AVE SW
RENTON, WA 98057-2903                            1254    10/12/2013   Exide Technologies, LLC              $435.33                                                                                         $435.33
NORTHWEST HANDLING
PO BOX 749861
LOS ANGELES, CA 90074-9861                       968     10/7/2013    Exide Technologies, LLC              $861.23                                                                                         $861.23
NORTHWEST IMPLEMENT
CHEYENNE FRANCIS
2918 MILLER ST.
BETHANY, MO 64424                                1938    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
NORWOOD, DOROTHY J.
156 MARY MYLES DR
BRANDON, MS 39042-9289                           2934    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
NORWOOD, FRED
269 SEVENTH DAY RD
FLORENCE, MS 39073-6103                          2024    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
NOVATEC INC
ATTN SUSAN BESSEMER, VP ADMINISTRATION
222 E THOMAS AVE
BALTIMORE, MD 21225                              886     10/5/2013    Exide Technologies, LLC             $2,238.96                                                                                        $2,238.96
NOVOTNY, ROBERT
1853 OXFORD ST N
SAINT PAUL, MN 55113-6513                        1136    10/10/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
NPC SERVICES INC
ATTN WILLIAM C DAWSON
2401 BROOKLAWN DR
BATON ROUGE, LA 70807                            2139    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NUNEZ, RAMON
3301 GREEN ST
STEGER, IL 60475-1028                            1798    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
NURY BALMACEDA
5842 PRIORY ST
BELL GARDENS, CA 90201                           3821    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
NU-TECH INDUSTRIAL SALES INC
PO BOX 1177
BREA, CA 92822-1177                              110     6/28/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
NU-TECH INDUSTRIAL SALES, INC.
PO BOX 1177
BREA, CA 92822-1177                              1053    10/8/2013    Exide Technologies, LLC            $24,843.47                                                                                      $24,843.47
NW NATURAL
C/O ATER WYNNE LLP
ATTN GREGG D JOHNSON ESQ
1331 NW LOVEJOY ST STE 900
PORTLAND, OR 97209-3280                          2640    10/31/2013   Exide Technologies, LLC       $10,036,872.00                                                                                    $10,036,872.00
O M IMPIANTI SRL AND O M IMPIANTI USA LLC
C/O GRAYDON HEAD & RITCHEY LLP
ATTN J MICHAEL DEBBELER
1900 FIFTH THIRD CENTER
511 WALNUT ST
CINCINNATI, OH 45202-3157                        172      7/1/2013    Exide Technologies, LLC                                                                             $0.00                               $0.00
O M IMPIANTI USA LLC
C/O GRAYDON HEAD & RITCHEY LLP
ATTN CARA R HURAK, ESQ
1900 FIFTH THIRD CENTER
511 WALNUT ST
CINCINNATI, OH 45202                             1424    10/17/2013   Exide Technologies, LLC                                                                                          $215,524.80      $215,524.80
OAK LEAF AUTO SALVAGE
4208 OAK LEAF ROAD
RHINELANDER, WI 54501                            286     7/12/2013    Exide Technologies, LLC             $1,324.80                                                   $2,097.00                            $3,421.80
OBERST, KERRY
1112 CUSTER CT
NORTH PLATTE, NE 69101                           1363    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
O'BRIEN, GLADYS
307 ORCHARD ST
CHEBANSE, IL 60922-9758                          2858    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
OCHOA, CARLOS
214 JUNIPER LEAF WAY
GREER, SC 29651-3942                             2902    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
O'CONNELL, JOHN J & TERESA G
C/O MORGAN STANLEY
ATTN THE HOLLYWOOD GROUP
1200 MT KEMBLE AVE 2ND FL
MORRISTOWN, NJ 07960                             1566    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ODILON MUNOZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2552    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
OFELIA SWEET
14738 GARDENHILL DR
LA MIRADA, CA 90638                              2785    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
OG&E ELECTRIC SERVICES
BANKRUPTCY CLERK
PO BOX 321 M223
OKLAHOMA CITY, OK 73101                          990     10/7/2013    Exide Technologies, LLC            $134,755.10                                                                                    $134,755.10
OGLETREE DEAKINS NASH SMOAK & STEWART P C
PO BOX 167
GREENVILLE, SC 29602                             360     7/13/2013    Exide Technologies, LLC             $18,708.00                                                                                     $18,708.00
OHDEN, DOUG
11580 60TH AVE SW
RAYMOND, MN 56282                                3987    1/12/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
OHIO BUREAU OF WORKERS' COMPENSATION
PO BOX 15567
COLUMBUS, OH 43215-0567                          609      9/3/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
OKLAHOMA COUNTY TREASURER
ATTN FOREST "BUTCH" FREEMAN
320 ROBERT S KERR RM 307
OKLAHOMA CITY, OK 73102                          263      7/1/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
OKLAHOMA COUNTY TREASURER
ATTN FORREST "BUTCH" FREEMAN
320 ROBERT S KERR RM 307
OKLAHOMA CITY, OK 73102                          105     6/28/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
OKLAHOMA NATURAL GAS CO
A DIVISION OF ONEOK INC
PO BOX 21019
TULSA, OK 74121-1019                             965     10/7/2013    Exide Technologies, LLC               $772.32                                                                                         $772.32
OKLAHOMA TAX COMMISSION
GENERAL COUNSEL'S OFFICE
120 N ROBINSON STE 2000 W
OKLAHOMA CITY, OK 73102-7471                     483      8/8/2013    Exide Technologies, LLC               $202.04             $1,542.92                                                                  $1,744.96
OLAN THOMPSON
108 NORWOOD LN
LANCASTER, TX 75146-2279                         1899    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00



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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
OLD DOMINION FREIGHT LINE INC
500 OLD DOMINION WAY
THOMASVILLE, NC 27360                           1205    10/11/2013   Exide Technologies, LLC               $315.36                                                                                        $315.36
OLGA RUIZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3601    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
OLIN CORPORATION, WINCHESTER DIVISION
C/O JENNER & BLOCK
ATTN MELISSA M HINDS
353 N CLARK ST
CHICAGO, IL 60654-3456                          1753    10/23/2013   Exide Technologies, LLC            $108,507.23                                                 $36,782.30                        $145,289.53
OLIN CORPORATION, WINCHESTER DIVISION
C/O JENNER & BLOCK
ATTN MELISSA M HINDS
353 N CLARK ST
CHICAGO, IL 60654-3456                          1759    10/23/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
OLIVER GUDINO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3479    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
OLIVER GUDINO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3567    1/30/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
OLIVER, DEBORAH
830 PARKER BLVD
WEAVER, AL 36277-4028                           1388    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
OLIVIA ALDRETE
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3938    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
OLIVIA ESPINOZA
464 1/2 S FETTERLY AVE
LOS ANGELES, CA 90022-1983                      1220    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
OLIVIA ESPINOZA
464 1/2 S FETTERLY AVE
LOS ANGELES, CA 90022-1983                      3245    11/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
OLIVIA ESPINOZA
464 S FETTERLY AVE
LOS ANGELES, CA 90022-1925                      1219    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
OLIVIA ESPINOZA
464 S FETTERLY AVE
LOS ANGELES, CA 90022-1925                      3244    11/19/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
OLMSTEAD, LARRY
446 LUTHER ST SW
CEDAR RAPIDS, IA 52404-8220                     3090    11/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
OLSON MANUFACTURING & DISTRIBUTION INC
8310 HEDGE LANE TER
SHAWNEE, KS 66227                               548     8/26/2013    Exide Technologies, LLC                $96.22                                                                                         $96.22
OLSON PACKAGING SERVICES INC
1445 KNOX HWY 32
PO BOX 392
GALESBURG, IL 61402                             127      7/2/2013    Exide Technologies, LLC              $3,806.92                                                                                      $3,806.92
OLYMPIC FOREST PRODUCTS CO
2200 CARNEGIE AVE
CLEVELAND, OH 44115                              34     6/20/2013    Exide Technologies, LLC            $115,080.66                                                 $34,819.70                        $149,900.36
OLYMPIC TELEPHONE INC
2803 29TH AVE SW
TUMWATER, WA 98512                               54     6/18/2013    Exide Technologies, LLC              $1,927.93                                                                                      $1,927.93
OMAHA PUBLIC POWER DISTRICT
PO BOX 3995
OMAHA, NE 68103-0995                            3242    11/18/2013   Exide Technologies, LLC                $82.90                                                                                         $82.90
O'MALLEY, BERNARD
681 S TANNER AVE
KANKAKEE, IL 60901-3143                         2349    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
OMAR ABOGADOS HERNANDEZ
3552 WHITESIDE ST
LOS ANGELES, CA 90063                           3631    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
OMAR HUSMAN
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            3397     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
OMAR HUZMAN
PO BOX 861
MAYWOOD, CA 90270                               3643    1/30/2014    Exide Technologies, LLC             $10,000.00                                                                                    $10,000.00
OMEGA CONTROLS
PO BOX 275
VAN BUREN, AR 72957                             3436    1/14/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
OMNI WHOLESALE EQUIPMENT INC
DBA OMNI INDUSTRIAL TIRE
PO BOX 1976
BOERNE, TX 78006-6976                            17     6/17/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
OMNISOURCE CORPORATION
ATTN MARLENE SLOAT
7575 W JEFFERSON BLVD
FORT WAYNE, IN 46804-4131                       434      8/2/2013    Exide Technologies, LLC             $26,155.51                                                                                    $26,155.51
O'NEAL, MARY
201 CAIRO DR
VICKSBURG, MS 39180-5903                        2963    11/4/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00




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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                             Amount                                                        Amount
ONESOURCE EHS LLC
ATTN KAREN STRINGFELLOW
1724 N BURNSIDE AVE STE 8
GONZALES, LA 70737                                       335     7/20/2013    Exide Technologies, LLC            $21,274.86                                                                                       $21,274.86
ORA GROSS
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                        324     7/18/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
ORA GROSS
C/O TRACI HARTLEY, ESQ
529 ALABAMA ST
BRISTOL, TN 37620                                        369     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
ORACLE AMERICA INC SUCCESSOR IN INTEREST TO
ORACLE USA INC ("ORACLE")
C/O BUCHALTER NEMER PC
ATTN SHAWN M CHRISTIANSON, ESQ
55 SECOND ST 17TH FL
SAN FRANCISCO, CA 94105                                  2354    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ORACLE CORP & ITS AFFILIATES ORACLE CREDIT CORP &
ORACLE AMERICA INC SUCCESSOR IN INTEREST ET AL
C/O BUCHALTER NEMER PC
ATTN SHAWN CHRISTIANSON ESQ
55 SECOND ST 17TH FL
SAN FRANCISCO, CA 94105                                  4128     6/1/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
ORACLE CREDIT CORPORATION
C/O BUCHALTER NEMER PC
ATTN SHAWN M CHRISTIANSON, ESQ
55 SECOND ST 17TH FL
SAN FRANCISCO, CA 94105                                  2355    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ORALIA GUDINO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                      3568    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
OREGON D.O.T.
ATTN DOROTHY SEBASTIAN
355 CAPITOL ST NE
SALEM, OR 97301-3871                                     3289    12/2/2013    Exide Technologies, LLC                                  $12,987.38              $0.00                                              $12,987.38
OREGON FARMERS MUTUAL TELEPHONE CO
PO BOX 227
OREGON, MO 64473-0227                                    1600    10/19/2013   Exide Technologies, LLC              $245.71                                                         $0.00                             $245.71
OREGON FARMERS MUTUAL TELEPHONE CO
PO BOX 227
OREGON, MO 64473-0227                                    3977    10/3/2014    Exide Technologies, LLC                    $0.00                                                                                         $0.00
ORLANDO CASTILLO
4515 E 61ST ST
MAYWOOD, CA 90270                                        3830    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                       $10,000.00
ORLANDO UTILITIES COMMISSION
100 WEST ANDERSON STREET
ORLANDO, FL 32801                                        1673    10/21/2013   Exide Technologies, LLC             $2,445.94                                                                                         $2,445.94

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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                       Amount
ORPNECK, MICHAEL
1961 SKIPPACK PIKE
BLUE BELL, PA 19422-1310                              2429    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ORTEC INTERNATIONAL USA
3630 PEACHTREE RD STE 800
ATLANTA, GA 30326                                     331     7/19/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ORTOSKI, STANLEY
591 LAFAYETTE BLVD
SHEFFIELD LAKE, OH 44054-1420                         755     10/2/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
OSARK RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3544    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
OSBORNE, DRUCILLA
3124 LOWER LAUREL FRK
FRAKES, KY 40940-9414                                 1347    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
OSCAR RENE RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                   3492    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
OSMAR LOPEZ, GUARDIAN OF MINOR KAMILAH LOPEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3076    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
OSMAR LOPEZ, GUARDIAN OF MINOR KATIE LOPEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3078    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
OSMAR LOPEZ, GUARDIAN OF MINOR KENIA LOPEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3095    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
OSWALD, ARDENE
734 W MONTE AZUL
SALT LAKE CITY, UT 84123-3504                         1042    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
OSWALDO RAMOS
5218 1/2 LIVE OAK ST
CUDAHY, CA 90201                                      3367    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00

OSWALDO RAMOS FOR AIDA RAMOS (DECEASED SPOUSE)
5218 1/2 LIVE OAK ST
CUDAHY, CA 90201                                      3366    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00




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                                                                                                Current General                                               Current 503(b)(9)
                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
OSZALDO BAUTIZTA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                          3720    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
OTHONIEL SIERRA
PO BOX 455
BELL, CA 90201-0455                             3532    1/30/2014    Exide Technologies, LLC             $20,000.00                                                                                     $20,000.00
OXIDOR CORPORATION
1825 E PLANO PKWY STE 160
PLANO, TX 75074-8570                            1532    10/18/2013   Exide Technologies, LLC             $14,424.50                                                       $0.00                         $14,424.50
OXYLANCE CORPORATION
PO BOX 310280
BIRMINGHAM, AL 35231-0280                       966     10/7/2013    Exide Technologies, LLC                                                                          $2,116.00                           $2,116.00
P & K EQUIPMENT INC
102 S VAN BUREN
ENID, OK 73703                                  475     8/12/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
P & K MIDWEST INC
102 S VAN BUREN
ENID, OK 73703                                  474     8/12/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
P & K RIVERSIDE TRACTOR INC
(P & K EQUIPMENT INC)
102 S VAN BUREN
ENID, OK 73703                                   63     6/22/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
P. FERNICOLA INC.
LIZ FERNICOLA
257 ELM ST.
NEWARK, NJ 07105                                740     10/2/2013    Exide Technologies, LLC              $5,775.00                                                       $0.00                           $5,775.00
P1 GROUP - LENEXA
C/O P1 GROUP INC
ATTN GLORIA KEATING CFO
2151 HASKELL AVE BLDG 1
LAWRENCE, KS 66046                              1775    10/23/2013   Exide Technologies, LLC            $132,647.32                                                                                    $132,647.32
PABLO GOMEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3583    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
PACIFIC BELL TELEPHONE COMPANY
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY RM 3A104
BEDMINSTER, NJ 07921                            2987    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PACIFIC CHLORIDE INCORPORATED
C/O MCCARTER & ENGLISH LLP
ATTN KATHARINE L MAYER, ESQ
405 N KING ST STE 800
WILMINGTON, DE 19801                            3874     2/6/2014    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00




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                                                                                                                              Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
PACIFIC CHLORIDE INCORPORATED
C/O MCCARTER & ENGLISH LLP
ATTN KATHARINE L MAYER, ESQ
RENAISSANCE CENTRE
405 N KING ST STE 800
WILMINGTON, DE 19801                                  3971    9/26/2014    Exide Technologies, LLC            $862,919.51                                   $0.00                                            $862,919.51
PACIFIC CHLORIDE INCORPORATED
C/O MCCARTER & ENGLISH LLP
ATTN KATHERINE L MAYER, ESQ
405 N KING ST
WILMINGTON, DE 19801                                  3234    11/15/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
PACIFIC CHLORIDE INTERNATIONAL
C/O MCCARTER & ENGLISH LLP
ATTN KATHARINE L MAYER ESQ
405 N KING ST
WILMINGTON, DE 19801                                  2620    10/31/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
PACIFIC CHLORIDE INTERNATIONAL
C/O MCCARTER & ENGLISH LLP
ATTN KATHARINE L MAYER ESQ
405 N KING ST, 8TH FLOOR
WILMINGTON, DE 19801                                  2619    10/31/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
PACIFIC GAS AND ELECTRIC COMPANY
C/O BANKRUPTCY DEPARTMENT
PO BOX 8329
STOCKTON, CA 95208                                    532     8/21/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PACIFIC STEEL & RECYCLING
PO BOX 1549
GREAT FALLS, MT 59403                                 518     8/20/2013    Exide Technologies, LLC             $26,035.24                                                                                     $26,035.24
PACIFICORP DBA ROCKY MTN POWER & PACIFIC POWER
PO BOX 25308
SALT LAKE CITY, UT 84125                              356     7/16/2013    Exide Technologies, LLC               $494.57                                                                                         $494.57
PACWEST SECURITY SERVICE
ISSAM BASHAWATY
3303 HARBOR BLVD
SUITE A103
COSTA MESA, CA 92626                                  1210    10/11/2013   Exide Technologies, LLC             $64,236.48                $0.00                                  $0.00                         $64,236.48
PACWEST SECURITY SERVICES
3303 HARBOR BLVD STE A103
COSTA MESA, CA 92626-1536                             1171    10/11/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
PACWEST SECURITY SERVICES
ISSAN BASHAWATY
3303 HARBOR BLVD
SUITE A103
COSTA MESA, CA 92626                                  1209    10/11/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                              $0.00
PADDOCK BROTHERS INC.-FRANFORT
4410 WEST ROAD 28
FRANKFORT, IN 46041                                   2945    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PADWA, ALLEN R
87 COMMODORE RD
WORCESTER, MA 01602-2726                              866     10/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                    Amount                                                        Amount
PALLADINO, ANTONELLA
C/O ROBERT PALLADINO
2225 ESPLANADE AVE
BRONX, NY 10469-5405                            2173    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
PALLADINO, ROBERT & ANTONELLA
ATTN ROBERT PALLADINO
2225 ESPLANADE AVE
BRONX, NY 10469-5405                            2172    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
PALLET DISTRIBUTORS INC DBA E-PALLET
CHRISTI CALAMANTE
14701 DETROIT AVE STE 610
LAKEWOOD, OH 44107-4180                         2476    10/30/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                               $0.00
PALLET ONE OF NORTH CAROLINA INC
ATTN ACCOUNTS RECEIVABLE
2340 IKE BROOKS RD
SILER CITY, NC 27344                            2842    10/31/2013   Exide Technologies, LLC            $37,401.18                                                    $6,132.00                          $43,533.18
PALMER, CHARLES
1415 COURTLAND DR
COLUMBIA, TN 38401-5281                         1725    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PALMER, JAMES
691 ARDMORE LN
NAPLES, FL 34108-8563                           1183    10/11/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
PANHANDLE ALARM
10 INDUSTRIAL BLVD
PENSACOLA, FL 32503-7647                        941     10/7/2013    Exide Technologies, LLC               $86.00                                                                                            $86.00
PANHANDLE ALARM & TELEPHONE CO INC
10 INDUSTRIAL BLVD
PENSACOLA, FL 32503                             412     7/30/2013    Exide Technologies, LLC                                                                              $0.00                               $0.00
PAPE' KENWORTH
2430 GRAND AVE
SACRAMENTO, CA 95838                            688     9/24/2013    Exide Technologies, LLC             $1,245.00                                                                                        $1,245.00
PAPE MACHINERY INC
2430 GRAND AVE
SACRAMENTO, CA 95838                            4135     6/4/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
PAPE' MACHINERY INC
2430 GRAND AVE
SACRAMENTO, CA 95838                            687     9/24/2013    Exide Technologies, LLC             $1,207.50                                                                                        $1,207.50
PAPE MATERIAL HANDLING INC
2430 GRAND AVE
SACRAMENTO, CA 95838                            2461    10/30/2013   Exide Technologies, LLC              $285.00                                                                                           $285.00
PAPE' MATERIAL HANDLING INC
2430 GRAND AVE
SACRAMENTO, CA 95838                            1275    10/14/2013   Exide Technologies, LLC             $2,138.78                                                                                        $2,138.78
PAPP, JOHN
6403 AYLESWORTH DR
CLEVELAND, OH 44130-3104                        2370    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PARCELL, STEPHEN
14605 PARKER ROAD
BILOXI, MS 39532                                1346    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00


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                                                                                                                       Current Priority   Current Secured                         Current Admin    Total Current
              Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                        Amount
PARDEW, ELAINE
PO BOX 22
DALLAS, OR 97338-0022                          1957    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PARKE, LINDA
738 FAIRVIEW RD
MOUNT JOY, PA 17552-8558                       982     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
PARKER, KENNETH
294 CROOKSVILLE RD
BEREA, KY 40403-9727                           2826    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PASTOR, BEHLING & WHEELER, LLC
2201 DOUBLE CREEK DR STE 4004
ROUND ROCK, TX 78664-3843                      909     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PATE, BERNARD
3109 DOUGHERTY DR
BATON ROUGE, LA 70805-7128                     1700    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PATEL, GAUTAM R
4801 - 24TH ST
DICKINSON, TX 77539                            2220    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PATNAUDE, MARVIN
1917 W STATE ROUTE 113
KANKAKEE, IL 60901-7410                        1827    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PATRICIA CONTRERAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                           3411     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
PATRICIO SOTO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3600    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
PATRICK G BRYAN
PO BOX 731
KEAAU, HI 96749                                1605    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PATRICK, DAVID
PO BOX 65
GLADYS, VA 24554-0065                          1723    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PATTON, LLOYD
19 PATTON RD
HOLLANDALE, MS 38748-9757                      2019    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PAUL BRIDGEWATER WAS/WAREHOUSE INDUST
3740 W WETHERSFIELD RD
PHOENIX, AZ 85029-2031                         916     10/7/2013    Exide Technologies, LLC              $188.74                                                                                          $188.74
PAUL E SCHAWANG
C/O WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050-2822                    2300    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PAUL K RADER JT TEN
38 W ROSEVILLE RD
LANCASTER, PA 17601                            1189    10/11/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00

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               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
PAULA JIMENEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3501    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
PAULINE A JONES
2230 S EASTERN AVE APT 62
COMMERCE, CA 90040-1458                         3360    12/23/2013   Exide Technologies, LLC                                   $5,000.00          $5,000.00                                             $10,000.00
PAULO CESAR BUELNA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3598    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
PAULSON ELECTRIC CO OF DUBUQUE
ATTN MINDY OLSON
PO BOX 1625
DUBUQUE, IA 52002-1625                          349     7/22/2013    Exide Technologies, LLC             $1,456.03                                                                                        $1,456.03
PC HELPS SUPPORT, LLC
SUITE 434
1BALA PLAZA
BALA CYNWYD, PA 19004                           750     10/2/2013    Exide Technologies, LLC            $46,386.74                                                                                      $46,386.74
PEACE, THOMAS
1213 1/2 N 7TH ST APT B
LANSING, KS 66043-1183                          1506    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PEARL MEYER & PARTNERS
ONE ALLIANCE CENTER, 3500
LENOX ROAD, SUITE 1708
ATLANTA, GA 30326                               1516    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PEARSON JR., RICHARD
9756 SILVER RD
MANNING, SC 29102-8252                          2234    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PEARSON, MARY
9756 SILVER RD
MANNING, SC 29102-8252                          2235    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PEARSON, MELVIN
116 RICE ST
GREENVILLE, SC 29605-2029                       2182    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PECO ENERGY COMPANY
C/O MERRICK L FRIEL
2301 MARKET ST, S23-1
PHILADELPHIA, PA 19103                          671     9/20/2013    Exide Technologies, LLC              $979.61                                                                                          $979.61
PEDRO IBARRA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3087    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
PEDRO LORENZO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3535    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
PEDRO LORENZO OBO DECEDENT LINO LORENZO
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3654    1/31/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
PEDRO M ESTRADA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3065    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
PEET, DELMAR
1318 POCALLA DR
MANNING, SC 29102-4673                          2046    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PEGGY ERICA LUCAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3611    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
PENA'S DISPOSAL INC
12094 AVE 408
OROSI, CA 93647                                 2872    11/1/2013    Exide Technologies, LLC            $1,337.60                                                    $1,634.40                           $2,972.00
PENN STAINLESS PRODUCTS INC
190 KELLY RD
PO BOX 9001
QUAKERTOWN, PA 18951-4208                       795     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128-0946                       3274    11/27/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128-0946                       3989    1/16/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128-0946                       4026     3/2/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128-0946                       4141    6/29/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISON
PO BOX 280946
HARRISBURG, PA 17128-0946                       4139    6/23/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00

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                                                                                                     Current General                                              Current 503(b)(9)
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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                         Amount                                                       Amount
PENSION BENEFIT GUARANTY CORPORATION
ATTN COURTNEY L HANSEN, ESQ
OFFICE OF THE CHIEF COUNSEL
1200 K ST NW STE 340
WASHINGTON, DC 20005-4026                            2377    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                    $0.00            $0.00
PENSION BENEFIT GUARANTY CORPORATION
ATTN COURTNEY L HANSEN, ESQ
OFFICE OF THE CHIEF COUNSEL
1200 K ST NW STE 340
WASHINGTON, DC 20005-4026                            2378    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                    $0.00            $0.00
PENSION BENEFIT GUARANTY CORPORATION
ATTN COURTNEY L HANSEN, ESQ
OFFICE OF THE CHIEF COUNSEL
1200 K ST NW STE 340
WASHINGTON, DC 20005-4026                            2379    10/30/2013   Exide Technologies, LLC                    $0.00              $0.00                                                    $0.00            $0.00
PEOPLE OF THE STATE OF CA/CITY OF LOS ANGELES
C/O LOS ANGELES CITY ATTORNEY'S OFFICE
ATTN WENDY A LOO, DEPUTY CITY ATTORNEY
200 N MAIN ST STE 920
LOS ANGELES, CA 90012                                3296    12/5/2013    Exide Technologies, LLC         Unliquidated          $5,000,000.00                                                              $5,000,000.00
PEOPLECLICK, INC. (PEOPLEFLUENT)
434 FAYETTEVILLE STREET, 9TH FLOOR
RALEIGH, NC 27601                                    2169    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PERCY L MCDONALD
614 PINE LN
JACKSON, MS 39212                                    1847    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PERFECTION GROUP INC
ATTN MARY ANN STRALEY
2649 COMMERCE BLVD
CINCINNATI, OH 45241                                 517     8/20/2013    Exide Technologies, LLC            $33,618.93                                                       $0.00                          $33,618.93
PERKINS, SHIRLEY
2902 ARCADIA ST
VICKSBURG, MS 39180-4906                             2740    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PERLA CORARRUBRAS
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3776    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
PERSONNEL PEOPLE
121 CENTRAL ST STE 201
NORWOOD, MA 02062                                    804     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
PERSONNEL PEOPLE
LINDA ST. ANDRE
121 CENTRAL ST
SUITE 201
NORWOOD, MA 02062                                    1099    10/10/2013   Exide Technologies, LLC            $23,822.30                                                                                      $23,822.30
PESTA, JOSEPH
505 S IRVING AVE
SCRANTON, PA 18505-2037                              2925    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00


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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                           Amount                                                        Amount
PETER BENAVIDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3940    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
PETROWSKY, OLGA
1213 S 10TH ST
ALLENTOWN, PA 18103-3905                               1859    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PETTY, BUCKY
6705 GRAPEVINE RD
FLOWER MOUND, TX 75022-5822                            2878    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
PEXCO LLC
ATTN DAVID TOLTZIS
2500 NORTHWINDS PARKWAY
SUITE 472
ALPHARETTA, GA 30009                                   1066    10/9/2013    Exide Technologies, LLC             $5,650.00                                                                                         $5,650.00
PHIL H WEST
PO BOX 332
LITTLE ELM, TX 75068                                   1579    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00

PHILADELPHIA OCCUPATIONAL HEALTH PC DBA WORKNET
C/O SELECT MEDICAL
ATTN COURTNEY SMITH
4714 GETTYSBURG RD
MECHANICSBURG, PA 17055                                342     7/22/2013    Exide Technologies, LLC              $994.00                                                                                           $994.00
PHILLIP SMITH
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                              1910    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
PHILLIPS, JAMES
1317 CUMMINGS ST
PALESTINE, TX 75801-4131                               938     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                  $0.00            $0.00
PHILLIPS, ROGER
15126 SPRINGWOOD DR
FRISCO, TX 75035-6876                                  2096    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
PIEDMONT NATIONAL CORPORATION
ATTN PATRICIA GOGGINS
1561 SOUTHLAND CIR NW
ATLANTA, GA 30318                                      1397    10/15/2013   Exide Technologies, LLC            $85,253.32                                                   $57,818.00                         $143,071.32
PIEDMONT NATURAL GAS COMPANY
4339 S TRYON ST
CHARLOTTE, NC 28217-1733                               1222    10/12/2013   Exide Technologies, LLC              $174.51                                                                                           $174.51
PIERCE COUNTY BUDGET & FINANCE
ATTN ALLEN RICHARDSON
615 S 9TH ST STE 100
TACOMA, WA 98405                                        61     6/22/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00
PIERCE COUNTY BUDGET & FINANCE
ATTN ALLEN RICHARDSON
615 S 9TH ST STE 100
TACOMA, WA 98405                                        62     6/22/2013    Exide Technologies, LLC                                                          $0.00                                                   $0.00

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                                                                                                       Amount                                                        Amount
PIERCE II., DELMER
4100 RIDGECREST TRL
CARROLLTON, TX 75007-1626                          2083    10/28/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
PIERCE PUMP
PO BOX 560727
DALLAS, TX 75356-0727                              1035    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
PIERCE, JOHN
3314 ARMSTEAD DR
SHREVEPORT, LA 71118-2802                          1308    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
PIERCE, LINDA
4100 RIDGECREST TRL
CARROLLTON, TX 75007-1626                          2322    10/29/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
PIERCE, SHERRY
148 VALLEY VIEW TER
MISSION VIEJO, CA 92692-4086                       2667    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PIETRAGALLO GORDON ALFANO BOSICK & RASPANTI
38TH FL
1 OXFORD CTR
PITTSBURGH, PA 15219-1407                          2752    10/31/2013   Exide Technologies, LLC             $5,934.96                                                                                        $5,934.96
PIGEON CREEK SANITARY AUTHORITY
508 MAIN ST
BENTLEYVILLE, PA 15314-1596                        373     7/25/2013    Exide Technologies, LLC               $59.01                                                                                            $59.01
PINNACLE LOGISTICS
ATTN: DEEDEE HOLDERBY
PO BOX 180714
FORT SMITH, AR 72918                               2359    10/30/2013   Exide Technologies, LLC            $91,954.17                                                        $0.00                          $91,954.17
PIONEER CROSSING LANDFILL
STEVE MEDAGLIA
2650 AUDUBON ROAD
AUDUBON, PA 19403                                  836     10/4/2013    Exide Technologies, LLC            $37,505.57                                                                                       $37,505.57
PITMAN, RONALD
3308 MELBOURNE ROAD SOUTH DR
INDIANAPOLIS, IN 46228-2789                        1056    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
PITNEY BOWES GLOBAL FINANCIAL SERVICES
C/O PITNEY BOWES INC
27 WATERVIEW DR
SHELTON, CT 06484                                  3899    5/19/2014    Exide Technologies, LLC                                                                                                 $0.00            $0.00
PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC
C/O PITNEY BOWES INC
ATTN RECOVERY DEPT
27 WATERVIEW DR
SHELTON, CT 06484-4361                             354     7/22/2013    Exide Technologies, LLC             $1,436.42                                                                                        $1,436.42
PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC
C/O PITNEY BOWES INC
ATTN RECOVERY DEPT
27 WATERVIEW DR
SHELTON, CT 06484-4361                             3900    5/19/2014    Exide Technologies, LLC             $1,265.14                                                                                        $1,265.14




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
PITNEY BOWES INCORPORATED
ATTN BANKRUPTCY DEPT
4901 BELFORT RD STE 120
JACKSONVILLE, FL 32256                          531     8/20/2013    Exide Technologies, LLC             $1,079.70                                                                                        $1,079.70
PITTMAN, BESSIE
401 S GLASSY MOUNTAIN RD
GREER, SC 29651-4715                            1369    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
PLANT PROJECTS INC
C/O DONALD DEBOISBLANC JR ESQ
410 S RAMPART ST
NEW ORLEANS, LA 70112                           117     6/29/2013    Exide Technologies, LLC             $6,850.00                                                                                        $6,850.00
PLASTEK WERKS INC
196 INDUSTRIAL BLVD
CLEVELAND, GA 30528                             685     9/24/2013    Exide Technologies, LLC             $3,800.00                                                                                        $3,800.00
PLASTIC PROCESS EQUIPMENT INC.
SANDY BAILEY
8303 CORPORATE PARK DR.
MACEDONIA, OH 44056                             2439    10/30/2013   Exide Technologies, LLC             $5,949.32                                                                                        $5,949.32
PLATT, BRIAN
1101 MYRTLE AVE
FRANKFORT, IN 46041-1051                        1429    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PLENGE, BETTY
111 CEDAR RIDGE LN
CONWAY, SC 29526-8916                           2054    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
PLUMBING AND ROOTER COMPANY, LLC, THE
3155 WILLIAMS ROAD, SUITE C-1
COLUMBUS, GA 31909                              1963    10/25/2013   Exide Technologies, LLC             $1,750.00                                                                                        $1,750.00
POLY H RICO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2574    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
POLY RICO (50)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2592    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
POLYMER MOLDING INC
1655 WEST 20 ST
ERIE, PA 16502                                  306     7/16/2013    Exide Technologies, LLC            $20,087.35                                                   $10,907.50                         $30,994.85
POLYMER MOLDING INC
1655 WEST 20 ST
ERIE, PA 16502                                  314     7/16/2013    Exide Technologies, LLC             $1,177.16                                                    $1,669.46                           $2,846.62
POLYTRON INC.
3300 BRENKENRIDGE BLVD. SUITE 100
DULUTH, GA 30096                                2368    10/30/2013   Exide Technologies, LLC                                                    $103,400.00                                            $103,400.00
POLZER, MICHAEL
3420 N 2ND ST
WHITEHALL, PA 18052-3109                        2923    11/2/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00


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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
PONCIANO RICO JR
3756 DOZIER ST
LOS ANGELES, CA 90063-2223                           2944    11/2/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
PONTRELLA, FRANCES
643 HILLCREST AVE
MORRISVILLE, PA 19067-2212                           2180    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
POOLE, MARTHA
7180 BLACK OAK DR
WALLS, MS 38680-9385                                 1184    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PORT HUDSON PRODUCTS
6655 E ACHORD RD
BATON ROUGE, LA 70817                                234      7/9/2013    Exide Technologies, LLC            $289,419.23                $0.00                                                              $289,419.23
PORT OF PORTLAND
ATTN DAVID ASHTON, ASSISTANT GENERAL COUNSEL
PO BOX 3529
PORTLAND, OR 97208                                   2604    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
PORTER, ARTHUR
3391 EBENEZER RD
SUMTER, SC 29153-8270                                1505    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
PORTER, JEAN
1823 FIREFLY RD
MANCHESTER, IA 52057-8806                            2031    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
PORTLAND GENERAL ELECTRIC COMPANY
C/O RIDDELL WILLIAMS PS
ATTN LOREN R DUNN
1001 FOURTH AVE STE 4500
SEATTLE, WA 98154                                    2497    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
PORTLAND GENERAL ELECTRIC PGE
7895 SW MOHAWK ST
TUALATIN, OR 97062-9192                              1417    10/15/2013   Exide Technologies, LLC               $600.64                                                                                        $600.64

PORTLAND HARBOR SUPERFUND SITE PARTICIPATION AND
COMMON INTEREST GROUP (PCI GROUP)
C/O BARNES & THORNBURG LLP
ATTN BRUCE WHITE
ONE NORTH WACKER DR STE 4400
CHICAGO, IL 60606-2833                               2767    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
POSEY, ROBERT W
3389 BATTLEFIELD MEMORIAL HWY
BEREA, KY 40403                                      1231    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
POSTON, CHARLES
8911 STATE HIGHWAY 243
WILLS POINT, TX 75169-8405                           2333    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
POWELL FLUID CONNECTORS, INC.
PO BOX 22367
KNOXVILLE, TN 37933-0367                             1633    10/21/2013   Exide Technologies, LLC               $510.87                                                                                        $510.87




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
POWER TECHNOLOGY SYSTEMS
C/O 1430865 ONTARIO INC
24 STEELE ROAD RR 3
SHANTY BAY
ONTARIO CANADA L0L 2L0

CANADA                                          245     7/11/2013    Exide Technologies, LLC              $5,553.74                                                    $405.00                          $5,958.74
POWERLAB INC
PO BOX 913
TERRELL, TX 75160                               387     7/26/2013    Exide Technologies, LLC            $151,759.40                                                                                   $151,759.40
PPL ELECTRIC UTILITIES
827 HAUSMAN RD
ALLENTOWN, PA 18104                             641     9/10/2013    Exide Technologies, LLC             $12,753.83                                                                                    $12,753.83
PPM CONSULTANTS INC
ATTN ROMAN DIXON
5555 BANKHEAD HWY
BIRMINGHAM, AL 35210                            684     9/23/2013    Exide Technologies, LLC             $69,942.64                                                                                    $69,942.64
PQ SYSTEMS
210-B E SPRING VALLEY PIKE
DAYTON, OH 45458                                466      8/9/2013    Exide Technologies, LLC              $2,695.00                                                                                     $2,695.00
PRAIRIE PALLET
30 MOBERLY AVENUE
WINNIPEG MB R2C 4C1 CANADA

CANADA                                          1981    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PRASAD MAHENDRA
2119 OAK STREET
NORTH BEND, OR 97459                            1374    10/15/2013   Exide Technologies, LLC               $497.18                                                                                        $497.18
PRAXAIR DISTRIBUTION INC
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 5126
TIMONIUM, MD 21094                              394     7/25/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
PRAXAIR DISTRIBUTION INC
C/O RMS BANKRUPTCY RECOVERY SERVICES
PO BOX 5126
TIMONIUM, MD 21094                              1985    10/25/2013   Exide Technologies, LLC             $12,658.49                $0.00                                                               $12,658.49
PRAXAIR INC
ATTN TRACEY BOUTOT, CREDIT MANAGER
39 OLD RIDGEBURY RD
DANBURY, CT 06810-5113                           33     6/20/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
PRAXAIR, INC.
ATTN: TRACEY BOUTOT, CREDIT MANAGER
39 OLD RIDGEBURY ROAD
DANBURY, CT 06810-5113                          821     10/4/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
PRECISION CABLE ASSEMBLIES INC
16830 PHEASANT DR
BROOKFIELD, WI 53005                             59     6/22/2013    Exide Technologies, LLC             $73,286.00                                                  $9,130.70                         $82,416.70




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
PRECISION OPTICLE PC
WENDY MANNERS
4521 17TH AVE
COLUMBUS, GA 31904                               1562    10/19/2013   Exide Technologies, LLC             $1,457.95                                    $0.00                                               $1,457.95
PRECISION TOOL AND MOLD
SHERRY MOWERY
12050 44TH ST. N
CLEARWATER, FL 33762                             1127    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PREDICTIVE SERVICES
25200 CHAGRIN BLVD
SUITE 300
CLEVELAND, OH 44122                              2478    10/30/2013   Exide Technologies, LLC             $4,485.00                                                                                        $4,485.00
PREMIER MAGNESIA
ATTN JOANNE AMELANG
300 BARR HARBOR DR
SUITE 250
WEST CONSHOHOCKEN, PA 19428                      741     10/2/2013    Exide Technologies, LLC            $16,500.00                                                        $0.00                          $16,500.00
PRESCOTECH INCORPORATED
3233 SOUTH ZERO
FORT SMITH, AR 72901                             2195    10/28/2013   Exide Technologies, LLC             $7,551.48                                                                                        $7,551.48
PREVOT, HENRY
3002 CINNAMON BAY CIR
NAPLES, FL 34119-8684                            1178    10/11/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
PRICE, BARBARA
1725 CHEROKEE ST
LEAVENWORTH, KS 66048-2232                       2200    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
PRICE, DOUGLAS
33311 199TH ST
LEAVENWORTH, KS 66048-7468                       2026    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
PRICE'S GROCERY - OREGON
109 W NODAWAY
OREGON, MO 64473                                 1789    10/24/2013   Exide Technologies, LLC             $1,942.63                                                      $160.39                           $2,103.02
PRIEBE, DONALD
6501 WOODLAKE DR APT 705
MINNEAPOLIS, MN 55423-1395                       1445    10/17/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
PRITCHARD, BEVERLY
31 IVY CHASE NE
ATLANTA, GA 30342-4500                           2765    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
PRO CLEAN JANITORIAL SERVICE INC
PO BOX 1501
FORT SMITH, AR 72902                             468      8/9/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
PRO CLEAN JANITORIAL SERVICE INC
PO BOX 1501
FORT SMITH, AR 72902                             509     8/19/2013    Exide Technologies, LLC            $17,842.60                                                                                       $17,842.60
PRO DRIVERS
222 W LAS COLINAS BLVD #250
IRVING, TX 75039                                 1651    10/21/2013   Exide Technologies, LLC            $39,086.86                                                                                       $39,086.86
PROCHEM INC.
5100 ENTERPRISE DRIVE
ELLISTON, VA 24087                               1992    10/26/2013   Exide Technologies, LLC             $8,908.50                                                        $0.00                           $8,908.50

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                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                   Amount                                                       Amount
PRODRIVERS
222 W LAS COLINAS BLVD #250E
IRVING, TX 75039                               726     10/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
PRODUCERS CHEMICAL COMPANY
1960 BUCKTAIL LANE
SUGAR GROVE, IL 60554                          525     8/22/2013    Exide Technologies, LLC            $102,434.52                                                 $23,364.12                        $125,798.64
PROGRESSIVE MOUNTAIN INSURANCE COMPANY
C/O KREIS ENDERLE HUDGINS & BORSOS PC
ATTN ANDY J VAN BRONKHORST
40 PEARL ST NW 5TH FL
GRAND RAPIDS, MI 49503                         2677    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
PROHEAT INC
117 E ADAMS
LA GRANGE, KY 40031                            1289    10/14/2013   Exide Technologies, LLC             $34,342.95                                                                                    $34,342.95
PROLIFT INDUSTRIAL EQUIPMENT
12001 PLANTSIDE DR
LOUISVILLE, KY 40299                           1063    10/9/2013    Exide Technologies, LLC             $50,204.50                                                                                    $50,204.50
PROLOGIKA
5325 SPALDING BRIDGE CT
NORCROSS, GA 30092-7604                        786     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
PROLOGIKA LLC
5325 SPALDING BRIDGE CT
NORCROSS, GA 30092                              88     6/27/2013    Exide Technologies, LLC              $8,675.00                                                                                     $8,675.00
PRUDE, MICHAEL
317 N GREENWOOD AVE
KANKAKEE, IL 60901-4037                        2394    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
PRUDENTIAL OVERALL SUPPLY
PO BOX 11210
SANTA ANA, CA 92711-1210                       842     10/4/2013    Exide Technologies, LLC             $11,451.62                                                                                    $11,451.62
PS ENVIRONMENTAL SERVICES
PO BOX 7000-897
REDONDO BEACH, CA 90277                        1113    10/10/2013   Exide Technologies, LLC              $5,511.88                                                                                     $5,511.88
PSC ENVIRONMENTAL SERVICES LLC
C/O PSC LLC
ATTN JESSICA BELTRAN
5151 SAN FELIPE STE 1600
HOUSTON, TX 77056                               70     6/24/2013    Exide Technologies, LLC             $44,036.36                                                                                    $44,036.36
PUBLIC SERVICE ELECTRIC AND GAS COMPANY
PSE&G
ATTN BANKRUPTCY DEPT
PO BOX 490
CRANFORD, NJ 07016                             108     6/28/2013    Exide Technologies, LLC              $6,456.34                                                                                     $6,456.34
PULASKI COUNTY TREASURER
PO BOX 430
LITTLE ROCK, AR 72203-8101                     2174    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
PULSETECH PRODUCTS CORPORATION
ATTN TOM BRANSFORD
1100 S KIMBALL AVE
SOUTHLAKE, TX 76092-9009                       414     7/30/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
PULSETECH PRODUCTS CORPORATION
ATTN TOM BRANSFORD
1100 S KIMBALL AVE
SOUTHLAKE, TX 76092-9009                         4143    7/17/2015    Exide Technologies, LLC             $43,855.00                                                                                    $43,855.00
PUMP PRO'S INC
3000 E 14TH AVE
COLUMBUS, OH 43219                               311     7/16/2013    Exide Technologies, LLC             $30,048.44                                                                                    $30,048.44
PURE MARKETING GROUP CORPORATION-CUMMING
225 CURIE DR STE 1300
ALPHARETTA, GA 30005-4004                        820     10/4/2013    Exide Technologies, LLC             $61,277.43                                                  $3,555.55                         $64,832.98
PUREWORKS INC
C/O BASS BERRY & SIMS PLC
ATTN PAUL G JENNINGS
150 THIRD AVE S STE 2800
NASHVILLE, TN 37201                              4116    5/29/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
PUREWORKS, INC.
5000 MERIDIAN BLVD STE 600
FRANKLIN, TN 37067-6678                          2780    10/31/2013   Exide Technologies, LLC            $132,000.00                                                                                   $132,000.00
PUROLATOR FREIGHT
1151 MARTIN GROVE RD
REXDALE ON M9W 4W7

CANADA                                           295     7/15/2013    Exide Technologies, LLC               $162.61                                                                                        $162.61
PUROLATOR INC
5995 AVEBURY RD 3RD FL
MISSISSAUGA ONT L5R 3T8 CANADA

CANADA                                           232      7/8/2013    Exide Technologies, LLC              $1,921.68                                                                                     $1,921.68
PUR-O-ZONE
PO BOX 727
LAWRENCE, KS 66044                               846     10/4/2013    Exide Technologies, LLC               $660.49                                                                                        $660.49
PUTATIVE CLASS IN LASC CASE BC506901
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                            343     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
QUAD POWER PRODUCTS LLC
ATTN STEVE HEDGPETH
11609 HICKMAN MILLS DR
KANSAS CITY, MO 64134                            170      7/3/2013    Exide Technologies, LLC             $27,947.69                                                                                    $27,947.69
QUALITY COMPRESSED AIR SERVICES INC
PO BOX 1837
BRANDON, MS 39043                                227      7/8/2013    Exide Technologies, LLC               $403.50                                                                                        $403.50
QUALITY FORKLIFT SALES & SERVICE INC
77 BEAR MOUNTAIN RD
RINGWOOD, NJ 07456-2901                          762     10/3/2013    Exide Technologies, LLC              $1,009.69                                                                                     $1,009.69
QUALITY POWER SOLUTIONS LLC
C/O BOARDMAN & CLARK LLP
ATTN JOSH C KOPP
1 S PINCKNEY ST STE 410
MADISON, WI 53701                                4148     8/7/2015    Exide Technologies, LLC             $17,464.49                                                                                    $17,464.49

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                                                                                                     Amount                                                        Amount
QUALITY SECURITY SYSTEMS INV
PO BOX 687
RIDGE, NY 11961-0687                             3258    11/22/2013   Exide Technologies, LLC              $325.88                                                                                          $325.88
QUALTUM
PATRICIA ALVARADO
HIMALAYA 7301078216
SAN LUIS POSI, MEXICO

MEXICO                                           2272    10/29/2013   Exide Technologies, LLC             $6,768.33                 $0.00                                                                 $6,768.33
QUEST DIAGNOSTICS INCORPORATED
ATTN CHAWN M WRIGHT
1001 ADAMS AVE
MAIL CODE - MR461
NORRISTOWN, PA 19403                             258      7/1/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
QUEST DIAGNOSTICS INCORPORATED
PO BOX 828669
PHILADELPHIA, PA 19182-8669                      2601    10/31/2013   Exide Technologies, LLC             $5,734.89                                    $0.00               $0.00                          $5,734.89
QUESTAR GAS COMPANY
ATTN JEANETTE
BANKRUPTCY DNR 244
1140 W 200 S
PO BOX 3194
SALT LAKE CITY, UT 84110-3194                    697     9/23/2013    Exide Technologies, LLC               $36.31                                                                                           $36.31
QUICK CABLE CANADA LTD.
6395 KESTREL ROAD
MISSISSAUGA, ON, L5T 1Z5 CANADA

CANADA                                           1537    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
QUINN COMPANY
10006 ROSE HILLS RD
CITY OF INDUSTRY, CA 90601                       535     8/23/2013    Exide Technologies, LLC              $870.00                                                         $0.00                            $870.00
QUINN COMPANY
JASON POSIN
10006 ROSE HILLS RD.
CITY OF INDUSTRY, CA 90601                       890     10/5/2013    Exide Technologies, LLC            $24,369.75                                                                                      $24,369.75
QWEST COMMUNICATIONS COMPANY LLC
DBA CENTURYLINK QCC
ATTN BANKRUPTCY
1801 CALIFORNIA ST RM 900
DENVER, CO 80202-2658                            240     7/10/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
R & L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164                           1213    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
R & L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164                           1609    10/19/2013   Exide Technologies, LLC        $1,175,458.69                                                                                     $1,175,458.69
R & L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1608    10/19/2013   Exide Technologies, LLC            $61,614.80                                                                                      $61,614.80


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
R & L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1610    10/19/2013   Exide Technologies, LLC            $416,814.86                                                                                   $416,814.86
R & L CARRIERS INC
600 GILLIAM RD
WILMINGTON, OH 45177                             1313    10/15/2013   Exide Technologies, LLC              $2,658.95                                                                                     $2,658.95
R & L CARRIERS/GLOBAL
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1607    10/19/2013   Exide Technologies, LLC             $19,392.35                                                                                    $19,392.35
R & L TRUCKLOAD
C/O R & L CARRIERS INC
600 GILLIAM RD
WILMINGTON, OH 45177                             1936    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R & L TRUCKLOAD SERV
7290 COLLEGE PKWY 200
FORT MYERS, FL 33907                             1611    10/19/2013   Exide Technologies, LLC            $461,016.05                                                                                   $461,016.05
R & W DEV & LOG INC
410 STATE RTE 136 E
CALHOUN, KY 42327-9620                           480     8/13/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
R & W DEVELOPMENT & LOGISTICS, INC.
410 STATE ROUTE 136 E
CALHOUN, KY 42327-9620                           870     10/5/2013    Exide Technologies, LLC              $1,946.60                $0.00                                 $0.00                          $1,946.60
R C ROSE
145 TRAYLOR RD
IRVINE, KY 40336-7380                            1304    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R I DIVISION OF TAXATION
ONE CAPITOL HILL
PROVIDENCE, RI 02908                             384     7/22/2013    Exide Technologies, LLC                $73.95                $12.04                                                                   $85.99
R I DIVISION OF TAXATION
ONE CAPITOL HILL
PROVIDENCE, RI 02908                             385     7/22/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
R&L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1212    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R&L CARRIERS
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1214    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R&L CARRIERS / GLOBAL
PO BOX 10020
PORT WILLIAM, OH 45164-2000                      1215    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R&L TRUCKLOAD SERV
7290 COLLEGE
PWKY 200
FORT MYERS, FL 33907                             1211    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R. L. JIMERSON
OMIE DR.
LONGVIEW, TX 75601                               2116    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
R.M. BOGGS CO,INC.
PO BOX 1487
IOWA CITY, IA 52244-1487                         997     10/7/2013    Exide Technologies, LLC              $3,466.57                                                    $239.84                          $3,706.41

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
RAABE
P.O BOX 1090
MENOMONEE, WI 53052                              3215    11/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RAC TRANSPORT
PO BOX 17459
DENVER, CO 80217                                 785     10/3/2013    Exide Technologies, LLC              $143.26                                                                                          $143.26
RACHEL CLAY
2095 LAKE SHORE LNDG
ALPHARETTA, GA 30005-6985                        1774    10/23/2013   Exide Technologies, LLC            $51,411.77                                                                                      $51,411.77
RACK, CHARLES J
454 NE 93RD ST
MIAMI SHORES, FL 33138                           3221    11/12/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
RADERMACHER, RANDALL
63 HIGH ST
NEW CASTLE, PA 16101-1638                        2978    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RAFAEL CASTRO
5064 E 60TH PL
MAYWOOD, CA 90270                                3648    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
RAFAEL GALINDO III
4927 KINSIE ST
COMMERCE, CA 90040                               2218    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
RAFAEL LUNA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3674    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
RAFAEL NARANJO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3127    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
RAFAEL RODRIGO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                               3023    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
RAILROAD MANAGEMENT COMPANY III LLC
5910 N CENTRAL EXPRESSWAY STE 1590
DALLAS, TX 75206                                 451      8/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RALPH GEIGER
803 LAS VEGAS DR
TEMPLE, PA 19560-1125                            1007    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RALPH SATHRA
52 RED RIDGE RD
LEVITTOWN, PA 19056                              2418    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RALPH T ANGSTADT
1793 TANGLEWOOD RD
ORWIGSBURG, PA 17961-9527                        1067    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                     Amount                                                        Amount
RAMIREZ, MARIO
15703 RAGLEY ST
HACIENDA HEIGHTS, CA 91745-2749                  1721    10/22/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
RAMON FLORES
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3667    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
RAMON MEDINA MOJARRO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3387     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
RAMONA DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2565    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
RAMONA DAVILA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3409     1/2/2014    Exide Technologies, LLC                    $0.00                                                                                         $0.00
RAM'S CAR CARE CENTER
3330 N SR-7
LAUDERDALE LAKES, FL 33319                       3994    2/13/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
RANDOLPH GONZALES (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3672    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
RANDY'S
PO BOX 67
RACINE, WV 25165-0067                            3216    11/12/2013   Exide Technologies, LLC            $9,178.26                                                         $0.00                            $9,178.26
RANKIN COUNTY COLLECTOR
211 E. GOVERNMENT ST.
BRANDON, MS 39042                                3902     6/9/2014    Exide Technologies, LLC                                       $0.00                                                                      $0.00
RANKIN COUNTY TAX COLLECTOR
211 E GOVERNMENT ST STE B
BRANDON, MS 39042-3269                           1044    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
RANKIN, BRENDA
604 MOODY WALLACE RD
MENDENHALL, MS 39114-4559                        1489    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
RAO, VARANASI
513 AVENIDA DEL VERDOR
SAN CLEMENTE, CA 92672-2451                      1521    10/18/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
RAQUEL BUSANI
7009 SAN LUIS AVE
BELL GARDENS, CA 90201-3411                      2612    10/31/2013   Exide Technologies, LLC        $1,326,716.00                                                                                      $1,326,716.00


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                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                         Amount                                                       Amount
RAQUEL SANCHEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3197    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
RAQUEL SANCHEZ, GUARDIAN OF MINOR
GUSTAVO HERNANDEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3179    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

RAQUEL SANCHEZ, GUARDIAN OF MINOR ROSA HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                   3166    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
RAUCH, LEO
2982 MAGNOLIA CIR
MACUNGIE, PA 18062-9313                              952     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
RAUEN PRECISION MACHINE
951 9TH AVE NW
FARLEY, IA 52046-9408                                2011    10/26/2013   Exide Technologies, LLC            $19,436.58                                                                                     $19,436.58
RAUL GUERARA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3775    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
RAUL JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3758    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
RAUL VEGA MARTINEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3604    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
RAWLS, JOHN
6466 BAIN BLVD
KEITHVILLE, LA 71047-7913                            2317    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
RAY S WALKER
8409 SAINT GEORGE LN
LOUISVILLE, KY 40220-3840                            897     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
RAYMOND LEASING CORPORATION
ATTN SCOTT BARTH
20 S CANAL ST
GREENE, NY 13778                                     808     10/4/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                          Amount                                                        Amount
RAYMOND STORAGE CONCEPTS, INC.
4350 INDECO COURT
CINCINNATI, OH 45241                                  998     10/7/2013    Exide Technologies, LLC                    $0.00              $0.00                                  $0.00                              $0.00
RAYS AUTO SUPPLY - SPIRIT LAKE
2323 CIRCLE DR W
SPIRIT LAKE, IA 51360-1066                            2981    11/4/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
READING ELECTRIC
ATTN CHRISTOPHER K BASHORE
80 WITMAN RD
READING, PA 19605                                     1443    10/17/2013   Exide Technologies, LLC              $1,162.14                                                                                      $1,162.14
READING RENTALS INC
1340 CENTRE AVE
READING, PA 19601                                     924     10/7/2013    Exide Technologies, LLC               $888.38                                                                                         $888.38
REAGENT CHEMICAL & RESEARCH, INC.
115 HIGHWAY 202
RANGOES, NJ 08551                                     1000    10/7/2013    Exide Technologies, LLC            $212,966.52                                                                                    $212,966.52
REARDON PALLET COMPANY INC.-KANSAS CITY
1600 W 8TH STREET
PO BOX 025610
KANSAS CITY, MO 64102                                 2280    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
REBAS-TOYOTA OF LA
12907 IMPERIAL HIGHWAY
SANTA FE SPRINGS, CA 90670                            1503    10/18/2013   Exide Technologies, LLC               $895.91                                                      $369.20                          $1,265.11
REBECCA AVILA
6608 PASSAIC ST
HUNTINGTON PARK, CA 90255                             2787    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
REBECCA PETERSEN & BRAD J PETERSEN TRUSTEES
OF THE REBECCA PETERSEN REVOCABLE LIVING TRUST
C/O BRAD PETERSEN
2661 E RIDGEWOOD DR
SPRINGFIELD, MO 65804                                 1790    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RED E PRINT
101 E 5TH ST STE 211
ST PAUL, MN 55101                                      18     6/17/2013    Exide Technologies, LLC              $4,976.85                                                                                      $4,976.85
REED, BILLY
614 HILLTOP CIRCLE
CHANDLER, TX 75758                                    2199    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
REED, LOIS
3316 S 2ND ST
WHITEHALL, PA 18052-3507                              2717    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
REEVES-WIEDEMAN COMPANY
PO BOX 412235
KANSAS CITY, MO 64141                                 763     10/3/2013    Exide Technologies, LLC               $656.40                                                                                         $656.40
REFF, CAROL
64 HERITAGE PT BLVD
BARNEGAT, NJ 08005-3380                               1990    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
REGAL BELOIT AMERICA, INC.
(MORRILL PLASTICS)
229 S. MAIN AVE.
ERWIN, TN 37650                                       1274    10/14/2013   Exide Technologies, LLC             $33,838.53                                                                                     $33,838.53

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                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
REICHERT, DALE C & MARIE B
ATTN DALE C REICHERT
911 SANDSTONE DR
NO PLATTE, NE 69101                                 1362    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
REINA TORRES, GUARDIAN OF MINOR
HAILEY N TORREZ-ORASCO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3187    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
REINA TORRES, GUARDIAN OF MINOR ODALYZ ABREO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3019    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
REINHART BOERNER VAN DEUREN SC
C/O L KATIE MASON, ESQ
1000 N WATER ST STE 1700
MILWAUKEE, WI 53202                                 1681    10/21/2013   Exide Technologies, LLC               $124.14                                                                                         $124.14
RELIABLE INDUSTRIES
12 PRESTIGE LN
LANCASTER, PA 17603-4076                            724     9/30/2013    Exide Technologies, LLC              $2,513.00                                                                                      $2,513.00
RELIANT ENERGY NORTHEAST LLC
DBA NRG BUSINESS SOLUTIONS
PO BOX 1046
HOUSTON, TX 77251-1046                              507     8/19/2013    Exide Technologies, LLC            $281,882.97                                                                                    $281,882.97
RELIANT ENERGY RETAIL SERVICES, LLC
P.O. BOX 1046
HOUSTON, TX 77251-1046                              524     8/21/2013    Exide Technologies, LLC              $1,381.85                                                                                      $1,381.85
REMEDIATION SERVICES INC
C/O GRANT SHERWOOD, PRESIDENT
PO BOX 587
INDEPENDENCE, KS 67301                              574     8/29/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
REMINGER & CO LPA
101 W PROSPECT AVE STE 1400
CLEVELAND, OH 44115                                 1988    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
REMY BATTERY CO., INC.
4301 W LINCOLN AVE
MILWAUKEE, WI 53219-1644                            988     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
RENAE ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                              3771    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
RENAE ZAVALA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                              3779    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                     Amount
RENI MARTINEZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3680    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
RENSENHOUSE ELECTRIC SUPPLY
PO BOX 2259
SHAWNEE MISSION, KS 66201-1259                   1415    10/16/2013   Exide Technologies, LLC            $25,881.26                                                                                   $25,881.26
RENSENHOUSE ELECTRIC/ST. JOE
PO BOX 2259
SHAWNEE MISSION, KS 66201-1259                   1411    10/16/2013   Exide Technologies, LLC             $5,808.08                                                                                    $5,808.08
REPUBLIC CONTRACTORS INC
ATTN MR CURTISS D WRIGHT
6870 BERT KOUNS INDUSTRIAL LOOP
SHREVEPORT, LA 71129                             3352    12/17/2013   Exide Technologies, LLC            $88,425.02                                                     $0.00                         $88,425.02
RESIDENT
2546 COMMERCE WAY
COMMERCE, CA 90040-1411                          2909    11/1/2013    Exide Technologies, LLC                            Unliquidated                                                                      $0.00
RESIDENT
5915 LUDELL ST
BELL GARDENS, CA 90201-4027                      4178    11/10/2016   Exide Technologies, LLC         Unliquidated                                                                                         $0.00
RESIDENT
5950 IMPERIAL HWY APT 29
SOUTH GATE, CA 90280-7628                        3345    12/11/2013   Exide Technologies, LLC                            Unliquidated                                                                      $0.00
RESOURCE FLOORCARE INC - CUMMING
PO BOX 763
CUMMING, GA 30028-0763                           2318    10/29/2013   Exide Technologies, LLC             $6,060.00                                                                                    $6,060.00
RESOURCES ALLOYS & METALS INC.
PO BOX 31765
PALM BEACH GARDENS, FL 33420-1765                1884    10/25/2013   Exide Technologies, LLC                                                                     $382,523.30                        $382,523.30
RESOURCES GLOBAL PROFESSIONALS
17101 ARMSTRONG AVE
IRVINE, CA 92614                                 559     8/26/2013    Exide Technologies, LLC            $52,642.11                                                                                   $52,642.11
RETAIL INSIGHT LLC
12710 OAKDALE VIEW DR
EDMOND, OK 73013                                 276     7/12/2013    Exide Technologies, LLC             $1,445.40                                                     $0.00                          $1,445.40
REV W KURT VON ROESCHLAUB
4 CORNWALL LN
PORT WASHINGTON, NY 11050-1345                   2871    11/1/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
REVECA LLAMOS
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3701    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                         $0.00
REXTAC, LLC
PO BOX 4148
ODESSA, TX 79760-4148                            3991    1/20/2015    Exide Technologies, LLC            $43,680.00                                                     $0.00                         $43,680.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
REY PLIEGO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4044     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
REYNALDO LOEZE
4913 E 60TH PL
MAYWOOD, CA 90270                                3833    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
REYNOLDS, ROBERT M
1800 BRIGADOONE LN
FLORENCE, SC 29505                               1185    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RHINE AUTO INC
W5695 GARTON RD
PLYMOUTH, WI 53073                               199      7/6/2013    Exide Technologies, LLC             $1,586.75                                                   $1,544.00                           $3,130.75
RHODES MACHINE
MARY REAL
P. O. BOX 180178
FORT SMITH, AR 72918                             1263    10/12/2013   Exide Technologies, LLC             $9,003.35                                                                                       $9,003.35
RHODES MACHINE SHOP
PO BOX 180178
FORT SMITH, AR 72918                             1262    10/12/2013   Exide Technologies, LLC            $35,636.33                                                                                     $35,636.33
RICARDA NOYOLA
3825 S TRINITY ST
LOS ANGELES, CA 90011                            3817    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
RICARDO D DIAZ
5034 JARDINE ST
COMMERCE, CA 90040                               3876     2/7/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
RICARDO MAGANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2543    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
RICARDO SANTIBANEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3712    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
RICARDO SANTOS
89 BIRNAMWOOD DR
BURNSVILLE, MN 55337                             4130     6/1/2015    Exide Technologies, LLC                                       $0.00                                                                    $0.00
RICARDO VASQUEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3929    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
RICE'S SAWMILL
GARY RICE
331 MORREIL CREEK RD
BLUFF CITY, TN 37618                             2070    10/28/2013   Exide Technologies, LLC             $3,626.00                                                                                       $3,626.00


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                                                                                                                        Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                   Amount                                                        Amount
RICHARD KANOSKI
C/O BAILEY PEAVY BAILEY PLLC
440 LOUISIANA ST STE 2100
HOUSTON, TX 77002                              2362    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
RICHARD KRYSZTOFORSKI IRA
51 ALVERSON LOOP
STATEN ISLAND, NY 10309-1740                   2456    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
RICHARD SANTANA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                           4049     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
RICHARD SOTO
7511 EMIL AVE APT F
BELL GARDENS, CA 90201-4944                    3220    11/12/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
RICHARDS, BRIAN
725 CARMALT ST
SCRANTON, PA 18519-1404                        2401    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
RICHARDS, DONALD
23559 HOLLY CIR
LEWES, DE 19958-3323                           1486    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
RICHARDSON MOLDING INCORPORATED
ATTN ROGER WINSLOW
PO BOX 288
CORYDON, IA 50060                              4110    5/27/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00
RICHARDSON MOLDING INCORPORATED
ROGER WINSLOW
PO BOX 288
607 W JEFFERSON
CORYDON, IA 50060                              2269    10/29/2013   Exide Technologies, LLC        $2,116,988.39                                                   $650,039.12                        $2,767,027.51
RICHLAND PRIMARY CARE CTR
PO BOX 180367
RICHLAND, MS 39218-0367                        1020    10/7/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
RICHMOND, CAROLYN
8705 GRAYWOOD
DALLAS, TX 75243                               2959    11/4/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
RICKIE P TRACY
5097 WELLINGTON PARK CIR D64
ORLANDO, FL 32839                              503     8/17/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
RICKMAN, LANE
9812 LA RITA PL
RIVERVIEW, FL 33569-5567                       1668    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
RICO STEVENSON
250 BERRYMAN RD
VICKSBURG, MS 39180-4453                       2979    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
RICOH USA
3920 ARKWRIGHT RD STE 400
MACON, GA 31210                                1150    10/3/2013    Exide Technologies, LLC            $85,344.92                                                                                       $85,344.92




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                                                                                                     Amount                                                        Amount
RIDDLEBARGER, BARBARA
32 POPLAR DR
ZANESVILLE, OH 43701-6322                        2250    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
RIEKES EQUIPMENT COMPANY
ATTN CREDIT
6703 L STREET
OMAHA, NE 68117                                  2191    10/28/2013   Exide Technologies, LLC             $1,242.55                                                                                        $1,242.55
RIG MASTERS INC
6601 HWY 565
MONTEREY, LA 71354                               124      7/1/2013    Exide Technologies, LLC            $79,737.70                                                                                      $79,737.70
RIGBY, ELWOOD B / RIGBY, RONALD E
ATTN RONALD E RIGBY
9510 DELPHINIUM ST
PROSPECT, KY 40059                               1437    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RIGGINS, WELTON
3823 MUNGER AVE
DALLAS, TX 75204-4248                            2420    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RIGOBERTO JIMENEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3756    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
RIGOBERTO P VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2544    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
RILEY DECEDANTS TRUST
C/O RICHARD W RILEY
19 SATTERLEE
STATEN ISLAND, NY 10307-1501                     1987    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
RILEY SURVIVORS TRUST
C/O RICHARD W RILEY
19 SATTERLEE
STATEN ISLAND, NY 10307-1501                     1986    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
RING POWER CORPORATION
10421 FERN HILL DR
RIVERVIEW, FL 33578                              2106    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RISING SUN ELECTRIC
1408 NOTRE DAME AVENUE
WINNIPEG MB R3E 3G5
, MB
CANADA                                           1188    10/11/2013   Exide Technologies, LLC              $713.16                                                                                          $713.16
RITA BIBIAN
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3790    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00



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                                                                                                         Amount                                                        Amount
RIVER BEND INDUSTRIES
RON EMBREE
3730 WHEELER AVE
FORT SMITH, AR 72901                                 1624    10/21/2013   Exide Technologies, LLC             $23,605.33                                                   $1,763.22                         $25,368.55
RIVER CITY WOOD PRODUCTS
ATTN: KEVIN OCHS
19885 DETROIT RD. #200
ROCKY RIVER, OH 44116                                1129    10/10/2013   Exide Technologies, LLC             $50,894.40                                                  $20,512.32                         $71,406.72
RIZALINO CAYABO
41721 RD 136
PO BOX 481
OROSI, CA 93647                                      2738    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RJ EVERCREST POLYMERS INC
1234 WRIGHTS LN
WEST CHESTER, PA 19380                               185      7/5/2013    Exide Technologies, LLC                                                                          $4,624.50                          $4,624.50
RMG KEY ASSOCIATES, LLC
6203 LEA RAY DR
GREENSBORO, NC 27410-4984                            2059    10/28/2013   Exide Technologies, LLC              $5,560.00                                                                                      $5,560.00
ROBERT & ADELE KELLY TRUST UAD 9/11/2002
C/O OF ROBERT & ADELE KELLY
PO BOX 27179
SAN DIEGO, CA 92198                                  1639    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00

ROBERT A ZIMMERMAN, BETSY A ZIMMERMAN &
ROBIN L MAURO UA 11-21-08, ROBERT A ZIMMERMANN &
MIRIAM O ZIMMERMAN TRUST
C/O BETSY A ZIMMERMAN, TRUSTEE
605 SHADY OAK CT
MARS, PA 16046                                       1637    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ROBERT BOSCH LLC
ATTN ADAM WIENNER
38000 HILLS TECH DR
FARMINGTON HILLS, MI 48331                           3979    10/29/2014   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ROBERT BOSCH LLC
ATTN JUDITH LOWITZ ADLER
38000 HILLS TECH DR
FARMINGTON HILLS, MI 48331                           2782    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ROBERT C FIERRO
2573 BORIS AVE
COMMERCE, CA 90040-2304                              2414    10/30/2013   Exide Technologies, LLC            $345,000.00                                                                                    $345,000.00
ROBERT E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                                   2410    10/30/2013   Exide Technologies, LLC            $150,000.00                                                                                    $150,000.00
ROBERT GONZALEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                               3697    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00



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                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
ROBERT HERRERA
C/O DEWITT ALGORRI & ALGORRI
ATTN MARK S ALGORRI, ESQ
25 E UNION ST
PASADENA, CA 91103                              627     9/13/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBERT HERRERA
C/O DEWITT ALGORRI & ALGORRI
ATTN MARK S ALGORRI, ESQ
25 E UNION ST
PASADENA, CA 91103                              647     9/16/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBERT HUTCHINSON
C/O CRAY GODDARD MILLER & TAYLOR LLP
ATTN MITCHELL L TAYLOR
205 WASHINGTON STE 300
BURLINGTON, IA 52601                            2107    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBERT HUTCHINSON
C/O CRAY GODDARD MILLER & TAYLOR LLP
ATTN MITCHELL L TAYLOR
205 WASHINGTON STE 300
BURLINGTON, IA 52601                            2481    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBERT L KELLY R/O IRA
PO BOX 27179
SAN DIEGO, CA 92198                             1638    10/21/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
ROBERT M BENAVIDEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3916    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
ROBERT RAWLINS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1914    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ROBERT SACCAVINO
3199 SUNDOWN DR
LAS VEGAS, NV 89169-2544                        978     10/7/2013    Exide Technologies, LLC                    $0.00              $0.00              $0.00               $0.00                              $0.00
ROBERT T LURVEY TRUST
C/O ROBERT T LURVEY TTEE
7618 ALSTON CT
UNIVERSITY PARK, FL 34201                       2822    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBERT VIRAMONTES
8110 COMMERCIAL PL APT C
SOUTH GATE, CA 90280-2002                       3251    11/22/2013   Exide Technologies, LLC                                  $28,000.00                                                                $28,000.00
ROBERTA SANCHEZ
326 W 65TH ST
LOS ANGELES, CA 90003                           3822    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
ROBERTO CASTILLO
144 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                           3847    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00




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                Creditor Name and Address          Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                         Amount                                                       Amount
ROBERTO FRANCO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                   3528    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
ROBERTO G GOMEZ
2414 LIVE OAK ST
HUNTINGTON PARK, CA 90255                            3872     2/5/2014    Exide Technologies, LLC            $1,000.00                                                                                        $1,000.00
ROBERTSON, DONALD
5123 N COUNTY ROAD 1000 W
MULBERRY, IN 46058-9565                              1590    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBERTSON, JAMES L
15510 SIERRA SKIES DR
HOUSTON, TX 77083                                    1962    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROBINSON INDUSTRIES INC DBA FRAKES INDUSTRIAL
SALES & SERVICE
C/O NICKLOY & HIGDON
5540 PEBBLE VILLAGE LN STE 300
NOBLESVILLE, IN 46062                                620     9/10/2013    Exide Technologies, LLC                                                                        $12,500.00                          $12,500.00
ROCCO FODERARO
461 BRYN MAWR DR
BRICK, NJ 08723-5067                                 2028    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROCIO RAMOS
5218 1/2 LIVE OAK ST
CUDAHY, CA 90201                                     3368    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ROCK'S TELECOM SERVICES
FKA PARRISH COMMUNICATIONS
PO BOX 8582
COLUMBUS, GA 31908-8582                              151      7/2/2013    Exide Technologies, LLC              $575.50                                                      $417.12                             $992.62
ROCKWELL AUTOMATION INC
C/O GONZALEZ SAGGIO & HARLAN LLP
3945 HOLCOMB BRIDGE RD STE 300
PEACHTREE CORNERS, GA 30092                          4080    4/28/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
ROCKWELL AUTOMATION INC
C/O GONZALEZ SAGGIO & HARLAN LLP
3945 HOLCOMB BRIDGE RD STE 300
PEACHTREE CORNERS, GA 30092                          4083     5/4/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
RODDEN, LUCILLE
2305 BAYOU VIEW CIR
GAUTIER, MS 39553-2203                               1389    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RODGER E OROKE
3029 CAMPFIRE DR
LAWRENCE, KS 66049                                   4027     3/3/2015    Exide Technologies, LLC                                       $0.00                                                                     $0.00
RODNEY R FLYNT
C/O RICHARD L HANNA
500 S TAYLOR LB 222
AMARILLO, TX 79101                                   2284    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
RODOLFO GODINEZ
PO BOX 63306
LOS ANGELES, CA 90063-0306                           3291    12/3/2013    Exide Technologies, LLC                                $100,000.00                                                                $100,000.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
RODRIGUEZ, REYNALDO
1009 LARCHWOOD AVE
HACIENDA HTS, CA 91745-1530                     1527    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ROGAN INC
400 S DEVILS GLEN RD
BETTENDORF, IA 52722                            615      9/9/2013    Exide Technologies, LLC              $384.95                                                                                          $384.95
ROGER BUCKLEY
2700 E 8TH ST
LOS ANGELES, CA 90023-2106                      3423     1/7/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
ROGER RHODUS
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1917    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ROGERS SORIANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3175    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
ROGERS, RONALD
2105 N JOSEY LN APT 212
CARROLLTON, TX 75006-2918                       2929    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROLTA INTERNATIONAL INC.
ATTN MELLONEY DOUCE
5865 NORTH POINT PKWY
ALPHARETTA, GA 30022                            1457    10/17/2013   Exide Technologies, LLC            $30,495.22                                                                                      $30,495.22
ROMAN HERNANDEZ
4913 E 60TH PL
MAYWOOD, CA 90270                               3640    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
ROMAN HERNANDEZ
4913 E 60TH PL
MAYWOOD, CA 90270                               3841    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
ROMAN, EMMA
2129 S CLINTON AVE
TRENTON, NJ 08610-5924                          1148    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
ROMINA MORA MARTINEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3603    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
RONALD AGUIRRE
3550 E CESAR E CHAVEZ AVE
LOS ANGELES, CA 90063-2239                      3282    11/29/2013   Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
RONALD BLANKA BURGO TRUST
27864 INVITATION DR
MENIFEE, CA 92585                               2658    10/31/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
RONALD TILLIE
1191 BILLUPS RD
PINEWOOD, SC 29125                              2045    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                        Amount                                                       Amount
RONALD TILLIE
1191 BILLUPS RD
PINEWOOD, SC 29125                                  4023     3/2/2015    Exide Technologies, LLC                                  $18,706.80                                                               $18,706.80
RONALD W KERNS
210 VILLAGE DR
BLANDON, PA 19510-9498                              1583    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RONATEC C2C, INC
PO BOX 1976
FALLBROOK, CA 92028                                 2470    10/30/2013   Exide Technologies, LLC             $3,945.00                                                                                       $3,945.00
RONNIE ORTIZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                              3732    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ROOSEVELT HUMPHREY
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3086    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ROSA E PEREZ
3317 HOPE ST
HUNTINGTON PARK, CA 90255-6211                      2759    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ROSA E PEREZ
3323 HOPE ST
HUNTINGTON PARK, CA 90255                           2758    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ROSA GOMEZ, GUARDIAN OF MINOR JENNIFER GOMEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                  3165    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ROSA GONZALEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                2539    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ROSA LASCANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                  3151    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
ROSA M GONZALES
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                 3939    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ROSANA ALEMAN
3602 1/2 ADAIR ST APT B
LOS ANGELES, CA 90011                               3826    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00




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                                                                                                    Amount                                                        Amount
ROSARIO CONTRERAS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2569    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
ROSE HERNANDEZ
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                           3857     2/1/2014    Exide Technologies, LLC        $2,000,000.00                                                                                      $2,000,000.00
ROSEMARY DUFOUR
PO BOX 2276
BRANFORD, CT 06405-1376                         2916    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
ROSEN, JOSEPH
315 MAJESTIC COVE
ALPHARETTA, GA 30004                            2743    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ROSEN, JOSEPH
315 MAJESTIC CV
ALPHARETTA, GA 30004-4568                       2744    10/31/2013   Exide Technologies, LLC            $75,000.00                                                                                       $75,000.00
ROSEN, JOSEPH A
315 MAJESTIC COVE
ALPHARETTA, GA 30004                            2742    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
ROSENDAHL MASCHINEN GMBH
ATTN MR CHRISTIAN FRIESENBICHLER
SCHACHEN 57
A-8212 PISCHELSDORF
AUSTRIA                                         171      7/3/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
ROSENDAHL MASCHINEN GMBH
ATTN: RICHARD JONACH OR LEGAL DEPARTMENT
SCHACHEN 57
A-8212
PISCHELSDORF, AUSTRIA

AUSTRIA                                         1660    10/21/2013   Exide Technologies, LLC            $46,859.73                                                                                       $46,859.73
ROSENDALE, CAROLYN
PO BOX 84003
BATON ROUGE, LA 70884                           1259    10/12/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00               $0.00                               $0.00
ROSENFELD, SOLOMON
C/O LISA ROSENFELD
168 ALLERTON RD
NEWTON, MA 02461                                2703    10/31/2013   Exide Technologies, LLC                                                          $0.00               $0.00                               $0.00
ROSILES, LUIS
21194 LAGUNA RD APT 4
APPLE VALLEY, CA 92308-4012                     2448    10/30/2013   Exide Technologies, LLC                                       $0.00                                  $0.00                               $0.00
ROSS, JAMES
2720 MAYFAIR CT
WHITE BEAR LAKE, MN 55110-4945                  1824    10/24/2013   Exide Technologies, LLC                                       $0.00                                                     $0.00            $0.00
ROSS, JOHN
6406 RHAPSODY LN
DALLAS, TX 75241-2626                           2249    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
ROSS, OCTAVIAN
2809 MOJAVE DR
DALLAS, TX 75241-6418                           2105    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ROTEX TRUCK CENTER INC
11802 SARA RD
LAREDO, TX 78045                                891     10/5/2013    Exide Technologies, LLC              $2,227.50                                                                                     $2,227.50
ROTEX TRUCK CENTER INC
11802 SARA RD
LAREDO, TX 78045                                3442    1/21/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ROUTE 51 AUTO & TRUCK PARTS LLC
C/O WATSON MUNDORFF BROOK & SEPIC LLP
ATTN TIMOTHY J WITT, ESQ
720 VANDERBILT RD
CONNELLSVILLE, PA 15425                          30     6/20/2013    Exide Technologies, LLC             $14,050.40                                                  $5,301.49                         $19,351.89
ROY TUTOR JR
4960 QUINCE RD
MEMPHIS, TN 38117-6626                          2305    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ROYAL HAWAIIAN EXPRESS
1901 RAYMER AVE
FULLERTON, CA 92833-2512                        3280    11/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ROYAL WHOLESALE ELECTRIC
PO BOX 14004
ORANGE, CA 92863-1404                           847     10/4/2013    Exide Technologies, LLC             $15,311.47                                                                                    $15,311.47
ROYSTER, HENRIETTA
109 CARVER DR
VICKSBURG, MS 39180-6303                        3001    11/6/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
RPM TRANSPORTATION (HAWAII) INC
1901 RAYMER AVE
FULLERTON, CA 92833-2512                        3279    11/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RSJ CONSULTING LLC
ATTN C RANDALL CARR
1609 SHOAL CREEK BLVD STE 301
AUSTIN, TX 78701                                692     9/25/2013    Exide Technologies, LLC             $30,462.88                                                                                    $30,462.88
RSR CORPORATION
GEORGE CHEEVER
K & L GATES
210 SIXTH AVENUE
PITTSBURG, PA 15222                             2618    10/31/2013   Exide Technologies, LLC            $156,622.54                                                                                   $156,622.54
RTS ENGINEERING
2105 KINGS RD
EAGAN, MN 55122-2321                            1361    10/15/2013   Exide Technologies, LLC             $23,033.85                                                                                    $23,033.85
RUBEN CORTEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                              3058    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00




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                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                           Amount                                                       Amount
RUBEN GARCIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3055    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

RUBEN VARGA QUIROGA, GUARDIAN OF MINOR MARK VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3148    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
RUBEN VARGAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3104    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
RUBEN VARGAS-GARCIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3105    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
RUDY MONTANEZ
9077 ROAD 238B
TERRA BELLA, CA 93270                                  4089    5/11/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUDY MONTANEZ
9077 ROAD 238B
TERRA BELLA, CA 93270                                  4091    5/13/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUDY S GRIEGO
6400 RUGBY AVE
HUNTINGTON PARK, CA 90255-4004                         2685    10/31/2013   Exide Technologies, LLC            $150,000.00                                                                                   $150,000.00
RUFFNER, LORI L
217 MANOR VIEW DR
MANOR, PA 15665                                        2263    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUNKLE, CARL
620 WISTERIA AVE
READING, PA 19606-3481                                 2161    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUNKLE, MARY
620 WISTERIA AVE
READING, PA 19606-3481                                 2160    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF CALIFORNIA INC
DBA RUSH TRUCK CENTER SYLMAR
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1760    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF GEORGIA INC
D/B/A RUSH TRUCK CENTER ATLANTA
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                                1764    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                          Amount                                                       Amount
RUSH TRUCK CENTERS OF NORTH CAROLINA INC
DBA RUSH INTERNATIONAL TRUCK CENTER, CHARLOTTE
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                               1765    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF OHIO INC
DBA RUSH TRUCK CENTER DAYTON
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130-2552                          1763    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF OHIO INC
DBA RUSH TRUCK CENTER, CINCINNATI
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                               1766    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF OHIO INC
DBA RUSH TRUCK CENTER, COLUMBUS EAST
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                               1767    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF TEXAS LP
DBA RUSH PETERBILT TRUCK CENTER ODESSA
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                               1761    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUSH TRUCK CENTERS OF TEXAS LP
DBA RUSH TRUCK CENTER HOUSTON
ATTN MICHAEL S LYONS
555 IH-35 SOUTH STE 500
NEW BRAUNFELS, TX 78130                               1762    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RUTH CASQUINO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  2542    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
RUTH LARA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  4059     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00

RUTH M TOLEDO, GUARDIAN OF MINOR DAVIAN MARQUEZ
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3042    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
RUTH PESKIN
2894 W 8TH ST 4C
BROOKLYN, NY 11224                                    1786    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
RUTH SCHENCK
1854 WASHINGTON DR
FRANKFORT, IN 46041-2720                        2484    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
RUTH TOLEDO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                              3021    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
RW CONNECTION INC
ATTN CLARENCE SMITH
936 LINKS AVE
LANDISVILLE, PA 17538                           562     8/27/2013    Exide Technologies, LLC              $445.85                                                                                         $445.85
RYAN, GEORGE
918 GRAND AVE
LEAVENWORTH, KS 66048-3002                      2290    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RYDER TRUCK RENTAL INC
ATTN JENNIFER MORRIS
6000 WINDWARD PKWY
ALPHARETTA, GA 30005                            606      9/6/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
RYDER TRUCK RENTAL INC
ATTN JENNIFER MORRIS
6000 WINDWARD PKWY
ALPHARETTA, GA 30005                            1513    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RYDER TRUCK RENTAL INC
ATTN JENNIFER MORRIS
6000 WINDWARD PKWY
ALPHARETTA, GA 30005                            1531    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
RYMOND, RICHARD
6136 RUNNYMEADE DR
CANTON, MI 48187-2842                           2343    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
S & S METAL RECYCLERS II - AURORA
336 E SULLIVAN RD
AURORA, IL 60505-9740                           1011    10/7/2013    Exide Technologies, LLC             $8,057.31                                                                                      $8,057.31
S & S METAL RECYCLERS II INC
336 E SULLIVAN RD
AURORA, IL 60505                                181      7/5/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
S J DALTON INC DBA DALTON & CO
1901 W KILGORE AVE
MUNCIE, IN 47304                                601      9/4/2013    Exide Technologies, LLC            $12,696.99                                                   $2,604.90                         $15,301.89
SACRAMENTO MUNICIPAL UTILITY DISTRICT
SMUD
PO BOX 15830 MS A253
SACRAMENTO, CA 95852-1830                       645     9/16/2013    Exide Technologies, LLC             $1,289.50                                                                                      $1,289.50
SAFETY SOLUTIONS INC
PO BOX 8100
DUBLIN, OH 43016-2100                           745     10/2/2013    Exide Technologies, LLC            $66,253.45                                                                                     $66,253.45
SAI GLOBAL-WAS INTEGRITY INTERACTIVE
210 E STATE RT 4 STE 103
PARAMUS, NJ 07652-5103                          2094    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00


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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                         Amount                                                        Amount
SAINT GOBAIN ABRASIVES
1 NEW BOND STREET
BOX # 15008
WORCESTER, MA 01615                                  1009    10/7/2013    Exide Technologies, LLC              $7,190.68                                                                                       $7,190.68
SALAZAR, ELIUD
8953 DRIFTWOOD DR
RIVERSIDE, CA 92503-2160                             3263    11/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

SALEM LEASING CORPORATION DBA SALEM NATIONALEASE
C/O SCHREEDER WHEELER & FLINT LLP
ATTN J CAROLE THOMPSON HORD
1100 PEACHTREE ST NE STE 800
ATLANTA, GA 30309-4516                               2356    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SALINA SUPPLY CO
302 N SANTA FE AVE
P O BOX 5100
SALINA, KS 67401-2329                                1132    10/10/2013   Exide Technologies, LLC              $1,064.60                                                      $28.91                           $1,093.51
SALINE COUNTY TAX COLLECTOR
215 N MAIN ST STE 3
BENTON, AR 72015-3763                                1946    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SALSON LOGISTICS INC
888 DOREMUS AVE
NEWARK, NJ 07114                                      82     6/26/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SALSON LOGISTICS INC
888 DOREMUS AVE
NEWARK, NJ 07114                                     458      8/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SALSON LOGISTICS INC
888 DOREMUS AVE
NEWARK, NJ 07114                                     625     9/11/2013    Exide Technologies, LLC            $172,119.67                                                                                    $172,119.67
SALTEX, LLC
JOE KANE
7755 BELLAIRE SOUTH
FT WORTH, TX 76132                                   896     10/7/2013    Exide Technologies, LLC             $11,129.39                                                                                     $11,129.39
SALVADOR ANDRADE
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                 4036     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
SALVADOR BUENROSTRO CHAVEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                  3497    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
SALVADOR DIAZ
2722 HILL ST
WALNUT PARK, CA 90255                                2932    11/2/2013    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
SALVATORE, ELIZABETH
35 MAINE AVE
WHITING, NJ 08759-1449                               802     10/3/2013    Exide Technologies, LLC                    $0.00              $0.00              $0.00                                                  $0.00


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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                    Amount                                                        Amount
SAM C HORNE & SHERA B HORNE
PO BOX 958
BANDERA, TX 78003                               298     7/15/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
SAM ORONA
5463 VIA CAMPO ST
LOS ANGELES, CA 90022-2205                      3249    11/21/2013   Exide Technologies, LLC                                  $12,475.00                                                                 $12,475.00
SAMANTHA CRYSTAL RAMIREZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2579    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
SAMANTHA I CHANG
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3579    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                     $10,000,000.00
SAMMIE SMITH
PO BOX 3168
SUMTER, SC 29151                                4137    6/16/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
SAMUEL ORONA
5463 VIA CAMPO ST
LOS ANGELES, CA 90022                           4095    5/18/2015    Exide Technologies, LLC                                                                                            $10,000.00       $10,000.00
SAMUEL W WILLOUGHBY
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                       1908    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SAMUEL, MAE
335 RAINBOW DR
SUMTER, SC 29154-5374                           2431    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SAMUEL, WILLIE
1882 GREENVIEW AVE
KANKAKEE, IL 60901-5740                         2683    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00
SANCHEM INCORPORATED
1600 S CANAL ST
CHICAGO, IL 60616-1106                          1014    10/7/2013    Exide Technologies, LLC            $14,771.29                                                        $0.00                          $14,771.29
SANDEE'S - WATERLOO
A DIVISION OF LSS MANAGEMENT INC
1111 SOUTH STREET
WATERLOO, IA 50702                              1075    10/9/2013    Exide Technologies, LLC               $72.73                                                                                            $72.73
SANDERS LEAD COMPANY INC
C/O BAKER & HOSTETLER LLP
ATTN CHRISTOPHER J GIAIMO
1050 CONNECTICUT AVE NW STE 1100
WASHINGTON, DC 20036                            2143    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
SANDLER BROS
4131 WHITESIDE ST
LOS ANGELES, CA 90063-1618                      1961    10/25/2013   Exide Technologies, LLC              $661.60                                                         $0.00                             $661.60




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                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                      Amount                                                       Amount
SANDMOLD SYSTEMS INC
DEPARTMENT 180501
PO BOX 67000
DETROIT, MI 48267-1805                            1919    10/25/2013   Exide Technologies, LLC            $11,291.94                                                                                     $11,291.94
SANDRA WEITSMAN
C/O FEDERMAN & SHERWOOD
ATTN WILLIAM B FEDERMAN
10205 NORTH PENNSYLVANIA AVENUE
OKLAHOMA CITY, OK 73120                           2715    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SANNER BROTHERS SALVAGE
2719 E. ROAD 1 SOUTH
MONTE VISTA, CO 81144                             2915    11/1/2013    Exide Technologies, LLC              $682.38                                                        $0.00                            $682.38
SANOFI US LLC, SANOFI US SERVICES INC,
SANOFI-AVENTIS US LLC
C/O FROST BROWN TODD LLC
ATTN CHRISTOPHER S HABEL
301 E FOURTH ST STE 3300
CINCINNATI, OH 45202                              2609    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SAP AMERICA INC
C/O BROWN & CONNERY LLP
ATTN DONALD K LUDMAN, ESQ
6 N BROAD ST STE 100
WOODBURY, NJ 08096                                2398    10/30/2013   Exide Technologies, LLC            $29,212.09                                                                                     $29,212.09
SARAH GIBSON
PO BOX 236
MAYSVILLE, SC 29104                               4007     3/2/2015    Exide Technologies, LLC                                  $29,857.77                                                               $29,857.77
SARAH VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                              2540    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
SAUL HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3060    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
SAUL HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                3132    11/7/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SAVANNAH MORFIN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                               3465    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
SAWNEE ELECTRIC MEMBERSHIP CORP.
PO BOX 2252
ID 1204
BIRMINGHAM, AL 35246-1204                         1177    10/11/2013   Exide Technologies, LLC            $44,715.72                                                                                     $44,715.72

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
SBMC ATLANTA LLC
7206 COLLINGWOOD LN
ALPHARETTA, GA 30022                            1900    10/25/2013   Exide Technologies, LLC              $4,780.00                $0.00                                                                 $4,780.00
SC DEPARTMENT OF REVENUE
PO BOX 12265
COLUMBIA, SC 29211                              425     7/29/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SCALE SYSTEMS INC
PO BOX 116733
ATLANTA, GA 30368-6733                          2956    11/4/2013    Exide Technologies, LLC              $1,729.00                                                     $975.00                          $2,704.00
SCHEIDT, VIRGINIA
288 KULP RD
POTTSTOWN, PA 19465-8008                        1675    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SCHIFANO, SALVATORE
PO BOX 3618
TRENTON, NJ 08629-0618                          2406    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SCHMIDT, BERNARD
14423 E SUZANNE DE FORTUNA DR
YUMA, AZ 85367-7556                             985     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SCHMITT, ROBERT
1644 CHARTWELL DR
DAYTON, OH 45459-1462                           1233    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SCHNADER HARRISON SEGAL & LEWIS LLP
ATTN NICHOLAS J LEPORE III
1600 MARKET ST
PHILADELPHIA, PA 19103-7240                     2523    10/30/2013   Exide Technologies, LLC            $195,978.84                                                                                    $195,978.84
SCHNEIDER NATIONAL INC
ATTN CREDIT DEPARTMENT
3101 S PACKERLAND DR
GREEN BAY, WI 54313                              4      6/14/2013    Exide Technologies, LLC             $10,229.79                                                                                     $10,229.79
SCHRADE, WALLACE
9246 DUNBAR KNOLL CIR N
MINNEAPOLIS, MN 55443-1750                      2149    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SCHROEDER, JOHN
200 OCEAN AVE
MASSAPEQUA, NY 11758-6511                       2170    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SCHUPBACH, DAVID W
1732 LEIGHTON DR
REYNOLDSBURG, OH 43068                          1234    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SCOTT EQUIPMENT COMPANY LLC
ATTN STEPHEN HARRISON, COO
1002 MARTIN LUTHER KING JR DR
PO BOX 5010
MONROE, LA 71203-5543                           1756    10/23/2013   Exide Technologies, LLC              $4,687.00                                                                                      $4,687.00
SCOTT L HAVEN
PO BOX 818
JEFFERSON, OR 97352-0818                        1903    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SEAGATE PLASTICS COMPANY
1110 DISHER DR
WATERVILLE, OH 43566                            1164    10/11/2013   Exide Technologies, LLC             $95,035.62                                                                                     $95,035.62


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                    Amount                                                       Amount
SEAGATE PLASTICS COMPANY
C/O KILPATRICK & ASSOCIATES P C
903 N OPDYKE RD STE C
AUBURN HILLS, MI 48326                          2405    10/30/2013   Exide Technologies, LLC               $226.13                                                  $66,104.55                          $66,330.68
SEAGATE PLASTICS COMPANY ("SEAGATE")
C/O POTTER ANDERSON & CORROON LLP
ATTN JEREMY W RYAN
1313 N MARKET ST 6TH FL
WILMINGTON, DE 19801                            3000    10/23/2013   Exide Technologies, LLC                                                                             $0.00                               $0.00
SEALING DEVICES INC - LANCASTER
4400 WALDEN AVE
LANCASTER, NY 14086-9716                        1512    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SEALING DEVICES INC - LANCASTER
4400 WALDEN AVE
LANCASTER, NY 14086-9716                        3965    8/20/2014    Exide Technologies, LLC             $15,250.00                                                                                     $15,250.00
SEAMAN, DONA J.
2414 MODENA CT
PEARLAND, TX 77581-1100                         1085    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SEARLES VALLEY MINERALS INC
ATTN DON PEMBERTON
9401 INDIAN CREEK PKWY STE 1000
OVERLAND PARK, KS 66210                         375     7/25/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SEBASTIAN COUNTY TAX COLLECTOR
PO BOX 1358
FORT SMITH, AR 72902-1358                       855     10/4/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
SEBER, KENNETH
1105 S BROADWAY ST
LEAVENWORTH, KS 66048-3115                      2338    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SEBER, ROBERT
19921 SPRINGDALE RD
LEAVENWORTH, KS 66048-7624                      2364    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SECURITAS SECURITY SERVICES USA INC
ATTN TOM ROSZHART, CREDIT DEPT
4330 PARK TERRACE DR
WESTLAKE VILLAGE, CA 91361                      479     8/13/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SECURITAS SECURITY SERVICES USA INC
ATTN TOM ROSZHART, CREDIT DEPT
4330 PARK TERRACE DR
WESTLAKE VILLAGE, CA 91361                      1924    10/25/2013   Exide Technologies, LLC                                                                                                $0.00            $0.00
SECURITAS SECURITY SERVICES USA INC
C/O BEALL & BURKHARDT APC
ATTN CARISSA N HOROWITZ
1114 STATE ST STE 200
SANTA BARBARA, CA 93101                         4169    12/22/2015   Exide Technologies, LLC            $204,062.26                                                                                    $204,062.26
SECURITY GUARDS INC
600 PARK RD N
PO BOX 6283
WYOMISSING, PA 19610                             32     6/20/2013    Exide Technologies, LLC             $31,519.81                $0.00                                 $0.00                          $31,519.81



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                                                                                                           Amount                                                       Amount
SECURITY GUARDS INC
PO BOX 6283
WYOMISSING, PA 19610-0283                              1004    10/7/2013    Exide Technologies, LLC                                       $0.00                                 $0.00                              $0.00
SEEDORFF, RONALD
3205 40TH ST
ARLINGTON, IA 50606-8139                               2468    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SEELYE PLASTICS
C/O ACTIVAR INC DBA SEELYE PLASTICS
9700 NEWTON AVE S
BLOOMINGTON, MN 55431                                  560     8/26/2013    Exide Technologies, LLC              $7,748.89                                                                                     $7,748.89
SEGURA, RAMIRO
18 LAS PALMAS DR
ZAPATA, TX 78076-4047                                  817     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
SEIBEL MODERN MFG & WELDING CORP
C/O HODGSON RUSS LLP
ATTN CRAIG T LUTTERBEIN
THE GUARANTY BLDG
140 PEARL ST STE 100
BUFFALO, NY 14202-4040                                  26     6/18/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SEIBEL MODERN MFG & WELDING CORP
C/O HODGSON RUSS LLP
ATTN CRAIG T LUTTERBEIN, ESQ
140 PEARL ST, STE 100
BUFFALO, NY 14202                                      725     9/30/2013    Exide Technologies, LLC            $494,206.53                                                $195,009.55                        $689,216.08
SEIFERT, DAVID
139 GRANDE BLVD
SINKING SPRING, PA 19608-9348                          2754    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SELINA RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3543    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
SELINA RAMIREZ GUARDIAN OF MINOR OLIVIA RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3534    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
SELLERS EQUIPMENT INC
PO BOX 1940
SALINA, KS 67402-1940                                  1268    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SELLERS EQUIPMENT INC
PO BOX 1940
SALINA, KS 67402-1940                                  1269    10/12/2013   Exide Technologies, LLC             $31,819.43                                                  $2,462.14                         $34,281.57
SELLERS, MICHAEL
PO BOX 420651
ATLANTA, GA 30342                                      287     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
SEMINOLE ENERGY SERVICES LLC
C/O BURNHAM LAW ASSOCIATES LLC
ATTN NOEL C BURNHAM
10 BERGER CT
MIDDLETOWN, DE 19709                             569     8/22/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SEMINOLE ENERGY SERVICES LLC
C/O BURNHAM LAW ASSOCIATES LLC
ATTN NOEL C BURNHAM
10 BERGER CT
MIDDLETOWN, DE 19709                             2270    8/22/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SEMI-TRAILER SALES
TROY NESS
3701 38TH STREET SOUTH
SUITE A
FARGO, ND 58104                                  872     10/5/2013    Exide Technologies, LLC              $787.50                  $0.00                                                                  $787.50
SEPRO AMERICA, LLC
765 COMMONWEALTH DR
WARRENDALE, PA 15086-7520                        1843    10/24/2013   Exide Technologies, LLC            $7,441.66                                                                                       $7,441.66
SEQUOIA CONSULTING GROUP INC
163 PLEASANT ST STE 4
ATTLEBORO, MA 02703                              284     7/12/2013    Exide Technologies, LLC                                       $0.00                                 $0.00                              $0.00
SERGE SAUVE ENRG.
31 PLACE RAVEL
DOLLARD DES ORMEAUX QC H9G 2L9 CANADA

CANADA                                           1710    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SERGE SAUVE ENRG.
31 PLACE RAVEL
DOLLARD DES ORMEAUX QC H9G 2L9

CANADA                                           1709    10/22/2013   Exide Technologies, LLC              $254.42                                                                                         $254.42
SERGIO & NANCY TORRES
7412 CALIFORNIA AVE
HUNTINGTON PARK, CA 90255-5903                   2927    11/2/2013    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
SERGIO A FUENTES
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                               3113    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
SERGIO ARANA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3740    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
SERGIO FLORES (FATHER)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4055     4/7/2015    Exide Technologies, LLC         Unliquidated                                                                                           $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
SERGIO FLORES (SON)
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             4056     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
SERGIO MORALES
530 S FERRIS AVE
LOS ANGELES, CA 90022                            3837    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                      $10,000.00
SERGIO MORALES
530 S FERRIS AVE
LOS ANGELES, CA 90022                            3854    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SERGIO ORTIZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3915    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
SERGIO SALAZAR GALINDO
PO BOX 455
BELL, CA 90201                                   3533    1/30/2014    Exide Technologies, LLC            $12,000.00                                                                                      $12,000.00
SERVICE TECH COOLING TOWERS
ATTN MR KELLY BOYD, CEO
801 S 29TH ST
CHICKASHA, OK 73018                               91     6/27/2013    Exide Technologies, LLC            $26,789.79                                                                                      $26,789.79
SERZANDO ROBELS
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3719    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
SETCO - SOUTHEST TIRE INC- IDABEL
PO BOX 809
IDABEL, OK 74745-0809                            917     10/7/2013    Exide Technologies, LLC              $390.00                                     $0.00                                                $390.00
SETCO INC.
SHARON BIRDSONG
PO BOX 809
IDABEL, OK 74745                                 918     10/7/2013    Exide Technologies, LLC            $16,075.44                                    $0.00                                             $16,075.44
SHAFER, MATTIE
27644 PARKWAY RD
EASTON, MD 21601-7200                            1438    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHAMBAUGH AND SON LP
P. O. BOX 1287
FORT WAYNE, IN 46801                             1426    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHAPIRO, ANDREW I
4074 TREEBROOK DR
HILLIARD, OH 43026                               2856    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHARON VANWINKLE
672 NELLIE BAKER RD
MC KEE, KY 40447-8788                            1949    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                       Current Priority   Current Secured                         Current Admin    Total Current
              Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                        Amount
SHARP BUSINESS SYSTEMS WAS/DOCUTEAM
DEPT 1212
PO BOX 121212
DALLAS, TX 75312-1212                          2222    10/28/2013   Exide Technologies, LLC              $178.86                                                         $0.00                            $178.86
SHARPE SERVICE CO LLC
4703 16TH AVE
PHENIX CITY, AL 36867                          111     6/28/2013    Exide Technologies, LLC            $10,984.12                                                                                      $10,984.12
SHAUB, PATRICIA
312 HOLLOW RD
NEW PROVIDENCE, PA 17560-9765                  2900    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHAUP, DAVID
C/O WILLIAMSON FRIEDBERG & JONES LLC
ATTN JOSEPH H JONES JR, ESQ
10 WESTWOOD RD PO BOX 1190
POTTSVILLE, PA 17901-2006                      1265    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SHAW ENVIRONMENTAL AND INFRASTRUCTURE
4171 ESSEN LANE, ATTN: STEVE GUILLOT
BATON ROUGE, LA 70809                          734     10/1/2013    Exide Technologies, LLC             $7,432.74                                                                                       $7,432.74
SHAW FISHMAN GLANTZ & TOWBIN LLC
321 N CLARK ST STE 800
CHICAGO, IL 60654                              1251    10/12/2013   Exide Technologies, LLC             $1,211.50                                                                                       $1,211.50
SHAY, ROBERT J
2 WINGED FOOT
MARTINEZ, GA 30907                             2292    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMHIS, TN 38101-2751                          1864    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                         465      8/5/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                         1862    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                         1863    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                         1865    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                         1866    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                         1867    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                         1868    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00




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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1869    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1870    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1871    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1872    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1873    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1874    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1875    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1876    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1877    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1878    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1879    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1880    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY COUNTY TRUSTEE
PO BOX 2751
MEMPHIS, TN 38101-2751                           1881    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHELBY, MARIE
4308 WELOTA DR
JACKSON, MS 39209-2640                           3206    11/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SHELL CHEMICAL LP
ATTN: TRAVIS TORRENCE
910 LOUISIANA ST RM 1162
HOUSTON, TX 77002                                2528    10/30/2013   Exide Technologies, LLC                    $1.00                                                                                        $1.00
SHELL OIL COMPANY
ATTN TRAVIS TORRENCE
910 LOUISIANA ST RM 1162
HOUSTON, TX 77002                                2527    10/30/2013   Exide Technologies, LLC                    $1.00                                                                                        $1.00

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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
SHEPPARD MULLIN RICHTER & HAMPTON LLP
30 ROCKEFELLER PLAZA 39TH FLOOR
NEW YORK, NY 10112                              2789    10/31/2013   Exide Technologies, LLC            $413,511.27                                                                                    $413,511.27
SHEROGAN, JACK
130 SUNNYSIDE CT
MILFORD, CT 06460                               1197    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHERRI HUFFER
315 LAKE ST
UPLAND, IN 46989                                4031    3/20/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHERRILL, RELDA
15445 W SHANGRI LA RD
SUPRISE, AZ 85379-5388                          1778    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHERTEK INC
3000 SHAWNEE IND WAY STE 110
SUWANEE, GA 30024                               1392    10/15/2013   Exide Technologies, LLC              $4,725.89                                                                                      $4,725.89
SHERTEK INC
3000A SHAWNEE INDUSTRIAL WAY STE 110
SUWANEE, GA 30024                               118     6/29/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SHERTEK INC.
3000 SHAWNEE IND. WAY, SUITE 110
SUWANEE, GA 30024                               1349    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHESTAKOFSKY, W D DOUGLAS & ALISON
4 JENNIFER CT
NEW PALTZ, NY 12561-4310                        2175    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SHIELDS ELECTRONICS SUPPLY INC
PO BOX 1388
BRISTOL, VA 24203-1388                          2157    10/28/2013   Exide Technologies, LLC                $88.90                                                        $0.00                             $88.90
SHIRLEY MORRIS
296 DAVID SHERMAN RD
NEW HEBRON, MS 39140                            3351    12/13/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SHOETERIA D/B/A L&M FOOTWEAR INC.
2345 S ATLANTIC BLVD
COMMERCE, CA 90040-1257                         1548    10/18/2013   Exide Technologies, LLC              $6,106.10                                                     $132.42                          $6,238.52
SHORES, WALTER
337 BOOKER LN
MADISON HEIGHTS, VA 24572-4019                  2291    10/29/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
SHORT'S LAWN & LANDSCAPE
6717 W CR 500 N
MUNCIE, IN 47304                                1298    10/15/2013   Exide Technologies, LLC             $10,325.00                                                       $0.00                         $10,325.00
SHOUN TRUCKING/CRESTMARK
PO BOX 682348
FRANKLIN, TN 37068                              1324    10/15/2013   Exide Technologies, LLC            $121,658.18                                                                                    $121,658.18
SHUEY, DAVID
1118 MAIDENCREEK RD
FLEETWOOD, PA 19522-8699                        1742    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SI SOLUTIONS INC
ATTN ROD MORROW
PO BOX 6437
FLORENCE, SC 29502                              1090    10/9/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00


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                                                                                                              Amount                                                       Amount
SIBOLD, LINDA
2000 NW 62ND ST
KANSAS CITY, MO 64151-2375                                2311    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SIDNEY LOPEZ-PAZ (MINOR)
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                    3699    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
SIEDE, ADOLPH
1194 SHERREN ST W
ROSEVILLE, MN 55113-4331                                  1559    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SIEMENS INDUSTRY INC
10 TECHNOLOGY DR
LOWELL, MA 01851                                          267      7/5/2013    Exide Technologies, LLC            $2,031.41                                                                                       $2,031.41
SIERRA GUERARA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                    3773    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
SIERRA LIQUIDITY FUND LLC - ASIGNEE & ATT-IN-FACT
FOR JAMES H LAAS CO INC - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                     341     7/22/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR A-1 BATTERY SHOP - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                     302     7/15/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR ADVANCED CONTROL SOLUTIONS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          618      9/9/2013    Exide Technologies, LLC              $199.00                                                   $12,493.00                         $12,692.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR AMERICAN FIRST AID SERVICES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          552     8/26/2013    Exide Technologies, LLC                                                                            $48.18                             $48.18
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR AMERICAN NATIONAL RECYCLING - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          1276    10/14/2013   Exide Technologies, LLC                                                                           $784.00                            $784.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR APPLIED THERMAL SYSTEMS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          617      9/9/2013    Exide Technologies, LLC              $105.79                                                    $5,031.00                          $5,136.79
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR AVATEL TECHNOLOGIES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          544     8/26/2013    Exide Technologies, LLC            $9,867.00                                                                                       $9,867.00




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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                              Amount                                                       Amount
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR BEARD IMPLEMENT - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                     550     8/26/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR CARL'S AUTO ELECTRIC - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          632     9/13/2013    Exide Technologies, LLC                                                                           $397.69                            $397.69
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR CIMCO RESOURCES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          1284    10/14/2013   Exide Technologies, LLC                                                                        $18,587.01                         $18,587.01
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR DE-MAR & ASSOCIATES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          1280    10/14/2013   Exide Technologies, LLC               $83.02                                                      $797.50                            $880.52
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR DE-MAR & ASSOCIATES INC - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                     594      9/3/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR DYNAFORM TECHNOLOGIES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          546     8/26/2013    Exide Technologies, LLC                                                                        $14,316.00                         $14,316.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR FIVE STAR FOOD SERVICE - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          339     7/22/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR FPT CANTON - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          1282    10/14/2013   Exide Technologies, LLC                                                                         $4,153.11                          $4,153.11
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR JACK'S SALVAGE AUTO PARTS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          442      8/2/2013    Exide Technologies, LLC                                                                         $1,735.30                          $1,735.30
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR JUST PALLETS & CRATES - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          441      8/2/2013    Exide Technologies, LLC                                                                           $593.25                            $593.25
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR KENDALL ELECTRIC INC - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          408     7/29/2013    Exide Technologies, LLC                                                                         $4,532.63                          $4,532.63
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR LUTZ SALES COMPANY - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                     407     7/29/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00



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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                              Amount                                                       Amount
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR MARK GRAY ENTERPRISES DBA J TOPYS - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                     1287    10/14/2013   Exide Technologies, LLC                                                                         $1,086.00                          $1,086.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR MECHANICAL EQUIPMENT - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          340     7/22/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00

SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR OLSON MANUFACTURING & DISTRIBUTION - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          545     8/26/2013    Exide Technologies, LLC                                                                           $875.00                            $875.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR PROHEAT INC - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          593      9/3/2013    Exide Technologies, LLC              $474.90                                                   $13,818.60                         $14,293.50
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR ROGAN INC - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                     619      9/9/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR SUPERIOR ELECTRIC MOTOR SERVICE - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          444      8/2/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR TED JOHNSON PROPANE - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          1286    10/14/2013   Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR THE PHONE CONNECTION - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          410     7/29/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR TITANIC CONTROLS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          551     8/26/2013    Exide Technologies, LLC                                                                         $2,343.84                          $2,343.84
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR TRADE CENTER AUTO - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          447      8/2/2013    Exide Technologies, LLC                                                                         $1,924.30                          $1,924.30
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR TRI-STATE FIRE EXTINGUISHER - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          631     9/13/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR WIESE - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                          549     8/26/2013    Exide Technologies, LLC              $204.70                                                    $2,937.77                          $3,142.47


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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                 Amount                                                       Amount
SIERRA LIQUIDITY FUND LLC - ASSIGNEE & ATT-IN-FACT
FOR WIRTZ MANUFACTURING - ASSIGNOR
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                        303     7/15/2013    Exide Technologies, LLC                    $0.00                                                $6,438.00                           $6,438.00
SIERRA LIQUIDITY FUND LLC ASSIGNEE & ATT IN FACT
FOR TEITECH COMMUNICATIONS - ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                             2642    10/31/2013   Exide Technologies, LLC                                                                       $131,048.58                        $131,048.58
SIERRA LIQUIDITY FUND LLC ASSIGNEE & ATT-IN-FACT
FOR HYLAND MOTOR CO-ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612-2405                                        2648    10/31/2013   Exide Technologies, LLC                                                                           $322.50                            $322.50
SIERRA LIQUIDITY FUND LLC ASSIGNEE & ATT-IN-FACT
FOR MIDWEST SCRAP MANAGEMENT-ASSIGNOR
19772 MACARTHUR BLVD, STE 200
IRVINE, CA 92612                                             2646    10/31/2013   Exide Technologies, LLC                                                                        $25,221.50                         $25,221.50
SIERRA LIQUIDITY FUND, LLC AS TRANSFEREE OF BOSCHERT
EQUIPMENT CO
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                        492     8/15/2013    Exide Technologies, LLC              $9,715.21                                                  $4,047.00                         $13,762.21
SIERRA LIQUIDITY FUND, LLC AS TRANSFEREE OF GELLCO
CLOTHING & SHOES INC
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                        390     7/26/2013    Exide Technologies, LLC              $4,119.25                                                  $1,450.55                           $5,569.80
SIERRA LIQUIDITY FUND, LLC AS TRANSFEREE OF TOTAL HEALTH
AND SAFETY
19772 MACARTHUR BLVD STE 200
IRVINE, CA 92612-2405                                        1076    10/9/2013    Exide Technologies, LLC              $1,861.87                                                    $164.32                           $2,026.19
SIGOURNEY TRACTOR AND IMPLEMENT
C/O CATHY MASTERSON
1407 200TH AVE
SIGOURNEY, IA 52591                                          351     7/22/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SILKROAD TECHNOLOGY INC
ATTN JACQUIE WEAKLAND
102 W THIRD ST STE 250
WINSTON-SALEM, NC 27101                                       85     6/26/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SILVA, JOSE
23070 PRIMAVERA DR
HARLINGEN, TX 78552-2402                                     2123    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SILVIA ROMO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                          3563    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
SIMONS TRUCKING INC
ATTN JUSTIN PHILIPP
920 SIMON DR
FARLEY, IA 52046                                             2417    10/30/2013   Exide Technologies, LLC            $288,633.92                                                                                   $288,633.92



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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
SIMPLEXGRINNELL
ATTN BANKRUPTCY
50 TECHNOLOGY DRIVE
WESTMINSTER, MA 01441                           742     10/2/2013    Exide Technologies, LLC            $7,042.78                                                                                       $7,042.78
SIMS, ALFRED
255 UNION AVE
VICKSBURG, MS 39183-9096                        2952    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
SIMS, ANNETTE
255 UNION AVE
VICKSBURG, MS 39183-9096                        2947    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
SINGLETON, WILLIAM
611 VZ COUNTY ROAD 3828
WILLS POINT, TX 75169-6639                      1125    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SINNK, CHESTER
62 HOOVER CT
BOYERTOWN, PA 19512-1707                        2211    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SKYLINE AUTO PARTS
21905 AL HWY 79
SCOTTSBORO, AL 35768                            201      7/6/2013    Exide Technologies, LLC              $747.95                                                                                         $747.95
SLIFKA, JOHN
N34W23886 GRACE AVE
PEWAUKEE, WI 53072                              2829    10/31/2013   Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
SMALLWOOD LOCKSMITHS
1008 N 18TH ST
KANSAS CITY, KS 66102-4230                      991     10/7/2013    Exide Technologies, LLC            $1,379.52                                                                                       $1,379.52
SMITH JR, HAROLD H
2023 E 230 S
SPANISH FORK, UT 84660                          2350    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SMITH, BOBBIE
463 OLD ENOCHS RD
FLORENCE, MS 39073-9034                         1680    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SMITH, CHARLES
100 VICKSBURG CT
OCEAN SPRINGS, MS 39564-5934                    1294    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SMITH, DAVID
2496 ANDERS RD
THREE LAKES, WI 54562-9374                      288     7/12/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SMITH, DAVID
2496 ANDERS RD
THREE LAKES, WI 54562-9374                      787     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SMITH, DAVID E
25438 OAK ALLEY
LEESBURG, FL 34748                              1299    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SMITH, FREDDIE
1025 MEADOW ST
VICKSBURG, MS 39180-4165                        2716    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SMITH, GLADYS
1717 MARTIN L. KING
VICKSBURG, MS 39180                             2967    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00


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                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
SMITH, JOANNIE
101 MELROSE AVE
VICKSBURG, MS 39180-6186                         2888    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
SMITH, KARL
621 W 59TH PL
LOS ANGELES, CA 90044-6309                       2009    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SMITH, MALCOLM
1011 W MCDONALD LN
LORMAN, MS 39096-9306                            1716    10/22/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SMITH, RODNEY
404 FORD DR
PETAL, MS 39465-2726                             2337    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SMITH, ROSANA
1113 25TH ST
FORT MADISON, IA 52627-3922                      1453    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
SMITH, SAMMIE
PO BOX 3168
SUMTER, SC 29151-3168                            1727    10/22/2013   Exide Technologies, LLC                                       $0.00                                 $0.00                              $0.00
SMITH, UTLEY W
729 FOX HILLS DR
SUN CITY CENTER, FL 33573                        1048    10/8/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SMITH, WOODROW
177 HIGHWAY 478
NEWHEBRON, MS 39140-3786                         895     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
SNAPP, SUSAN
770 KAHL ST NE
PALMYRA, IN 47164-8890                           2085    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SOCORRO ANALCO
3631 1/2 TRINITY ST
LOS ANGELES, CA 90011                            3819    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
SOCORRO SALAZAR
144 1/2 N ROWAN AVE
LOS ANGELES, CA 90063                            3850    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
SOCORRO VALENCIA GUERRERO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2545    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
SODEXO C/O P&G
ROUTE 87
MEHOOPANY, PA 18629-0032                         1151    10/5/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SOFIA GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2586    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
SOLBERG MFG. INC.
1151 ARDMORE AVE
ITASCA, IL 60143-1387                            1367    10/15/2013   Exide Technologies, LLC             $1,493.68                                                                                       $1,493.68


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                Creditor Name and Address                 Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                Amount                                                        Amount
SOLIMINE, STEPHEN
28289 JENEVA WAY
BONITA SPRINGS, FL 34135                                    1542    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                   $0.00
SONABEND, SOL
3701 NE 200 ST
AVENTURA, FL 33180                                          2926    11/2/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
SONAR CREDIT PARTNERS II, LLC AS TRANSFEREE OF NORMAN P
MOELLER UNIVERSAL INSTRUMENT CO
ATTN MICHAEL GOLDBERG
80 BUSINESS PARK DR, STE 208
ARMONK, NY 10504                                            1969    10/25/2013   Exide Technologies, LLC              $245.88                                                     $2,400.00                            $2,645.88
SONIA ANGUIANO GUARDIAN OF MINOR
JUAN LUIS ANGUIANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                          3014    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00

SONIA ANGUIANO GUARDIAN OF MINOR KIMBERLY ANGUIANO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                          3015    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                      $5,000,000.00
SONIA FUENTES
10726 LA REYNA AVENUE
DOWNEY, CA 90241                                            3374    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
SONITROL SECURITY SYSTEMS OF MUNCIE,LLC
208 NW THIRD STREET
EVANSVILLE, IN 47708-1234                                   1300    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
SOON JA CHOI
405 S INDIANA ST
LOS ANGELES, CA 90063-3908                                  3530    1/30/2014    Exide Technologies, LLC         Unliquidated                                                                                             $0.00
SOUTH CAROLINA DEPARTMENT OF HEALTH &
ENVIRONMENTAL CONTROL
C/O OFFICE OF GENERAL COUNSEL
ATTN CLAIRE PRINCE
2600 BULL STREET
COLUMBIA, SC 29201                                          3338    12/9/2013    Exide Technologies, LLC       $14,156,309.05          Unliquidated       Unliquidated                           Unliquidated     $14,156,309.05
SOUTH COAST AIR QUALITY MANAGEMENT DISTRICT
C/O KLEE TUCHIN BOGDANOFF & STERN LLP
ATTN ROBERT J PFISTER, ESQ
1999 AVENUE OF THE STARS 39TH FL
LOS ANGELES, CA 90067                                       3966    8/22/2014    Exide Technologies, LLC                    $0.00                                                                        $0.00            $0.00
SOUTH COAST AIR QUALITY MANAGEMENT DISTRICT
C/O KLEE TUCHIN BOGDANOFF & STERN LLP
ATTN ROBERT J PFISTER, ESQ
1999 AVENUE OF THE STARS 39TH FL
LOS ANGELES, CA 90067                                       4123    5/30/2015    Exide Technologies, LLC                                                                                                 $0.00            $0.00




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                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                       Amount
SOUTH COAST AIR QUALITY MANAGEMENT DISTRICT
C/O WERB & SULLIVAN
ATTN "J" JACKSON SHRUM, ESQ
300 DELAWARE AVE STE 1300
WILMINGTON, DE 19801                                  3317    12/9/2013    Exide Technologies, LLC       $38,915,000.00                                                                                   $38,915,000.00
SOUTHERN CALIFORNIA GAS COMPANY
C/O THE GAS COMPANY
MASS MARKETS CREDIT & COLLECTIONS
PO BOX 30337
LOS ANGELES, CA 90030-0337                            358     7/16/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SOUTHERN COUNTIES LUBRICANTS LLC
ATTN LEGAL DEPT
1800 W KATELLEA AVE STE 400
ORANGE, CA 92867                                      649     9/17/2013    Exide Technologies, LLC             $5,120.37                                                                                       $5,120.37
SOUTHERN COUNTIES OIL CO
A CALIFORNIA LIMITED PARTNERSHIP DBA SC FUELS
ATTN LEGAL DEPARTMENT
1800 W KATELLA AVE STE 400
ORANGE, CA 92867                                      4165    12/1/2015    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SOUTHERN COUNTIES OIL CO A CALIFORNIA LIMITED
PARTNERSHIP DBA SC FUELS
1800 W KATELLA AVE STE 400
ORANGE, CA 92867                                      379     7/25/2013    Exide Technologies, LLC            $23,931.01                                                                                     $23,931.01
SOUTHERN COUNTIES OIL CO A LIMITED PARTNERSHIP
DBA SC FUELS
ATTN LEGAL DEPT
1800 W KATELLA AVE STE 400
ORANGE, CA 92867                                      4164    11/30/2015   Exide Technologies, LLC             $3,250.00                                                                                       $3,250.00
SOUTHERN PLUMBING COMPANY
PO BOX 48180
ATLANTA, GA 30362-1180                                831     10/4/2013    Exide Technologies, LLC             $1,284.28                                                      $41.77                           $1,326.05
SOUTHERN STATES CLEANING INC-FLORENCE
1601 E DANVILLE DR
FLORENCE, SC 29505-6208                               779     10/3/2013    Exide Technologies, LLC              $780.00                                                                                         $780.00
SOUTHWEST PAPER
3930 N BRIDGEPORT CIR
WICHITA, KS 67219-3322                                1293    10/15/2013   Exide Technologies, LLC              $195.86                                                                                         $195.86
SOUTHWESTERN BELL TELEPHONE COMPANY
C/O AT&T SERVICES INC
ATTN KAREN A CAVAGNARO, LEAD PARALEGAL
ONE AT&T WAY RM 3A104
BEDMINSTER, NJ 07921                                  2988    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
SOUTHWESTERN ELECTRICAL CO INC
1638 E FIRST ST
WICHITA, KS 67214                                      29     6/20/2013    Exide Technologies, LLC            $61,673.00                                                  $69,468.36                        $131,141.36
SOWERS, RICHARD
PO BOX 212
FRANKFORT, IN 46041-0212                              1381    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00




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                                                                                                     Current General                                               Current 503(b)(9)
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               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                         Amount                                                        Amount
SPARKS COMMERCIAL TIRE INC
PO BOX 177
FINDLAY, OH 45839                                    109     6/28/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SPARKS COMMERCIAL TIRE, INC.
PO BOX 177
FINDLAY, OH 45839-0177                               733     10/1/2013    Exide Technologies, LLC             $21,069.96                                                                                     $21,069.96
SPARKS, OTIS
7067 HIGHWAY 3
BENTON, LA 71006-3905                                1808    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SPEARS FIRE & SAFETY SERVICES, INC
287 JACKSON PLZ
ANN ARBOR, MI 48103-1920                             829     10/4/2013    Exide Technologies, LLC               $239.16                                                                                         $239.16
SPEICHER, NEVIN
601 JAMES ROSS DR
EXTON, PA 19341-2353                                 1364    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SPENCER FANE BRITT & BROWNE LLP
ATTN JAMES T PRICE, ESQ
1000 WALNUT ST STE 1400
KANSAS CITY, MO 64106                                663     9/19/2013    Exide Technologies, LLC             $29,859.82                                                                                     $29,859.82
SPENCER TURBINE COMPANY, THE
ATTN MONIQUE DUNN
600 DAY HILL RD
WINDSOR, CT 06095                                    3958     7/7/2014    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
SPF AMERICA
TONY TOTH
5512 SOUTH 66TH STREET
FORTSMITH, AR 72903                                  1410    10/16/2013   Exide Technologies, LLC            $114,933.28                                                 $236,024.10                        $350,957.38
SPHERION STAFFING
ATTN CAROL TRAHAN
2513 WESLEY ST STE 4
JOHNSON CITY, TN 37601-1762                          262      7/1/2013    Exide Technologies, LLC              $7,569.00                                                                                      $7,569.00
SPIEGELBERG, BERNARD
N 112 W 20905 MEQUON
GERMANTOWN, WI 53022                                 1561    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SPIVEY, NORMA
408 MORRISON AVE
HOT SPRINGS, AR 71901-6829                           1646    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SPOKANE COUNTY TREASURER
PO BOX 2165
SPOKANE, WA 99210-2165                               843     10/4/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
SPRING BRANCH INDEPENDENT SCHOOL DISTRICT
C/O PERDUE BRANDON FIELDER COLLINS & MOTT LLP
ATTN OWEN M SONIK
1235 NORTH LOOP WEST STE 600
HOUSTON, TX 77008                                     80     6/24/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
SPRINGFIELD, CHESTER
333 N INDUSTRIAL AVE
KANKAKEE, IL 60901-2650                              1812    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00




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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
SPRINT NEXTEL
ATTN BANKRUPTCY DEPT
PO BOX 7949
OVERLAND PARK, KS 66207-0949                       505     8/16/2013    Exide Technologies, LLC               $699.29                                                                                         $699.29
SPRUILL, THOMAS
4038 RED RIVER LANE
GONZELES, LA 70737                                 2996    11/5/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
SPURGEON, MARK
1533 NE SOUTH NEBERGALL LOOP
ALBANY, OR 97321-1572                              2225    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SSI (US) INC DBA SPENCER STUART
C/O TERRY THORNLEY
353 N CLARK STE 2400
CHICAGO, IL 60654                                  801     10/3/2013    Exide Technologies, LLC            $134,065.00                                                                                    $134,065.00
STAAT, JUNE
4150 PORTILLO RD APT 10
SPRING HILL, FL 34608-7225                         1218    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STABIO - FERRIERE DI STABIO
C/O GIBBONS P.C.
ATTN: DAVID N. CRAPO
ONE GATEWAY CENTER
NEWARK, NJ 07102-5310                              2285    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STACY, DAVID
185 KY HIGHWAY 1209
MC KEE, KY 40447-9112                              2457    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STADALMAN, RICHARD
705 SAVANNAH ST
MOUND CITY, MO 64470-1134                          1143    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STALCOP LLC
C/O COFACE NORTH AMERICA INSURANCE COMPANY
50 MILLSTONE RD BLDG 100 STE 360
EAST WINDSOR, NJ 08520                              60     6/22/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
STAMATIS, CATHY
8833 KERR-ROSEMARK RD
ROSEMARK, TN 38053                                 2171    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
STAMMER, DANIEL
7838 LA MIRADA DR
BOCA RATON, FL 33433                               1142    10/10/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
STAND ENERGY CORPORATION
1077 CELESTIAL ST., SUITE 110
CINCINNATI, OH 42502-1629                          1146    10/10/2013   Exide Technologies, LLC              $7,119.86                                                                                      $7,119.86
STANEFSKI, EUGENE
6240 BOXMAN AVE
INVER GROVE HEIGHTS, MN 55076-5502                 2012    10/26/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
STANION WHOLESALE ELECTRIC CO INC
C/O MORRIS LAING EVANS BROCK & KENNEDY CHTD
ATTN KARL R SWARTZ
300 N MEAD STE 200
WICHITA, KS 67202                                  1267    10/12/2013   Exide Technologies, LLC             $58,473.80                                                   $4,379.00                         $62,852.80


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                    Amount                                                       Amount
STANLEY PESKIN & RUTH PESKIN
2894 W 8TH ST APT 4C
BROOKLYN, NY 11224                              1785    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
STANTON, JANET
559 ANN ST
FRANKFORT, IN 46041-3418                        1895    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STANTON, ROSEMARIE
764 MOUNT ROYAL AVE
LANGHORNE, PA 19047-3616                        1250    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STAPLES INC
ATTN DANEEN KASTANEK
300 ARBOR LAKE DR
COLUMBIA, SC 29223                               53     6/18/2013    Exide Technologies, LLC             $31,776.92                                                                                     $31,776.92
STAPLES PRINT SOLUTIONS
C/O ANNA STOHLMAN
4205 S 96TH ST
OMAHA, NE 68127                                 706     9/30/2013    Exide Technologies, LLC             $32,882.53                                                                                     $32,882.53
STAR MECHANICAL SUPPLY CO INC
ATTN CAROLYN FINCHER
PO BOX 109
SPRINGDALE, AR 72765                            332     7/19/2013    Exide Technologies, LLC               $228.09                                                       $0.00                             $228.09
STAR TRANSPORTATION
ATTN JANETTE WHITE, CREDIT DEPT
PO BOX 22997
CHATTANOOGA, TN 37422                           670     9/20/2013    Exide Technologies, LLC            $173,759.38                                                                                    $173,759.38
STAR TRUCK RENTALS, INC.
3940 EASTERN AVE SE
GRAND RAPIDS, MI 49508-2417                     1230    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STARKEY, JOHN
5480 4TH ST
ROSEVILLE, OH 43777-9501                        2459    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
STARLINK LOGISTICS INC
C/O CABLE HUSTON
ATTN JAMES E BENEDICT
1001 SW 5TH AVE STE 2000
PORTLAND, OR 97204-1136                         2711    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPERATIONS BRANCH MIC 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                       4071    4/23/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPERATIONS BRANCH MIC 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                       4084     5/8/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPERATIONS BRANCH MIC:55
PO BOX 942879
SACRAMENTO, CA 94279-0055                       1273    10/14/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00



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               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                         Amount                                                       Amount
STATE BOARD OF EQUALIZATION
SPECIAL OPERATIONS BRANCH MIC55
PO BOX 942879
SACRAMENTO, CA 94279-0055                            3972    10/1/2014    Exide Technologies, LLC                                       $0.00                                                                     $0.00
STATE OF HAWAII DEPARTMENT OF TAXATION
C/O STATE TAX COLLECTOR
ATTN BANKRUPTCY UNIT
PO BOX 259
HONOLULU, HI 96809                                   1025    10/8/2013    Exide Technologies, LLC              $645.22                $121.41                                                                   $766.63
STATE OF IOWA
IOWA DEPARTMENT OF REVENUE
ATTN BANKRUPTCY UNIT
PO BOX 10471
DES MOINES, IA 50306                                 3980    11/17/2014   Exide Technologies, LLC                                                                                                $0.00            $0.00
STATE OF LOUISIANA
LOUISIANA DEPARTMENT OF REVENUE
PO BOX 66658
BATON ROUGE, LA 70896                                1271    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
ATTN HEATHER L DONALD ASSISTANT AG
CADILLAC PLACE STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                    3905    6/12/2014    Exide Technologies, LLC                                                                                                $0.00            $0.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
ATTN HEATHER L DONALD ASST AG
CADILLAC PLACE, STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                    3894    3/31/2014    Exide Technologies, LLC                                                                                                $0.00            $0.00

STATE OF MICHIGAN DEPARTMENT OF TREASURY
C/O BILL SCHUETTE ATTORNEY GENERAL
ATTN HEATHER L DONALD ASSISTANT ATTORNEY GENERAL
CADILLAC PLACE STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                    3974    10/6/2014    Exide Technologies, LLC                                                                                                $0.00            $0.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
CADILLAC PL STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                    4082    4/29/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
CADILLAC PL STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                    4096    5/20/2015    Exide Technologies, LLC            $9,966.00                $434.00                                                                $10,400.00
STATE OF MICHIGAN DEPARTMENT OF TREASURY
CADILLAC PLACE STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                    3432    1/10/2014    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00




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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                          Amount                                                        Amount
STATE OF MICHIGAN DEPARTMENT OF TREASURY
CADILLAC PLACE STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                     3904    6/12/2014    Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
STATE OF MICHIGAN, DEPARTMENT OF TREASURY
ATTN HEATHER L DONALD ASSISTANT AG
CADILLAC PL STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                     1929    10/24/2013   Exide Technologies, LLC                                                                                                 $0.00            $0.00
STATE OF MICHIGAN, DEPARTMENT OF TREASURY
CADILLAC PL STE 10-200
3030 W GRAND BLVD
DETROIT, MI 48202                                     1928    10/24/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                      $0.00
STATE OF NEBRASKA
TREASURER OF DOUGLAS COUNTY NEBRASKA
ATTN TIMOTHY K DOLAN, DEPUTY COUNTY ATTORNEY
909 CIVIC CENTER, 1819 FARNAM ST
OMAHA, NE 68183                                       103     6/25/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                   $0.00
STATE OF NEW JERSEY - DIVISION OF TAXATION
BANKRUPTCY SECTION
PO BOX 245
TRENTON, NJ 08695-0245                                513     8/19/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
STATE OF OKLAHOMA
OFFICE OF THE ATTORNEY GENERAL
ATTN: SCOTT PRUITT
313 NE 21ST STREET
OKLAHOMA CITY, OK 73105                               1801    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00

STATE OF OKLAHOMA
OKLAHOMA DEPARTMENT OF ENVIRONMENTAL QUALITY
707 N ROBINSON AVE
OKLAHOMA CITY, OK 73102-6010                          3380    12/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
STATE OF RHODE ISLAND & PROVIDENCE PLANTATIONS
DEPARTMENT OF REVENUE
DIVISION OF TAXATION
ONE CAPITOL HILL
PROVIDENCE, RI 02908-5800                             1217    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
STATE SAFETY & COMPLIANCE
5338 VICTORY DRIVE SUITE A
INDIANAPOLIS, IN 46203                                2626    10/31/2013   Exide Technologies, LLC            $151,843.82                                                  $16,280.27                         $168,124.09
STATE WIDE HVAC CO.
58 CLINTON ROAD
FAIRFIELD, NJ 07004                                   815     10/4/2013    Exide Technologies, LLC               $457.96                                                                                          $457.96
STEDMAN MACHINE COMPANY
129 FRANKLIN ST
AURORA, IN 47001                                      679     9/23/2013    Exide Technologies, LLC              $9,626.45                                                                                       $9,626.45




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                                                                                                                           Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
STEFAN STUBING
C/O DEUTSCHE EXIDE GMBH
INDUSTRIESTRASSE
GERMANY 63652

GERMANY                                            2492    10/30/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
STEFFEN, DANIEL G
5229 CHASE OAKS DR
SARASOTA, FL 34241                                 1135    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STEIN INC
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                             269      7/9/2013    Exide Technologies, LLC             $96,154.75                                                                                     $96,154.75
STELLA MARIS ABRAHAN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3908    6/25/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
STELLAR MANUFACTURING COMPANY
1647 SAUGET BUSINESS BLVD
SAUGET, IL 62206                                   186      7/5/2013    Exide Technologies, LLC             $44,429.30                                                   $5,052.69                         $49,481.99
STEPHANIE BAUTISTA
735 S FORD BLVD APT 12
LOS ANGELES, CA 90022-2448                         2632    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
STEPHANIE CAMPBELL
640 E 77TH ST
LOS ANGELES, CA 90001-2813                         3439    1/17/2014    Exide Technologies, LLC                                                      $5,000.00                                               $5,000.00
STEPHANIE SUASTEGUI
3800 E SLAUSON AVE
MAYWOOD, CA 90270                                  3825    1/31/2014    Exide Technologies, LLC             $10,000.00                                                                                     $10,000.00
STEPHEN GIOVANNIELLO
C/O THE GUCCIARDO LAW FIRM, PLLC
ATTN: THOMAS P. RAM, ESQ.
170 OLD COUNTRY RD STE 609
MINEOLA, NY 11501-4313                             2845    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STEPHEN ROJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3029    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
STEPHENSON, RUBY
172 N JACKSON AVE
BRADLEY, IL 60915-1826                             1475    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
STEVE EQUIHUA SR
1500 S DUNCAN AVE
COMMERCE, CA 90040                                 2415    10/30/2013   Exide Technologies, LLC            $225,000.00                                                                                    $225,000.00
STEVE FUENTES
10726 LA REYNA AVENUE
DOWNEY, CA 90241                                   3377    12/26/2013   Exide Technologies, LLC         Unliquidated                                                                                            $0.00


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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
STEVEN J CASALE
5 JOMERLYN DR
TAYLOR, PA 18517-1321                                  3886     3/3/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
STEVENSON, JOANN
250 BERRYMAN RD
VICKSBURG, MS 39180-4453                               2896    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
STEWART, VIVIEN
3023 SE GLADSTONE ST
PORTLAND, OR 97202-3553                                2907    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
STONCOR GROUP INC BY & THROUGH ITS STONHARD DIV
C/O CAPEHART & SCATCHARD PA (SIS)
8000 MIDLANTIC DR STE 300-S
MT LAUREL, NJ 08054                                    1166    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STONCOR GROUP INC BY AND THROUGH ITS
STONHARD DIVISION
C/O CAPEHART & SCATCHARD PA (SIS)
8000 MIDLANTIC DR STE 300-S
MT LAUREL, NJ 08054                                    3259    11/22/2013   Exide Technologies, LLC            $79,610.00                                                                                      $79,610.00
STONCOR GROUP INC BY AND THROUGH ITS
STONHARD DIVISION
C/O CAPEHART & SCATCHARD PA (SIS)
8000 MIDLANTIC DR STE 300-S
MT LAUREL, NJ 08054                                    4157    10/20/2015   Exide Technologies, LLC            $16,688.00                                                                                      $16,688.00
STONCOR GROUP INC BY AND THROUGH ITS
STONHARD DIVISION
C/O CAPEHART & SCATCHARD PA (SIS)
8000 MIDLANTIC DR STE 300-S
MT LAUREL, NJ 08054                                    4158    10/20/2015   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STONE EQUIPMENT CO-CORONA
341 S MAPLE ST
CORONA, CA 92880-6907                                  1755    10/23/2013   Exide Technologies, LLC             $2,204.67                                                                                       $2,204.67
STONE EQUIPMENT COMP
341 S. MAPLE STREET
CORONA, CA 92880                                       1754    10/23/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STONE, ALEXANDER
8968 LANGHORNE RD
ESMONT, VA 22937                                       1719    10/22/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
STORAGE BATTERY SYSTEMS INC.
N56 W16665 RIDGEWOOD DRIVE
MENOMONEE FALLS, WI 53052                              960     10/7/2013    Exide Technologies, LLC              $565.00                                                                                          $565.00
STORY, LINDA
1002 BELT ST
JONESBORO, AR 72401-2123                               2520    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
STOUT, JAMES
3201 S CHEROKEE RD
MUNCIE, IN 47302-5566                                  1351    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
STRATUS BUILDING SOLUTIONS
10530 VICTORY BLVD
NORTH HOLLYWOOD, CA 91606                              317     7/17/2013    Exide Technologies, LLC             $4,660.00                                                        $0.00                          $4,660.00


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               Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
STRATUS BUILDING SOLUTIONS
10530 VICTORY BLVD
NORTH HOLLYWOOD, CA 91606                          469     8/10/2013    Exide Technologies, LLC              $5,200.00                $0.00              $0.00               $0.00                          $5,200.00
STRAUSSER, DANIEL
31 GRANT ST
WELLSBORO, PA 16901-1932                           2718    10/31/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
STRICKLAND, VELMA
984 TRUCE RD
HOLTWOOD, PA 17532-9669                            1005    10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
STRINGER, ANTHONY
971 OMEGA DR
COLUMBUS, GA 31907-5312                            3328    12/9/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
STRIVE LOGISTICS LLC
PO BOX 88266
CHICAGO, IL 60680                                  1893    10/25/2013   Exide Technologies, LLC            $104,876.53                                                       $0.00                        $104,876.53
STROMQUIST
PO BOX 724688
ATLANTA, GA 31139                                  636     9/13/2013    Exide Technologies, LLC              $1,705.03                                                                                      $1,705.03
STUART C IRBY CO
PO BOX 1819
JACKSON, MS 39215-1819                             2992    11/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
STUART, DIANE
1029 24TH AVE SE
ALBANY, OR 97322-5528                              2633    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SUBURBAN LANCASTER SEWER AUTHORITY
C/O BLAKINGER BYLER & THOMAS PC
ATTN FRANK P MINCARELLI, ESQ
28 PENN SQ
LANCASTER, PA 17603                                874     10/5/2013    Exide Technologies, LLC                                                      $1,613.11                                              $1,613.11
SULLIVAN MARGARET M IRREV TR DTD 06/06/1996
C/O JOHN J KATSOCK TTEE
2215 YARDLEY RD
YARDLEY, PA 19067                                  2006    10/26/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SULLIVAN, EILEEN G
220-55 46TH AVE APT 12-C
BAYSIDE, NY 11361-3663                             2985    11/2/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
SULLIVAN, VENITA
111 UNCLE LEO DR UNIT D
BRADLEY, IL 60915-1562                             1165    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SULPIZIO INC.
1211 CLEARBROOK RD
WEST CHESTER, PA 19380-3941                        780     10/3/2013    Exide Technologies, LLC               $210.00                                                                                         $210.00
SUMEEKO LTD
41400 EXECUTIVE DR
HARRISON TWP, MI 48045                              83     6/26/2013    Exide Technologies, LLC             $44,550.00                $0.00                             $21,330.00                         $65,880.00
SUMMERLIN-SCALE COMPANY INC
998 HIGHWAY 469 N
PEARL, MS 39208-8023                               2078    10/28/2013   Exide Technologies, LLC               $420.86                                                                                         $420.86




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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
SUMMERS HARDWARE & SUPPLY CO
400 BUFFALO ST
PO BOX 210
JOHNSON CITY, TN 37605-0210                        611      9/9/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
SUMMERS HARDWARE & SUPPLY CO
400 BUFFALO ST
PO BOX 210
JOHNSON CITY, TN 37605-0210                        3889    3/14/2014    Exide Technologies, LLC              $8,611.34                                                      $75.73                          $8,687.07
SUNBEAM PROPERTIES INC
1401 79TH ST CAUSEWAY
MIAMI, FL 33141                                    585     8/30/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SUNBELT ELECTRIC
ATTN HELEN
6265 SAN FERNANDO RD
GLENDALE, CA 91201                                 565     8/27/2013    Exide Technologies, LLC                                                     $50,188.00               $0.00                         $50,188.00
SUNTECK TRANSPORT CO INC
ATTN LEGAL DEPT
13107 ATLANTIC BLVD STE 201
JACKSONVILLE, FL 32225                             1515    10/18/2013   Exide Technologies, LLC              $6,660.15                                                                                      $6,660.15
SUPER SERVICE LLC
6000 CLAY AVE
GRAND RAPIDS, MI 49548                              2      6/13/2013    Exide Technologies, LLC             $22,054.10                                                                                     $22,054.10
SUPERIOR ELECTRIC MOTOR SERVICE
4623 HAMPTON ST
VERNON, CA 90058                                   445      8/2/2013    Exide Technologies, LLC              $3,471.57                                                                                      $3,471.57
SUPERIOR GRAPHITE CO
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                             529     8/19/2013    Exide Technologies, LLC             $12,240.00                                                                                     $12,240.00
SUPERIOR PLUMBING
1645 COPPER CT
SALINA, KS 67401                                    55     6/18/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SUPERIOR PLUMBING
1645 COPPER CT
SALINA, KS 67401                                    56     6/20/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
SUPERIOR PLUMBING & HEAT CO INC
1645 COPPER CT
SALINA, KS 67401-4687                              2834    10/31/2013   Exide Technologies, LLC            $137,071.35                                                                                    $137,071.35
SUPERIOR SERVICE CO., INC.
840 E MURDOCK ST
WICHITA, KS 67214-3836                             1237    10/12/2013   Exide Technologies, LLC               $527.50                                                        $0.00                            $527.50
SUPERIOR SIGNALS INC
BOX 843214
KANSAS CITY, MO 64184                              1463    10/17/2013   Exide Technologies, LLC             $98,497.00                                                  $33,608.05                        $132,105.05
SUSAN EDWARDS
601 ROSSVILLE AVE
FRANKFORT, IN 46041-1626                           2487    10/30/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SUSAN HOLLIN SULLIVAN
1115 SILVER LAKE LN
BLUE BELL, PA 19422-1940                           3340    12/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
SUTTON, JAMES
3112 ANDORA TRL SW
MARIETTA, GA 30064-2455                          3346    12/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SUZANNE BOLGER
C/O CHERYL BERGIAN LAW OFFICE
PO BOX 2152
FARGO, ND 58108-2152                             2730    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SWARTZ, MARGARET W
304 ROSLYN RD
RICHMOND, VA 23226                               3228    11/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SWARTZ, W BRUCE
304 ROSLYN RD
RICHMOND, VA 23226                               3229    11/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
SWEENEY, JAMES T
441 DEGLER AVENUE
LEESPORT, PA 19533                               1953    10/25/2013   Exide Technologies, LLC             $42,632.69                $0.00              $0.00                                             $42,632.69
SWEET, RICHARD
2031 SE 74TH AVE
HILLSBORO, OR 97123-6504                         1247    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SWINEHART SR., ROBERT
245 BUTTERCUP DR
NEW PROVIDENCE, PA 17560-9612                    1310    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
SYDNEY VALENCIA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2538    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
SYKES, JOHNNIE
7167 E ILLINOIS ST
SAINT ANNE, IL 60964-5204                        2701    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SYKES, ROGER
3847 E STATE ROUTE 17
KANKAKEE, IL 60901-8128                          1246    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
SYLVIA D ELKISCH
5611 E MISSION WAY
LOS ANGELES, CA 90040-1543                       3875     2/7/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
SYLVIA NUNEZ
6318 LOMA VISTA AVE
BELL, CA 90201                                   3458    1/28/2014    Exide Technologies, LLC        $1,000,000.00                                                                                     $1,000,000.00
SYNTERRA
148 RIVER ST STE 220
GREENVILLE, SC 29601-2567                        2147    10/28/2013   Exide Technologies, LLC             $59,603.52                                                                                     $59,603.52
SYSTEM GROUP, THE
C/O THE LAW OFFICE OF K. SMARTT
ATTN: KEITH SMARTT
P.O. BOX 869-B
MCMINNVILLE, TN 37111                            2843    10/31/2013   Exide Technologies, LLC            $113,196.76                                                  $17,500.00                        $130,696.76




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                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address             Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
SZEMBORSKI, RUTH
500 SYCAMORE LN
APT 107
WOODSTOCK, GA 30188-7320                                2308    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
SZWAST, JOHN
10 EVERGREEN LN
HAMILTON SQUARE, NJ 08690-3114                          1084    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                       $0.00
TRG
9440 E SOUTH KIPP RD
GYPSUM, KS 67448-9709                                   2198    10/28/2013   Exide Technologies, LLC              $910.00                                                                                         $910.00
TALLER, ILDA MONETTE
1175 YORK AVE APT 2N
NEW YORK, NY 10065                                      1575    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TALOMA SANTIBANEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                  3710    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
TANDEM LOGISTICS INC
2911 AW GRIMES BLVD STE 400
PFLUGERVILLE, TX 78660                                  806     10/4/2013    Exide Technologies, LLC            $7,869.57                                                        $0.00                          $7,869.57
TANIA GUILLEN
810 COMMERCIAL PL APT C
SOUTH GATE, CA 90280                                    3252    11/22/2013   Exide Technologies, LLC                                  $30,000.00                                                               $30,000.00
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR CHROMA CORPORATION
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                           747     10/2/2013    Exide Technologies, LLC                                                                         $6,354.20                          $6,354.20
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR CLARK'S TOOL - CLAYCOMO
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                           657     9/18/2013    Exide Technologies, LLC                                                                         $8,448.08                          $8,448.08
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR DANIEL'S TRUCKING USA CORP-
RONKONKOMA
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                           703     9/28/2013    Exide Technologies, LLC                                                                         $4,014.85                          $4,014.85
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR GEORGIA AUTOMATION
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                           746     10/2/2013    Exide Technologies, LLC               $22.13                                                      $920.00                            $942.13
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR HOT STAMP CO, THE - JACKSONVILLE
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                           659     9/18/2013    Exide Technologies, LLC              $382.31                                                    $5,034.20                          $5,416.51
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR HYDRITE CHEMICAL CO
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                           2063    10/28/2013   Exide Technologies, LLC                                                                        $20,522.62                         $20,522.62


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                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                               Amount                                                    Amount
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR KANKAKEE AUTO RECYCLERS INC
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              658     9/18/2013    Exide Technologies, LLC                                                                      $1,950.00                          $1,950.00
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR KAPSTONE PAPER & PACKAGING
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              2064    10/28/2013   Exide Technologies, LLC                                                                     $30,191.52                         $30,191.52
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR LA-CO INDUSTRIES
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              660     9/18/2013    Exide Technologies, LLC                                                                      $4,156.50                          $4,156.50
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR LANCASTER MOLD INC
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              3418     1/2/2014    Exide Technologies, LLC                                                                    $112,913.18                        $112,913.18
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR NICKELSON INDUSTRIAL
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              661     9/18/2013    Exide Technologies, LLC                                                                          $0.00                              $0.00
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR NICKELSON INDUSTRIAL
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              691     9/25/2013    Exide Technologies, LLC                                                                      $4,762.64                          $4,762.64
TANNOR PARTNERS CREDIT FUND LP
AS ASSIGNEE FOR PAUL F FEDERLINE & SON
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              748     10/2/2013    Exide Technologies, LLC                                                                      $6,690.00                          $6,690.00
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
ADVANCE FILTER LLC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              299     7/15/2013    Exide Technologies, LLC                                                                      $7,386.28                          $7,386.28
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF BDC
INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              2223    10/28/2013   Exide Technologies, LLC            $27,377.83                                                $1,755.01                         $29,132.84
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF FLOW-
RITE CONTROLS - GRAND RAPIDS
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              1832    10/24/2013   Exide Technologies, LLC                                                                     $24,949.21                         $24,949.21
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
KAPSTONE PAPER & PACKAGING CORP
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              292     7/15/2013    Exide Technologies, LLC                                                                          $0.00                              $0.00



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                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                               Amount                                                       Amount
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
LANCASTER MOLD INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              614      9/9/2013    Exide Technologies, LLC                                                                             $0.00                              $0.00
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF M D F
INDUSTRIES INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              1837    10/24/2013   Exide Technologies, LLC                                                                        $33,850.00                         $33,850.00
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF MOTOR
TECHNOLOGY INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              449      8/3/2013    Exide Technologies, LLC             $6,550.28                                                   $4,890.00                         $11,440.28
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF NEFF
PACKAGING SYSTEMS-KANSAS
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              1570    10/19/2013   Exide Technologies, LLC                                                                         $5,274.30                          $5,274.30
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
NORFALCO INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              496     8/16/2013    Exide Technologies, LLC             $5,109.17                                                  $96,829.79                        $101,938.96
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF OLSON
PACKAGING SERVICES INC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              127      7/2/2013    Exide Technologies, LLC                                                                         $4,332.15                          $4,332.15
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF
SEMINOLE ENERGY SERVICES LLC
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              2270    10/29/2013   Exide Technologies, LLC                                                                        $83,857.89                         $83,857.89
TANNOR PARTNERS CREDIT FUND, LP AS TRANSFEREE OF SUN
RECYCLING
ATTN ROBERT TANNOR
555 THEODORE FREMD AVENUE, SUITE C209
RYE, NY 10580                                              346     7/22/2013    Exide Technologies, LLC                                                                         $5,638.22                          $5,638.22
TAYLOR PORTER BROOKS & PHILLIPS LLP
ATTN MICHAEL A CRAWFORD
PO BOX 2471
BATON ROUGE, LA 70821-2471                                 970     10/7/2013    Exide Technologies, LLC            $13,960.53                                                                                     $13,960.53
TAYLOR, ALMA
1618 MARTIN LUTHER KING JR DR
MERIDIAN, MS 39301-2911                                    1592    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TAYLOR, BETTY
319 W JASPER ST
BRANDON, MS 39042-3034                                     1573    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00

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                                                                                                                        Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                   Amount                                                       Amount
TBM CONSULTING GROUP INC.
4400 BEN FRANKLIN BLVD.
DURHAM, NC 27704                               850     10/4/2013    Exide Technologies, LLC            $568,765.41                                                                                    $568,765.41
TEAL'S EXPRESS INC
PO BOX 6010
WATERTOWN, NY 13601                            681     9/23/2013    Exide Technologies, LLC             $13,214.08                                                                                     $13,214.08
TED JOHNSON PROPANE
5140 ELTON ST
BALDWIN PARK, CA 91706                         1285    10/14/2013   Exide Technologies, LLC              $2,894.15                                                                                      $2,894.15
TED POLK
1009 DEAD END LANE
CRYSTAL SPRINGS, MS 39059                      2897    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TELECOM BUSINESS SOLUTIONS, INC.
268 W BEAVER ST STE 112
HALLAM, PA 17406-1307                          1307    10/15/2013   Exide Technologies, LLC               $553.53                                                                                         $553.53
TELESIS TECHNOLOGIES INC
28181 RIVER DRIVE
CIRCLEVILLE, OH 43113                          1064    10/9/2013    Exide Technologies, LLC             $15,304.84                                                    $726.34                          $16,031.18
TELLES, RUDOLF
1089 S ROMNEY DR
WALNUT, CA 91789-3839                          1120    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
TELTECH COMMUNICATIONS
PO BOX 3040
EAGLE, CO 81631                                2645    10/31/2013   Exide Technologies, LLC             $58,493.98                                                                                     $58,493.98
TEMP STAFF INC
962 NORTH ST
JACKSON, MS 39202-2614                         2859    10/31/2013   Exide Technologies, LLC              $5,441.95                $0.00                                                                 $5,441.95
TEMPCO ELECTRIC HEATER CORPORATION
607 N CENTRAL AVE
WOOD DALE, IL 60191                            3892    3/20/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TENNANT SALES AND SERVICE COMPANY
PO BOX 1452
MINNEAPOLIS, MN 55440                          1632    10/21/2013   Exide Technologies, LLC             $33,328.25                                                                                     $33,328.25
TENNESSEE COMMERCIAL WAREHOUSE INC
ATTN CYNTHIA MOON, GENERAL COUNSEL
22 STANLEY ST
NASHVILLE, TN 37210                            651     9/17/2013    Exide Technologies, LLC             $17,306.42                                                                                     $17,306.42
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
ATTN WILBUR E HOOKS DIRECTOR
PO BOX 20207
NASHVILLE, TN 37202-0207                       236      7/8/2013    Exide Technologies, LLC                                                                                                $0.00            $0.00
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
ATTN WILBUR E HOOKS DIRECTOR
PO BOX 20207
NASHVILLE, TN 37202-0207                       3247    11/19/2013   Exide Technologies, LLC                                                                                                $0.00            $0.00




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                                                                                                           Amount                                                       Amount
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
PO BOX 20207
NASHVILLE, TN 37202-0207                               237      7/8/2013    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
PO BOX 20207
NASHVILLE, TN 37202-0207                               3248    11/19/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
PO BOX 20207
NASHVILLE, TN 37202-0207                               4073    4/23/2015    Exide Technologies, LLC                    $0.00              $0.00                                                                    $0.00
TENNESSEE DEPT OF REVENUE
C/O ATTORNEY GENERAL
ATTN CARL GILLIAM ASSISTANT DIRECTOR
PO BOX 20207
NASHVILLE, TN 37202-0207                               4074    4/24/2015    Exide Technologies, LLC                                       $0.00                                                                    $0.00
TENNESSEE FILTER SALES CO. INC.
PO BOX 100337
NASHVILLE, TN 37224-0337                               1894    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TERESA A LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                    3487    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
TERESA P MARQUEZ
3122 E 3RD ST
LOS ANGELES, CA 90063-3065                             2757    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
TERESA PENA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3142    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
TERESA PENA, GUARDIAN OF MINOR ANGEL SANDOVAL
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3004    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
TERESA PENA, GUARDIAN OF MINOR ANGEL SANDOVAL
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3112    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
TERESA PENA, GUARDIAN OF MINOR CHRISTIAN CORTEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3121    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00



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                                                                                                         Amount                                                        Amount
TERRYBERRY
PO BOX 502
GRAND RAPIDS, MI 49501                               1187    10/11/2013   Exide Technologies, LLC              $1,333.44                                                                                       $1,333.44
TESLA MOTORS INC
ATTN LEGAL DEPT
3500 DEER CREEK RD
PALO ALTO, CA 94304                                  2766    10/31/2013   Exide Technologies, LLC            $194,120.47                             $258,219.44                                             $452,339.91
TESTAMERICA LABORATORIES INC
4101 SHUFFEL ST NW
NORTH CANTON, OH 44720                               493     8/15/2013    Exide Technologies, LLC              $6,599.95                                                       $0.00                           $6,599.95
TEXACO DOWNSTREAM PROPERTIES INC
C/O DAVIS WRIGHT TREMAINE LLP
ATTN GERALD F GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                              4069    4/21/2015    Exide Technologies, LLC                    $0.00                                                                                         $0.00
TEXACO DOWNSTREAM PROPERTIES INC
C/O DAVIS WRIGHT TREMAINE LLP
ATTN JERRY GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                              2779    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
OFFICE OF THE ATTORNEY GENERAL
ATTN HAL F MORRIS, ASSISTANT ATTORNEY GENERAL
MANAGING ATTY/BANKRUPTCY REGULATORY SECTION
300 W 15TH ST
AUSTIN, TX 78701                                     3294    12/4/2013    Exide Technologies, LLC              $1,033.00                                                                                       $1,033.00
TEXAS COMMISSION ON ENVIRONMENTAL QUALITY
OFFICE OF THE ATTORNEY GENERAL
ATTN HAL F MORRIS, ASSISTANT ATTORNEY GENERAL
MANAGING ATTY/BANKRUPTCY REGULATORY SECTION
300 W 15TH ST
AUSTIN, TX 78701                                     3295    12/4/2013    Exide Technologies, LLC        $2,301,984.00                                                                                      $2,301,984.00
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
OFFICE OF THE ATTORNEY GENERAL
BANKRUPTCY - COLLECTIONS DIVISION
PO BOX 12548
AUSTIN, TX 78711-2548                                690     9/23/2013    Exide Technologies, LLC                                       $0.00                                                                      $0.00
TEXTRON INC
ATTN JAMIESON SCHIFF
40 WESTMINSTER ST
PROVIDENCE, RI 02903                                 2146    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
TEXTRON INC (DBA "E-Z-GO")
E-Z-GO A DIVISION OF TEXTRON INC
C/O FLETCHER C THOMSON
40 WESTMINSTER ST
PROVIDENCE, RI 02903                                 2372    10/30/2013   Exide Technologies, LLC             $94,337.70                $0.00              $0.00           $6,240.00              $0.00      $100,577.70
THAMES, ROBERT
129 THAMES CIR
FLORENCE, MS 39073-8495                              1468    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                      $0.00


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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                         Amount                                                        Amount
THE BAILEY COMPANY
501 COWAN ST
NASHVILLE, TN 37207                                  243     7/11/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE BENEVA GROUP (MANAGEMENT RECRUITERS
OF SARASOTA INC)
ATTN CHARLES H FRIDLEY, PRESIDENT
7202 BENEVA RD
SARASOTA, FL 34238                                   312     7/16/2013    Exide Technologies, LLC            $19,000.00                                                                                      $19,000.00
THE BERNARD ETRA FAMILY TRUST
C/O MR BERNARD ETRA
8120 MUIRHEAD CIR
BOYNTON BEACH, FL 33472-5061                         1967    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
THE BRASS EXCHANGE LLC
ATTN MR HAKIM SATTERFIELD
189 COBB PKWY N STE A-8
MARIETTA, GA 20062                                   289     7/12/2013    Exide Technologies, LLC             $5,473.24                                                      $845.91                          $6,319.15

THE CITY OF LANCASTER PENNSYLVANIA
C/O ZIMMERMAN PFANNEBECKER NUFFORT & ALBERT LLP
ATTN BARRY N HANDWERGER ESQ
22 S DUKE ST
LANCASTER, PA 17602                                  678     9/23/2013    Exide Technologies, LLC                                                       $853.04                                                 $853.04
THE DOE RUN COMPANY
ATTN MARK YOUNG
1801 PARK 270 DR STE 300
ST LOUIS, MO 63146                                   1423    10/17/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
THE DOE RUN RESOURCES CORPORATION
C/O POLSINELLI PC
ATTN CHRISTOPHER A WARD
222 DELAWARE AVE STE 1101
WILMINGTON, DE 19801                                  96     6/27/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
THE EMPIRE DISTRICT ELECTRIC COMPANY
PO BOX 127
JOPLIN, MO 64802                                     955     10/7/2013    Exide Technologies, LLC            $19,638.44                                                                                      $19,638.44
THE HOME INSURANCE COMPANY IN LIQUIDATION
ATTN KAREN TISDELL
55 S COMMERCIAL ST
MANCHESTER, NH 03101                                 629     9/13/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE HOT STAMP COMPANY
ATTN JAMES E WHITE
11111-70 SAN JOSE BLVD.
SUITE 299
JACKSONVILLE, FL 32223                               2058    10/28/2013   Exide Technologies, LLC            $19,311.19                                                                                      $19,311.19

THE HUDMAN A HOO & QUIRINA H HOO REVOCABLE TRUST
C/O HUDMAN & QUIRINA HOO CO TTEES
2030 TERRAZZO LN
NAPLES, FL 34104-0826                                1853    10/24/2013   Exide Technologies, LLC                    $0.00              $0.00                                  $0.00                              $0.00



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                                                                                                                              Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                         Amount                                                        Amount
THE KANSAS DEPARTMENT OF HEALTH & ENVIRONMENT
ATTN GRANT A HARSE
1000 SW JACKSON STE 560
TOPEKA, KS 66612                                     3308    12/6/2013    Exide Technologies, LLC         Unliquidated                                                                   $49,068,328.00    $49,068,328.00
THE KANSAS DEPARTMENT OF HEALTH & ENVIRONMENT
ATTN GRANT A HARSE
1000 SW JACKSON STE 560
TOPEKA, KS 66612                                     3327    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
THE LEADERSHIP INSTU
STATE UNIVERSITY
3100 GENTIAN BLVD.
COLUMBUS, GA 31907                                   984     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                         $0.00
THE LUBRIZOL CORP.
29400 LAKELAND BOULEVARD
WICKLIFFE, OH 44092                                  1817    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
THE M & M ASSOCIATES
5115 KESTER AVE #306
SHERMAN OAKS, CA 91403                               467      8/9/2013    Exide Technologies, LLC               $289.79                                                        $0.00                             $289.79
THE MARINE SALVAGE CONSORTIUM, INC.
6211 NORTH ENSIGN
PORTLAND, OR 97217                                   2425    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
THE MASON & DIXON LINES INC
ATTN REBECCA C JOHNSON
12755 E NINE MILE RD
WARREN, MI 48089                                     338     7/22/2013    Exide Technologies, LLC            $229,587.61                                                                                     $229,587.61
THE MCKENZIE FAMILY TRUST
4550 E WILD COYOTE TRL
TUCSON, AZ 85739                                     1344    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
THE PARISH GROUP LLC
11579 CEDAR PARK AVE
BATON ROUGE, LA 70809                                374     7/25/2013    Exide Technologies, LLC             $31,884.78                                                                                      $31,884.78
THE PEOPLE OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES
ATTN KEVIN HALLIGAN
201 N FIGUEROA ST STE 1200
LOS ANGELES, CA 90012                                3276    11/27/2013   Exide Technologies, LLC         Unliquidated                                                                                             $0.00
THE PEOPLE OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES
ATTN KEVIN HALLIGAN
201 N FIGUEROA ST STE 1200
LOS ANGELES, CA 90012                                3278    11/29/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00
THE RICHARD T GORDON TRUST
C/O RICHARD T GORDON
554 BRICKSTONE DR
DELAWARE, OH 43015                                   1855    10/24/2013   Exide Technologies, LLC                    $0.00              $0.00              $0.00               $0.00                               $0.00
THE RUTH H YORK BYPASS TRUST
C/O RALPH D YORK, TTEE
1711 KINGSBURY DR
NASHVILLE, TN 37215                                  1112    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                         $0.00


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
THE SHAW GROUP INC
C/O CB&I FORMALLY THE SHAW GROUP INC
ATTN BRANDON POLITZ
4171 ESSEN LANE
BATON ROUGE, LA 70809                            605      9/5/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE SPENCER TURBINE COMPANY
ATTN MONIQUE DUNN
600 DAY HILL RD
WINDSOR, CT 06095                                3962     8/4/2014    Exide Technologies, LLC            $9,185.85                                                     $3,177.09                         $12,362.94
THE SPENCER TURBINE COMPANY
MONIQUE DONN
600 DAY HILL RD
WINDSOR, CT 06095                                2681    10/31/2013   Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
THE SYSTEM GROUP INC
C/O KEITH S SMARTT
PO BOX 869 B
MCMINNVILLE, TN 37111                            114     6/28/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
THE TRUSLER TRUST DTD 08-10-92
C/O ROBERT A TRUSLER, TRUSTEE
1992 ST JAMES PL
PRESCOTT, AZ 86301                               1588    10/19/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
THE UNIVERSITY OF IOWA
DBA U OF I ENV HEALTH & SAFETY
120 JESSUP HALL
IOWA CITY, IA 52242-1316                         501     8/17/2013    Exide Technologies, LLC              $918.00                                                                                          $918.00
THE WATTLES COMPANY
ATTN CRAIG WATTLES
35800 249TH AVE SE
ENUMCLAW, WA 98022                               2501    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THE WILMINGTON IRON AND METAL COMPANY INC
C/O COOLIDGE WALL CO LPA
ATTN PATRICIA J FRIESINGER
33 W FIRST ST STE 200
DAYTON, OH 45402                                 4154    9/21/2015    Exide Technologies, LLC            $5,720.92                                                                                         $5,720.92
THE WINSTEAD BUILDING, A NC PARTNERSHIP
ATTN STEPHEN C WOODARD JR, PARTNER
PO BOX 1960
405 E MARKET ST
SMITHFIELD, NC 27577                             433     7/29/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
THEO VINCENT URISTA
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3471    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
THERESA JOSIE CANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2583    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00


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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
THERMAL CORPORATION
1264 SLAUGHTER RD
MADISON, AL 35758-8605                          1181    10/11/2013   Exide Technologies, LLC              $617.42                                                                                          $617.42
THIER MACHINE SHOP, LLC
28669 DYERSVILLE EAST ROAD
FARLEY, IA 52046                                1976    10/25/2013   Exide Technologies, LLC            $2,172.10                                                                                         $2,172.10
THOMAS BREWER
2255 STONE RD
MANNING, SC 29102-4559                          4021     3/2/2015    Exide Technologies, LLC                                  $60,129.00                                                                $60,129.00
THOMAS CABRERA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                            2566    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
THOMAS HUNTER
12 ST ROY AVE
VENTNOR, NJ 08406                               1450    10/17/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
THOMAS J RUH
PO BOX 911434
LOS ANGELES, CA 90091-1238                      2443    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THOMAS J RUH
PO BOX 911434
LOS ANGELES, CA 90091-1238                      3438    1/15/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
THOMAS LOPEZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                             3584    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
THOMAS MILLER
PO BOX 524
FAIRFOREST, SC 29336                            1500    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
THOMAS RALPH WADE
PO BOX 54
WELLFORD, SC 29385                              2920    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
THOMAS, DONAL C
1433 WHITECAP LN
WACONIA, MN 55387                               2912    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
THOMAS, JASON
1663 BRISTOL CAVERNS HWY
BRISTOL, TN 37620-8156                          2656    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
THOMAS, JOHN
C/O LAW OFFICES OF ROBERT WASHUTA PC
ATTN ROBERT WASHUTA, ESQ
11 BROADWAY STE 615
NEW YORK, NY 10004                              859     10/4/2013    Exide Technologies, LLC            $1,782.58                                                                                         $1,782.58
THOMAS, JOHNNY
418 LOVE ST
SUMTER, SC 29150-6226                           1501    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
THOMAS, RAY
PO BOX 639
CRYSTAL SPRINGS, MS 39059-0639                  1365    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
THOMAS, RICHARD
PO BOX 124
RAMSEUR, NC 27316-0124                          1745    10/23/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
THOMAS, WILLIAM H
2114 TOWNLINE RD
WAUSAU, WI 54403                                1387    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
THOMAS, WINFRED
4683 BELL WOOD DR
OLIVE BRANCH, MS 38654-6220                     921     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
THOMASTON RECYCLING
PO BOX 123
THOMASTON, ME 04861                             851     10/4/2013    Exide Technologies, LLC             $1,476.30                                                                                      $1,476.30
THOMPSON SHOES
109 E MAIN ST
MANCHESTER, IA 52057-1736                       2426    10/30/2013   Exide Technologies, LLC             $8,923.80                                                     $315.65                          $9,239.45
THOMPSON, FRED
5417 BLUE RIDGE BLVD
RAYTOWN, MO 64133-2968                          2071    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
THOMPSON, HAROLD
676 S MAY AVE
KANKAKEE, IL 60901-3333                         1622    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
THOMPSON, OLAN
108 NORWOOD LN
LANCASTER, TX 75146-2279                        826     10/4/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
THORNTON MUSSO & BELLEMIN INC
ATTN LARRY M ROEDEL
8440 JEFFERSON HWY STE 301
BATON ROUGE, LA 70809                           1690    10/22/2013   Exide Technologies, LLC            $48,068.35                                                                                     $48,068.35
THURMAN, DELVERETTE
1342 AINSWORTH RD
FLORENCE, MS 39073-8417                         1495    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
TIBBS, GENE
302 MOUNTAINVIEW DR
MADISON HEIGHTS, VA 24572-2916                  1101    10/10/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
TIBEL, STEPHEN
170 MASON ST
EXETER, PA 18643-1928                           1499    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TILLMAN, J
112 J T TILLMAN DR
MENDENHALL, MS 39114-9025                       1578    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TIMEPAYMENT CORPORATION
16 NE EXECUTIVE PARK #200
BURLINGTON, MA 01803                            435      8/2/2013    Exide Technologies, LLC             $1,117.60                                                                                      $1,117.60
TIMEPAYMENT CORPORATION
16 NE EXECUTIVE PARK #200
BURLINGTON, MA 01803                            436      8/2/2013    Exide Technologies, LLC              $316.64                                                                                         $316.64


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                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
TIPTON, DICK
222 S 3RD ST
RICHMOND, KY 40475-2104                         1621    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
TJOSVOLD EQUIPMENT
5352 285TH AVE
GRANITE FALLS, MN 56241-1600                    1115    10/3/2013    Exide Technologies, LLC                    $0.00              $0.00                                 $0.00                              $0.00
TLF INC
3901 W 86TH ST STE 200
INDIANAPOLIS, IN 46268                          378     7/25/2013    Exide Technologies, LLC             $6,534.00                                                                                      $6,534.00
T-MOBILE USA INC
C/O ALSTON & BIRD LLP
ATTN SAGE M SIGLER
1201 W PEACHTREE ST NW
ATLANTA, GA 30309                               4156    10/9/2015    Exide Technologies, LLC             $8,000.00                                                                                      $8,000.00
TN DEPT OF LABOR & WORKFORCE DEV-BOILER/
ELEVATOR DIV
C/O TN ATTY GENERAL, BANKRUPTCY DIV
PO BOX 20207
NASHVILLE, TN 37202-0207                         79     6/24/2013    Exide Technologies, LLC              $120.00                                                                                         $120.00
TOBY, LOIS
9601 TOM EVANS RD
GREENVILLE, IN 47124-9412                       1072    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
TOC HOLDINGS CO
C/O PEARL LEGAL GROUP PC
ATTN PATRICIA DOST
529 SW THIRD AVENUE, SUITE 600
PORTLAND, OR 97204                              2598    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
TODD, JAMES
1031 TERRACE DR NW
SALEM, OR 97304-3727                            1508    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
TOMASULO, MICHAEL
336 SHARPS LN
TRENTON, NJ 08610-1337                          1448    10/17/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
TOMIKO SAITA
121 S CONCORD ST
LOS ANGELES, CA 90063-3017                      3285    11/29/2013   Exide Technologies, LLC                               Unliquidated                                                                     $0.00
TOMLIN, JAMES
5130 JOE BILLY RD
GABLE, SC 29051-9649                            2041    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TOMS FOREIGN AUTO PARTS - WATERBURY
35 S 5TH ST
WATERBURY, CT 06708-4202                        3267    11/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TOOL SYSTEMS INC
2220 CENTRE PARK CT
STONE MOUNTAIN, GA 30087-3544                   867     10/5/2013    Exide Technologies, LLC            $11,367.41                                                                                     $11,367.41
TORDOFF, WENDY
425 2ND ST
OLYPHANT, PA 18447-1217                         1016    10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00




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                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                     Amount
TOYOTA LIFT NORTHWEST - PTS
12001 SE JENNIFER ST.
CLACKAMAS, OR 97015                             2505    10/30/2013   Exide Technologies, LLC             $1,881.80                                                                                    $1,881.80
TOYOTA LIFT NORTHWEST
12001 SE JENNIFER ST
CLACKAMAS, OR 97015                             2503    10/30/2013   Exide Technologies, LLC              $550.50                                                                                       $550.50
TOYOTA LIFT NORTHWEST
12001 SE JENNIFER ST
CLACKAMAS, OR 97015                             2506    10/30/2013   Exide Technologies, LLC             $1,738.13                                                                                    $1,738.13
TOYOTA LIFT NORTHWEST
12001 SE JENNIFER ST
CLACKAMAS, OR 97015-9014                        2504    10/30/2013   Exide Technologies, LLC              $597.40                                                                                       $597.40
TOYOTA LIFT OF MINNESOTA INC-BROOKLYN PA
8601 XYLON CT
BROOKLYN PARK, MN 55445-1840                    1108    10/10/2013   Exide Technologies, LLC            $14,728.14                                                                                   $14,728.14
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             128      7/2/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             129      7/2/2013    Exide Technologies, LLC                                                    $117.83                                                 $117.83
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             130      7/2/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             131      7/2/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             132      7/2/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             133      7/2/2013    Exide Technologies, LLC                                                    $108.27                                                 $108.27
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             134      7/2/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                             135      7/2/2013    Exide Technologies, LLC                                                       $0.00                                                  $0.00




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                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                  Amount
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            136      7/2/2013    Exide Technologies, LLC                                                 $109.30                                                 $109.30
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            137      7/2/2013    Exide Technologies, LLC                                                 $391.29                                                 $391.29
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            138      7/2/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            139      7/2/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            140      7/2/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            141      7/2/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            142      7/2/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            190      7/6/2013    Exide Technologies, LLC                                                 $218.60                                                 $218.60
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            191      7/6/2013    Exide Technologies, LLC                                                 $224.00                                                 $224.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            192      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            193      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            194      7/6/2013    Exide Technologies, LLC                                                 $222.72                                                 $222.72



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                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                   Amount                                                  Amount
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            195      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            196      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            206      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            207      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            208      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            209      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            210      7/6/2013    Exide Technologies, LLC                                                 $327.90                                                 $327.90
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            211      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            212      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            215      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            216      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                            217      7/6/2013    Exide Technologies, LLC                                                    $0.00                                                  $0.00



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                                                                                                  Current General                                               Current 503(b)(9)
                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
              Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                               218      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                               219      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                               220      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                               221      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR CREDIT CORPORATION
C/O WELTMAN WEINBERG & REIS
323 W LAKESIDE AVE STE 200
CLEVELAND, OH 44113                               222      7/6/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING
NORTH AMERICA INC ET AL
C/O FROST BROWN TODD LLC
ATTN CHRISTY HURSKA, ESQ
150 3RD AVE S STE 1900
NASHVILLE, TN 37201                               2437    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING
NORTH AMERICA INC ET AL
C/O FROST BROWN TODD LLC
ATTN CHRISTY HURSKA, ESQ
150 3RD AVE S STE 1900
NASHVILLE, TN 37201                               2438    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING
NORTH AMERICA INC ET AL
C/O FROST BROWN TODD LLC
ATTN ROBERT V SARTIN, ESQ
150 3RD AVE S STE 1900
NASHVILLE, TN 37201                               4140    6/25/2015    Exide Technologies, LLC        $3,564,286.88                                                                                     $3,564,286.88
TOYOTA MOTOR ENGINEERING & MANUFACTURING
NORTH AMERICA INC OBO OF ITSELF ET AL
C/O FROST BROWN TODD LLC
ATTN CHRISTY HRUSKA, ESQ
150 3RD AVE S STE 1900
NASHVILLE, TN 37201                               3884    2/26/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TRAILER BRIDGE INC
ATTN MARK TANNER, CHIEF ACCOUNTING OFFICER
10405 NEW BERLIN RD E
JACKSONVILLE, FL 32226                            345     7/22/2013    Exide Technologies, LLC            $50,895.00                                                                                      $50,895.00



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                                                                                                              Amount                                                        Amount
TRANS DYNAMICS INC
4275 SHACKLEFORD RD
NORCROSS, GA 30093                                        2749    10/31/2013   Exide Technologies, LLC            $12,459.74                                                                                      $12,459.74
TRANSCAT
C/O CCC OF NY
PO BOX 288
TONAWANDA, NY 14150                                       3881    2/18/2014    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TRANSERVICE LOGISTICS INC
ATTN ERIC SKLAR, CFO
5 DAKOTA DR
LAKE SUCCESS, NY 11042                                    672     9/20/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
TRANSPLY INC
PO BOX 7727
YORK, PA 17404-0727                                       793     10/3/2013    Exide Technologies, LLC             $4,452.94                                                      $105.60                          $4,558.54
TRANSPORTATION INC
PO BOX 369
OTTAWA, KS 66067                                          881     10/5/2013    Exide Technologies, LLC            $32,651.51                                                                                      $32,651.51
TRAY TRANSPORT
103 C ST
STATESVILLE, NC 28677                                     120      7/1/2013    Exide Technologies, LLC             $1,847.50                                                                                       $1,847.50
TRC MASTER FUND LLC AS TRANSFEREE OF CELLUSUEDE
PRODUCTS INC
ATTN TERREL ROSS
PO BOX 633
WOODMERE, NY 11598                                        1757    10/23/2013   Exide Technologies, LLC                                                                         $30,774.00                         $30,774.00

TRC MASTER FUND LLC AS TRANSFEREE OF HINDLE POWER INC
ATTN TERREL ROSS
PO BOX 633
WOODMERE, NY 11598                                        2380    10/30/2013   Exide Technologies, LLC               $53.97                                                    $61,791.00                         $61,844.97
TREADWAY, JOHN C
3258 TRINITY MILL CIR
DACULA, GA 30019                                          1119    10/10/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
TREASURER OF CASS COUNTY
200 COURT PARK STE 104
LOGANSPORT, IN 46947-3147                                 751     10/2/2013    Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
TREXLER, VIRGINIA & KENNETH
C/O VIRGINIA TREXLER
6804 TREVOR DR
BROWNS SUMMIT, NC 27214-9831                              1977    10/25/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
TRI DIM FILTER CORPORATION
93 INDUSTRIAL DR
LOUISA, VA 23093                                          1002    10/7/2013    Exide Technologies, LLC              $548.26                                                                                          $548.26
TRI-STATE FIRE EXTINGUISHER CO INC
PO BOX 1191
FORT SMITH, AR 72902                                      630     9/13/2013    Exide Technologies, LLC              $397.68                                                                                          $397.68




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               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                    Amount                                                       Amount
TRIUMVIRATE ENVIRONMENTAL INC
POSTERNAK BLANKSTEIN & LUND LLP
ATTN DAVID J. REIR
800 BOYLSTON STREET
BOSTON, MA 02199-8004                           2271    10/29/2013   Exide Technologies, LLC            $23,807.19                                                       $0.00                         $23,807.19
TRUCK ENTERPRISES MANASSAS INC
ATTN MICHAEL L PETERS, OFFICE MANAGER
9599 HAWKINS DR
MANASSAS, VA 20109                              508     8/19/2013    Exide Technologies, LLC             $1,282.50                                                                                      $1,282.50
TRUNDLE, SUSAN C
2529 EDEN RIDGE LANE
ACWORTH, GA 30101                               1584    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TULCO OILS INC
ATTN MILES KEY
5240 E PINE ST
TULSA, OK 74115                                 1504    10/18/2013   Exide Technologies, LLC              $286.40                                                                                         $286.40
TURNAGE, YVONNE
1234 GRADY AVE
YAZOO CITY, MS 39194-3034                       1229    10/12/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TUTOR JR, ROY
4960 QUINCE RD
MEMPHIS, TN 38117-6626                          2130    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
TWO RIVERS VENDING CORPORATION INC
ATTN CHRISTINE D WEIDMAN
2137 LINDEN DR
SALINA, KS 67401                                676     9/21/2013    Exide Technologies, LLC             $8,480.10                                                   $3,753.16                         $12,233.26
TXU ENERGY RETAIL COMPANY LLC
C/O BANKRUPTCY DEPARTMENT
PO BOX 650393
DALLAS, TX 75265-0393                           510     8/19/2013    Exide Technologies, LLC             $5,718.01                                                                                      $5,718.01
TYCO INTEGRATED SECURITY
10405 CROSSPOINT BLVD
INDIANAPOLIS, IN 46256                          2746    10/31/2013   Exide Technologies, LLC             $7,893.81                                                                                      $7,893.81
TYCO INTEGRATED SECURITY LLC
C/O MCGUIREWOODS LLP
ATTN SALLY E EDISON
625 LIBERTY AVE 23RD FL
PITTSBURGH, PA 15222                            2700    10/31/2013   Exide Technologies, LLC             $4,251.43                                                   $1,667.23                          $5,918.66
TYLER COSTELLO - OREGON
34422 HOLT 285
OREGON, MO 64473-8295                           1970    10/25/2013   Exide Technologies, LLC             $1,575.00                                                                                      $1,575.00
TYREE GREEN
1439 E 57TH ST
LOS ANGELES, CA 90011-4925                      2072    10/28/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
TYSON, JESSIE
641 HIGHWAY 583
RAYVILLE, LA 71269-6118                         1487    10/18/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
UGI UTILITIES
225 MORGANTOWN RD
READING, PA 19612                               2306    10/29/2013   Exide Technologies, LLC             $7,661.46                                                                                      $7,661.46

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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                     Amount                                                       Amount
UGI UTILITIES INC
C/O BLANK ROME LLP
ATTN SAMUEL H BECKER, ESQ
ONE LOGAN SQUARE
130 N 18TH ST
PHILADELPHIA, PA 19103                           3226    11/14/2013   Exide Technologies, LLC            $918,018.49                                                                         $0.00      $918,018.49
UMILE, THOMAS
129 NORTHPOINT DR
OLYPHANT, PA 18447-1762                          2113    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNDERWRITERS LABORATORIES INC
C/O LEGAL DEPARTMENT
333 PFINGSTEN RD
NORTHBROOK, IL 60062                             401     7/29/2013    Exide Technologies, LLC              $3,313.00                                                                                      $3,313.00
UNION OIL COMPANY OF CALIFORNIA
C/O DAVIS WRIGHT TREMAINE LLP
ATTN GERALD F GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                          4070    4/21/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNION OIL COMPANY OF CALIFORNIA
C/O DAVIS WRIGHT TREMAINE LLP
ATTN JERRY GEORGE
505 MONTGOMERY ST STE 800
SAN FRANCISCO, CA 94111                          2778    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNION PACIFIC RAILROAD COMPANY
ATTN MARY ANN KILGORE
1400 DOUGLAS ST STOP 1580
OMAHA, NE 68179                                  2854    10/28/2013   Exide Technologies, LLC             $26,455.00                                                                                     $26,455.00
UNIQUE SANITATION
45 DALE ST
WEST BABYLON, NY 11704-1119                      1204    10/11/2013   Exide Technologies, LLC                                                                             $0.00                               $0.00
UNIQUE SANITATION CO INC
45 DALE ST
WEST BABYLON, NY 11704                           167      7/3/2013    Exide Technologies, LLC               $549.36                                                       $0.00                             $549.36
UNISOURCE WORLDWIDE
850 N ARLINGTON HTS RD
ITASCA, IL 60143                                 424     7/30/2013    Exide Technologies, LLC            $245,576.92                                                                                    $245,576.92
UNITED BATTERY SYSTEMS INC
C/O SHAW LAW GROUP
ATTN DAVID D SHAW, ATTORNEY
421 SW 6TH AVE STE 1150
PORTLAND, OR 97204                               4170    1/28/2016    Exide Technologies, LLC             $15,500.00                                                                                     $15,500.00
UNITED BATTERY SYSTEMS INC
C/O SHAW LAW GROUP
ATTN DAVID D SHAW, ATTORNEY
421 SW 6TH AVE STE 1150
PORTLAND, OR 97204                               4172     2/3/2016    Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNITED ELECTRIC SUPPLY
ATTN STEVEN J PATTEN, CREDIT DEPT
10 BELLECOR DR
NEW CASTLE, DE 19720                             3225    11/14/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00

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               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                              Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                         Amount                                                       Amount
UNITED PROCESS CONTROL
324 COURTYARD DR
HILLSBOROUGH, NJ 08844-4253                          2177    10/28/2013   Exide Technologies, LLC             $6,560.00                                                       $0.00                           $6,560.00
UNITED RENTALS (NORTH AMERICA) INC
3200 HARBOR LANE N
MINNEAPOLIS, MN 55447                                3896     4/8/2014    Exide Technologies, LLC            $62,446.08                                                                                      $62,446.08
UNITED RENTALS (NORTH AMERICA) INC
3200 HARBOR LN N
MINNEAPOLIS, MN 55447                                 41     6/21/2013    Exide Technologies, LLC              $203.85                                                                                          $203.85
UNITED RENTALS (NORTH AMERICA) INC
3200 HARBOR LN N
MINNEAPOLIS, MN 55447                                 42     6/21/2013    Exide Technologies, LLC             $2,337.83                                                                                       $2,337.83
UNITED RENTALS (NORTH AMERICA) INC
C/O UNITED RENTALS
3200 HARBOR LN N
MINNEAPOLIS, MN 55447                                383     7/22/2013    Exide Technologies, LLC            $26,041.25                                                                                      $26,041.25
UNITED RENTALS INC
ATTN RHONDA SIMS
6125 LAKEVIEW RD #300
CHARLOTTE, NC 28269                                  257      7/2/2013    Exide Technologies, LLC              $415.10                                                                                          $415.10
UNITED STATES DEPT OF LABOR
OFFICE OF THE SOLICITOR
TWO PERSHING ST STE 1020
KANSAS CITY, MO 64108                                3348    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNITED STATES ON BEHALF OF EPA
C/O DEPARTMENT OF JUSTICE
ATTN ALAN S TENENBAUM
BEN FRANKLIN STATION
PO BOX 7611
WASHINGTON, DC 20044-7611                            3302    12/6/2013    Exide Technologies, LLC         Unliquidated          Unliquidated       Unliquidated                                                   $0.00
UNITED STATES PLASTIC CORP - LIMA
1390 NEUBRECHT RD
LIMA, OH 45801-3196                                  753     10/2/2013    Exide Technologies, LLC             $1,027.88                                                                                       $1,027.88
UNITED STEELWORKERS
ATTN DAVID R JURY
FIVE GATEWAY CENTER RM 807
PITTSBURGH, PA 15222                                 2060    10/28/2013   Exide Technologies, LLC                                       $0.00                                                    $0.00            $0.00
UNITED STEELWORKERS
ATTN DAVID R JURY, ASSOCIATE GENERAL COUNSEL
FIVE GATEWAY CTR RM 807
PITTSBURGH, PA 15222                                 4119    5/29/2015    Exide Technologies, LLC                                                                                                $0.00            $0.00
UNITED TELEPHONE SOUTHEAST-TN DBA CENTURYLINK
ATTN BANKRUPTCY
1801 CALIFORNIA ST RM 900
DENVER, CO 80202-2658                                239     7/10/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNIVAR USA INC
ATTN CHERI JAMES
17425 NE UNION HILL RD
REDMOND, WA 98052                                    640      9/9/2013    Exide Technologies, LLC              $151.84                                                    $8,370.22                           $8,522.06


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               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
UNIVERSAL MACHINE & TOOL - KINGSPORT
1913 BROOKSIDE LN
KINGSPORT, TN 37660-6634                              1654    10/21/2013   Exide Technologies, LLC              $6,413.68                                                       $0.00                           $6,413.68
UNIVERSITY OF KANSAS HOSPITAL AUTHORITY
DBA CORPORATE HEALTH - STATE AVENUE
4810 STATE AVE
KANSAS CITY, KS 66102                                 1991    10/26/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
UNWIN, ARDITH
1926 CEDARWOOD PL
ERIE, CO 80516-4044                                   1403    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
UPCHURCH ELECTRICAL SUPPLY COMPANY
2800 S ZERO ST
FORT SMITH, AR 72901                                  459      8/8/2013    Exide Technologies, LLC                                                          $0.00               $0.00                              $0.00
URIEL DELA ROSA
629 ORME AVE
LOS ANGELES, CA 90023                                 3803    1/31/2014    Exide Technologies, LLC            $100,000.00                                                                                    $100,000.00
URIEL RAMOS
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                  4045     4/7/2015    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
URIEL TOVAR
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3185    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
URREA REAL ESTATE LLC
C/O PURSLEY FRIESE TORGRIMSON LLP
ATTN STEPHANIE FRIESE ARON
1230 PEACHTREE ST STE 1200
ATLANTA, GA 30309                                     2651    10/31/2013   Exide Technologies, LLC             $32,792.85                                                                                     $32,792.85
US BANK N A AS TTEE FOR THE FLOATING RATE
CONVERTIBLE SENIOR SUBORDINATED NOTES DUE 2013
C/O ARENT FOX LLP
ATTN LEAH M EISENBERG, ESQ
1675 BROADWAY
NEW YORK, NY 10019                                    2353    10/30/2013   Exide Technologies, LLC       $51,900,000.00                                                                                    $51,900,000.00
US CUSTOMS AND BORDER PROTECTION
ATTN REVENUE DIVISION/BANKRUPTCY TEAM
6650 TELECOM DR STE 100
INDIANAPOLIS, IN 46278                                3275    11/27/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
US DEPARTMENT OF LABOR - OSHA
2300 MAIN ST STE 168
KANSAS CITY, MO 64108                                 3199    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
US DEPARTMENT OF LABOR - OSHA
2300 MAIN ST STE 168
KANSAS CITY, MO 64108                                 3200    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
US DEPARTMENT OF LABOR
OFFICE OF THE SOLICITOR
ATTN H ALICE JACKS
TWO PERSHING SQ
2300 MAIN ST STE 1020
KANSAS CITY, MO 64108                             3347    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
US DEPARTMENT OF LABOR-EBSA
61 FORSYTH ST SW STE 7B54
ATLANTA, GA 30303-8943                            3321    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
US DEPARTMENT OF LABOR-EBSA
61 FORSYTH ST SW STE 7B54
ATLANTA, GA 30303-8943                            3322    12/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
US DEPARTMENT OF TRANSPORTATION - FEDERAL
MOTOR CARRIER SAFETY ADMINISTRATION
FMCSA WESTERN SERVICE CENTER
ATTN JEDD M MILOUD, TRIAL ATTORNEY
12600 W COLFAX AVE STE B-300
LAKEWOOD, CO 80215                                595      9/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
US EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
100 ALABAMA ST SW STE 4R30
ATLANTA, GA 30303                                 3293    11/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
US HEALTHWORKS MEDICAL GROUP OF PENN.
PO BOX 404507
ATLANTA, GA 30384-4507                            983     10/7/2013    Exide Technologies, LLC              $8,095.00                                                                                      $8,095.00
US PUMPS
15919 PHOEBE AVE
LA MIRADA, CA 90670                               148      7/2/2013    Exide Technologies, LLC              $6,573.29                                   $0.00                                              $6,573.29
US XPRESS LOGISTICS
PO BOX 116447
ATLANTA, GA 30368                                 1159    10/11/2013   Exide Technologies, LLC            $349,579.64                                                                                    $349,579.64
USA HAULING & RECYCLING INC
PO BOX 808
EAST WINDSOR, CT 06088                            106     6/28/2013    Exide Technologies, LLC               $770.92                                                                                         $770.92
USELTON, BETTY
700 HARVARD AVENUE
FT. SMITH, AR 72940                               2159    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
USF HOLLAND INC
C/O FRANTZ WARD LLP
ATTN JOHN F KOSTELNIK ESQ
2500 KEY CENTER
127 PUBLIC SQUARE
CLEVELAND, OH 44114-1230                          683     9/23/2013    Exide Technologies, LLC             $69,122.63                                                                                     $69,122.63
V. H. HOLMES & SONS
752 BIG CREEK RD
RICHLANDS, VA 24641                               2675    10/31/2013   Exide Technologies, LLC                                                                              $0.00                              $0.00
VAC-U-MAX
ANNE WASKIW
69 WILLIAM ST
BELLEVILLE, NJ 07109                              1834    10/24/2013   Exide Technologies, LLC             $10,527.37                                                                                     $10,527.37


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                                                                                                                             Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                          Amount                                                     Amount
VALENTIN MENDOZA HDEZ
377 S LA VERNE AVE
LOS ANGELES, CA 90022-2042                            2119    10/28/2013   Exide Technologies, LLC                                 $1,665.53                                                                 $1,665.53
VALENTIN MENDOZA HDEZ
377 S LAVERNE AVE
LOS ANGELES, CA 90022-1947                            2120    10/28/2013   Exide Technologies, LLC                                     $0.00                                                                     $0.00
VAN AM TOOL & ENGINEERING LLC
ATTN TODD LAWRENCE
5025 EASTON RD
ST JOSEPH, MO 64507                                   4092    5/15/2015    Exide Technologies, LLC                                                                                              $0.00            $0.00
VAN DORN DEMAG CORPORATION
ATTN MR DENNIS BUSS
11792 ALAMEDA DR
STRONGSVILLE, OH 44149                                622     9/11/2013    Exide Technologies, LLC             $15,384.24                                                                                   $15,384.24
VAN WERT, ALLEN
811 CENTER ST
SCRANTON, PA 18512-1124                               1404    10/15/2013   Exide Technologies, LLC                                     $0.00                                                                     $0.00
VANESSA CHAIDEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                3792    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                          $0.00
VANESSA E FIERRO
2573 BORIS AVE
COMMERCE, CA 90040                                    2411    10/30/2013   Exide Technologies, LLC            $495,000.00                                                                                  $495,000.00
VANESSA F RODRIGUEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3024    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                   $5,000,000.00
VANESSA GARCIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3129    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                   $5,000,000.00

VANESSA GARCIA, GUARDIAN OF MINOR GERMAN NUNEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3195    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                   $5,000,000.00

VANESSA GARCIA, GUARDIAN OF MINOR JIMMY MORALES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3158    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                   $5,000,000.00




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                                                                                                                       Current Priority   Current Secured                        Current Admin     Total Current
              Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                        Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                   Amount                                                       Amount
VANESSA HERNANDEZ ZERMENO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                            3503    1/28/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00
VANESSA RODRIGUEZ, GUARDIAN OF MINOR
DAISY M RENTERIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                             3117    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
VANESSA RODRIGUEZ, GUARDIAN OF MINOR
DESTINY A RENTERIA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                             3124    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
VANFAB INC
C/O NEAL GERBER & EISENBERG LLP
ATTN NICHOLAS M MILLER
2 N LASALLE ST STE 1700
CHICAGO, IL 60602                              1738    10/22/2013   Exide Technologies, LLC                    $0.00                                                                       $0.00            $0.00
VANFAB INC
C/O NEAL GERBER & EISENBERG LLP
ATTN NICHOLAS M MILLER
TWO N LASALLE ST STE 1700
CHICAGO, IL 60602-3801                         3983    11/24/2014   Exide Technologies, LLC                                                                                                $0.00            $0.00
VANORT, MARGARET
5590 NORWICH PKWY APT 324
STILLWATER, MN 55082-4576                      1803    10/24/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
VANTER, GORDON
1160 S 12TH ST APT 2
MARION, IA 52302-5289                          945     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
VECTREN ENERGY DELIVERY
ATTN SHARON ARMSTRONG
PO BOX 209
EVANSVILLE, IN 47702                           903     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
VECTREN ENERGY DELIVERY
ATTN SHARON ARMSTRONG
PO BOX 209
EVANSVILLE, IN 47702                           904     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
VECTREN ENERGY DELIVERY
ATTN SHARON ARMSTRONG
PO BOX 209
EVANSVILLE, IN 47702                           905     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
VELOCITY TECHNOLOGY SOLUTIONS WAS/WTS
ATTN BRYAN CONLEY, CFO
1100 OLIVE WAY STE 1100
SEATTLE, WA 98101-1870                         2242    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
VENTO, FRANK P
655 2ND AVE NE
CARMEL, IN 46032-1335                            1978    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
VEOLIA ES TECH SOLUTIONS - ALLIED OIL
VEOLIA ES TECHNICAL SOLUTIONS
3100 HEDLEY ST
PHILADELPHIA, PA 19137                           1124    10/10/2013   Exide Technologies, LLC              $716.10                                                      $698.70                           $1,414.80
VERIFICATIONS INC
1 CONCOURSE PKWY STE 200
ATLANTA, GA 30328-5346                           454      8/6/2013    Exide Technologies, LLC               $36.10                                                                                          $36.10
VERIZON COMMUNICATIONS INC
ATTN VERIZON BANKRUPTCY DEPT
500 TECHNOLOGY DR STE 550
WELDON SPRING, MO 63304                          3542    1/29/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
VERNICE BRUNSON
130 MAIL BOX LN
LYNCHBURG, SC 29080-8419                         4006     3/2/2015    Exide Technologies, LLC                                  $21,056.98                                                               $21,056.98
VERONICA ARREOLA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3759    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
VERONICA GONZALES
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3404     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
VERONICA GUERRERO
9429 TILMONT ST
PICA RIVERA, CA 90660                            3627    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                     $10,000.00
VERONICA IRENE CHANG
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                              3577    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
VERONICA RAMIREZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3702    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
VERONICA SALAZAR
5859 REPETTO AVE
LOS ANGELES, CA 90022-2814                       3243    11/19/2013   Exide Technologies, LLC         Unliquidated                                                                                           $0.00
VICENTE CABRERA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2571    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00




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               Creditor Name and Address         Claim No. Claim Date          Debtor              Unsecured Claim                                            Admin Priority
                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                       Amount                                                    Amount
VICTOR DIAZ RAMIREZ
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3588    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
VICTOR LUEVANOS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                 3070    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                 $5,000,000.00
VICTOR MANUEL MENDOZA
530 S FERRIS AVE
LOS ANGELES, CA 90022                              3824    1/31/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
VICTOR PULIDO
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                3582    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                $10,000,000.00
VICTORIA TORRES
1167 1/2 MIRASOL ST
LOS ANGELES, CA 90023-3118                         3433    1/13/2014    Exide Technologies, LLC                                               Unliquidated                                                  $0.00
VICTORY PACKAGING LP
C/O EULER HERMES NORTH AMERICA INSURANCE CO
800 RED BROOK BLVD
OWINGS MILLS, MD 21117                             268      7/9/2013    Exide Technologies, LLC            $79,145.24                                                                                  $79,145.24
VINDIANA LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                             3760    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                        $0.00
VINE, SHIRLEY
2231 PENN PL APT 321
NORTH SAINT PAUL, MN 55109-2963                    1039    10/8/2013    Exide Technologies, LLC                                    $0.00                                                                    $0.00
VIPER PRECISION MACHINE AND DESIGN LLC
521 BROADCAST DR
SPARTANBURG, SC 29303                              205      7/6/2013    Exide Technologies, LLC            $12,066.00                                                                                  $12,066.00
VIRGINIA BARAJAS-MIRANDA
6419 PROSPECT AVE APT C
BELL GARDENS, CA 90201-2656                        2725    10/31/2013   Exide Technologies, LLC         Unliquidated                                                                                        $0.00
VIRGINIO MENDOZA
4913 60TH PL
MAYWOOD, CA 90270                                  3638    1/30/2014    Exide Technologies, LLC            $10,000.00                                                                                  $10,000.00
VISCO2LL DBA VISCO
3445 SEMINOLE TRAIL SUITE 135
CHARLOTTESVILLE, VA 22911                          2641    10/31/2013   Exide Technologies, LLC             $8,959.42                                                                                    $8,959.42
VITAL MATERIALS CO LIMITED
C/O BERNSTEIN-BURKLEY PC
707 GRANT ST STE 2200
PITTSBURGH, PA 15219                               1422    10/17/2013   Exide Technologies, LLC                                                                     $63,717.60                         $63,717.60


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                Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                          Amount                                                       Amount
VITAL MATERIALS CO LIMITED
C/O BERNSTEIN-BURKLEY PC
707 GRANT ST STE 2200
PITTSBURGH, PA 15219                                  4125     6/1/2015    Exide Technologies, LLC                                                                             $0.00                              $0.00
VITAL MATERIALS CO LIMITED
C/O BERNSTEIN-BURKLEY PC
707 GRANT ST STE 2200
PITTSBURGH, PA 15219                                  4131     6/2/2015    Exide Technologies, LLC                                                                             $0.00                              $0.00
VIVIAN LOPEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                3762    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00

VIVIANA OSATIO, GUARDIAN OF MINOR SALVADOR FLORES
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3012    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
VIVIANA OSORIO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3027    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
VOLLEMAERE, ERIK
3638 E GARDEN DR
PHOENIX, AZ 85028                                     1589    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
VOLZ, DONALD H & KAY A
338 E SIDLEE ST
THOUSAND OAKS, CA 91360                               1139    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
VORTEX DOORS
ATTN MICHELLE CRECELIUS
3198-M AIRPORT LOOP DR
COSTA MESA, CA 92626-3407                              94     6/27/2013    Exide Technologies, LLC                    $0.00                                                    $0.00                              $0.00
VORTEX DOORS
ATTN MICHELLE CRECELIUS
3198-M AIRPORT LOOP DR
COSTA MESA, CA 92626-3407                             448      8/2/2013    Exide Technologies, LLC             $13,826.32                                                      $0.00                         $13,826.32
VSS LLC
ATTN BILL GROTHE
303 BRAME RD
RIDGELAND, MS 39157                                   4162    11/25/2015   Exide Technologies, LLC             $16,000.00                                                                                    $16,000.00
W D MATTHEWS MACH/AUBURN
901 CENTER ST
AUBURN, ME 04210-6456                                 834     10/4/2013    Exide Technologies, LLC              $1,435.20                                                                                     $1,435.20
W L GORE & ASSOCIATES INC
ATTN LEGAL DEPT
551 PAPER MILL RD
NEWARK, DE 19711                                      2525    10/30/2013   Exide Technologies, LLC            $158,777.40                                                      $0.00                        $158,777.40


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                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                     Amount                                                        Amount
W W GRAINGER INC
ATTN MES17859401507
7300 N MELVINA
NILES, IL 60714                                  514     8/19/2013    Exide Technologies, LLC            $99,536.54                                    $0.00          $29,997.52                        $129,534.06
W&M ENVIRONMENTAL-WAS-WHITEHEAD & MUELLE
906 EAST 18TH STREET
PLANO, TX 75074                                  1891    10/25/2013   Exide Technologies, LLC            $43,614.93                                                                                      $43,614.93
WA STATE DEPARTMENT OF LABOR & INDUSTRIES
BANKRUPTCY UNIT
PO BOX 44171
OLYMPIA, WA 98504-4171                           3344    12/10/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WALKER SERVICES INC. - BATON ROUGE
PO BOX 53008
BATON ROUGE, LA 70892-3008                       1086    10/9/2013    Exide Technologies, LLC            $30,910.00                                                                                      $30,910.00
WALLDROFF FARM EQUIPMENT INC.
22537 MURROCK CIR
WATERTOWN, NY 13601-5030                         1544    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WALLY'S U PULL IT, INC.
2225 W NORDALE DR
APPLETON, WI 54914-1886                          2397    10/30/2013   Exide Technologies, LLC             $9,158.00                                                                                       $9,158.00
WALTER, LARRY
2425 SE CRYSTAL LAKE DR
CORVALLIS, OR 97333-2014                         1509    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WALTON, COLLEEN
7773 N STATE ROAD 38
SHERIDAN, IN 46069-8904                          1333    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WALTON, LISA
1307 DIVISION ST
VICKSBURG, MS 39180-4717                         3208    11/9/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WALTZER, ADRIAN
16 SANDUSKY RD
NEW CITY, NY 10956                               2875    11/1/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
WANISHA BURTON
719 E 79TH ST APT 4
LOS ANGELES, CA 90001-3251                       2937    11/2/2013    Exide Technologies, LLC                                     $321.00                                                                   $321.00
WARD INTERNATIONAL TRUCKS
2101 PERIMETER RD
MOBILE, AL 36615                                 309     7/16/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
WARD, FRANKIE
328 MOUNT ZION RD
PRENTISS, MS 39474-4276                          1558    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WARREN, CHARLES
192 ECHO DR
ELIZABETHTON, TN 37643-6165                      981     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WARREN, DAVID E
601 CANTEBURY FALLS CT
CANTON, GA 30114                                 1452    10/17/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WARREN, LESSIE
PO BOX 784
FLORA, MS 39071-0784                             2735    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

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                                                                                                Current General                                               Current 503(b)(9)
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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
WASHINGTON, BARBARA
174 JAMES GARFIELD CIR
JACKSON, MS 39213-3122                          3264    11/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WASHINGTON, JEANETTE
167 SWEET HOME CHURCH RD
PEARL, MS 39208-9141                            2168    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WASHINGTON, PENNY
171 SWEET HOME CHURCH RD
PEARL, MS 39208-9141                            2162    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WASHINGTON, RUBENA
106 LILLYE DR
VICKSBURG, MS 39180-6328                        2885    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WASTE CONNECTIONS OF THE CAROLINAS
DISTRICT 6120
PO BOX 660177
DALLAS, TX 75266-0177                           1301    10/15/2013   Exide Technologies, LLC               $78.26                                                                                           $78.26
WASTE MANAGEMENT
ATTN JACQUOLYN MILLS
1001 FANNIN ST STE 4000
HOUSTON, TX 77002                               2848    10/29/2013   Exide Technologies, LLC            $63,136.98                                                                                      $63,136.98
WATER GREMLIN COMPANY
4350 OTTER LAKE RD
SAINT PAUL, MN 55110-3761                       2919    11/1/2013    Exide Technologies, LLC            $69,108.93                                                        $0.00                         $69,108.93
WATER TECH OF AMERICA INC
5000 S 110TH ST
GREENFIELD, WI 53228-3130                       2606    10/31/2013   Exide Technologies, LLC             $7,649.48                 $0.00                                                                 $7,649.48
WATERMAN, VERDEEN
C/O LORETTA WATERMAN, EXECUTOR
31863 ECLIPSE RD
ELKADER, IA 52043-8259                          2466    10/30/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WATSON MECHANICAL SERVICES INC
1743 DALLAS DR
BATON ROUGE, LA 70806                           495     8/15/2013    Exide Technologies, LLC                                                                              $0.00                              $0.00
WATSON, DAVID
PO BOX 10281
JACKSON, MS 39289-0281                          2255    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WATSON, EARNEST
523 LINCOLN DR
TAYLORS, SC 29687-5732                          2104    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WAYNE, RICKY
712 GROVE RD
ZANESVILLE, OH 43701-1333                       1736    10/22/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WEATHERLY, CHARLES
866 WHATLEY ST
SUMTER, SC 29154-6042                           2036    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WEATHERLY, JUANITA
866 WHATLEY ST
SUMTER, SC 29154-6042                           2035    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
WEATHERSBY, KEITH
PO BOX 373
FLORENCE, MS 39073-0373                         1679    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WEATHERSBY, SUSIE
3305 ALBERMARLE RD
JACKSON, MS 39213-6505                          1354    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WEBB, C
3114 LINCOLN BLVD
CLEVELAND HEIGHTS, OH 44118-2036                1073    10/9/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WEBER PAPER COMPANY
ATTN DOUGLAS M HENRY
200 SECURITY BUILDING
151 W EIGHTH ST
DUBUQUE, IA 52001                               4147     8/4/2015    Exide Technologies, LLC            $10,500.00                                                                                      $10,500.00
WEINTHAL, NATALIE
360 E 72ND ST
NEW YORK, NY 10021                              1617    10/21/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WEIR SLURRY GROUP INC
ATTN LINDA CARR
PO BOX 7610
MADISON, WI 53707-7610                          608      9/4/2013    Exide Technologies, LLC            $46,346.00                                                                                      $46,346.00
WEIS FIRE & SAFETY EQUIP. CO. INC.
PO BOX 3467
SALINA, KS 67402-3467                           1175    10/11/2013   Exide Technologies, LLC             $1,933.63                                                        $0.00                           $1,933.63
WELCH, RONNIE
6521 FRYE RD
REMBERT, SC 29128-8550                          2821    10/31/2013   Exide Technologies, LLC                    $0.00              $0.00                                                                     $0.00
WELCH, THOMAS
2840 WELMAN CIR
SUMTER, SC 29153-7638                           1186    10/11/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WELLS FARGO BANK NATIONAL ASSOCIATION
AS INDENTURE TRUSTEE
ATTN JAMES R LEWIS
150 E 42ND ST 40TH FL
NEW YORK, NY 10017                              1831    10/24/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
WELLS FARGO BANK NATIONAL ASSOCIATION
AS INDENTURE TRUSTEE
ATTN JAMES R LEWIS
150 E 42ND ST 40TH FL
NEW YORK, NY 10017                              2597    10/31/2013   Exide Technologies, LLC         Unliquidated                           $696,023,437.50                                         $696,023,437.50
WELLS, WALTER
6101 N 59TH PL
PARADISE VALLEY, AZ 85253-8010                  2187    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WELTON RIGGINS
3823 MUNGER AVE
DALLAS, TX 75204-4248                           3982    11/26/2014   Exide Technologies, LLC         Unliquidated                                                                                            $0.00
WELTON RIGGINS
3823 MUNGER AVE
DALLAS, TX 75204-4248                           3985     1/9/2015    Exide Technologies, LLC         Unliquidated                                                                                            $0.00


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                                                                                                      Current General                                               Current 503(b)(9)
                                                                                                                              Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address            Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                          Amount                                                        Amount
WELTON RIGGINS
3823 MUNGER AVE
DALLAS, TX 75204-4248                                 3992    1/31/2015    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
WENDELL T EMBRY IRA ROLLOVER
19 NORTH DR
SHALIMAR, FL 32579-1017                               1466    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WENDT, WALTER
WALTER WENDT TR FBO HI JOLLY GIFT SHOP
PENSION PLAN PSP FBO WALTER WENDT
856 N BARKLEY
MESA, AZ 85203-5717                                   1635    10/21/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
WENDY ORTIZ GUARDIAN OF MINOR ISABEL HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3523    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
WENDY ORTIZ GUARDIAN OF MINOR JESUS HERNANDEZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3524    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
WENDY ORTIZ GUARDIAN OF MINOR STEPHANIE ORTIZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                    3521    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
WENDY ORTIZ, GUARDIAN OF MINOR ANGEL ORTIZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                    3551    1/30/2014    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
WENDY P CLARK CREDIT SHELTER TRUST
C/O MILTON O CLARK & CHERY F CLARK TTEES
116 FAIRVIEW AVE N APT 430
SEATTLE, WA 98109                                     1691    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WENTZELL, VERA
21A QUARLES RD
PITTSVIEW, AL 36871-2831                              1555    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WEON, JOHN J
2107 EDENVALE CIR
KATY, TX 77450-6041                                   1320    10/15/2013   Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
WERNER, LUTHER
348 SCULPS HILL RD
AUBURN, PA 17922-8722                                 1040    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WESCOE, EVAN
3907 W WALNUT ST
ALLENTOWN, PA 18104-5813                              2316    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WEST PENN POWER
1310 FAIRMONT AVE
FAIRMONT, WV 26554                                    732     10/1/2013    Exide Technologies, LLC            $1,164.75                                                                                        $1,164.75

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                                                                                                Current General                                               Current 503(b)(9)
                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                    Amount                                                        Amount
WEST SIDE TRACTOR SALES CO.
3110 PRAIRIE RD
ROCKFORD, IL 61102-3948                         969     10/7/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WESTAR ENERGY
C/O BANKRUPTCY TEAM
PO BOX 208
WICHITA, KS 67201-0208                          2118    10/28/2013   Exide Technologies, LLC                                $527,990.70                             $336,470.80                        $864,461.50
WESTCHESTER FIRE INSURANCE COMPANY
C/O COZEN O'CONNOR
ATTN ROBERT MCL BOOTE, ESQ
200 FOUR FALLS CORPORATE CTR STE 400
WEST CONSHOHOCKEN, PA 19428                     2422    10/30/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WESTCO CHEMICALS INC
12551 61 SATICOY ST S
NORTH HOLLYWOOD, CA 91605-4312                  1541    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WESTECH RECYCLERS
1008 W MADISON
PHOENIX, AZ 85007                               500     8/17/2013    Exide Technologies, LLC              $674.40                                                                                          $674.40
WESTERN AUTO OF MORTON
4239 HIGHWAY 80
MORTON, MS 39117                                923     10/7/2013    Exide Technologies, LLC              $211.28                                     $0.00                                                $211.28
WESTERN CANADA EXP
PO/CP BOX 1197
WINNIPEG MB R3C2Y4 CANADA

CANADA                                          1784    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WESTERN EXTRALITE COMPANY
1470 LIBERTY
KANSAS CITY, MO 64102                           1316    10/15/2013   Exide Technologies, LLC            $39,871.13                                                                                      $39,871.13
WESTERN PETERBILT-WEST YAKIMA
2028 RUDKIN RD
UNION GAP, WA 98903-4020                        1015    10/7/2013    Exide Technologies, LLC            $19,082.95                                    $0.00           $8,078.82                         $27,161.77
WESTON, CONSTANCE
1022 DECATUR ST
SUMTER, SC 29150-7418                           2053    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050-2822                     2295    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WHIPPLE LAW FIRM PC
201 N SPRING ST
INDEPENDENCE, MO 64050-2822                     2297    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WHIPPLE LAW FIRM, PC
201 N SPRING ST
INDEPENDENCE, MO 64050-2822                     2299    10/29/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WHITE, MARY
4766 OLD POPLAR RD
JACKSON, MS 39212-5854                          1554    10/19/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WHITE, ROBERT
1124 PERENNIAL LN
GOODE, VA 24556-2920                            1971    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00

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                                                                                                   Current General                                               Current 503(b)(9)
                                                                                                                           Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                       Amount                                                        Amount
WHITE, TERRY
1104 MORRIS RD
EDWARDS, MS 39066-9714                             2890    11/1/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WHOLESALE ELECTRIC SUPPLY CO INC
803 S ROBISON RD
TEXARKANA, TX 75501                                126      7/1/2013    Exide Technologies, LLC            $121,221.40                                                   $7,881.40                        $129,102.80
WICKER SMITH O'HARA MCCOY AND FORD, PA
2800 PONCE DE LEON BLVD STE 800
CORAL GABLES, FL 33134                             2852    10/30/2013   Exide Technologies, LLC               $630.20                                                                                         $630.20
WICKERT, THEODORE
3 ESTATES DR
READING, PA 19606-9593                             1041    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WIEGMANN, GENEVIEVE G
3014 PEACEFUL DR
RIVERSIDE, IA 52327-9237                           1593    10/19/2013   Exide Technologies, LLC                    $0.00                                 $0.00                                                  $0.00
WIESE
1435 WOODSON RD
ST LOUIS, MO 63132                                 554     8/26/2013    Exide Technologies, LLC             $34,474.93                                                                                     $34,474.93
WIESE USA INC
1435 WOODSON RD
ST LOUIS, MO 63132                                  45     6/21/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WIESE USA INC
1435 WOODSON RD
ST LOUIS, MO 63132                                  51     6/20/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILCON INDUSTRIES
18339 PASADENA ST
LAKE ELSINORE, CA 92530                            305     7/16/2013    Exide Technologies, LLC              $3,059.98                                                                                      $3,059.98
WILLARD CONNER
6080 NW 55TH AVE
OCALA, FL 34482-2786                               1547    10/18/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WILLIAM ALLEN GOLDAPP JR IRA ROLLOVER
C/O WILLIAM A GOLDAPP JR
4418 COLUMBINE DR
VAIL, CO 81657-4712                                1155    10/11/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAM CLEMENTS, ATTORNEY AT LAW
1718 M STREET NW
#288
WASHINGTON, DC 20036                               1006    10/7/2013    Exide Technologies, LLC              $2,325.00                                                                                      $2,325.00
WILLIAM DEARMENT FAMILY LIMITED PARTNERSHIP
C/O CHANNELLOCK INC
1306 S MAIN ST
MEADVILLE, PA 16335                                1379    10/15/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WILLIAM L CLEMENTS, ATTORNEY AT LAW
1718 M STREET NW
#288
WASHINGTON, DC 20036                               1705    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAM LUCKETT
C/O DANIEL M SORRICK, ESQ
PO BOX 109
BRANDON, MS 39043                                  3198    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00

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               Creditor Name and Address           Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                         Amount                                                        Amount
WILLIAM R WATSON & SHARON L WATSON
9 MAY APPLE WAY
LANDRUM, SC 29356                                    2189    10/28/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WILLIAM, TUNE
11285 WETUPKA WAY
HERNANDO, MS 38632-4419                              2832    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAMS PATENT CRUSHER AND PULVERIZER CO INC
813 MONTGOMERY
ST LOUIS, MO 63102                                   596      9/4/2013    Exide Technologies, LLC            $22,044.40                                                        $0.00                         $22,044.40
WILLIAMS, BRENDA
210 RAILROAD ALY
VICKSBURG, MS 39183-9010                             2950    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, HERMAN
3833 S SMITHFIELD RD
KNIGHTDALE, NC 27545-9345                            1704    10/22/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAMS, JOHN
4626 WYNNDALE RD
TERRY, MS 39170-7772                                 2203    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, JOYCE
PO BOX 5016 HIGHWAY 3447
MCKEE, KY 40447                                      2828    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILLIAMS, LOUISE
PO BOX 604
MULDROW, OK 74948-0604                               959     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, MORESS
129 MANDY DR
BRANDON, MS 39042-8975                               2179    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, ROGERT
1184 BARNETT BEND DR
BRANDON, MS 39047-8726                               2307    10/29/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMS, STEVEN A
4725 HAVANA AVE SW
WYOMING, MI 49509                                    1069    10/9/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
WILLIAMS, VOLLEY
210 RAILROAD ALY
VICKSBURG, MS 39183-9010                             2949    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIAMSON, EDGAR
4429 WINTERBERRY RIDGE CT
WINSTON SALEM, NC 27103-9742                         1045    10/8/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WILLIE JONES JR
9278 STRATMORE
SHREVEPORT, LA 71129                                 911     10/7/2013    Exide Technologies, LLC                                       $0.00              $0.00                                                  $0.00
WILSON III, DR THOMAS W
5103 SE VERBENA PL
HILLSBORO, OR 97123-8824                             1295    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WILSON, DANIEL
5616 COOPER CIR
MERIDIAN, MS 39307-6651                              1591    10/19/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00




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                                                                                                    Current General                                               Current 503(b)(9)
                                                                                                                            Current Priority   Current Secured                         Current Admin    Total Current
               Creditor Name and Address          Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                        Amount                                                        Amount
WILSON, LORA
45 FALK STEEL RD
VICKSBURG, MS 39183-7948                            2964    11/4/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WIMBERLY, DENNIS
340 NE CREST ST UNIT 76
SUBLIMITY, OR 97385-9541                            972     10/7/2013    Exide Technologies, LLC                                       $0.00                                                                     $0.00
WIN, TIN
18255 WOOD EDGE LN
RIVERSIDE, CA 92504                                 1470    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WINDSTREAM
C/O WINDSTREAM COMMUNICATIONS
301 N MAIN ST STE 5000
GREENVILLE, SC 29601                                364     7/11/2013    Exide Technologies, LLC              $646.42                                                                                          $646.42
WINFRED SHORT
C/O WHITE MCCANN & STEWART PLLC
PO BOX 578
WINCHESTER, KY 40392-0578                           1915    10/25/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WISCONSIN ELECTRIC POWER COMPANY
C/O WE ENERGIES
ATTN BANKRUPTCY DEPT
333 W EVERETT ST RM A130
MILWAUKEE, WI 53203                                 1407    10/16/2013   Exide Technologies, LLC             $1,448.77                                                                                       $1,448.77
WISE EL SANTO COMPANY INCORPORATED
PO BOX 8360
SAINT LOUIS, MO 63132-0360                          1338    10/15/2013   Exide Technologies, LLC            $35,097.34                                                    $4,980.84                         $40,078.18
WITT, LORETTA
176 GRAY HAWK LN
MC KEE, KY 40447-6021                               2733    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WITT, STEVE
395 WILDS CEMETERY
MC KEE, KY 40447-8640                               2734    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WJJL
976B UNION RD
WEST SENECA, NY 14224-3438                          777     10/3/2013    Exide Technologies, LLC              $455.00                                                                                          $455.00
WOLF, MARY JO
6632 KNOX AVE S
RICHFIELD, MN 55423-2161                            776     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
WOLFE, GRACE
271 SHELBOURNE RD
READING, PA 19606-9048                              1373    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WOLFGANG M SIGMUND & DAVID L MCKINNEY JT TEN
C/O DAVID L MCKINNEY
6030 NW 24 LN
GAINESVILLE, FL 32606                               1529    10/18/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WOLTMAN, RONALD
3608 LOCKFORD CT
THOUSAND OAKS, CA 91360                             1440    10/17/2013   Exide Technologies, LLC                                                          $0.00                                                  $0.00
WOOD OIL COMPANY OF CALIFORNIA, LLC
1532 W 132ND ST
GARDENA, CA 90249-2108                              844     10/4/2013    Exide Technologies, LLC            $10,487.91                                                                                      $10,487.91

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                                                                                                  Current General                                               Current 503(b)(9)
                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
                 Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                                Admin Priority
                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                      Amount                                                        Amount
WORMUTH, ANNETTE
1630 FARR ST
SCRANTON, PA 18504-1128                           1935    10/25/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
WRIGHT, EDWARD
PO BOX 554
RIDGELAND, MS 39158-0554                          2077    10/28/2013   Exide Technologies, LLC                                       $0.00                                                                     $0.00
WYATT, DONALD
PO BOX 1262
WOODVILLE, MS 39669-1262                          2895    11/1/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
XACT DATA DISCOVERY
5800 FOXRIDGE DR STE 406
MISSION, KS 66202                                 515     8/19/2013    Exide Technologies, LLC            $43,680.83                                                                                      $43,680.83
XPECTIT INC
ATTN KIM MOBLEY
PO BOX 1308
LAGRANGE, GA 30241                                3424     1/7/2014    Exide Technologies, LLC             $6,076.28                                                      $740.00                           $6,816.28
XPEDX A DIVISION OF INTERNATIONAL PAPER
5786 COLLETT RD
FARMINGTON, NY 14425-9536                          57     6/18/2013    Exide Technologies, LLC                    $0.00                                                     $0.00                              $0.00
XPEDX A DIVISION OF INTERNATIONAL PAPER
5786 COLLETT RD
FARMINGTON, NY 14435-9535                         841     10/4/2013    Exide Technologies, LLC            $47,323.63                                                   $24,648.91                         $71,972.54
XRS CORPORATION
SCOTT WOITAS
12900 WHITEWATER DR STE 300
HOPKINS, MN 55343-9407                            1464    10/17/2013   Exide Technologies, LLC            $40,725.10                                                                                      $40,725.10
YAFCHAK, ROBERT
1080 PARK BLVD UNIT 617
SAN DIEGO, CA 92101                               281     7/12/2013    Exide Technologies, LLC                                                          $0.00                                                  $0.00
YAFCHAK, ROBERT
1080 PARK BLVD UNIT 617
SAN DIEGO, CA 92101                               798     10/3/2013    Exide Technologies, LLC                    $0.00                                                                                        $0.00
YALE EQUIPMENT & SER
W136 N4901 CAMPBELL DRIVE
MENOMONEE FALLS, WI 53051                         2221    10/28/2013   Exide Technologies, LLC              $852.26                                                                                          $852.26
YALE INDUSTRIAL PRODUCTS INC
C/O PHILLIPS LYTLE LLP
ATTN MICHAEL B POWERS
ONE HSBC CENTER STE 3400
BUFFALO, NY 14203                                 4028    3/20/2015    Exide Technologies, LLC                    $0.00                                                                                        $0.00
YALE INUSTRIAL PRODUCTS, INC.
MICHAEL B. POWERS & CRAIG A. LESLIE
C/O PHILLIPS LYTLE, LLP (GENERAL COUNSEL)
ONE HSBC CENTER, SUITE 3400
BUFFALO, NY 14203                                 1663    10/21/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
YANITZA ROSAS
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                               3580    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                    $10,000,000.00

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                                                                                                       Current General                                               Current 503(b)(9)
                                                                                                                               Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                           Amount                                                        Amount
YARD TRUCK SPECIALISTS INC
PO BOX 421
BENSALEM, PA 19020-0421                                1697    10/22/2013   Exide Technologies, LLC            $22,795.00                                    $0.00                                             $22,795.00
YARIAN, CARASEL
16506 E COSTILLA AVE
FOXFIELD, CO 80016                                     1355    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
YARIAN, HAROLD D
16506 E COSTILLA AVE
FOXFIELD, CO 80016                                     1378    10/15/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00
YENI RIVERA, GUARDIAN OF MINOR MATTHEW J WADE
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3140    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
YESENIA G BARAJAS
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3047    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
YESENIA MENDOZA
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                                 3721    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                            $0.00
YESENIA RAMOS, GUARDIAN OF MINOR ALEXIS RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3033    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
YESENIA RAMOS, GUARDIAN OF MINOR ANGEL RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQUARE
NEW YORK, NY 10036                                     3034    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00

YESENIA RAMOS, GUARDIAN OF MINOR KENNETH RAMIREZ
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                     3181    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                     $5,000,000.00
YINGKOU ZHONGJIE SHIDA SEPARATOR CO LTD
ATTN GEORGE WONG
LUNAN DEVELOPMENT ZONE
YINGKOU LIAONING CHINA

CHINA                                                  188      7/6/2013    Exide Technologies, LLC            $41,640.20                                                                                      $41,640.20
YODER, FRED T
PO BOX 17269
FOUNTAIN HILLS, AZ 85269                               1821    10/24/2013   Exide Technologies, LLC                    $0.00                                                                                        $0.00


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                                                                                                        Current General                                              Current 503(b)(9)
                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current
               Creditor Name and Address              Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                            Amount                                                       Amount
YOLANDA MEDINA
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                                    3384     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
YOUNCE, SONJA
5235 PROCTOR RD
CASTRO VALLEY, CA 94546-1531                            1328    10/15/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
YOUNG, STEPHEN
5202 SICKLE RD
EMMAUS, PA 18049-4634                                   2830    10/31/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
YRC FREIGHT
C/O FRANTZ WARD LLP
ATTN JOHN F KOSTELNIK, ESQ
2500 KEY CENTER, 127 PUBLIC SQUARE
CLEVELAND, OH 44114-1230                                1421    10/17/2013   Exide Technologies, LLC            $18,855.27                                                                                     $18,855.27
YUASA BATTERY, INC.
2901 MONTROSE AVENUE
READING, PA 19605                                       2603    10/31/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
YUNUE A M ARIAS GUARDIAN OF MINOR JOSE GAITAN
C/O BROWN RUDNICK
ATTN WILLIAM R BALDIGA ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3169    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00

YUNUE AM ARIAS, GUARDIAN OF MINOR JARINTIZI MAYA
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3145    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
YUNUE AMAYELI MAYA ARIAS, GUARDIAN OF
MINOR EVA GUERRERO
C/O BROWN RUDNICK LLP
ATTN WILLIAM R BALDIGA, ESQ
SEVEN TIMES SQ
NEW YORK, NY 10036                                      3084    11/7/2013    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00
YVONE GUILLEN
C/O LAW OFFICES OF STEVEN WOLFSON
ATTN STEVEN WOLFSON
4766 PARK GRANADA BLVD STE 208
CALABASAS, CA 91302                                     3615    1/30/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ZACK HERNANDEZ
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                                   3796    1/31/2014    Exide Technologies, LLC                    $0.00                                                                                       $0.00
ZACK HERNANDEZ
C/O DANA B TASCHNER
2029 CENTURY PARK E STE 1400
LOS ANGELES, CA 90067                                   3859     2/1/2014    Exide Technologies, LLC        $5,000,000.00                                                                                    $5,000,000.00


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                                                                                       Case No. 13-11482

                                                                                                 Current General                                              Current 503(b)(9)
                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                               Admin Priority
                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                     Amount                                                       Amount
ZEB MACHINE CO INC
5805 LEESPORT AVE
READING, PA 19605                                323     7/18/2013    Exide Technologies, LLC              $181.13                                                        $0.00                            $181.13
ZEBROWSKI, JOSEPH A
4185 WATERFORD DR
CENTER VALLEY, PA 18034                          2183    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ZEBROWSKI, JOSEPH A
4185 WATERFORD DR
CENTER VALLEY, PA 18034                          2184    10/28/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ZEP SALE & SERVICE
C/O ENGEL HAIRSTON & JOHANSON PC
ATTN JONATHAN E RAULSTON
PO BOX 11405
BIRMINGHAM, AL 35202                             639      9/9/2013    Exide Technologies, LLC            $14,580.30                                                                                     $14,580.30
ZIERHOFFER, CAROL
901 MALLARD CIR
ARNOLD, MD 21012                                 1140    10/10/2013   Exide Technologies, LLC                    $0.00                                                                                       $0.00
ZIMMERMAN, CLARKSON
147 KOHLER HILL RD
HAMBURG, PA 19526-8415                           1008    10/7/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
ZIMMERMAN, THOMAS
905 W BARNER ST
FRANKFORT, IN 46041-1376                         1070    10/9/2013    Exide Technologies, LLC                                       $0.00                                                                    $0.00
ZINK SAFETY EQUIPMENT COMPANY
PO BOX 14398
LENEXA, KS 66285-4398                            1172    10/11/2013   Exide Technologies, LLC            $17,687.30                                                   $1,091.00                         $18,778.30
ZIZTORINA MARTINEZ
C/O LAW OFFICES OF ROBERT R SHIRI, APC
ATTN ROBERT R SHIRI, ESQ
501 SANTA MONICA BLVD STE 610
SANTA MONICA, CA 90401                           3718    1/31/2014    Exide Technologies, LLC         Unliquidated                                                                                           $0.00
ZOILA NOEMI MAGANO
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             2557    10/31/2013   Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00
ZOLA DAVIS
204 TULSA ST
PEARL, MS 39208-9652                             2167    10/28/2013   Exide Technologies, LLC                                       $0.00                                 $0.00                              $0.00
ZONA DINKINS
2606 LAKE WADE CT
ORLANDO, FL 32806-4600                           1226    10/12/2013   Exide Technologies, LLC                                       $0.00                                                                    $0.00
ZONES CORPORATE SOLUTIONS - AUBURN
1102 15TH ST SW STE 102
AUBURN, WA 98001-6524                            3240    11/16/2013   Exide Technologies, LLC            $17,667.47                                                                                     $17,667.47
ZULEMA LOPEZ
C/O THE MANDELL LAW FIRM
ATTN ROBERT MANDELL, ESQ
19400 BUSINESS CENTER DR STE 102
NORTHRIDGE, CA 91324                             3389     1/2/2014    Exide Technologies, LLC       $10,000,000.00                                                                                   $10,000,000.00

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                                                                                               Current General                                          Current 503(b)(9)
                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
              Creditor Name and Address      Claim No. Claim Date          Debtor              Unsecured Claim                                           Admin Priority
                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                   Amount                                                   Amount
ZURICH AMERICAN INSURANCE COMPANY
C/O FOX SWIBEL LEVIN & CARROLL LLP
ATTN MARGARET M ANDERSON
200 W MADISON STE 3000
CHICAGO, IL 60606                              2530    10/30/2013   Exide Technologies, LLC         Unliquidated                                                                                       $0.00




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